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    UNITED STATES DISTRICT COURT
    EASTERN DISTRICT OF NEW YORK
    ---------------------------------------------------------------x
    TZVI WEISS, LEIB WEISS, MALKE WEISS,                           :
    YITZCHAK WEISS, YERUCHAIM WEISS,                               :
    ESTHER DEUTSCH, MOSES STRAUSS,                                 :
    PHILIP STRAUSS, BLUMA STRAUSS,                                 :
    AHRON STRAUSS, ROISIE ENGELMAN,                                :
    JOSEPH STRAUSS, MATANYA NATHANSEN, :
    CHANA NATHANSEN, MATANYA AND                                   :
    CHANA NATHANSEN FOR THE ESTATE OF :
    TEHILLA NATHANSEN, YEHUDIT                                     :
    NATHANSEN, S.N., a minor, HEZEKIEL                             :
    TOPOROWITCH, PEARL B. TOPOROWITCH, :
    YEHUDA TOPOROWITCH, DAVID                                      :
    TOPOROWITCH, SHAINA CHAVA NADEL,                               :
    BLUMA ROM, RIVKA POLLACK, EUGENE                               :
    GOLDSTEIN, LORRAINE GOLDSTEIN,                                 :
    BARBARA GOLDSTEIN INGARDIA, RICHARD :
    GOLDSTEIN, MICHAEL GOLDSTEIN, CHANA :                              SIXTH AMENDED COMPLAINT
    FREEDMAN, MICHAL HONICKMAN FOR THE :
    ESTATE OF HOWARD GOLDSTEIN, MICHAL :                               JURY TRIAL DEMANDED
    HONICKMAN, DAVID GOLDSTEIN,                                    :
    HARRY LEONARD BEER AS EXECUTOR OF :                                05-CV-4622 (DLI)(MDG)
    THE ESTATE OF ALAN BEER, HARRY                                 :
    LEONARD BEER, ANNA BEER, PHYLLIS                               :
    MAISEL, ESTELLE CARROLL, SARRI ANNE :
    SINGER, JUDITH SINGER, ERIC M. SINGER, :
    ROBERT SINGER, JULIE AVERBACH FOR                              :
    THE ESTATE OF STEVEN AVERBACH, JULIE :
    AVERBACH, TAMIR AVERBACH, DEVIR                                :
    AVERBACH, SEAN AVERBACH, A.A., a minor, :
    MAIDA AVERBACH FOR THE ESTATE OF                               :
    DAVID AVERBACH, MAIDA AVERBACH,                                :
    MICHAEL AVERBACH, EILEEN SAPADIN,                              :
    DANIEL ROZENSTEIN, JULIA ROZENSTEIN :
    SCHON, ALEXANDER ROZENSTEIN, ESTHER :
    ROZENSTEIN, JACOB STEINMETZ,                                   :
    DEBORAH STEINMETZ, JACOB STEINMETZ :
    AND DEBORAH STEINMETZ FOR THE                                  :
    ESTATE OF AMICHAI STEINMETZ, NAVA                              :
    STEINMETZ, ORIT MAYERSON, NATANEL                              :
     STEINMETZ, ROBERT L. COULTER, SR. FOR :
    THE ESTATE OF JANIS RUTH COULTER,                              :
    DIANNE COULTER MILLER, ROBERT L.                               :
    COULTER, SR., ROBERT L. COULTER, JR.,                          :
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         501.    The loss of her sister has caused Nilly to be short tempered and has diminished

 her tolerance for others – contributing to her not working for nearly six years as a social worker

 because she could not empathize with or tolerate her clients. She has felt a significant decrease in

 her quality of life since the loss of her sister.

         502.    As a result of the terrorist attack, plaintiff Nilly Choman has experienced

 emotional pain and suffering and the loss of her sister’s companionship, advice and counsel.

                THE BEN YEHUDA STREET BOMBINGS: DECEMBER 1, 2001

         503.    In the late evening of December 1, 2001, Nabil Halabiya and Osama Mohammad

 Id Bahr, two HAMAS suicide bombers, blew themselves up in a pedestrian mall in Jerusalem as

 part of a coordinated double suicide bombing (followed by a coordinated car bombing). A large

 quantity of nails was packed with each of the bombs. Eleven (11) people were murdered and

 over one hundred (100) people were injured. Bahr had been recruited by Jamal al-Tawil, the

 chairman of the Al-Islah Charitable Society since 2000. The Al-Islah Charitable Society is one of

 HAMAS’s key charitable front organizations in the West Bank.

         504.    Subsequent to the two suicide bombings terrorists detonated a car bomb near the

 site of the first two attacks. HAMAS also claimed responsibility for this attack.

 Temima Spetner

         505.    Temima Spetner is a citizen of the United States and a resident of the State of

 Missouri.

         506.    On December 1, 2001, Temima was walking down the pedestrian mall in

 Jerusalem when one of the suicide bombers detonated his explosives approximately 10 yards

 from where she was standing. Temima was hit by shrapnel on her arms and fingers. While

 bleeding heavily, and with clothing soaked in blood, Temima began running up the walkway and




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 fell. Someone came to her aid and attempted to stop the bleeding until ambulances arrived at the

 scene.

          507.   As a result of the terrorist attack, the femoral artery of Temima’s right leg was

 severed. She was transported to the hospital where doctors operated on her to stop the bleeding.

 The following day it was determined that Temima’s intestines had been punctured by shrapnel,

 and she underwent another operation to repair her intestines and remove most of the shrapnel.

 Temima remained in the hospital for ten days.

          508.   There is significant scarring on Temima’s thigh and the lower part of her

 abdomen. She continues to experience numbness in her right leg and is highly sensitive to pain

 in that leg. Temima has also experienced psychological trauma as a result of the attack.

          509.   As a result of the attack, plaintiff Temima Spetner has suffered severe physical

 and mental anguish and extreme emotional distress.

 The Kirschenbaum Family

          510.   Plaintiff Jason Kirschenbaum is a citizen of the United States and a resident of the

 State of New York.

          511.   Jason Kirschenbaum was on Ben Yehuda Street in Jerusalem on December 1,

 2001 when the double suicide bombing took place.

          512.   As a result of the first explosion, Jason was thrown to the ground. As he stood up,

 the second suicide bomber detonated his explosives and Jason was thrown in another direction.

          513.   When he got up the second time he felt numb. Jason saw his left arm dangling

 back and forth and held it because he thought it might fall off. When he began running up the

 street for help, he felt a sharp pain in his leg and back.

          514.   Jason was taken to Shaare Tzedek Hospital in Jerusalem where he underwent two




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 operations. Surgeons removed 8 metal bolts from his arm, leg and back.

         515.   Jason had to undergo several months of physical therapy for the injuries to his

 arm, leg and back. He still has scarring where he was branded by the bolts that penetrated his

 skin.

         516.   As a direct result of the terrorist attack, plaintiff Jason Kirschenbaum has suffered

 severe physical and mental anguish and extreme emotional distress.

         517.   Plaintiff Isabelle Kirschenbaum is a United States citizen and a citizen of the State

 of New York. She is the mother of Jason Kirschenbaum.

         518.   Martin Kirschenbaum was a citizen of the United States and a resident of the State

 of New York. Martin Kirschenbaum passed away on April 2, 2008. He was the father of Jason

 Kirschenbaum.

         519.   Plaintiff Isabelle Kirschenbaum brings this action both individually and as the

 representative of the Estate of Martin Kirschenbaum.

         520.   Isabelle first learned of the double suicide bombing while watching the Cable

 News Network (CNN). After numerous telephone conversations, she ultimately received a

 telephone call confirming that Jason had been injured in the attack.

         521.   As a result of the attack, plaintiff Isabelle Kirschenbaum has suffered severe

 mental anguish and extreme emotional distress.

         522.   Martin Kirschenbaum learned of the attack when he and Isabelle Kirschenbaum

 received the telephone call confirming that Jason had been injured in the attack.

         523.   Following the attack and prior to his death Martin Kirschenbaum suffered severe

 mental anguish and extreme emotional distress as a result of the attack.

         524.   Plaintiff Joshua Kirschenbaum is a United States citizen and a citizen of the State




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 of New York. He is a brother of Jason Kirschenbaum.

        525.    Joshua Kirschenbaum was in Tel Aviv at the time of the attack. Martin and

 Isabelle Kirschenbaum telephoned Joshua to advise him that his brother, Jason had been injured

 in the attack in Jerusalem. Hours later, he finally located his brother in the emergency room at

 Shaare Tzedek Hospital in Jerusalem.

        526.    As a result of the terrorist attack, plaintiff Joshua Kirschenbaum has suffered

 severe mental anguish and extreme emotional distress

        527.    Plaintiff Shoshana Burgett is a citizen of the United States and a resident of the

 State of New York. She is a sister of Jason Kirschenbaum.

        528.    As a result of the attack, plaintiff Shoshana Burgett has suffered severe mental

 anguish and extreme emotional distress.

        529.    Plaintiff David Kirschenbaum is a citizen of the United States and a resident of

 the State of New York. He is a brother of Jason Kirschenbaum.

        530.    As a result of the attack, plaintiff David Kirschenbaum has suffered severe mental

 anguish and extreme emotional distress.

        531.    Plaintiff Danielle Teitelbaum is a citizen of the United States and a resident of the

 State of New Jersey. She is a sister of Jason Kirschenbaum.

        532.    As a result of the attack, plaintiff Danielle Teitelbaum has suffered severe mental

 anguish and extreme emotional distress.

 The Miller Family

        533.    Plaintiff Netanel Miller, age 33, is a citizen of the United States and a resident of

 the State of Florida.

        534.    Plaintiff Chaya Miller is a citizen of the United States. Plaintiff Arie Miller is a




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 citizen of the State of Israel. They are the parents of plaintiff Netanel Miller and they reside in

 Israel.

           535.   On the evening of December 1, 2001, plaintiff Netanel Miller was with friends

 enjoying ice cream at the pedestrian mall in Jerusalem. One of the suicide bombers detonated

 his explosives a few feet from Netanel and his friends. Netanel had his back to the bomber, and

 he was thrown to the ground as a result of the explosion.

           536.   A bolt from the bomb lodged in the upper part of Netanel’s leg. Other bolts hit

 him in the back, resulting in burns. His hand and knee were also injured.

           537.   Netanel, in shock and unaware of the severity of his injuries, attempted to walk

 home, limping on his injured leg. After walking approximately 30 feet, Netanel collapsed on the

 sidewalk. Only then did Netanel become aware of how much he was bleeding from the wounds

 he had sustained in his leg. His attempts to use pressure to stop the bleeding were unsuccessful.

           538.   Some people stopped to help him, and Netanel handed them his cellular phone,

 asking them to call his parents, plaintiffs Arie and Chaya Miller. Netanel spoke to his father,

 who had been an Army medic. Arie asked Netanel specific questions about his condition and

 insisted Netanel seek medical help.

           539.   Ultimately, Netanel was taken to the Shaare Zedek Hospital by ambulance. Since

 Netanel had lost a great deal of blood, he was given a blood transfusion.

           540.   Arie came to the hospital. Chaya arrived an hour or so later after she found

 someone to stay with her other children at her home.

           541.   Netanel was admitted to the hospital and remained there for two days.

           542.   Netanel endured the pain in his leg for nearly two years.




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        543.    The pain in Netanel’s leg became so severe he had to undergo surgery, and the

 bolt that was still lodged in his leg was finally removed.

        544.    As a result of the flashbacks and severe pain, Netanel also underwent treatment by

 a mental health professional.

        545.    As a result of the attack, plaintiff Netanel Miller has suffered severe physical and

 mental anguish and extreme emotional distress.

        546.    Upon learning that their son, Netanel, had been injured in the bombing, and

 knowing he has suffered as a result of those injuries, plaintiffs Chaya Miller and Arie Miller

 experienced great concern and anxiety.

        547.    As a result of the attack, plaintiffs Chaya Miller and Arie Miller have suffered

 severe mental anguish and extreme emotional distress.

 The Steinherz Family

        548.    Plaintiff Altea Steinherz and plaintiff Jonathan Steinherz are citizens of the

 United States and residents of the State of Israel. They are husband and wife.

        549.    On December 1, 2001, Altea Steinherz was nine months pregnant. Altea and

 Jonathan were at a restaurant in Jerusalem when they heard a bomb explode nearby. A short

 time later they heard another bomb explode. Believing the bombing was over, they began to

 walk home.

        550.    While walking in the street they saw a crazed man run past them. Altea insisted

 that the couple turn around, away from the direction from which the man had come. They heard

 a third explosion from where the man had run. They later learned that the explosion was the

 result of a car bomb.




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          551.   As they began to run, Altea fell twice, and broke her arm as a result of one the

 falls.

          552.   Until her son, Yitzhak, was born 11 days later, Altea and Jonathan feared for the

 condition of their unborn child.

          553.   Having personally seen the emergency efforts and fears of individuals at the

 hospital after the attack, Altea no longer feels she can continue to volunteer at the hospital as she

 had done previously. She has become more fearful in general.

          554.   As a result of the attack, plaintiff Altea Steinherz suffered severe physical anguish

 and extreme emotional distress.

          555.   As a result of the attack, plaintiff Jonathan Steinherz suffered severe mental

 anguish and extreme emotional distress.

 The Brill Family

          556.   Plaintiff Baruch Yehuda Ziv Brill is a citizen of the United States and a resident

 of the State of Israel.

          557.   On December 1, 2001, Baruch Brill, then age 17, was spending time after the end

 of the Sabbath in the pedestrian mall located on Ben Yehuda Street when the two HAMAS

 suicide bombers, blew themselves up.

          558.   Baruch Brill was taken to Hadassah Hospital on Mount Scopus in Jerusalem with

 severe physical injuries. He had endured multiple shrapnel wounds from the bombing in addition

 to perforation of his left eardrum. According to X-rays taken in the hospital, he had multiple

 large pieces of shrapnel in his left arm and chest.

          559.   Baruch had two nails lodged in his left wrist that were part of the bomb vest that

 exploded, two pieces of shrapnel in the lower left side of his back, and a nail in the back part of




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  his left leg. He also had cuts and abrasions over his entire body.

         560.    He experienced severe pain associated with debridement of his injuries and the

  open nature of his wounds.

         561.    Baruch Brill remained in the hospital until his discharge on December 9, 2001.

         562.    Baruch Brill underwent extensive physical therapy as a result of the injuries he

  sustained in the bombing.

         563.    He has also undergone emotional therapy in the form of art therapy and

  psychological treatment as a result of the Post-Traumatic Stress Disorder that he suffered as a

  result of the bombing.

         564.    In order to complete his high school studies, Baruch Brill was required to attend

  night classes at his own expense due to the amount of school that he missed while recuperating

  from his injuries and while he was in the hospital.

         565.    As a result of the attack, plaintiff Baruch Brill has suffered severe physical and

  mental anguish and extreme emotional distress.

         566.    Plaintiff Chaya Beili in a citizen of the United States and a resident of the State of

  Israel. She is the mother of Baruch Yehuda Ziv Brill.

         567.    Chaya Beili learned of the Ben Yehuda bombing in which her son was injured

  when her oldest daughter called her while at home. Chaya immediately started calling her son

  and could not reach him. After about an hour, a friend of her son called and said Baruch had

  been placed in an ambulance and was being taken to the hospital.

         568.    During her son’s hospitalization and subsequent physical and emotional therapy,

  Baruch resided with Chaya since his parents were divorced. Chaya personally witnessed her

  son’s pain and recovery and has been greatly affected by her son’s injuries.




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          569.       As a result of the attack, plaintiff Chaya Beili has suffered severe mental anguish

  and extreme emotional distress.

                       PATT JUNCTION BUS # 32A BOMBING: JUNE 18, 2002

  Gila Aluf

          570.       At approximately 7:50 a.m. on June 18, 2002, a HAMAS terrorist named

  Mohammad Haza’ al-Ghul boarded bus number 32A in the Gilo neighborhood of Jerusalem and

  almost immediately detonated the large bomb which he carried in a bag stuffed with ball

  bearings. The blast destroyed the front half of the bus, packed with people on their way to work

  and a group of schoolchildren. 19 people were killed and 74 people were injured.

          571.       HAMAS claimed responsibility for the attack and identified the bomber,

  Mohammad Haza’ al-Ghul, as an Islamic law student at An-Najah University. Fahmi Ayd

  Ramdan Mushahara was later convicted by an Israeli court of helping plan the attack, including

  identifying the bus line on which to carry out the attack and transporting the suicide bomber to

  the location where he boarded the bus, and for being a member of Hamas.

          572.       Plaintiff Gila Aluf is a citizen of the United States and a citizen and resident of the

  State of Israel.

          573.       Gila’s husband, Boaz Aluf, was a citizen of the State of Israel. On the morning of

  June 18, 2002, Boaz was going to work in the computer department of Jerusalem’s Bank Tefahot

  and was on Bus 32A when Mohammed al-Ghul detonated the bomb. Boaz Aluf was killed in the

  terrorist attack.

          574.       As a result of the terrorist attack that murdered her husband, Boaz Aluf, plaintiff

  Gila Aluf has lost the material services, affection, companionship, consortium and the customary

  amenities of married life and has suffered severe mental anguish and extreme emotional distress.




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          B.      The Defendant

          575.    National Westminster Bank, Plc (“NatWest”) is a British financial institution with

  its principal place of business in London, United Kingdom. It is part of the Royal Bank of

  Scotland Group.

          576.    NatWest conducts business in the United States and in New York, both directly

  and through its agents, at a number of locations including 101 Park Avenue, New York, New

  York 10178, and 600 Steamboat Road, Greenwich, Connecticut 06830, which it also lists in its

  annual report as one of its “principal offices.”

          577.    NatWest has also been registered to conduct business within the State of Texas

  since 1999, and state records list its address as 600 Travis Street in Houston, Texas.


                                    FACTUAL ALLEGATIONS

  I.      THE ISLAMIC RESISTANCE MOVEMENT (“HAMAS”)

          A.      The Founding of HAMAS

          578.    In December 1987, Sheik Ahmed Yassin formed the Palestinian Islamic

  Resistance Movement (“HAMAS”) as an offshoot of the Muslim Brotherhood, a radical Islamic

  group founded in Egypt before World War II.

          579.    Pursuant to its charter, HAMAS and its operatives plan, assist, and conduct acts of

  international terrorism in Israel, the West Bank, and the Gaza Strip, including the attacks that

  injured the plaintiffs.

          B.      Formal Designations of HAMAS as a Terrorist Organization

          580.    In 1989, the Government of Israel declared HAMAS a terrorist organization and

  designated it an “unlawful organization” because of its terrorist acts. Notice of the designation

  was placed in the official Government of Israel publication, the Announcements and



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  incentives to suicide bombers and other terrorists. These financial services facilitate acts of

  terrorism in violation of 18 U.S.C. § 2332 that have caused injuries to plaintiffs.

          720.   Defendant knows that it provides material support to HAMAS, a Foreign Terrorist

  Organization, and it knows that HAMAS commits horrific terrorist attacks of the kind that have

  maimed and murdered American citizens such as plaintiffs.

          721.   Throughout the period in which it has provided financial services for the benefit

  of HAMAS, defendant was, and to this date remains, aware that HAMAS collects and receives

  funds transmitted by defendant NatWest at the request of Interpal and the Union of Good and

  that HAMAS has committed numerous criminal acts, including the suicide bombings and other

  acts of international terrorism that have injured American citizens, including plaintiffs.

          722.   By aiding and abetting violations of 18 U.S.C. § 2332 that have caused each of

  the plaintiffs to be injured in his or her person and property, defendant is liable pursuant to 18

  U.S.C. § 2333(a) for any and all damages that plaintiffs have sustained as a result of such

  injuries.


                                   SECOND CLAIM FOR RELIEF

                 COMMITTING ACTS OF INTERNATIONAL TERRORISM
              IN VIOLATION OF 18 U.S.C. § 2339B(a)(1) AND 18 U.S.C. § 2333(a)

          723.   Plaintiffs repeat and re-allege each and every allegation of the foregoing

  paragraphs as if fully set forth herein.

          724.   By knowingly collecting and transferring funds for the benefit of HAMAS, the

  defendant has provided material support to a designated Foreign Terrorist Organization under the

  Antiterrorism and Effective Death Penalty Act of 1996 in violation of 18 U.S.C. § 2339B(a)(1).

          725.   As stated above, the Union of Good and Interpal are major funding sources for



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  HAMAS.

         726.    By providing a wide range of vital financial services to these entities, defendant

  NatWest substantially assists HAMAS in its recruiting, rewarding, and providing incentives to

  suicide bombers and other terrorists.

         727.    Defendant knows of HAMAS’s terrorist activities.

         728.    Defendant knows that HAMAS had been designated a Foreign Terrorist

  Organization by the United States Government.

         729.    By knowingly providing material support to a designated Foreign Terrorist

  Organization, defendant is therefore civilly liable for damages to plaintiffs for their injuries

  pursuant to 18 U.S.C. § 2333(a).


                                    THIRD CLAIM FOR RELIEF

   COLLECTING AND PROVIDING FUNDS FOR THE FINANCING OF TERRORISM
           IN VIOLATION OF 18 U.S.C. § 2339C and 18 U.S.C. § 2333(a)

         730.    Plaintiffs repeat and re-allege each and every allegation of the foregoing

  paragraphs as if fully set forth herein.

         731.    Defendant wilfully and unlawfully provides financial services to HAMAS by

  collecting, receiving, transmitting, and providing funds, through accounts it maintains for

  Interpal and the Union of Good and through credit card payments it receives on behalf of Interpal

  with the knowledge that such funds have been and will be used, in part, to facilitate acts intended

  to cause death or serious bodily injury to civilians such as the victims of the terrorist acts

  described in this complaint.

         732.    The acts committed against the plaintiffs were intended to: (a) intimidate or

  coerce the civilian population of Israel; (b) influence the policy of the Government of Israel by



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   UNITED STATES DISTRICT COURT
   EASTERN DISTRICT OF NEW YORK
   ------------------------------------------------------------------------------------------x
   The Estate of David Applebaum, The Estate of Naava Applebaum,                             :
   Debra Applebaum, The Estate of Jacqueline Applebaum,                                      :
   Natan Applebaum, Shira Applebaum, Yitzchak Applebaum, Shayna                              :
   Applebaum, Tovi Belle Applebaum, Geela Applebaum Gordon,                                  :
   Chaya Tziporah Cohen, Philip Litle, The Estate of Abigail Litle,                          :
   Elishua Litle, Hannah Litle, Heidi Litle, Josiah Litle, Noah Litle, Ari                   :
   Horovitz, Batsheva Horovitz Sadan, David Horovitz, The Estate of Debra :
   Ruth Horovitz, The Estate of Eli Natan Horovitz, The Estate of Leah                       :   NO: 07-CV-916-
   Horovitz, The Estate Moshe Horovitz, Nechama Horovitz, Shulamite                          :   DLI-MDG
   Horovitz, Tovi Horovitz, Tvi Horovitz, Uri Horovitz, Bernice Wolf,                        :
   Bryan Wolf, StanleyWolf, Fran Strauss Baxter, William J. Baxter,                          :
   Ariela Freirmark Menachem Freirmark, Hadassah Freirmark, Phyllis Pam, :
   Rivka Reena Pam, Shoshana Tita, Ezra Tita, Ephraim Tita, Ephriam Tita :
   for the Estate of Bertin Tita, Rachel Potolski, Ovadia Topporowitch,                      :
   Yisrael Topporowitch, Yitzchak Topporowitch, Miriam Ehrenfeld,                            :
   Rose Joseph, Leibel Reinitz, Malvia Reinitz, Margali Reinitz                              :
   Mendy Reinitz, Miriam Reinitz, Rivka Reinitz, Samuel Reinitz, Shmuel :
   Reinitz, Yakov Reinitz, The Estate of Mordechai Reinitz, The Estate of :                      AMENDED
   Yissocher Dov Reinitz, Yitzchok Reinitz, Raizel Shimon Leah Tauber                        :   COMPLAINT
   Helen Weider, Avrohom D. Richter, Breina Richter, Miriam Leah Richter :
   Moshe Richter, Nechama Richter, Sara Malka Richter, Shlomo Chaim                          :
   Richter, Tranne Richter, Yakov Yosef Richter, Yechiel Richter, Yehudis :                      Jury Trial
   Richter, Yisroel Richter, Yitzchok Richter, Perl                                          :   Demanded
   Brailofsky, Malky Breuer, Ester Buxbaum, Gittel Cohen, Chaya Freisel :
   Rachel Rosner, Elizabeth Schwartz, Jacob Schwartz, Max Schwartz                           :
   Michael Schwartz, Phillip Schwartz, Abraham Zarkowsky, Aron                               :
   Zarkowsky, Bshava Zarkowsky Richter, The Estate of Eli                                    :
   Zarkowsky, Ezriel Zarkowsky, Gittel Zarkowsky,The Estate of Goldie                        :
   Zarkowsky, Joseph Zarkowsky, Mendel Zarkowsky Miriam Zarkowsky, :
   Shrage Zarkowsky, Trany Zarkowsky, Yehuda Zarkowsky, Erik Schecter, :
   Shlomo Tratner, The Estate of Tiferet Tratner.                                            :
   Averham Grossman, Devorah Chechanow Leifer Joseph Leifer,                                 :
   Bracha Milstein, Shifra Miller, Chaya Rosenberg, Abraham Waxler,                          :
   Arthur Waxler, Baruch Waxler, Chana Waxler, Dina Waxler Ezekiel                           :
   Waxler, Gedalia Waxler, Haggi Waxler, Nachum Waxler Obadiah Waxler :
   Yaakov Waxler, Yoel Waxler, Zacharia Waxler Nethaniel Bluth, Moshe :
   Naimi, Faye Chana Benjaminson, The Estate ofMoshe Gottlieb,                               :
   Seymour Gottlieb, Sheila Gottlieb                                                         :
                                                                                             :
                                            Plaintiffs,                                      :
                                                                                             :
                            -against-                                                        :
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          295.    On September 24, 2004, Tiferet Tratner, age 24, was killed in her home as she sat

       on the couch in Neve Dekalim by a terrorist mortar attack launched from or near the Gaza

       Strip. This murder took place the day before Yom Kippur. HAMAS claimed responsibility

       for the terror attack and was in fact responsible.

          296.    Tiferet was an American citizen and is the daughter of Shlomo Tratner. Prior to

       her murder, Tiferet worked with the elderly and with people with disabilities. Shlomo

       Tratner has suffered severe emotional anguish, pain, suffering and distress over the murder of

       his daughter and brings this action individually and on behalf of the Estate of Tiferet Tratner

       for her wrongful death, all to their damage.

                  Ben Yehuda Mall Suicide Bombing – December 1, 2001

                  The Grossman Family

          297.    On December 1, 2001, at approximately 11:30 p.m., Averham Grossman was in

       the Ben Yehuda pedestrian mall in Jerusalem, Israel when two suicide bombers detonated

       explosive devices. The pedestrian mall was filled with many young people on a Saturday

       night. A car bomb also exploded about 20 minutes after the initial attack, killing and injuring

       more people. HAMAS claimed responsibility for the attack, which was carried out by Nabil

       Halabia, aka Mahmoud Nabeel Halabey, and Osama Mohammed Id Bahr. This terror attack

       was within the scope of the scheme and conspiracy described below in which Arab Bank was

       a knowing and active participant.

          298.    As a result of the attack, Averham Grossman was traumatized and suffered severe

       mental anguish and pain and suffering, all to his damage. He injured his back and was struck

       by the second bomb while helping those wounded from the first bomb.

          299.    Averham Grossman is a United States citizen.




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                   The Leifer Family

           300.    Joseph Leifer and Devorah Chechanow Leifer, both US nationals who reside in

       Brooklyn, New York, were visiting Israel in December 2001 when they injured in a terror

       attack that took place on the Ben Yehuda pedestrian mall in downtown Jerusalem.

           301.    On December 1, 2001, the pedestrian mall was filled with many young people on

       a Saturday night. At about 11:30 p.m., two suicide bombers detonated explosive devices

       among the crowd on the mall. A car bomb also exploded about 20 minutes after the initial

       attack, killing and injuring more people. HAMAS claimed responsibility for the attack,

       which was carried out by Bail Halabia and Osama Mohammed Id Bahr. HAMAS was in fact

       responsible for this terror attack.

           302.    As a result of the attack, Joseph suffered serious life threatening wounds. Devorah

       Chechanow Leifer, who was present with Joseph, suffered less serious personal injures. Both

       Joseph Leifer and Devorah Chechanow Leifer suffered severe mental anguish and pain and

       suffering and join as Plaintiffs in this action.

                   The Waxler Family

           303.    Obadiah Waxler, a US national who resides in Brooklyn, New York, was visiting

       Israel in December 2001 when he was critically injured in a terror attack that took place on

       the Ben Yehuda pedestrian mall in downtown Jerusalem. He joins as a Plaintiff to this action

       to recover for the injuries he suffered in this terror attack.

           304.    On December 1, 2001, the pedestrian mall was filled with many young people on

       a Saturday night. At about 11:30 p.m., two suicide bombers detonated explosive devised

       among the crowd on the mall. A car bomb also exploded about 20 minutes after the initial

       attack, killing and injuring more people. HAMAS claimed responsibility for the attack,




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       which was carried out by Nabil Halabia and Osama Mohammed Id Bahr. HAMAS was in

       fact responsible for this terror attack.

           305.    As a result of the attack, Obadiah Waxler suffered serious personal injures, mental

       anguish and pain and suffering. Numerous surgeries were necessary to save Obadiah’s life

       and he required almost 3 years rehabilitating from the life threatening injuries. Durign this

       time, Obadiah was unable to work. While he was hospitalized in Israel before his transfer to

       New York, Obadiah’s brother, Ezekial Waxler, who lived in Israel, ceased work to care for

       his seriously inured brother.

           306.    At the time of the terror attack, Obadiah Waxler was engaged to be married. He

       was married on June 10, 2002. His wife Chana Waxler, cared extensively for Obadiah for

       several years as he recovered from his serious wounds. This necessitated that she take off

       from work. She was only able to work part time so she could care for her husband.

           307.    Obadiah’s family in New York also took turns giving him care and support for

       several years. These family members of Obadiah join as Plaintiffs in this action to recover

       their loss of consortium and solarium and loss of earnings as a result of the injuries suffered

       by Obadiah Waxler. They also seek just compensation for their own mental anguish they

       suffered as proximate cause of the terror attack on Obadiah. These plaintiffs are Obadiah

       Waxler’s parents, Arthur Waxler and Dina Waxler, his wife, Chana Waxler, and brothers and

       sisters, Ezekial Waxler, Abraham Waxler, Haggi Waxler, Nachum Waxler, Yoel Waxler,

       Zacharia Waxler, Gedalia Waxler, Baruch Waxler, Yaakov Waxler, Chaya Rosenberg,

       Bracha Milstein and Shifra Miller. All of these plaintiffs are citizens of the United States of

       America. All of them currently reside in Brooklyn. New York except for Ezekial Waxler who

       currently resides in Israel.




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                  Otzem School Attack – March 7, 2002

                  The Bluth Family

          308.    Nethaniel Bluth is a citizen of the United States who for some time has resided in

       Israel with his parents, Ephraim and Shoshana. On March 7, 2002, Nethaniel was a 19 year

       old student at Otzem, which is located in the community of Atzmona, Israel. Nethaniel

       began his studies there in August, 2001.

          309.    On March 7, 2002, while Nethaniel was studying with about 80 other students in a

       lesson being led by one of the Rabbis, a small explosion occurred. Nethaniel and the other

       students rushed to the window to see what happened. A Palestinian terrorist who was in the

       midst of attacking the students had thrown a grenade into one of the dorm rooms. It was late

       at night, around 11:00 p.m., and the students looked in horror as the terrorist opened fire on

       the students with a burst from an automatic weapon. The attacker threw additional grenades

       in an attempt to kill and injure as many of the students as possible. Nethaniel was struck by

       shrapnel when a grenade exploded only a few feet from him. His arms, legs and scalp were

       injured. One piece of shrapnel pierced his chest and hit his chest bone. He sues for his pain,

       suffering, trauma, mental anguish and extreme emotional distress, all to his damage HAMAS

       claimed responsibility for the attack, which was committed by Mohammed Fathi Farahat aka

       Mohammed Nadal Farhath. This terror attack was within the scope of the scheme and

       conspiracy described below in which Arab Bank was a knowing and active participant.

          310.    Nethaniel was rushed to Tel HaShomer Hospital for surgery to save his life. Five

       of his classmates were murdered in the attack.          Nethaniel underwent three surgical

       procedures following the attack. His chest wound was closed, a gash in his scalp was

       surgically treated and the various wounds to his arms were stitched. Nethaniel has scars from




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       these injuries. After rehabilitation, Nethaniel regained most of the use of his hands, arms and

       legs. He also suffered severe damage to both of his ear drums when the grenade exploded

       close to him. His hearing is permanently impaired in his left ear.

                  Park Hotel Suicide Bombing - March 27, 2002

                  The Naimi Family

          311.    Foruk Naimi was a citizen of Israel when she was murdered in Israel on March

       27, 2002 while celebrating the Passover Seder.

          312.    Foruk was killed when a Palestinian suicide bomber entered the Park Hotel in

       Netanya, Israel and detonated a bomb in the midst of the Passover holiday Seder. HAMAS

       claimed responsibility for this suicide bombing of a religious event which killed 30 people

       and wounded more than 100. This terror attack was within the scope of the scheme and

       conspiracy described below in which Arab Bank was a knowing and active participant.

          313.    The homicide bomber and HAMAS terrorist who committed this atrocity was

       Abdel Bassat Qassem Odeh. Odeh was assisted with the planning and execution of the terror

       attack by others, including, but not limited to, Abbas al-Sayed, from Tulkarem. In 2005,

       Abbas al-Sayed was found guilty by a District Court in Tel Aviv, Israel of overseeing the

       Park Hotel attack.

          314.    Plaintiff Moshe Naimi is a citizen of the United States and resides in New Jersey.

       He is the son of Foruk. The death of his mother has caused him severe mental anguish, pain

       and suffering, trauma and extreme emotional distress, all to his damage.



                  Suicide Bombing of Egged Bus No. 32A – June 18, 2002

                  The Gottlieb Family




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          315.    Moshe Gottlieb was a United States national who was residing in Israel on June

       18, 2002, when he was murdered by a Palestinian terrorist. HAMAS was responsible for this

       terror attack, which was carried out by HAMAS terrorist Mohammed Haza’Kaied al-Ghoul.

          316.    Dr. Gottlieb was killed on June 18, 2002, when the suicide bomber boarded

       Egged Bus No. 32A at 7:50 a.m. near Gilo, Israel and detonated a large bomb which was

       carried in a bag stuffed with ball bearings. Nineteen people were killed (from age 11 to 72)

       and 74 were injured in this terror attack. The attack completely destroyed the crowded bus

       carrying many young students to school and others to work. This terror attack was within the

       scope of the scheme and conspiracy described below in which Arab Bank was a knowing and

       active participant.

          317.    Dr. Gottlieb boarded the bus en route to Bnei Brak, located within the State of

       Israel, where he was due to work with a group of children with Down’s Syndrome. For

       years, Dr. Gottlieb had been treating these children for free once a week.

          318.    Sheila Gottlieb is a citizen of the United States and is the wife of Dr. Gottlieb.

       The murder of her husband has caused her severe mental anguish, pain and suffering, loss of

       consortium and extreme emotional distress, all to her damage.

          319.    Seymour Gottlieb is a citizen of the United States and is the son of Dr. Gottlieb.

       The death of his father has caused him severe mental anguish, pain and suffering and extreme

       emotional distress, all to his damage.

          320.    Faye Chana Benjaminson is a citizen of the Untied States and is the daughter of

       Dr. Gottlieb. The death of her father has caused her severe mental anguish, pain and

       suffering and extreme emotional distress, all to her damage.

          B.      The Defendant




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       persons within close proximity of the attacks and extreme emotional distress to the family

       members of those who were killed or injured by reason of the acts.

           463.    The financial services that the defendant knowingly provided to HAMAS by

       collecting and transmitting funds on behalf of HAMAS (with the knowledge that CBSP

       fundraises for HAMAS) assists HAMAS in its recruiting, rewarding, and providing

       incentives to suicide bombers and other terrorists. These financial services facilitate acts of

       terrorism in violation of 18 U.S.C. § 2332 that have caused injuries to the plaintiffs.

           464.    The defendant knows that it has provides material support to HAMAS, a Foreign

       Terrorist Organization, and it knows that HAMAS commits horrific terrorist attacks of the

       kind that have maimed and murdered American citizens such as plaintiffs.

           465.    Throughout the period in which it has provided financial support for the benefit of

       HAMAS, defendant was, and to this date remains, aware that HAMAS collects and receives

       funds transmitted by defendant NatWest at the request of Interpal and the Union of Good and

       that HAMAS has committed numerous criminal acts, including the suicide bombings and

       other acts of international terrorism that have injured American citizens, including plaintiffs.

           466.    Because it aided and abetted violations of 18 U.S.C. § 2332 that have caused each

       of the plaintiffs to be injured in his or her person and property, the defendant is liable

       pursuant to 18 U.S.C. § 2333(a) for any and all damages that plaintiffs have sustained as a

       result of such injuries.

                                      SECOND CLAIM FOR RELIEF

                     COMMITING ACTS OF INTERNATIONAL TERRORISM
                  IN VIOLATION OF 18 U.S.C. § 2339B(a)(1) and 18 U.S.C § 2333(a)

           467.    Plaintiffs repeat and re-allege each and every allegation of the foregoing

       paragraphs as if fully set forth herein.



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          468.    By knowingly providing financial services to HAMAS, the defendant has

       provided material support to a designated Foreign Terrorist Organization under the

       Antiterrorism and Effective Death Penalty Act of 1996 in violation of 18 U.S.C. §

       2339B(a)(1).

          469.    As stated above, the Union of Good and Interpal are major funding sources for

       HAMAS.

          470.    By providing a wide range of vital financial services to these entities, defendant

       NatWest substantially assist HAMAS in its recruiting, rewarding and providing incentives to

       suicide bombers and other terrorists.

          471.    Defendant knows of HAMAS’s terrorist activities.

          472.    Defendant knows that HAMAS had been designated a Foreign Terrorist

       Organization by the Government of the United States.

          473.    By knowingly providing material support to a designated Foreign Terrorist

       Organization, the defendant is civilly liable for damages to the plaintiffs for their injuries

       pursuant to 18 U.S.C. § 2333(a).

                                       THIRD CLAIM FOR RELIEF

              COLLECTING AND PROVIDING FUNDS FOR THE FINANCING OF
            TERRORISM IN VIOLATION OF 18 U.S.C. § 2339C and 18 U.S.C § 2333(a)


          474.    Plaintiffs repeat and re-allege each and every allegation of the foregoing

       paragraphs as if fully set forth herein.

          475.    Defendant willfully and unlawfully provides financial services to HAMS, by

       collecting, receiving, transmitting and providing funds through accounts it maintains for

       Interpal and the Union of Good and through credit card payments it receives on behalf of




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                                  Exhibit 3
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  1   UNITED STATES DISTRICT COURT
  2   EASTERN DISTRICT OF NEW YORK
      --------------------------------x
  3   MOSES STRAUSS, et al.,

  4                         Plaintiffs,
  5            -against-

  6   CREDIT LYONNAIS, S.A.,

  7                     Defendants.
      --------------------------------x
  8   BERNICE WOLF, et al.,

  9                         Plaintiffs,

 10            -against-
 11   CREDIT LYONNAIS, S.A.,

 12                     Defendants.
      --------------------------------x
 13
 14                         One Liberty Plaza
                            New York, New York
 15
                            September 1, 2010
 16                         9:27 a.m.
 17

 18                   Videotaped Deposition of Expert

 19   Witness, MATTHEW LEVITT, before Shari Cohen,

 20   a Notary Public of the State of New York.

 21

 22

 23         ELLEN GRAUER COURT REPORTING CO. LLC
              126 East 56th Street, Fifth Floor
 24               New York, New York 10022
                        212-750-6434
 25                      REF: 93800
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  1                          LEVITT
  2   Hamas?

  3            A.      The Palestinian authority has

  4   and is today in a different type of conflict
  5   with Hamas.      It also at times has been hand

  6   and glove with Hamas.      At times cooperating

  7   and participating in violence and at times
  8   politically cooperating, but most of the time

  9   in their history and in recent history, by

 10   recent history I mean things beyond the time
 11   period involved here, there has been

 12   particularly acute conflict with the exchange

 13   of ammunition you described between elements
 14   of the Fatah led Palestinian authority now

 15   dominating the West Bank and Hamas dominating

 16   the Gaza Strip.
 17            Q.      When speaking to Israeli

 18   sources, what do you do to determine that

 19   they are not giving you opinions based on

 20   their own self interest of saying things

 21   which might be disadvantageous to Hamas?

 22                    MR. GLATTER: Objection as to

 23            form.

 24            A.      There really is nothing I can

 25   do.   Well, there's very little I can do when
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  1                          LEVITT
  2   telephone, that's all you've got here and not

  3   even in the same language so.

  4            Q.     Okay, I don't know one way or
  5   the other.

  6                    MR. GLATTER: For the record we

  7            reserve our rights and objections as
  8            to the translation in the exhibit.

  9            Q.     If you could turn to page 12 of

 10   your report.     Do you see right under Roman IV
 11   the paragraph and in that paragraph the last

 12   line of it is Sheikh Yassin himself rejected

 13   the idea that Hamas's da'wa, network of
 14   charities, its leadership, military

 15   (terrorist) and political wings were

 16   uncoordinated colon and then it has a quote
 17   that says we cannot separate the wing from

 18   the body.     If we do so, the body will not be

 19   able to fly. Hamas is one body?

 20            A.     Yes.

 21            Q.     It has a footnote citing to an

 22   article in Reuters from May 27, 1998,

 23   correct?

 24            A.     Right.

 25                    MR. LUFT: If you will mark
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  1                           LEVITT
  2            this as Exhibit 6.      I believe you will

  3            tell me that this is a copy of an

  4            article from May 27, 1998 headline
  5            Yassin Sees Israel Eliminated Eithin

  6            25 Years, byline Reuters.

  7                    (Levitt Exhibit 6, Article,
  8            marked for Identification.)

  9            Q.     Is this the article you were

 10   citing to?
 11            A.     It's a version of it.

 12            Q.     Do you see the quote we cannot

 13   separate the wing from the body. If we do so
 14   the body will not be able to fly. Hamas is

 15   one body?

 16            A.     I do.
 17            Q.     In the sentence that precedes

 18   it it says Yassin said there was no

 19   separation between the Hamas political wing

 20   and the Izzadin Kassam brigades, its military

 21   arm. It says nothing about the da'wa,

 22   correct?

 23            A.     That's right.     I wonder --

 24   there are two possibilities here. Either that

 25   sentence leading into it made an error which
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  1                          LEVITT
  2   is possible.

  3            Q.     Meaning the sentence in your

  4   report?
  5            A.     My report, right.

  6            Q.     Should not have included the

  7   da'wa?
  8            A.     The other option and I don't

  9   know the answer sitting here, but this has

 10   happened many times which you actually have
 11   given me is not the copy from the Reuters

 12   website, it's from a Lexis Nexis production

 13   and it's a version of the Reuters article
 14   that ran in the Jerusalem Post.        What often

 15   happens is that multiple versions of the

 16   Reuters wire article will be run and it will
 17   appear slightly differently so you have --

 18   and sometimes it will say when you do a Lexis

 19   Nexis update whatever so that's also a

 20   possibility.     I cannot -- but I have had that

 21   experience and I had that understanding.

 22            Q.     Do you have a copy of the

 23   article that you relied upon?

 24            A.     I don't have anything with me

 25   here, but I have my files back home.
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  1                          LEVITT
  2            Q.     By agreement of the parties the

  3   way we did the documents you relied upon if

  4   there was a citation we would just find the
  5   document unless there was something we could

  6   not find so this is the version of the

  7   article, the only one that I'm aware of, I
  8   don't know if there is another, but certainly

  9   in this version it says nothing of the da'wa

 10   with regard to that quote?
 11            A.     Correct, in this version it

 12   speaks about the political wing and the

 13   military arm.
 14            Q.     If there was not another

 15   version speaking of the da'wa, then as you

 16   said this statement in your report would be
 17   incorrect?

 18            A.     I would say it mistates.      It

 19   would have been more accurate to say the

 20   civilian arm or the political arm as opposed

 21   to specifically saying the da'wa and it's

 22   possible that that was an error.

 23            Q.     You make reference to the

 24   political wing separately, correct?

 25            A.     Correct.
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  1                          LEVITT
  2            A.     For uzis and for kindergartens?

  3                    MR. GLATTER: Objection to the

  4            form of the question.
  5            Q.     Each of the 12 entities had

  6   their own bank accounts, correct?

  7            A.     Yes, in which money comes in
  8   for Hamas the organization, money gets

  9   disbursed to other entities.        Those funds,

 10   it's not like they have separate accounts for
 11   these different things and therefore the

 12   mingling, the co-mingling of these funds

 13   muddies the water.
 14            Q.     Dr. Levitt, could you point me

 15   to a specific example where any of these 12

 16   entities use money that was given to them to
 17   buy uzis?

 18            A.     No.

 19            Q.     How about any other type of

 20   weapon?

 21            A.     Not to my knowledge.

 22                    MR. LUFT: I'd like to mark as

 23            Exhibit 7 a document from February 10,

 24            2003 by Jonathan Fighel titled Hamas

 25            calls for economic Jihad against the
Case 1:05-cv-04622-DLI-RML Document 360-1 Filed 02/24/17 Page 33 of 455 PageID #:
                                    14735




                                  Exhibit 4
Case 1:05-cv-04622-DLI-RML Document 360-1 Filed 02/24/17 Page 34 of 455 PageID #:
                                    14736
                                                                         191


  1   UNITED STATES DISTRICT COURT
  2   EASTERN DISTRICT OF NEW YORK
      ---------------------------------------X
  3   MOSES STRAUSS, et al.,

  4                           Plaintiffs,
             - against -
  5
      CREDIT LYONNAIS, S.A.,
  6
                              Defendants.
  7
      CASE NO.: 06-702(DGT)(MDG)
  8   ---------------------------------------X
      BERNICE WOLF, et al.,
  9
                              Plaintiffs,
 10          - against -
 11   CREDIT LYONNAIS, S.A.,

 12                           Defendants.

 13   CASE NO.: 07-914(DGT)(MDG)
      ---------------------------------------X
 14

 15                         One Liberty Plaza
                            New York, New York
 16
                            August 12, 2010
 17                         9:45 a.m.

 18

 19          CONTINUED VIDEOTAPED DEPOSITION of Expert

 20   Witness, ARIEH SPITZEN, before Melissa Gilmore,

 21   a Notary Public of the State of New York.

 22

 23          ELLEN GRAUER COURT REPORTING CO. LLC
               126 East 56th Street, Fifth Floor
 24                New York, New York 10022
                         212-750-6434
 25                       REF: 93799
Case 1:05-cv-04622-DLI-RML Document 360-1 Filed 02/24/17 Page 35 of 455 PageID #:
                                    14737
                                                                         204


  1                           Spitzen
  2   head of the Hamas and he was at that time also

  3   the head of the Mujama, he is the one who makes

  4   the decisions or made the decision -- decisions
  5   regarding the content, regarding -- regarding

  6   the content that those schools and those

  7   nursery schools will teach the children and
  8   pass over to the children.

  9                I cannot be sure whether he will be

 10   in charge of their schedule when they will go
 11   out for recess and when they will not.

 12         Q.     Mr. Spitzen, my question to you is

 13   how -- how -- let me strike that.
 14                Mr. Spitzen, did you, in doing your

 15   analysis, endeavor to try to determine which

 16   decisions and actions taken by the 13 entities
 17   were taken and made by individuals because of

 18   their roles at the 13 entities or because of

 19   their alleged roles at Hamas?

 20                MR. GLATTER:     Objection as to form

 21         and foundation.

 22         A.     No, this was not the method or the

 23   way of my research.

 24         Q.     And Mr. Spitzen, did -- did you, in

 25   conducting your analysis to offer these expert
Case 1:05-cv-04622-DLI-RML Document 360-1 Filed 02/24/17 Page 36 of 455 PageID #:
                                    14738
                                                                         205


  1                           Spitzen
  2   opinions, endeavor to try to determine whether

  3   an individual, who you allege to be a member of

  4   Hamas and to have either been a volunteer or
  5   employee of one of the 13 entities, whether

  6   their actions were done because they were

  7   acting on behalf of Hamas or because they were
  8   acting on behalf of one of the 13 entities?

  9                MR. GLATTER:     Same objection.

 10         A.     Again, this is not the way I was
 11   working.    Your basic assumption in this

 12   question is that these associations are one

 13   thing and the Hamas is another thing.         I
 14   determine in my expert opinion, and I insist on

 15   it, that these entities are part of the

 16   infrastructure of Hamas.
 17         Q.     Mr. Spitzen, is it your expert

 18   opinion that there is no -- no distinguishment

 19   between the 13 entities and Hamas?

 20                MR. GLATTER:     You can answer.

 21         A.     Yes, and I'm also saying it at the

 22   end of each of the sections, that these

 23   associations are part of the civilian

 24   infrastructure of the Hamas.

 25                MR. TURNER:     I think it was
Case 1:05-cv-04622-DLI-RML Document 360-1 Filed 02/24/17 Page 37 of 455 PageID #:
                                    14739




                                  Exhibit 5
        Case 1:05-cv-04622-DLI-RML Document 360-1 Filed 02/24/17 Page 38 of 455 PageID #:
                                            14740
                                                                                                             Osn¡r u,c
                                                                                                        ATTORNEYS AT LAW
                                                                                                             WW!V.OSENLAWCOM

2 UNrvERsrry Pr¿ze, Surrp 201, H¡crrwsacK, NJ 07601                       345 SEVENTH AVENUE, 21sT FIoOR, Npw YoRK, }[Y IOOOI-
1. 20t.265.6400 F. 201.265.0303                                                                T. 646.380.0470 F. 646.380.0471




                                                         May 11,2016


         VIA E- MAII,

         Lawrence B. Friedman, Esq.
         Cleary Gottlieb Steen & Hamilton LLP
         1 Liberty Plaza
         New York, New York 10006


                    Re:    Strauss, et al, v. Crédít Lyonnaís,,S.,4.,06-cv-702 (DLI)(MDG)
                           llolf, et al. v. Crédit Lyonnaís,5,A.,07-cv-914 (DLI)(MDG)
                           Weiít, et ø1, v. Natíonal ll/estminster Bank Plcr05-cv-4622 (DLIXMDG)
                           Applibaum, et al, v, Natíonøl w/estmínster Bank Plc,07-cv-916 (DLIXMDG)


         Dear Larry:

                                                                          parties' May 17 court conference
                                            -further in advance of the
                 V/e write on behalf of all plaintiffs
          before Magistrate Judge Go and             to our April 7 call, during which we discussed the
          parties, prã+riul plans-following Judge Irizarry's March 31 denial in full of both CL's
                                                                                                        and
          NatWest,s motions for dismissal for lack of personal jurisdiction, or in the
                                                                                            alternative for
          summary judgment. The following reflects plaintiffs' pre-trial intentions:

                                                                                                              in
               1.   We plan to amend the Strauss and Weiss complaints to add new plaintiffs implicated
                    attacks already encompassed in the CLlNatl4¡esl complaints. We also
                                                                                              plan  to  add new
                    capacities, ,uõh u, estâtes of already existing plaintiffs in the Strauss, llolf,
                                                                                                       Weiss and
                                                                                                            were
                    Apptebaum cases, reflecting deaths that have occurred since the CLlNatwesl        cases
                    filed.

                        also plan to amend the Weiss and Apptebaum complaints to add_two attacks
                    'We                                                                              already
               2.                                                                                           l,
                                                                                                December
                    encompassed in the CL complaints      -  the Ben Yehuda Street Bombings,
                                                                                                        Arab
                    2001 and the Patt Junction Bus #324 Bombing, June 18, 2002. Mr. Kohlmann's
                    Bank expert report (which you have) addresses Hamas's    responsibility for the June  18,
                                                                                                      on  the
                    2002 attacklhis repàrt in the Credit Lyonnais and NatW/e,s/ cases already opines
                    December 1, 200l ittack¡ and Dr. Shaked's supplemental expert report in
                                                                                                CL addresses
                    both attackr. W. ur. pr.p*.d to stand on ths contents of those reports    and  adopt the
                    opinions as to those two attacks for the Natílest case'
Case 1:05-cv-04622-DLI-RML Document 360-1 Filed 02/24/17 Page 39 of 455 PageID #:
                                    14741
Lawrence B. Friedman, Esq
May 11,2016
Page2 of2



   3.   We do not plan to add any plaintifß injured in attacks that are not already encompassed
        in the CL and NatW'est complaints or in the amendment proposed above.

   4.   We plan to supplement our discovery production with some limited additional materials
        relating to Hamas, in light of the long time-lapse since the conclusion of fact discovery.
        We will send you a separate letter on these supplemental disclosures in the next two
        weeks. Although we do not anticipate that any of these materials will affect the contents
        of the motions you have indicated you intend to file, we will, of course, afford you an
        opportunity to review them before committing to a briefing schedule on your proposed
        motions, without prejudice to your making any objections you may have to the use of
        such materials at trial.

   5.   We plan to file a motion to consolidate the CL and NatlV'est cases for bifurcated trial
        pursuant to Fed. R. Civ. P. a2@) and will discuss or propose a briefing schedule for that
        motion.

   6.   We remain prepared to consider and convey any settlement offers defendants wish to
        proffer, but we decline your invitation to repeat the process that we engaged in three
        years ago regarding potential resolution of the Crédit Lyonnais case.

        If you would like to discuss any of these   -   or any other   -   issues before the conference,
please let us know.



                                             S




                                                    M.


 cc:    All Counsel
Case 1:05-cv-04622-DLI-RML Document 360-1 Filed 02/24/17 Page 40 of 455 PageID #:
                                    14742




                                  Exhibit 6
Case 1:05-cv-04622-DLI-RML Document 360-1 Filed 02/24/17 Page 41 of 455 PageID #:
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       Second Supplemental Expert Report
                                       Of
                           Ronni Shaked
             Strauss v. Crédit Lyonnais, S.A. 06 CV 702 (DLI)(MDG)
              Wolf v. Crédit Lyonnais, S.A. 07 CV 914 (DLI)(MDG)
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                            March 28, 2001 – Suicide Bombing at Neve Yamin

            a. The terrorist attack

  At 7:25 a.m., a powerful explosion was heard at the Mifgash Hashalom gas station, near the
  Neve Yamin Junction, not far from the southern entry checkpoint to Qalqilya. A suicide bomber,
  carrying on his person an improvised bomb, blew himself up. The suicide bombing resulted in
  six casualties, all of them incurred by young men who had been waiting for the bus to transport
  them to a yeshiva high school they attended.

      This is where the attack
              took place




                Neve
               Yamin




  Shmulik Friedman, aged 16, recounted: “I stood with my back to my friends, some distance
  away from them, and suddenly I heard a strong explosion. I turned around but I couldn’t see
  anything, everything was full of smoke. A few seconds later I came to my senses, and I saw my
  friends lying on the floor. It took me a long time to understand what had happened.”

  Rina Hochman, a pediatrician, was at the gas station when the explosion occurred. “I ran in the
  direction of the explosion, and I saw the children lying there,” said Hochman. “Two of them
  were in serious condition. I started performing CPR on them. It was a terrible sight.”

  The mother of one of the wounded said: “You send your child to school in the morning, and
  these are the results. How long will this go on?”1




  1
      Yediot Aharonot, March 29, 2001.


                                                  1
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                                    14745


          b. Evidence and Legal Attribution

                  1) The assumption of responsibility

  Hamas’s official website published an announcement about the suicide bombing at Neve Yamin,
  in which responsibility was claimed by the Izz al-Din al-Qassam Brigades. The official
  announcement emphasizes the name of the suicide bomber Fadi Atallah Amer as the one who
  carried out the operation. The announcement stated:
          “He carried a bag filled with explosives, approached the military target at which
          the operation was directed, and detonated the bomb in the vicinity of three
          soldiers stationed at the checkpoint. He killed two of them and wounded seven.”
          The announcement is signed in the name of the “Martyr of the Izz al-Din al-
          Qassam Brigades, Palestine, Jerusalem.”2

  The official website of the Izz al-Din al-Qassam Brigades also published the announcement
  claiming responsibility for the suicide bombing. The center of the announcement contains the
  logo of the Izz al-Din al-Qassam Brigades, while on both sides it was written, in English and
  Arabic: “Izz al-Din al-Qassam Brigades, the military wing of Hamas, Information Office.” The
  announcement, signed by the Izz al-Din al-Qassam Brigades, claims responsibility for the
  suicide bombing carried out by Fadi Atallah Amer from Qalqilya. 3

  It should be noted that the announcement claiming responsibility was published by Hamas on or
  about April 12, 2001, about two weeks after the suicide bombing. The Hamas announcement
  claimed that the publication had been delayed due to “security reasons.”4 In my view, Hamas
  delayed taking responsibility for the attack because of concerns of collective punishment of the
  residents of Qalqilya due to the large number of terrorist attacks emanating from the town at that
  time. Hamas claimed responsibility for the terrorist attack only after the suicide bomber had been
  identified by the Israel Defense Forces and the Israel Security Agency.

                  2) Pictures

  Hamas prepared a poster in honor of the suicide bomber. The logo of the Izz al-Din al-Qassam
  Brigades appears in the center of the poster, and this is to emphasize that the attack was carried
  out by Hamas. Under the picture is written, “The martyr, the hero Fadi Atallah Amer, who
  carried out the operation on March 8, 2001.” On the poster appear other symbols; for example,
  the picture of a terrorist dressed in white funeral shrouds to symbolize a suicide bomber, two

  2
    W_S089569.
  3
    http://www.alqassam.ps/arabic/sohdaa5.php?sub_action=byan&id=101.
  4
    W_S089569; see also the forensic report W_S161554-66 and W_S161567-72.


                                                     2
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  rifles symbolizing the struggle, and a picture of the Dome of the Rock, at the al-Aqsa site, to
  symbolize the religious context.5




  Another poster prepared by Hamas connects the suicide bomber and the al-Aqsa mosques in
  Jerusalem, to emphasize the religious context:6




  Two additional posters were prepared by Hamas that connect the suicide bomber Fadi Atallah
  Amer with the Hamas commanders of Qalqilya and with the suicide bombing carried out by
  Hamas at the Dolphinarium in Tel Aviv. The posters were placed at a school in Qalqilya: 7




  5
    W_S089553.
  6
    http://www.palestine-info.com/arabic/hamas/shuhda/fadi/fadi.htm.
  7
    http://www.terrorism-info.org.il/malam_multimedia/html/final/sp/sib3_04/k_apc.htm.


                                                         3
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  Another poster of Amer, which includes the Hamas emblem: 8




  A poster was prepared in memory of Abd al-Rahman Hamad, the Izz al-Din al-Qassam Brigades
  commander who was responsible for the terrorist attack at Neve Yamin. The poster incorporates
  Hamas symbols:9




  8
      http://4qalqilia.ps/old/martyres4.htm.
  9
      http://4qalqilia.ps/old/martyres4.htm.


                                               4
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                  3) Official Hamas reports

  a.      Hamas published on its official website a report on ten suicide bombings during 2001.
          The suicide bomber in Neve Yamin was referred to as the “third messenger.” The report
          also includes pictures of the suicide bomber. The following are the details from the
          report:
                The third messenger – The martyr, the hero Fadi Atallah Yusuf
                Type of operation: Explosive belt
                Location of the operation: Military checkpoint separating Qalqilya and Kfar
                   Saba.
                Amount of explosive: 10 kilograms
                Enemy losses: Two killed and seven wounded, one died subsequently from
                   his wounds.
                Place and date of birth: Qalqilya, 1979
                Date of his death: March 28, 2001.10

  b.      The Book of Martyrs of the Izz al-Din al-Qassam Brigades published a picture and a
          report on the suicide bomber Fadi Atallah Amer. 11

  c.      Qassamion, the official monthly journal of the al-Qassam Brigades, published a report on
          the Hamas operation. The operation is listed as the third of ten operations, and was
          carried out by the suicide bomber Fadi Atallah, “who blew himself up at a military
          checkpoint between Qalqilya and Kfar Saba, and killed two combat soldiers and
          wounded seven others.”12

  d.      The official website of the Izz al-Din al-Qassam Brigades published a report on Hamas
          operations, under the title, “Pages of Heroism.” The report on the suicide bombing at
          Neve Yamin states that it was carried out on March 28, 2001, at a military checkpoint
          separating Qalqilya and Kfar Saba, by Fadi Amer from the town of Qalqilya. 13

  e.      The official website of the Izz al-Din al-Qassam Brigades published a list of all the
          terrorist attacks that it had carried out in the month of March in the years 1989 to 2008.

  10
     http://www.palestine-info.com/arabic/hamas/glory/kasamten.htm.
  11
     http://www.alqassam.ps/arabic/sohdaa5.php?sub_action=sera&id=101; see also
  http://www.alqassam.ps/arabic/sohdaa5.php?sub_action=sera&id=101.
  12
     http://www.alqassam.ps/arabic/upload/qassamion_5.pdf.
  13
     http://www.xn--mgbx8bo.com/arabic/statistics1.php?id=59.


                                                        5
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          According to the website, on March 28, 2001, Fadi Atallah Yusuf Amer, from the town
          of Qalqilya, carried out a “martyrdom operation” when he blew himself up at “a military
          checkpoint separating Qalqilya and Kfar Saba. The operation caused the deaths of three
          Zionists and wounding of seven more.”14

  f.      The Book of Martyrs on the official website of the Izz al-Din al-Qassam Brigades
          provides a full report on the operation by the terrorist Fadi Atallah Yusuf Amer, and calls
          him a “Qassami [member of the Izz al-Din al-Qassam Brigades] holy warrior.” The
          report includes the suicide bomber’s life story, notes that the al-Qassam Brigades
          mourned “their martyr,” and provides the official announcement by the Izz al-Din al-
          Qassam Brigades taking responsibility for the attack. The report notes that the operation
          was carried out using an explosive belt weighing 10 kilograms, and states that Amer was
          a commander in the Izz al-Din al-Qassam Brigades.15

  g.      Hamas’s official website published a special report on the suicide bomber that includes a
          poster made in his honor. The report provides details on the attack, and glorifies and
          praises the suicide bomber Fadi Atallah Amer. The report sets forth a checklist of
          significant details of the operation:
                 Details of the operation:
                 Type of operation: Explosive belt
                 Location of the operation: A military checkpoint separating Qalqilya and
                    Kfar Saba.
                 Amount of explosive: 10 kilograms
                 Enemy losses: Two killed and seven wounded, one of whom died later from
                    his wounds.
                 Date on which the sacrifice operation was carried out: March 28, 2001.16




  14
     http://www.alqassam.ps/images/userfiles/image/books/information_office/alqassam_history/3.html.
  15
     http://www.alqassam.ps/arabic/sohdaa5.php?sub_action=sera&id=101.
  16
     W_S089553-54.


                                                         6
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                                    14750


         c. Official Documents of the Israeli Government


                 1. Report of the Israel Security Agency

                                          March 28, 2001
              Explosion of a Suicide Bomber near the Gas Station at Neve Yamin
                                    2 killed and 4 wounded

         “The suicide bomber Fadi Amer
         A resident of Qalqilya, aged 23, single, a Hamas operative, a student at the “Open
         University” in Qalqilya, blew himself up at the gas station on Highway No. 444
         south of the Kfar Saba East Junction, near a group of high school students who
         were waiting at the gas station for their bus to the school in Kedumim. The Hamas
         infrastructure in Qalqilya was responsible for carrying out the terrorist attack. The
         suicide bomber was sent by Jibril Jibril and Tarek Barzilai, Hamas military
         operatives from Qalqilya. The operatives updated Abd al-Rahman Hamad
         (killed) and Raed Hutari, a senior Hamas military operative, with respect to the
         terrorist attack, so that they could take responsibility. Ibrahim Dahmas, a Hamas
         operations operative from Qalqilya, also admitted during his interrogation to
         connections with the suicide bomber and that he was aware of the planning for the
         terrorist attack.17


                 2) Police Report

  An expert report by the Israel Police’s explosives expert determined that the bomb used in the
  attack was improvised. The explosives expert determined that the bomb was made of an
  improvised explosive, with an electrical operating system that included a battery and electrical
  conductors, as well as a pipe that served to house the bomb. All of the aforementioned facts are
  evidence, according to the expert, of an improvised bomb. The report also presents pictures from
  the scene of the event, indicating the connection between the explosion and its results. 18


                 3) Report of the Israeli Ministry of Foreign Affairs

  A report by the Israeli Ministry of Foreign Affairs mentions the terrorist attack at the Mifgash
  Hashalom gas station, near the entrance to Ramallah, in which two Israelis were killed. The
  report states that Hamas had claimed responsibility for the terrorist attack.19

  17
     W_S089727.
  18
     W_S161554-66 and W_S161567-72.
  19
     W_S089556.


                                                  7
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          d. Additional Supporting Material

                  1) Symbolic Funeral

  Members of the Islamic Bloc at the branch of the al-Quds Open University held a “symbolic
  funeral” for Fadi Atallah. (In cases of suicide bombings, Israel does not customarily return the
  body of the suicide bomber to his family; rather, it is sent for burial in the cemetery for the
  “enemy fallen,” maintained by the Israel Defense Forces.) The symbolic funeral procession
  ended at the home of the suicide bomber’s parents, where members of the Izz al-Din al-Qassam
  Brigades were called on to re-enact the actions of the suicide bomber. 20

                  2) Mourners’ Tent

  Hamas’s official website indicated that, as part of the mourning by the Izz al-Din al-Qassam
  Brigades for “their martyr,” a mourners’ tent was set up, which was adorned with green flags. 21

                  3) Memorial Assembly

  On the third day following Amer’s death, Hamas held a memorial rally in Qalqilya for him, in
  which most of the town’s residents participated. During the rally, a speech by the head of
  Hamas’s Political Bureau, Khalid Mishal, was relayed by telephone.22

          e. Summary of the Suicide Bombing at Neve Yamin

  From all the materials surveyed above, I conclude that the principal members of Hamas involved
  in the terrorist attack are as follows:

  1.      The suicide bomber – Fadi Atallah Yusuf Amer. Born in 1979, a resident of Qalqilya, a
          student at the al-Quds Open University branch in his hometown, in the Department of
          Islamic Studies. He was a member of Hamas and considered by the organization to be
          one of the leaders of the Izz al-Din al-Qassam Brigades.23 A short time before carrying
          out the terrorist attack, he submitted an application to the Waqf offices to be accepted for
          employment as a muezzin at one of the mosques. He was a member of the Muslim
          Brotherhood movement.24 He completed his high school studies in Qalqilya, continued

  20
     http://www.alqassam.ps/arabic/sohdaa5.php?sub_action=sera&id=101; see also W_S089553-54.
  21
     W_S089553-54.
  22
     http://www.alqassam.ps/arabic/sohdaa5.php?sub_action=sera&id=101; see also W_S089553-54.
  23
     W_S089553-54.
  24
     http://www.alqassam.ps/arabic/sohdaa5.php?sub_action=sera&id=101.


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          studying at a religious college in Qalqilya, and then continued his academic studies at a
          branch of the al-Quds Open University. 25

  2.      Abd al-Rahman Hamad – Commander in the Izz al-Din al-Qassam Brigades, to whom
          responsibility for dispatching the suicide bomber for the terrorist attack at Neve Yamin is
          ascribed. Hamad was assassinated by Israel on October 14, 2001. The Izz al-Din al-
          Qassam Brigades considered him one of their military commanders, and the Hamas
          website published a special report about him. At the top of the page is his picture, above
          which is written, “The holy warrior of Qassam [member of the al-Qassam Brigades] Abd
          al-Rahman Hamad.”26

          A picture of Hamad appears in a Hamas poster. Surrounding his picture are pictures of
          other Hamas operatives from Qalqilya, including a picture of the suicide bomber Fadi
          Atallah. 27

          The official Hamas website published a photo of Abd al-Rahman Hamad, above which
          was written, “The martyr, the hero Abd al-Rahman Sa’id Muhammad Hamad.”28

          On another Hamas website, Abd al-Rahman Hamad is mentioned as “one of the
          commanders of the Qassam in Qalqilya.”29

          In The Book of Hamas Martyrs, the name of Abd al-Rahman Hamad appears as one of
          the martyrs of the Izz al-Din al-Qassam Brigades, and it is stated that he was a “Qassami
          [member of the Izz al-Din al-Qassam Brigades] holy warrior.”30

  3.      Ayman Halawah – Commander of Hamas in the Nablus area, who had earned the
          nickname Hamas Engineer No. 3. Halawah was a student in the Department of Electrical
          Engineering at Bir-Zeit University, and during the 1990s had prepared bombs for suicide
          bombers. He is considered to be responsible for the suicide bombings at the
          Dolphinarium and the Sbarro pizzeria. Halawah was assassinated by Israel on October
          22, 2001.31

  25
     W_S089553-54; see also http://www.palestine-info.com/arabic/hamas/shuhda/fadi/fadi.htm.
  26
     W_S089550-52.
  27
     http://www.terrorism-info.org.il/malam_multimedia/html/final/sp/sib3_04/k_apc.htm.
  28
     http://www.palestine-info.com/arabic/hamas/shuhda/abdalrahman/hamad.htm.
  29
     http://www.paldf.net/forum/showthread.php?t=687748.
  30
     http://www.alqassam.ps/arabic/sohdaa5.php?sub_action=sera&id=79.
  31
     http://www.alqassam.ps/arabic/special1.php?all=all&&&sid=4017; see also
  http://www.alqassam.ps/arabic/special1.php?all=all&&&sid=4020; see also Guy Aviad, Lexicon of the Hamas
  Movement, Tel Aviv, Maarakhot, p. 101.


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  4.         Selim Hija – A resident of the village of Burqa, born in 1972, a student at al-Najah
             University. Joined Hamas in 1989. At the beginning of the Second Intifada, he was
             recruited into the Izz al-Din al-Qassam Brigades by Ayman Halawah, commander of
             Hamas’s Izz al-Din al-Qassam Brigades in Nablus, and appointed as his close assistant.
             For the suicide bombing at the Dolphinarium, he served as operations officer and liaison
             between Hamas’s military infrastructure in Nablus and Ramallah. He was arrested and
             sentenced by the military court to 16 life sentences and an additional 30 years. 32

  5.         Tareq Muhammad Abd al-Latif Abu Mariam – A resident of Qalqilya, born in 1982.
             Joined Hamas in 1997. Abu Mariam recruited the suicide bomber for the March 28, 2001
             suicide bombing at Neve Yamin. Abu Mariam was arrested in July 2002 and in June
             2004 was sentenced to 2 life sentences plus an additional 15 years. 33

           f. Conclusion

  The many documents cited in this report, particularly Hamas documents, show that Hamas is
  responsible for the terrorist attack at Neve Yamin. The other activities carried out, from the
  symbolic funeral, to the setting up of a mourner’s tent, and also the memorial rally that included
  the speech by Khalid Mishal, head of Hamas’s Political Bureau, that was relayed via telephone,
  further substantiate this conclusion.

  Hamas did not attempt to hide its responsibility for the terrorist attack at Neve Yamin. On the
  contrary, the suicide bomber and the members of the cell responsible for the attack enjoyed its
  respect and admiration. Additionally, in Qalqilya in particular and throughout the Palestinian
  Territories in general, attempts were made to transform the suicide bomber into a role model and
  a figure for emulation.

  Based on my familiarity with Hamas’s modus operandi, and the evidence deduced from the
  Hamas documents, mourning ceremonies, symbols and pictures, referenced above, I conclude
  with a very high degree of probability (and indeed I have no doubt) that Hamas is responsible for
  the suicide bombing at the gas station in Neve Yamin.




  32
       Guy Aviad, Lexicon of the Hamas Movement, pp. 97-98.
  33
       See W_S161576-82 and W_S161583-93.


                                                        10
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                      August 9, 2001 – Suicide Bombing at Sbarro in Jerusalem

          a. The terrorist attack

  On August 9, 2001, at 1:55 p.m., a suicide bomber detonated a bomb at the Sbarro pizzeria on
  the corner of Jaffa Road and King George Street, a heavily trafficked intersection in Jerusalem.

  About five minutes after the blast, I arrived at the location of the incident. I noted that a strong
  smell of burning filled the air, and observed many wounded people covered in blood lying on the
  sidewalk.

  The suicide bombing resulted in 15 killed, approximately 130 wounded. Among those killed
  were five members of a single family, the Schijveschuurder family: the father of the family, his
  wife, and three of their children. Two of their other children were seriously injured. 34 As CNN
  reported:
          Thursday’s blast rocked the Sbarro restaurant -- at the intersection of King
          Georges Street and the Jaffa Road, a major artery going into central Jerusalem
          during the busy lunch hour. … Television pictures after the blast showed a scene
          of devastation, panic and chaos. A woman covered with blood held a cloth to her
          face as she stood in front of the restaurant. Other injured people lay bleeding on
          the street; others were led away screaming as the severely injured were being
          loaded into the back of ambulances and carried away on stretchers. The inside of
          the restaurant was littered with broken plaster, fixtures and furniture….
          Thursday’s bombing was the worst suicide attack since a June 1 suicide bomber
          killed 21 people at a Tel Aviv disco 35

  The terrorist operation at Sbarro in Jerusalem was coordinated and arranged by the headquarters
  of the Izz al-Din al-Qassam Brigades in the West Bank: the command in Nablus initiated the
  attack, and decided on carrying out a mass terrorist attack. The organization’s infrastructure in
  Ramallah was asked to identify a suitable target, to prepare an explosive device, and to send the
  suicide bomber to Jerusalem. The infrastructure in Jenin was asked to find the terrorist to carry
  out the suicide bombing.36




  34
     Yediot Aharonot, August 10, 2001.
  35
     CNN Jerusalem Bureau Chief Mike Hanna and Correspondent Jerrold Kessel contributed to this report – August
  9, 2001.
  36
     See Guy Aviad, Lexicon of the Hamas Movement, p. 144.


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                                        37



          b. Evidence and Legal Attribution

                  1) The assumption of responsibility

  In the evening following the terrorist attack, an announcement by the Izz al-Din al-Qassam
  Brigades was published in Jenin, in which Hamas claimed responsibility for the terrorist attack at
  Sbarro.38 The announcement was received by facsimile at the editorial offices of Yediot
  Aharonot in Jerusalem.

  The following is the content of the announcement:
          Military manifest on behalf of the Izz al-Din al-Qassam Brigades. With the help
          of Allah and his assistance, the Qassami holy warrior, Izz al-Din Suheil Ahmed
          al-Masri, of the village of Aqabah near Jenin, carried out a martyrdom
          operation…39
          On Thursday afternoon, August 9, 2001, the martyrdom operation was carried out
          at Sbarro Restaurant, in the heart of occupied Jerusalem, which caused Zionist
          deaths and injuries, this being in revenge for our children, women, and old people,
          whose blood was spilled in defense of Jerusalem and Palestine, and as a gift to the
          spirits of the Martyrs in Jenin, Mahmoud Musa Abu Musaab and Jamal Sif a-Din
          Abu-Daya, and in revenge for the killing of the holy warriors and commanders,
          Jamal Mansour and Jamal Selim and Salah Darawza. This blow is the prelude to a
          chain of blows by the al-Qassam Brigades as a lesson to the Jews… [signed] The
          Martyr Brigade Izz al-Din al-Qassam, Jenin District, the military wing of the
          Islamic Resistance Movement Hamas. Thursday, August 9, 2001.40

  At the top of the announcement, in the center of the page, is the symbol of the Izz al-Din al-
  Qassam Brigades. To the right of the symbol appears the inscription in Arabic “Izz al-Din al-
  Qassam Brigades, the military wing of the Hamas Movement, Information Office.” To the left of


  37
     http://news.bbc.co.uk/2/hi/middle_east/1483492.stm.
  38
     Yediot Aharonot, September 10, 2001.
  39
     http://www.alqassam.ps/arabic/byan_poup.php?id=3976.
  40
     http://www.alqassam.ps/arabic/byan_poup.php?id=3976; see also W_S090067.


                                                      12
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  the symbol appears the same inscription in English. The official announcement, signed by the
  “Izz al-Din al-Qassam Brigades, the military wing of the Hamas Movement” claimed full
  responsibility for the terrorist attack, and provides the date and the name of the suicide bomber
  Izz al-Din al-Masri. The announcement quotes verses from the Quran, as well as slogans from
  the Hamas repertoire, such as “Jihad is Victory or Sacrifice,” “Allah is Great and Victory to
  Islam.”41

  a.     On August 9, 2001, at 6:00 p.m., the London daily, The Guardian, published initial
         details about the terrorist attack. The report noted that the (Palestinian) Islamic Jihad in
         Beirut had claimed responsibility for the terrorist attack, stating that the suicide bomber
         was Hussein Omar Abu Nasa, aged 23.42 This report was, of course, wrong. The claim by
         the Islamic Jihad for the attack apparently resulted from the fact that the Islamic Jihad
         was making preparations to send a suicide bomber to Jerusalem at that very time, its
         headquarters had approved the operation, and it seems that the headquarters thought that
         the bombing at the Sbarro pizzeria had been carried out by their organization on the basis
         of the approval it had granted. Hours later, when it turned out that Hamas had, in fact,
         perpetrated the terrorist attack, Islamic Jihad made no further attempts to claim
         responsibility.

  b.     The Israeli Ministry of Foreign Affairs published a report about the terrorist attack at
         Sbarro pizzeria on August 9 in the afternoon, a few hours following the terrorist attack.
         The report states that Hamas and the Islamic Jihad had claimed responsibility. 43 In my
         view, this error arose because the report was published so close in time to the attack,
         relying on announcements made up to the time of the official announcement by Hamas.
         As stated, in the evening following the attack, when the official announcement by Hamas
         was published – no other organization other than Hamas claimed responsibility.


                 2) Pictures

  The first picture was given to the Reuters news agency on August 9, 2001, some hours following
  the execution of the terrorist attack. In the picture the suicide bomber can be seen wearing a
  bandana on his head, bearing the inscription “Izz al-Din al-Qassam Brigades,” holding a rifle in
  one hand, and a Quran in the other. Behind him a poster in the green color of Hamas is visible.

  41
     W_S090067.
  42
     http://www.guardian.co.uk/world/2001/aug/09/israel.
  43
     http://mfa.gov.il/MFA/MFA-
  Archive/2000/Pages/Suicide%20bombing%20at%20the%20Sbarro%20pizzeria%20in%20Jerusale.aspx.


                                                  13
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  The picture was published in all the newspapers the day after the terrorist attack, including
  Yediot Aharonot.44



            The suicide bomber




  Three additional pictures of the suicide terrorist appeared on Hamas websites:




                                              45




                                                     46




  44
     Yediot Aharonot, August 10, 2001.
  45
     http://www.alqassam.ps/images/userfiles/image/album/shohdaa/ezz_masri/ezz_masri2.jpg.
  46
     http://www.alqassam.ps/arabic/sohdaa5.php?sub_action=picture&id=250.


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                        47



  Hamas prepared a poster in which the picture of Izz al-Din al-Masri appears on the background
  of a picture of the Sbarro pizzeria after the terrorist attack.48




  Following the terrorist attack, Hamas prepared a poster linking the suicide bomber to the Izz al-
  Din al-Qassam Brigades.49




  A poster of Ayman Halaweh, the commander of Hamas in Nablus and who approved dispatching
  the suicide bomber, against the background of the symbol of the Izz al-Din al-Qassam Brigades;
  under the picture is the caption, “The martyr, the Engineer No. 3, Ayman Adnan Halaweh.”




  47
     http://www.aqsaa.com/vb/showthread.php?t=79488.
  48
     http://www.alqassam.ps/arabic/operations2.php?id=56.
  49
     http://www.aqsaa.com/vb/showthread.php?t=79488.


                                                        15
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                                            50



  Hamas prepared a poster in memory of Ayman Halaweh:51




  Pictures of Qeis Adwan, an al-Qassam Brigades operative in the Jenin Refugee Camp who
  recruited Izz al-Din al-Masri to the Izz al-Din al-Qassam Brigades, were posted on Hamas’s
  websites:




                                       52



  50
       http://www.palsharing.com/i/00003/ijxi7tl3etkz.jpg.
  51
       http://www.alqassam.ps/arabic/upload/halawa2.jpg.


                                                             16
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                                       53




                   3) Material from Hamas websites

  a.      Al-Kutla al-Islamiya – On the website of the Islamic Bloc (al-Kutla al-Islamiya),
          Hamas’s student organization in the universities, there is a complete description of the
          operation at the Sbarro pizzeria by Hamas, including mention of the name of Izz al-Din
          al-Masri, who carried out the suicide bombing. 54

  b.      The official Hamas website – A photo of Izz al-Din al-Masri appears on the official
          Hamas website below the caption, “The Qassami [member of the Izz al-Din al-Qassam
          Brigades] Izz al-Din al-Masri (23), hero of the martyrdom operation on Jaffa Road in the
          heart of Jerusalem, who killed 19 Zionists and wounded more than one hundred, in
          revenge for the killing of Hamas’ political commanders in Nablus, Bethlehem and
          Qalqilya. [His operation was carried out] on August 9, 2001.”55

  c.      The official Hamas website – The official Hamas website published the story of the
          terrorist Ahlam Tamimi, under the title “Stories of Heroism and Pioneering.” The report
          states that “She was the first woman in the Izz al-Din al-Qassam Brigades,” and also tells
          the story of her life, including her part in the suicide bombing at the Sbarro pizzeria. 56

  d.      Al-Kutla al-Islamiya – The website of al-Kutla al-Islamiya published a complete report
          on Ahlam Tamimi, including her recruitment into Hamas, emphasizing her being the first
          woman in the ranks of the Izz al-Din al-Qassam Brigades. The report describes in detail
          her role as a member of Hamas in the terrorist attack at Sbarro. A picture of Ahlam
          Tamimi also appears in the report.57

  52
     http://www.alqassam.ps/arabic/sohdaa5.php?sub_action=picture&id=215.
  53
     http://www.palestine-info.com/arabic/spfiles/suhada_2005/sh_jenin/qees.htm.
  54
     http://www.alkotla-f.ps/vb/showthread.php?p=124114.
  55
     W_S090054.
  56
     http://www.palestine-info.com/arabic/feda/2004/tamemee.htm.
  57
     http://www.alkutla.org/ib/index.php?showtopic=19232.


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  e.      The official Hamas website – The website devoted three pages to the life story of cell
          member Muhammad Daghlas, emphasizing his involvement in the terrorist attack at the
          Sbarro pizzeria.58

  f.      The official Hamas website – The Hamas website devotes two pages to Sayed Sheikh
          Qassam, Ibrahim Hamed’s deputy. The report mentions the Sbarro operation, and also
          presents the picture of his funeral, with him wrapped in the Hamas flag. 59 Below is a
          picture of Sayed Sheikh Qassam, which appeared on Hamas’s website, on which is the
          caption, “The Qassami [member of the al-Qassam Brigades] martyr.”




                                     60



  g.      Al-Qassam Publication – After Sayed Abd al-Karim Qassam was killed, Hamas issued
          an official announcement in which it announced his death, mentioning that he was a
          “commander.” The center of the announcement contains the logo of the Izz al-Din al-
          Qassam Brigades, while on both sides it was written, in English and Arabic: “Izz al-Din
          al-Qassam Brigades, the military wing of Hamas Information Office.” The
          announcement emphasizes the fact that Qassam was a senior commander.61

  h.      Al-Qassam Publication – On the Izz al-Din al-Qassam Brigades website, an internet
          page was devoted to Izz al-Din al-Masri, with the title, “Hero of the martyrdom operation
          in Jaffa Road in the center of occupied Jerusalem.” The picture of the suicide bomber is
          placed at the top of the page; from that page there are three links to a page with his life
          story, a page with the official announcement accepting responsibility for the terrorist


  58
     W_S090057 - W_S090059.
  59
     http://www.palestine-info.com/arabic/spfiles/suhada_2005/ram_allah/sayeed.htm.
  60
     http://www.palestine-info.com/arabic/hamas/shuhda/2003/saied/saied1.jpg.
  61
     http://www.alqassam.ps/arabic/sohdaa5.php?sub_action=byan&id=368.


                                                        18
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          attack at Sbarro and that Izz al-Din al-Masri was the suicide bomber, and a page with
          pictures of the suicide bomber.62

  i.      Al-Qassam Publication – The official website of the Izz al-Din al-Qassam Brigades
          published, approximately nine years after the Sbarro bombing, a special report entitled,
          “Al-Masri avenged the blood of the martyrs and killed 20 Zionists.” In the report there
          are pictures of al-Masri, including pictures of him with a weapon in his hand and with
          Hamas symbols, as well as pictures from the scene of the terrorist attack.”63

  j.      Al-Qassam Publication – The official website of the al-Qassam Brigades published a
          page containing details of operations carried out by Ayman Halaweh, Hamas engineer in
          Nablus, with details of the Sbarro operation and the manner in which it was carried out
          via Abdullah Barghouti and the suicide terrorist Izz al-Din al-Masri.64


                  4) Official Hamas reports

  In addition to propaganda aimed at the wider public, Hamas publishes its own “official” reports,
  in which it takes responsibility for its terrorist attacks.

  a.      Al-Risalah Magazine – On August 16, 2001, “Al-Risalah” – one of Hamas’s official
          publications – published a mourning notice on the death of Izz al-Din al-Masri. At the top
          of the announcement, in bold letters, was written, “Announcement of the death of the
          Qassami [member of the al-Qassam Brigades] martyr. The Hamas Movement in the
          Jenin district announces the death of our martyr, the Qassami Izz al-Din Suheil al-Masri,
          who carried out the heroic operation in Jerusalem.” The announcement is signed by the
          “Islamic Resistance Movement – Hamas.”65

  b.      Al-Qassam Publication – In a special report marking the twenty first anniversary of the
          founding of Hamas, details are given of Hamas’s suicide bombings. The Sbarro bombing
          earned particular prominence. A picture of Izz al-Din al-Masri appears at the top of the
          page with the following details below it:
                Type of operation: Martyrdom

  62
     http://www.alqassam.ps/arabic/sohdaa5.php?sub_action=picture&id=250;
  http://www.alqassam.ps/arabic/sohdaa5.php?sub_action=sera&id=250;
  http://www.alqassam.ps/arabic/sohdaa5.php?sub_action=byan&id=250.
  63
     http://www.alqassam.ps/arabic/news1.php?id=17429.
  64
     http://www.alqassam.ps/arabic/special1.php?all=all&&&sid=4020.
  65
     Al-Risalah newspaper, August 16, 2001.


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               Time: 2 in the afternoon, Thursday, August 9, 2001
               Location: Jerusalem, at the junction of King David Street and Jaffa Road,
                  Sbarro Restaurant.
               Type of material: Qassam 19
               Enemy losses: 19 killed and more than 120 wounded, 13 of them in serious
                  condition.
               Qassam losses: the heroic martyr Izz al-Din Suheil al-Masri, aged 24.
                This is the third powerful operation carried out by Hamas.66

  c.     Al-Qassam Publication – A special report on the Izz al-Din al-Qassam website under the
         title, “Hamas warns against humiliating the prisoner Abdullah Barghouti” provides a
         special report on Barghouti’s activities: his recruitment to Hamas, his training,
         construction of the bomb for the suicide bombing at the Sbarro pizzeria, and details of the
         Sbarro bombing.67

  d.     Al-Qassam Publication – A special report on the Izz al-Din al-Qassam Brigades website,
         under the title, “The Qassami prisoner, the commander Abdullah Barghouti, reveals in
         three chapters new details of his activities.” The report praises his activities and presents
         a report on a number of terrorist attacks in which he was involved. A chapter is devoted
         to the terrorist attack at the Sbarro pizzeria and his key role in carrying out the terrorist
         attack.68

  e.     Al-Qassam Publication – A report of the Qassam movement on Palestinian prisoners
         presents the story of Ahlam Tamimi, the female terrorist who led the suicide bomber to
         Jerusalem. The report notes that Ahlam Tamimi was the first female terrorist who was a
         member of the Hamas organization and a member of its Izz al-Din al-Qassam Brigades.
         The report provides details of her part in the terrorist attack, emphasizing her membership
         in the organization.69

  f.     Qassamion – In December 2007, Hamas published a special booklet marking 20 years of
         the organization. In the booklet, a special chapter is devoted to the activities of women in
         the organization. The booklet provides a long report on Ahlam Tamimi and includes her




  66
     http://www.alqassam.ps/arabic/operations2.php?id=56.
  67
     http://www.alqassam.ps/arabic/news1.php?id=1215.
  68
     W_S089575-82.
  69
     http://www.qassam.ps/prisoner-96-Ahlam_Mazen_At_Tamimi.html.


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          photograph. The title is “The Qassami [member of the al-Qassam Brigades] prisoner
          Ahlam Tamimi.”70

  g.      Qassamion – In Qassamion, issue No. 15 from November 2009, the name of Izz al-Din
          al-Masri is given as the one who carried out the operation at the Sbarro pizzeria in
          Jerusalem and caused the deaths of 19 Israelis.71

  h.      Qassamion – In Qassamion, issue No. 9 from August 2008, there was an extensive
          article on the Sbarro operation, which was accompanied by a picture of Izz al-Din al-
          Masri. The title of the report was: “The martyrdom operation at Sbarro.” The article,
          which is a poem of praise to those who carried out the terrorist attack, takes pride in the
          special ability demonstrated in carrying out the Sbarro bombing.72

                   5) Other supporting material

  Dr. Abd al-Aziz al-Rantisi, the second ranking member of Hamas during that period, stated: “I
  call on Sharon, the spiller of blood: Go back to your home in Russia. This is an operation aimed
  at proving that the Palestinian people has not forgotten its martyrs and is not prepared to give up
  any piece of its land.”73

  Hamas official Ashraf Swaftah stated in a ceremony honoring Izz al-Din al-Masri, who carried
  out the suicide bombing of the Sbarro pizzeria in central Jerusalem on August 9, 2001: “His
  relatives distributed sweets and accepted their son as a bridegroom married to ‘the black-eyed,’
  not as someone who had been killed and was being laid in the ground.”74

          c. Official Documents of the Israeli Government

                   1) Report of the Israel Security Agency, 2005

  An ISA report from 2005, entitled “Suicide Bombers in the Five Years of Conflict,” provides a
  full report on the Sbarro operation and on the suicide bomber Izz al-Din al-Masri. The report
  states:
          The suicide bomber Izz al-Din al-Masri, resident of Aqabah/Jenin, aged 22,
          single, blew himself up in the Sbarro Restaurant at the corner of King George

  70
     http://www.alqassam.ps/arabic/upload/qassamion_5.pdf.
  71
     http://www.alqassam.ps/images/userfiles/image/books/information_office/qassamion_15.pdf.
  72
     http://www.alqassam.ps/images/userfiles/image/books/information_office/qassamion_9.pdf.
  73
     Yediot Aharonot, August 9, 2001.
  74
     http://www.memri.org/report/en/0/0/0/0/0/0/538.htm#_edn16.


                                                        21
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          Street and Jaffa Road in Jerusalem. The terrorist attack was planned and directed
          by the Hamas infrastructure in Ramallah. The deadly bomb was produced by
          Abdullah Jamal, the chief “Engineer” of the Hamas infrastructure in the Judea
          region, who was involved in the production of explosive devices and the training
          of Hamas operatives in the production of explosives and the establishment of
          bomb laboratories. 75

                  2) Documents and legal proceedings in Israel

  On June 1, 2003, Abdullah Barghouti admitted to the counts of the indictment submitted against
  him. 76 He stated in court: “I admit to that attributed to me in the indictment.” On the basis of his
  confession, he was convicted of a series of crimes, including preparation of the bomb and
  participation in initiating and planning the terrorist attack at the Sbarro pizzeria.77 The court
  sentenced him to 67 cumulative life sentences.78

  The indictment against Ahlam Tamimi reveals her membership in the Izz al-Din al-Qassam
  Brigades, and her activity in connection with the terrorist attack at the Sbarro pizzeria. 79 The
  indictment provides details of her recruitment into Hamas’s Izz al-Din al-Qassam Brigades,
  including the approval received from the Hamas headquarters in Gaza for her recruitment.80 The
  indictment states that she carried out preliminary reconnaissance in Jerusalem, and chose to carry
  out the terrorist attack at the corner of King George Street and Jaffa Road, where the Sbarro
  pizzeria was located.81 The indictment recounts how she led the suicide bomber Izz al-Din al-
  Masri, with the explosive guitar, to the pizzeria, to the site of the terrorist attack in Jerusalem. 82

  On October 23, 2003, before her sentencing, Ahlam Tamimi admitted to the court her activity in
  the Izz al-Din al-Qassam Brigades and terror activities, including the explosion at the Sbarro
  pizzeria, emphasizing throughout her statement that she was not sorry, and, that on the contrary,
  she was “happy” about the activity she had carried out.83



  75
      See Israel Security Agency report at: http://www.pmo.gov.il/NR/rdonlyres/81819B47-FE6C-47C2-B000-
  77B9A7EB9A5A/0/%D7%97%D7%95%D7%91%D7%A8%D7%AA%D7%9E%D7%97%D7%91%D7%9C%D7
  %99%D7%9D%D7%9E%D7%AA%D7%90%D7%91%D7%93%D7%99%D7%9D%D7%91%D7%9C%D7%99%
  D7%AA%D7%9E%D7%95%D7%A0%D7%95%D7%AA1.doc.
  76
     See indictment ROTH 00436. See also Appendix No. 1, pp. 12-55, where Barghouti discusses using his Arab
  Bank account to receive payments for carrying out terrorist activities.
  77
     ROTH 00397-403.
  78
     ROTH 00397-403.
  79
     ROTH 00417-26; see also ROTH 00404-13, third and fifth count.
  80
     ROTH 00417-26, first count.
  81
     ROTH 00417-26, fifth count.
  82
     ROTH 00417-26, fifth count.
  83
     ROTH 00430-32.


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  On June 22, 2003, Ahlam Tamimi admitted guilt before the court to all the counts of the
  indictment submitted against her. She admitted guilt to her actions in the presence of her
  attorney.84

  The military court sentenced Ahlam Tamimi to 16 life terms for the Sbarro operation.85

  The indictment against Muhammad Wa’el Daghlas recounts his recruitment into the Izz al-Din
  al-Qassam Brigades and his activity in the organization. 86 This activity included, among other
  things, renting an “operational apartment” in the Ramallah area, to serve his commanders as a
  meeting place, and also as a hiding place for the suicide bomber who blew himself up at the
  Sbarro pizzeria;87 the recruitment of Ahlam Tamimi into the Izz al-Din al-Qassam Brigades;88
  the purchase of the guitar; the dispatch of Ahlam Tamimi to carry out preliminary
  reconnaissance in Jerusalem to identify a site for a terrorist attack; preparation of Izz al-Din al-
  Masri for carrying out the terrorist attack, and the dispatch of Ahlam Tamimi to bring the suicide
  bomber to Jerusalem. 89

  Muhammad Daghlas admitted guilt in court to all the counts of the indictment against him.90
  Based on his confession, the court sentenced him to 15 life terms plus 25 years imprisonment.91

  On the basis of his confession before the military court,92 Bilal Barghouti was sentenced to 15
  cumulative life terms plus 35 years imprisonment. Prior to the Court handing down his sentence,
  Bilal Barghouti stated: “I am sorry that I was not able to bring about the deaths of many
  others.”93

          d. Other Supporting Material

  In 2006, while preparing a documentary film, I interviewed and filmed the members of the
  Sbarro cell: Abdullah Barghouti, who described to me how he constructed the explosive device
  in the guitar and described in detail his activities in Hamas; and Bilal Barghouti and Muhammad
  Daghlas, who described their part in the Sbarro bombing. I also conducted a long interview with


  84
     ROTH 00428-29.
  85
     W_S156479-503.
  86
     ROTH 00404-13, first count.
  87
     ROTH 00404-13, second count.
  88
     ROTH 00404-13, third count.
  89
     ROTH 00404-13, fifth count.
  90
     See verdict W_S157275-76.
  91
     W_S157271-73.
  92
     W_S156682-83.
  93
     W_S156678-80.


                                                  23
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  Ahlam Tamimi who told proudly and in detail of her part in the Sbarro bombing. During filming,
  all those interviewed proudly admitted that they were members of the Hamas Movement.94

          e. Summary of the Suicide Bombing at the Sbarro Pizzeria

  In July, Ayman Halaweh contacted Abdullah Barghouti and informed him that there was a
  person who was willing to carry out a suicide operation. He asked Abdullah to contact Bilal
  Barghouti, to find a person to bring the suicide bomber to Jerusalem. Bilal Barghouti recruited
  Muhammad Wa’el Daghlas for this purpose, who in turn recruited Ahlam Aref Tamimi, a
  communications student at Bir-Zeit University, for this objective. Abdullah Barghouti reported
  to Ayman Halaweh that the chain for transfer of the suicide bomber to Jerusalem was ready, and
  gave him the details of the recruits. Halaweh instructed him to give them a small explosive
  device, to check whether they were able to carry out the mission. On July 30, Ahlam Tamimi
  placed the small explosive device in a supermarket on King George Street in Jerusalem.
  Abdullah Barghouti reported to Ayman Halaweh on the success of the operation, and asked him
  to send him the large explosive device.95

  At the beginning of August 2001, a messenger arrived from Nablus and gave Abdullah
  Barghouti a large explosive device. Bilal Barghouti asked Abdullah Barghouti to prepare the
  explosive device inside a guitar. Abdullah Barghouti prepared a large bomb inside the guitar,
  adding screws to it to increase the number of casualties. After completing preparation of the
  bomb, Abdullah Barghouti reported to Ayman Halaweh that the bomb was ready. 96

  Some days later, the terrorist, Izz al-Din al-Masri, arrived in Ramallah and met with Bilal
  Barghouti and Muhammad Wa’el Daghlas, who arranged to accommodate him and train him in
  the operation of the bomb. 97

  On August 8, at the instructions of Muhammad Wa’el Daghlas, Ahlam Tamimi traveled to
  Jerusalem to locate a site for a terrorist attack. She dressed in a short tank top in order to look
  like a Jewish woman. On the same day, Bilal Barghouti instructed Izz al-Din al-Masri how to
  operate the bomb. 98 On August 9, Muhammad Daghlas introduced Ahlam Tamimi to the suicide
  bomber, after dressing him in clothes typically worn by Jews, and the two set out for Jerusalem
  to carry out the terrorist attack. Izz al-Din al-Masri carried the guitar on his back. Ahlam Tamimi


  94
     See the documentary film, “For the Sake of Allah.”
  95
     ROTH 00350-92, indictment count 10; see also http://www.alqassam.ps/arabic/news1.php?id=1215.
  96
     ROTH 00350-ROTH 00392, indictment count 12.
  97
     ROTH 00350-ROTH 00392, indictment count 12.
  98
     ROTH 00350-ROTH 00392, indictment count 12; see also http://www.alqassam.ps/arabic/news1.php?id=1215.


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  brought him to the corner of King George Street and Jaffa Road, and instructed him to carry out
  the terrorist attack at that junction. 99

  1.      Izz al-Din Suheil al-Masri – the suicide bomber: Izz al-Din Suheil al-Masri, who was
          born in 1979 in the village of Aqabah near Jenin, was the suicide bomber who blew
          himself up in the Sbarro pizzeria in Jerusalem. He worked in his father’s restaurant in the
          center of the town of Jenin. He was a religious person, who devoted many hours to prayer
          in the mosque and to the study of the Quran.100 In 1999 he was interrogated by the ISA
          because he was suspected of being a Hamas operative. 101

          Izz al-Din al-Masri sought, in the suicide bombing which he carried out, to kill as many
          Jews as possible, particularly, religious Jews. With respect to his last moments before
          committing the suicide bombing, see the testimony of Ahlam Tamimi in the documentary
          film, “For the Sake of Allah.”102

          In December 2007, Hamas published a special booklet marking the organization’s
          twentieth anniversary. The booklet contains an article about Izz al-Din al-Masri and the
          Sbarro suicide bombing. The article was accompanied by his picture with a Kalashnikov
          in his hand and a Hamas bandana on his head.103

  2.      Qeis Adwan: Izz al-Din al-Masri was recruited to the Izz al-Din al-Qassam Brigades by
          Qeis Adwan, known as Abu Jabal, a key operative of the al-Qassam Brigades in the Jenin
          Refugee Camp, who served as commander of the Izz al-Din al-Qassam Brigades in Jenin
          in 2001-2002.104

          Qeis Adwan belonged to a cell of the Muslim Brotherhood. Upon completing his high
          school studies in 1995, he enrolled to study architecture at al-Najah University in Nablus,
          where he joined the Izz al-Din al-Qassam Brigades. During his studies at al-Najah, he
          was active in al-Kutla al-Islamiya, and even served as chairman of the student council on
          behalf of Hamas. Adwan was recruited into Hamas by Jamal Abu al-Hija (a senior
          Hamas member in Samaria) following their arrest in 1996. In the winter of 2001 he was


  99
     See the documentary film, “For the Sake of Allah,” in which Ahlam Tamimi recounts in detail how she transferred
  the terrorist to Jerusalem, to the site of the terrorist attack; see also ROTH 00350-92, indictment count 12.
  100
      See the documentary film, “For the Sake of Allah.”
  101
      W_S090041-42.
  102
      See Appendix 2 to this report.
  103
      http://www.alqassam.ps/arabic/upload/qassamion_5.pdf.
  104
      See W_S090041-42 and Guy Aviad, Lexicon of the Hamas Movement, p. 189.


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          trained to serve as an “Engineer.”105 In 2002, he was considered the unopposed leader of
          Hamas in the Jenin region, and was a fugitive and central target of the ISA. On April 5,
          2002, he was located in a house in the town of Tubas, where he was killed.106

          Qeis Adwan was described by The New York Times as: “The most wanted Palestinian.”
          The New York Times article attributed to him the responsibility for the terrorist attack at
          the Sbarro pizzeria.107

          The operation was executed by a Hamas cell in Ramallah, in which Muhammad Daghlas,
          Bilal Barghouti and Ahlam Tamimi were members. The three of them took care of the
          logistics for the operation, were responsible for the transfer of the suicide bomber from
          Ramallah to Jerusalem, and for pointing out for him the location where he was to carry
          out the suicide bombing.108

  3.      Abdullah Ghaleb Abdullah Barghouti – the Engineer: Born in Kuwait in 1972, he
          was married and the father of a girl. Barghouti was an electronics technician who
          completed his academic studies in South Korea. He lived in the village of Beit Rime, near
          Ramallah. Barghouti owned an electronic devices repair shop in Ramallah. 109

          Abdullah Barghouti earned the nickname “the Engineer” in Hamas because of his “skills”
          in preparing explosive devices.110

          Abdullah Barghouti was recruited to Hamas by his cousin, Bilal Barghouti, an operative
          of the Izz al-Din al-Qassam Brigades in Ramallah. 111 Within the Hamas leadership,
          Abdullah Barghouti’s skills as an electronics engineer were noted, and it was decided to
          make him a “bomb engineer.” He was taken to Nablus by his cousin, where he was
          introduced to Ayman Halaweh, a senior member of the Hamas leadership in Nablus and
          an expert on the production of explosive devices. Halaweh taught Barghouti to prepare
          triacetone triperoxide-type (TATP) explosive devices,112 and taught him to prepare
          poison from potatoes, in order to construct chemical bombs.113

  105
      Guy Aviad, Lexicon of the Hamas Movement, pp. 189-190.
  106
      Guy Aviad, Lexicon of the Hamas Movement, pp. 189-190.
  107
      http://query.nytimes.com/gst/fullpage.html?res=9F04EFDF1F3FF933A05755C0A9649C8B63.
  108
      ROTH 00350-92 and also ROTH 00417-26.
  109
      See the film, “For the Sake of Allah.”
  110
      ROTH 00350-92.
  111
      http://www.alqassam.ps/arabic/news1.php?id=1215.
  112
       TAPT-type explosives are often associated with terrorist attacks, and are often favored by Hamas. See
  http://www.nytimes.com/2005/07/17/international/europe/17explosives.html.
  113
      ROTH 00350-92, indictment count 3.


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          Some months later he was introduced to Ibrahim Hamed, commander of Hamas in
          Ramallah and the West Bank, 114 known as “Salah 1”115 and he agreed to work as a
          manufacturer of explosive devices. Hamed was Abdullah Barghouti’s direct commander.
          For his activity in Hamas, Abdullah Barghouti received the sum of $117,000.116
          Barghouti operated a bomb laboratory in Ramallah, where he produced explosive devices
          for suicide bombers and for other terror operations.117

  4.      Ayman Halaweh – Commander of the Hamas in Nablus: Born in 1974 in Nablus,
          Halaweh was a senior bomb expert in Hamas who was given the nickname Engineer No.
          3. Halaweh studied electrical engineering at al-Najah University in Nablus. In 1997 he
          joined the Izz al-Din al-Qassam Brigades and was involved in the preparation of
          explosive devices for suicide bombers who blew themselves up in Jerusalem. He was
          arrested in 1998 and sentenced to two and a half years imprisonment. Upon the outbreak
          of the Second Intifada, he went underground.118

          According to a report given by his deputy, Selim Hijja, he was trained for his role as
          “Engineer” – expert in the construction of explosive devices – by a Hamas emissary who
          came from outside the Palestinian Territories and trained him. 119

          Halaweh constructed the bombs for the terrorist attack at the Dolphinarium and at the
          Sbarro pizzeria in Jerusalem. Additionally, he trained the next generation of bomb
          “engineers,” foremost among them Abdullah Barghouti. On October 22, 2001, he was
          assassinated by Israel. 120 It was Ayman Halaweh who gave approval to Abdullah
          Barghouti to dispatch the suicide bomber to Jerusalem, after having received a
          description of the target for the terrorist attack.121

          f. Conclusion

  The attack at Sbarro in Jerusalem is an example of activity carried out at the instructions of the
  senior echelon of Hamas, in coordination with Hamas commands across the West Bank, from

  114
      A special booklet of the military wing of Hamas published in December 2007 to mark 20 years since the
  founding of Hamas, published an article on Ibrahim Hamed, including his picture, describing him as commander of
  Hamas in the West Bank; see http://www.alqassam.ps/arabic/upload/qassamion_5.pdf.
  115
      http://www.alqassam.ps/arabic/news1.php?id=1215.
  116
      ROTH 00350-92, indictment count 2, see also http://www.alqassam.ps/arabic/news1.php?id=1215.
  117
      ROTH 00350-92, indictment count 6.
  118
      Guy Aviad, Lexicon of the Hamas Movement, p. 101.
  119
      http://www.paldf.net/forum/showthread.php?t=40272.
  120
      Guy Aviad, Lexicon of the Hamas Movement, p. 101.
  121
      http://www.alqassam.ps/arabic/special1.php?all=all&&&sid=4020.


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  Jenin in the north to the Jerusalem region. Following the elimination of the heads of Hamas in
  Nablus on July 31, 2001, the Hamas command decided to carry out a large scale revenge
  operation which would cause numerous casualties.122

  It was Ayman Halaweh, “Engineer” and the Hamas commander in Nablus, who planned the
  attack. At the beginning of August 2001, Ayman Halaweh instructed Qeis Adwan, who was
  commander of the Izz al-Din al-Qassam Brigades in the Jenin region, to find a candidate for
  carrying out a suicide bombing. For this purpose, Qeis Adwan recruited Izz al-Din al-Masri, a
  young man living in the village of Aqabah, near Jenin, who agreed to carry out the suicide
  bombing.

  In order to carry out the attack, Ayman Halaweh contacted Hamas “Engineer” Abdullah
  Barghouti, informed him that there was a suicide bomber ready, and instructed him to prepare a
  bomb and to identify a potential target for a multi-victim terrorist attack. Barghouti had his
  recruiter Bilal Abdullah Barghouti begin preparations for the mission. Bilal Barghouti recruited
  Muhammad Wa’el Daghlas to assist him in the mission.

  For the purpose of locating a potential site for carrying out the attack, and to also serve as a guide
  for bringing the suicide bomber to the location of the attack, Daghlas recruited Ahlam Tamimi, a
  communications student from Ramallah. Her recruitment as the first woman in the Izz al-Din al-
  Qassam Brigades was approved by the head of Hamas, Sheikh Ahmed Yassin. This fact
  confirms the assessment that the senior command of Hamas, and the head of Hamas, Sheikh
  Ahmed Yassin, knew of the intention to carry out the attack and even approved it.

  Following her recruitment and as part of her training, Ahlam Tamimi was sent on a preliminary
  reconnaissance mission in Jerusalem, and following that, for a “trial mission,” to place a small
  bomb in Jerusalem, to test her capability as an al-Qassam operative. Ahlam Tamimi placed the
  bomb in a supermarket at a distance of about 500 meters from the place she had chosen for the
  suicide bombing. One of the aims of her mission was to also check security arrangements.123

  Abdullah Barghouti received a report on the intended location and passed the details to Ayman
  Halaweh, and received his approval for the proposed location.124




  122
      See Guy Aviad, Lexicon of the Hamas Movement, p. 165.
  123
      ROTH 00417-26.
  124
      ROTH 00350-92.


                                                      28
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  At the beginning of August, Ayman Halaweh sent Abdullah Barghouti a large explosive device.
  In order to adapt the bomb to the conditions of West Jerusalem, Abdullah Barghouti installed the
  bomb inside a guitar.125

  Bilal Barghouti and Muhammad Wa’el Daghlas rented an apartment on the outskirts of
  Ramallah, where they accommodated the suicide bomber and where Bilal Barghouti trained him
  to operate the bomb.126 The suicide bomber was given a haircut and was dressed in clothes that
  would make him look Jewish.127

  On August 9, Muhammad Wa’el Daghlas called Ahlam Tamimi and instructed her to come to
  the center of Ramallah. In accordance with the prepared plan, Ahlam Tamimi transported the
  suicide bomber to Jerusalem. She traveled with him to the area of the Old City’s Nablus Gate,
  from where the two walked to the corner of Jaffa Road and King George Street. Ahlam Tamimi
  disguised herself as a western girl, wearing a tank top and jeans. The suicide bomber walked
  beside her with the guitar on his back. She led the suicide bomber to near the Sbarro pizzeria,
  and pointed out the place where he was to carry out the suicide bombing. 128 She parted from him
  with a religious blessing.129 Some minutes later, at approximately 1:35 p.m., the suicide bomber
  entered the Sbarro pizzeria and blew himself up, causing the deaths of 15 people and the
  wounding of approximately 130 others.130

  Based on the wealth of documents, pictures, video segments, the documentary film, and the
  testimonies that I have presented – from Hamas, from legal and Israeli governmental sources,
  and from other sources – I conclude with a high degree of probability (and, indeed, I have no
  doubt) that Hamas is responsible for the suicide bombing at Sbarro.




  125
      ROTH 00350-92.
  126
      ROTH 00404-13.
  127
      ROTH 00404-13.
  128
      ROTH 00417-26.
  129
      See the documentary film, “For the Sake of Allah.”
  130
      See Guy Aviad, Lexicon of the Hamas Movement, p. 165.


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                     December 1, 2001 – Suicide Bombings on Ben Yehuda Street

          a. The terrorist attack

  On December 1, 2001 two suicide bombers blew themselves up on Ben Yehuda Street in
  Jerusalem, located in a busy section of Jerusalem. The bombers denotated their explosives at a
  time when the cafés were busy and full of young people. Less than ten minutes later, when the
  rescue services were still treating the many wounded, a car bomb exploded on Rav Kook Street,
  some tens of meters from the place where the two terrorists had blown themselves up. 11 people
  were killed and another 188 wounded.131 The first two explosions occurred one minute apart,
  when the two suicide bombers came to the area, close to midnight, and blew themselves up, the
  first bomber in the middle of the Ben Yehuda pedestrian mall, and the second bomber on Herbert
  Samuel Street, close to Ben Yehuda Street.132

  The force of the powerful explosions caused numerous injuries. Next to the cafés stood many
  young frightened people, some bleeding, while their friends attempted to offer them assistance.
  While police units, medical teams, and firefighters who arrived on the scene attempted to
  evacuate the wounded, another explosion took place, on the corner of Rav Kook Street and Jaffa
  Road. The powerful explosion, which was caused by a car bomb, was clearly heard in the
  damaged pedestrian mall, and caused hysteria there. Ten people were wounded from the
  explosion of the car bomb, three of them severely. 133 The car bomb blew up just below the
  windows of the editorial offices of Yediot Aharonot in Jerusalem. I ran down to the street and
  had an opportunity to observe the bombing scene.




  131
      Yediot Aharonot, December 2, 2001, pp. 1-2.
  132
      Yediot Aharonot, December 2, 2001, pp. 1-2.
  133
      Yediot Aharonot, December 2, 2001.


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        The arena of the terrorist attacks



             11:32 p.m.
             Suicide terrorist




                                   11:51 p.m.
                                   Car bomb
                11:33 p.m.
               Suicide terrorist




            b. Evidence and Legal Attribution

                           1) The assumption of responsibility

  a.        An official announcement of the Izz al-Din al-Qassam Brigades was distributed
            following the double terrorist attack.134 At the top of the page appears the emblem of the
            Izz al-Din al-Qassam Brigades, and on the two sides of the emblem, in Arabic and
            English, is written, “Izz al-Din al-Qassam Brigades, the military wing of Hamas,
            Information Office.” The announcement lists the names of the two suicide bombers, “The
            holy warrior, member of the Qassam, Osama Mahmud Eid Bahar, and the holy warrior,
            member of the Qassam, Nabil Mahmud Jamil Halabiya.” Additionally, the announcement
            lists that the date of the terrorist attack as December 1, 2001. Finally, the announcement
            is signed in the name of the Izz al-Din al-Qassam Brigades, and bears the date December
            1, 2001.135

  b.        Another version of the claim of responsibility appeared on Hamas’s official website. The
            emblem of Hamas also appears on the announcement, at its center, while on both sides, in
            Arabic and English, it is written, “The Islamic Resistance Movement Hamas – Palestine.”
            The announcement states the names of the two “holy warrior martyrs” – Nabil Mahmud




  134
      A short time following the terrorist attack, a telephone call was received at the offices of the BBC. The speaker on
  the telephone stated that it was the Islamic Jihad that had carried out the terrorist attack, but it very quickly became clear
  that this was a false announcement (see: http://www.alqassam.ps/arabic/sohdaa5.php?sub_action=sera&id=123).
  135
      http://www.alqassam.ps/arabic/sohdaa5.php?sub_action=byan&id=115.


                                                               31
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          Halabiya and Mahmud Eid Bahar. Here, too, the announcement is signed by the Izz al-
          Din al-Qassam Brigades.136


                   2) Pictures

  A picture of Nabil Halabiya, one of the two suicide bombers, was published on a page dedicated
  to him on the official website of the al-Qassam Brigades:137




  Another picture published on the same page depicts the two suicide bombers, and beneath it
  appears the caption, “The two heroic martyrs Nabil Mahmud Halabiya (right) and Osama Eid
  (left), who carried out the double operation in Jerusalem”: 138




  136

  http://web.archive.org/web/20030727123829/http://www.palestine_info.info/arabic/hamas/statements/2001/1_12_01.htm.
  137
      W_S089539, or see: http://www.alqassam.ps/arabic/sohdaa5.php?sub_action=picture&id=115.
  138
      W_S089540, or see: http://www.alqassam.ps/arabic/sohdaa5.php?sub_action=picture&id=115.


                                                         32
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  Another picture of the two, alongside a picture of the fire that broke out at the scene of the
  attack, was published at the top of a report on the operation that appeared on the official website
  of the al-Qassam Brigades:139




                  3) Material from Hamas websites

  To mark the 21st anniversary of the founding of Hamas, al-Kutla al-Islamiya published a list of
  the organization’s principal terrorist attacks since its founding. The suicide bombing on Ben
  Yehuda receives particular mention, and pictures of the two suicide bombers are provided. 140

  The official website of the Izz al-Din al-Qassam Brigades published an article on the operations
  of Abdullah Barghouthi, nicknamed there “the Engineer,” who constructed the explosive belts
  for the two suicide bombers in the double suicide bombing on Ben Yehuda Street. The same
  source notes that the double suicide bombing on Ben Yehuda Street “caused the deaths of 11
  Zionists.”141

  In an article on the double suicide bombing on Ben Yehuda Street, pictures from the scene of the
  attack were included, so as to boast of its results.142

  Hamas’s official website published a picture of Nabil Halabiya below the caption, “The Qassami
  [member of the Izz al-Din al-Qassam Brigades] martyr, the hero Nabil Mahmud Halabiya, hero
  of the martyrdom operation in Jerusalem on December 1, 2001.”143

  Hamas’s official website published a picture of Osama Bahar, and at the top of the page on
  which the picture appears is the caption, “The Qassami [member of the Izz al-Din al-Qassam



  139
      http://www.alqassam.ps/arabic/operations2.php?id=58.
  140
      W_S168423-24.
  141
      W_S089576.
  142
      http://www.alqassam.ps/arabic/operations2.php?id=58;
  http://www.alqassam.ps/arabic/operations_images.php?id=58.
  143
      W_S089543.


                                                       33
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  Brigades] martyr, the hero Osama Mahmud Eid Bahar, hero of the martyrdom operation in
  Jerusalem on December 1, 2001.”144

  The official website of the Izz al-Din al-Qassam Brigades published a special report under the
  heading, “[al-Qassam Brigades] dedicate to the Palestinian people six quality, courageous
  operations, al-Qassam Brigades: [This is] the response to the killing of Hamas commander
  Mahmud Abu Hunud, [the reaction] coming after a short time and coming only with the
  permission of Allah.” The report enumerates various suicide operations, and includes the double
  terrorist attack in the area of Ben Yehuda Street, and also mentions the names of the two suicide
  bombers, Nabil Halabiya and Osama Bahar. The report states, in error, that the terrorist attack
  was at the Machane Yehuda market instead of Ben Yehuda Street.145

  On the official website of the Izz al-Din al-Qassam Brigades, pictures from the scene of the
  attack were published. Publication of the pictures was aimed at praising the operation and those
  behind it. The names of the two terrorists are mentioned at the bottom of the page.146


                   4) Official Hamas reports

  a.      Al-Qassam publication – the Information Office of the al-Qassam Brigades published a
          special report on the double suicide bombing on Ben-Yehuda Street in Jerusalem. The
          report states:147
                Type of operation: Double martyrdom operation and a car bomb.
                Location of the operation: Ben Yehuda Street, not far from Zion Square. The
                   second explosion was at a distance of between 50 and 70 meters from
                   the first explosion.
                Date of the operation: December 1, 2001
                Enemy losses: 11 killed and more than 190 wounded, of whom 20 in serious
                   to very serious condition.
                Our losses: The two operatives who sacrificed themselves for Allah
                   [istishhadiun] Osama Mahmud Eid Bahar and Nabil Mahmud Jamil
                   Halabiya, both from Abu Dis.

          At the top of the report appears a picture of the two terrorists and alongside it a picture
          from the scene of the attack.

  144
      W_S089547.
  145
      http://www.alqassam.ps/arabic/print_news.php?id=10.
  146
      http://www.alqassam.ps/arabic/operations_images.php?id=58.
  147
      W_S089534-35.


                                                        34
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          The report states that the suicide bombing was received with joy on the Palestinian
          street.148

  b.      Journal of events detailing the operations carried out by the al-Qassam Brigades –
          In a special report by the Izz al-Din al-Qassam Brigades reviewing the operations it
          carried out in the month of Ramadan since 1988, the following is written about the
          double terrorist attack on Ben Yehuda Street: “On December 1, 2001: (Martyrdom
          operation) in an operation by two members of Izz al-Din al-Qassam who sacrificed
          themselves for Allah [istishhadiun], Osama Mahmud Eid Bahar and Nabil Mahmud Jamil
          Halabiya, both from the town of Abu Dis in the Jerusalem district. They carried out a
          double martyrdom operation in Ben Yehuda Street in occupied Jerusalem; similarly, the
          two holy warriors also left a bomb in the vehicle in which they arrived [at the site of the
          terrorist attack], which blew up ten minutes after they had sacrificed themselves for
          Allah. The operation caused the deaths of 22 Zionists and the wounding of another
          190.”149

          Another journal of events publicizing Hamas operations since 1990 contains a similar
          description to the one appearing in the monthly journal of events, but adds that the two
          suicide bombers hid, on the night before the attack, in the al-Aqsa Mosque, and that they
          carried out the terrorist attack on the 17th day of Ramadan. 150

  c.      The Book of Hamas Martyrs – Pictures of the two suicide bombers appears in a special
          section on martyrs on the official website of the Izz al-Din al-Qassam Brigades;
          alongside the picture of each of them appears the date of the operation and the title,
          “Qassami holy warrior,” that is, Jihad warrior belonging to the Izz al-Din al-Qassam
          Brigades.151

          On the official website of the Izz al-Din al-Qassam Brigades, in the virtual Book of
          Martyrs, there is a special page devoted to the suicide bomber Osama Eid Bahar. On that
          page appears the text of the announcement claiming responsibility for the terrorist attack.
          The text of the announcement’s title is as follows: “Military Manifesto on Behalf of the
          Izz al-Din al-Qassam Brigades.” The text claiming responsibility for the attack reads:
          “Izz al-Din al-Qassam Brigades announce that they claim responsibility for the double


  148
      W_S089534-35.
  149
      http://www.alqassam.ps/arabic/special_internal.php?id=112.
  150
      http://www.alqassam.ps/images/userfiles/image/books/information_office/alqassam_history/12.html.
  151
      http://www.alqassam.ps/arabic/sohdaa3.php?from=96.


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          operation carried out in Western Jerusalem and which caused the deaths of 10 Israelis and
          the wounding of 150 others.”152

          On the official website of the Izz al-Din al-Qassam Brigades, in the virtual Book of
          Martyrs, there is a special page devoted to the suicide bomber Nabil Mahmud Halabiya.
          On that page appears the text of the announcement claiming responsibility for the
          terrorist attack. The text of the announcement’s title reads: “Military Manifesto on Behalf
          of the Izz al-Din al-Qassam Brigades.” The text claiming responsibility for the attack
          reads: “Izz al-Din al-Qassam Brigades announce that they claim responsibility for the
          double operation carried out in Western Jerusalem and which caused the deaths of 10
          Israelis and the wounding of 150 others.”153

  d.      Qassamion – In its issue No. 15 from November 2009, the official monthly journal of the
          al-Qassam Brigades, Qassamion, provides details about the terrorist attack on Ben
          Yehuda Street (such as the location of the terrorist attack and the number of those killed),
          and states the names of the two suicide bombers and the fact that the two belonged to the
          Izz al-Din al-Qassam Brigades.154




  152
      http://www.alqassam.ps/arabic/sohdaa5.php?sub_action=sera&id=123.
  153
      http://www.alqassam.ps/arabic/sohdaa5.php?sub_action=sera&id=115.
  154
      http://www.alqassam.ps/images/userfiles/image/books/information_office/qassamion_15.pdf, p. 23.


                                                        36
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            c. Official Documents of the Israeli Government

                   1) Report of the Israel Security Agency:155



                                            December 1, 2001
                 Explosion of 2 Suicide Bombers in the Ben Yehuda Pedestrian Mall
                                             in Jerusalem
                                     11 killed and 170 wounded

            “The suicide bombers
                        Osama Bahar                            Nabil Abu Halabiya
            Osama Bahar, aged 25, a member of Hamas in Abu Dis, religious, a member of
            the prison security committee and investigator of those suspected of cooperation,
            and Nabil Abu Halabiya, aged 24, known as a general intelligence operative in
            the Palestinian Authority, plasterer by trade, skilled in martial arts, a resident of
            Abu Dis, blew themselves up on the Ben Yehuda pedestrian mall in Jerusalem.
            About a quarter of an hour later, a car bomb exploded in Kook Street, near the
            pedestrian mall. The Hamas organization claimed responsibility for the terrorist
            attack. Osama had approached Farid Atrash (a resident of Abu Dis who was
            responsible for channel of communication between Hamas military activity in
            Ramallah and Jerusalem) and asked him to arrange for him to meet Jamal Tawil,
            a senior Hamas operative from Ramallah, so that he could recruit him into the
            Hamas’s military wing. Tawil informed Farid that Osama was to “come to
            Manara Square two weeks later, on Sunday, dressed in a black jacket and holding
            a newspaper.” Subsequently, Tawil passed Osama’s request to Ibrahim Hamed,
            one of the heads of the Hamas command in Ramallah, who apparently recruited
            him for the terrorist attack. In the interrogation of Abdullah Jamal [Barghouthi],
            a senior member of the Hamas infrastructure in Ramallah, he stated that he
            prepared and transferred the belts and bombs for the terrorist attack through Sayd
            Sheikh Qasem, Ibrahim Hamed’s operations officer. Nabil Abu Halabiya was a
            close friend of Osama’s, and apparently was recruited for the terrorist attack using
            the system of “one friend brings another.” The car bomb that exploded belonged
            to Nader Alian, a resident of Abu Dis, an operative of Islamic Jihad, who
            admitted during his interrogation that the vehicle, a blue 1987 model Opel Kadett,
            belonged to him, but since he lived in the Palestinian territories, while the vehicle
            with Israeli license plates, Nader required the assistance of his friend, Murad Abu
            Ramila, who registered the vehicle under the name of his cousin. Nader sold the
            vehicle to Nabil and Osama, and handed it over to them the day before the
            terrorist attack.”

  155
        W_S089715-16.


                                                     37
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                   2) Announcement by the Israeli Government

  On February 7, 2002, the Prime Minister’s office published an announcement with respect to the
  uncovering of the cell responsible for the Ben Yehuda terrorist attack. The announcement stated
  that Hamas was behind the attack:156
            The Israel Security Agency, with the assistance of the Israel Police, Jerusalem
            District, and the Border Police, recently uncovered the Hamas military
            infrastructure that assisted in executing the double suicide bombing in the
            pedestrian mall in Jerusalem on December 1, 2001.
            Four Hamas operatives, residents of the village of Abu Dis in East Jerusalem,
            were members of the infrastructure: Farid Salah Naim Atrash, Muhammad
            Abdullah Hasan Halabiya, Nidal Yasin Muhammad Abu Nab, and Iyad Fahd
            Yusuf Abu Hilal. The investigation revealed that during September 2001, Nidal
            and Muhammad Halabiya were recruited into cells of Hamas’s military [wing]
            which the two perpetrators of the double suicide bombing, Osama Bahar and
            Nabil Mahmud Halabiya, were members of.
            The cell maintained contact with Hamas’s military command in Ramallah, as well
            as with the Izz al-Din al-Qassam cell in Bethlehem, which provided explosives
            and weapons for the two suicide bombers to carry out the suicide bombing in
            Jerusalem. The investigation discovered that during the preparations for carrying
            out the terrorist attack, Osama Bahar and Nabil Mahmud Halabiya purchased a
            vehicle with yellow license plates from a resident of East Jerusalem who has a
            blue identity card; this vehicle served for preparing the car bomb that was set off
            during the execution of the suicide bombing. Muhammad Abdullah Halabiya and
            Nidal Abu Nab admitted in [their] interrogation that as part of their activities in
            the cell, they planned to carry out a terrorist attack by running soldiers down,
            seizing their weapons and subsequently firing on the unit with those weapons.


                   3) Documents and legal proceedings in Israel

  The preparations for the terrorist attack in Ben Yehuda Street and the manner of preparation and
  assembly of the three bombs which were used in the terrorist attack are reflected in Count 38 of
  the indictment of Abdullah Barghouti, the person who prepared the explosive belts for the
  suicide bombers. From the details in this count, we learn that the order to prepare the bombs
  came from Ibrahim Hamed, commander of the Izz al-Din al-Qassam Brigades in the central
  region of the West Bank. The order was conveyed to Abdullah Barghouthi through Hamed’s
  deputy, Sayd Sheikh Qasem. After Abdullah Barghouthi finished preparing the bombs, he gave
  them to Sayd Qasem.157

  156
        W_S089532.
  157
        ROTH00363–64.


                                                    38
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  Before his verdict was handed down, Abdullah Barghouthi told the court: [I] “admit to that
  attributed to me in the indictment.” On the basis of his admission, Barghouthi was convicted by
  the court of, among other things, preparation of the three bombs used in the terrorist attack on
  Ben Yehuda Street.158 On November 30, 2004, the military court sentenced Abdullah Barghouthi
  to 67 consecutive life terms.159

  The expert opinion report by the Israel Police’s explosives expert details the way in which the
  bomb was prepared, and the materials used in its preparation.160

         d. Summary of the Suicide Bombings on Ben Yehuda Street

                1) Commander of the operation, Ibrahim Hamed

  Ibrahim Hamed, commander of Hamas in the central West Bank, gave the instruction to
  Abdullah Barghouthi to prepare the three bombs used in the attack on Ben Yehuda Street.
  Between 2003 and 2006, Hamed served as commander of the Izz al-Din al-Qassam Brigades in
  the West Bank.161 The fact that such a high ranking member of Hamas’s Izz al-Din al-Qassam
  Brigades was involved in the execution of this attack shows the great importance of the terrorist
  attack in the eyes of Hamas.

                2) Sayd Abd al-Karim Sheikh Qasem

  Ibrahim Hamed’s deputy, Sayd Abd al-Karim Sheikh Qasem, served as liaison between him and
  Abdullah Barghouthi. Qasem conveyed Hamed’s orders to Barghouthi with respect to the
  preparation of the three bombs used in the terrorist attack. After Barghouthi finished preparing
  the bombs, Qasem transferred them to Ibrahim Hamed. 162 Qasem was killed on November 1,
  2003, during an exchange of fire with Israel Defense Forces troops who were trying to arrest
  Ibrahim Hamed.163




  158
      ROTH00436; similarly, see ROTH00398.
  159
      ROTH00403.
  160
      W_S161505-17; W_S161518-27; W_S161528-35; W_S161541; W_S161538-40; W_S161536-37.
  161
      Guy Aviad, Lexicon of the Hamas Movement, pp. 95-97.
  162
      ROTH00363–64.
  163
      http://www.palestine-info.com/arabic/spfiles/suhada_2005/ram_allah/sayeed.htm.


                                                 39
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                   3) Nabil Mahmoud Jamil Halabiya and Osama Muhammad Eid Bahar – The
                   Suicide Bombers

  Nabil Mahmoud Jamil Halabiya and Osama Muhammad Eid Bahar were both residents of the
  town of Abu Dis, near Jerusalem. Their names and identities were listed in an announcement
  distributed by the Izz al-Din al-Qassam Brigades a short time following the attack. Their names
  also appear in all the announcements in which Hamas claimed responsibility for the terrorist
  attack.164

  Nabil Halabiya had spent five years in an Israeli prison, while Osama Bahar had served in the
  Palestinian Police up until about a week before carrying out the suicide bombing.165

                   4) Abdullah Ghaleb Barghouthi – Producer of the Bombs

  Barghouthi, or as he was called by Hamas, the “Engineer,” was involved in numerous Hamas
  terrorist attacks and is responsible for the murders of dozens of people. He prepared the three
  bombs that were used by the two suicide bombers in the double suicide bombing on Ben Yehuda
  Street.166 One bomb was concealed in a computer case, a second bomb was an explosive belt,
  and the third was concealed in the vehicle in which the two suicide bombers arrived at the scene
  of the attack. Nails and screws were added to suicide bombers’ bombs, so as to cause as many
  casualties as possible. Similarly, a poisonous material called methomyl was put into their bombs,
  in order to increase their lethality. 167 Barghouthi was convicted of the murders of 66 people and
  of wounding more than 500 people. On November 30, 2004, the military court in Beit-El
  sentenced Abdullah Barghouthi to 67 cumulative life sentences.168

          e. Conclusion

  Ibrahim Hamed, commander of the Izz al-Din al-Qassam Brigades in Ramallah, sent his deputy,
  Sayd Abd al-Karim Sheikh Qasem, 169 to Abdullah Barghouthi to ask him to construct bombs for
  a suicide bombing. Barghouthi prepared the bombs and gave them to Sayd Sheikh. Together with



  164
      http://alqassam.ps/arabic/sohdaa5.php?sub_action=byan&id=115.
  165
      http://www.alqassam.ps/arabic/sohdaa5.php?sub_action=sera&id=123.
  166
      W_S089576.
  167
      ROTH00363–64, W_S161536-37.
  168
      ROTH00403.
  169
      On the role of Sayad Sheikh Qassam in Hamas and his picture, see: http://www.palestine-
  info.com/arabic/hamas/shuhda/2003/saied/syrah.htm; see also:
  http://www.alqassam.ps/arabic/sohdaa5.php?sub_action=byan&id=368.


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  Ibrahim Hamed, Sayd Sheikh transferred the bombs to Jerusalem for the use of the two suicide
  bombers. 170

  From the many Hamas documents and Israeli sources cited above, it is clear that from the
  command level down to the field operatives, Hamas is responsibile for the double suicide
  bombing on Ben Yehuda Street in Jerusalem. Hamas’s various publications describing the
  double suicide bombing on Ben Yehuda Street indicate that it glorifies the attack as a success of
  the Izz al-Din al-Qassam Brigades.

  Based on the numerous documents cited above dealing with the double suicide bombing on Ben
  Yehuda Street in Jerusalem, I conclude, with a very high degree of probability (and indeed, I
  have no doubt) that Hamas was responsibile for this attack.




  170
        ROTH00363–64.


                                                 41
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                                  March 7, 2002 – Suicide Attack at Atzmona

             a. The terrorist attack

  On March 7, 2002, at 11:40 p.m., a terrorist infiltrated the study hall area in the settlement of
  Atzmona in the Gaza Strip. The terrorist proceeded toward the Caravans in which the students of
  one of the religious colleges lived, and threw grenades at them. He then proceeded to the study
  hall, in which 40 students were then studying.

  One of the wounded who survived the attack, Uri Diner (19), recounted:
             We were sitting in the lecture room of the pre-Army program, studying. We heard
             the noise, we were certain that another mortar round had fallen on Atzmona. That
             was something that was already routine for us. A few seconds later the true
             picture became clear. Immediately after the boom of the grenade we heard a long
             burst [of firing]. And then a second burst. He just poured all his ammunition into
             our classroom. One magazine after another, 260 rounds. The whole story lasted
             about a quarter of an hour, a very long quarter of an hour.



        Atzmona: This is where the attack
                  took place




  The killings ended only when the terrorist encountered, on his way toward the living quarters, an
  Israel Defense Forces officer, Lieutenant Colonel Eyal Tam, who lived in the settlement, and
  who shot and killed him.

  Six grenades and nine magazines used by the terrorist left five students dead. 171 In addition, 23
  wounded were evacuated to the hospitals, five of them in serious condition. The Izz al-Din al-
  Qassam Brigades announced that they had carried out the attack.172
  171
        Yediot Aharonot, March 10, 2002.


                                                     42
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          b. Evidence and Legal Attribution

                  1) The assumption of responsibility

  The Izz al-Din al-Qassam Brigades published an official announcement in which they claimed
  responsibility for the terrorist attack. At the top of the announcement, in the center of the page, is
  the symbol of the Izz al-Din al-Qassam Brigades. To the right of the symbol appears the
  inscription in Arabic “Izz al-Din al-Qassam Brigades, the military wing of the Hamas
  Movement, Information Office.” To the left of the symbol appears the same inscription in
  English. The announcement mentions, in bold, the name Muhammad Farhat as the one who
  carried out the attack, and is signed by the “Izz al-Din al-Qassam Brigades.”173


                  2) Pictures

  a.      The official Hamas website published, on the second anniversary of the attack, the
          picture of Muhammad Farhat, dressed in a military uniform, wearing a hat with the
          symbols of Hamas, and standing in front of a poster with the symbols of Hamas. His
          mother Maryam Farhat, also a member of Hamas, appears in the second picture as she
          bids farewell to her dead son. The mother’s head is adorned with a bandana bearing
          Hamas symbols, and she is holding an M-16. Above the pictures is written, “Marking the
          second anniversary of the martyrdom of Qassam member Muhammad Farhat.”174




  b.      The official website of the Izz al-Din al-Qassam Brigades published pictures of
          Muhammad Farhat with a weapon in his hand and with Hamas symbols appearing on his
          clothing.175




  172
      http://www.ynet.co.il/articles/0,7340,L-1745788,00.html.
  173
      http://www.alqassam.ps/arabic/byan_poup.php?id=82.
  174
      http://www.palestine-info.com/arabic/feda/2004/fara7at.htm.
  175
      http://www.alqassam.ps/arabic/sohdaa5.php?sub_action=picture&id=205.


                                                       43
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  c.      The official website of Hamas published an additional picture of the terrorist.176




  d.      The official Hamas website stated that prior to leaving for the attack, Muhammad Farhat
          bade farewell to his mother.177 The following is the photo taken together with his mother
          prior to his departure for the terrorist attack in Atzmona. 178




  176
      http://www.palestine-info.com/arabic/hamas/shuhda/2002/mohamadfarhat/1.jpg.
  177
      http://www.palestine-info.com/arabic/feda/2004/fara7at.htm.
  178
      http://scr.mzajtv.com/yt-thumbs/llBt76Ab4sk_1.jpg.


                                                       44
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  e.     In a video film prepared in honor of Maryam Farhat, the mother of the terrorist, many
         pictures of Muhammad Farhat show him wearing Hamas attire or wearing a military
         uniform, and holding a weapon. There are many pictures of his mother, and posters
         prepared in honor of the terrorist. In the background, a song prepared in his honor and in
         honor of his mother, plays, with the repeated chorus, “She dressed him the uniform of
         battle, and handed him the rifle. She took him out into the night, and took from him his
         ‘testament.’” In addition, the song mentions that Ahmed Yassin, the founder of Hamas,
         gave his blessing to the attack.179


                 3) The “Will”

  a.     Muhammad Farhat was filmed on video, reading his “Will.” In the “Will,” he was
         standing in front of Hamas symbols while wearing a military uniform, a hat with an Izz
         al-Din al-Qassam Brigades ribbon on it, and holding an M-16 assault rifle. The video can
         be seen on the official website of the Izz al-Din al-Qassam Brigades. The video was
         published by the central information office of the Izz al-Din al-Qassam Brigades. 180

  b.     Muhammad Farhat left a “Will,” which was published on the official Hamas website, and
         based on its content, was written on the day on which he carried out the attack. At the top
         of the page is the picture of the terrorist, above which is written, “The ‘will’ of the
         Qassami [member of the al-Qassam Brigades] martyr, the hero, Muhammad Fathi
         Farhat.” In his “Will,” the terrorist claimed that he “desired to cut off the heads of the
         Jews and those who help them.” In addition, he addresses the members of Hamas and
         calls on them to unite and to bear the flag of jihad. The “Will” is also replete with
         religious figures of speech. 181 The “Will” was also published on the official website of
         the Izz al-Din al-Qassam Brigades. 182


                 4) Material from Hamas websites

  a.     An official announcement by Hamas reported on the attack at Atzmona. At the top of the
         announcement, in the center of the page, is the symbol of the Izz al-Din al-Qassam


  179
         http://www.youtube.com/watch?v=DvG68bqkn38; see also http://www.youtube.com/watch?v=DYT3-
  jmJXM0&feature=related; see also http://www.youtube.com/watch?v=llBt76Ab4sk&feature=related; see also
  http://www.youtube.com/watch?v=vYm-eW39yTU&feature=related.
  180
      http://www.alqassam.ps/arabic/video1.php?cat=3&id=30.
  181
      http://www.palestine-info.com/arabic/hamas/shuhda/2002/mohamadfarhat/waseyh.htm.
  182
      http://www.alqassam.ps/arabic/sohdaa5.php?sub_action=sera&id=205.


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          Brigades. To the right of the symbol appears the inscription in Arabic “Izz al-Din al-
          Qassam Brigades, the military wing of the Hamas Movement, Information Office.” To
          the left of the symbol appears the same inscription in English. The announcement
          emphasizes the name of Muhammad Fathi Farhat as the one who carried out the attack,
          and states that “The Izz al-Din al-Qassam Brigades claims responsibility for this heroic
          operation.”183

  b.      The official website of the Izz al-Din al-Qassam Brigades also published a full report on
          the attack at Atzmona. At the top of the page is a picture of the terrorist, Muhammad
          Farhat, above which is written:
                “The operation to storm the settlement of Atzmona.”

          Following that the website details the terrorist attack:
                Type of operation: Storming of the settlement Atzmona in the southern Gaza
                   Strip
                Date of the operation: Tuesday, March 8, 2002
                Operation carried out by: The implementer of the martyrdom operation, the
                   Qassami [member of the al-Qassam Brigades] Muhammad Fathi Farhat.
                Results of the operation: Seven Zionist soldiers were killed and more than
                   ten wounded.

          The report offers a description of the attack and complete details about Muhammad
          Farhat.184

  c.      Hamas’s official website published a full report on Muhammad Farhat and his activity.
          The page on the website includes his photo, and contains the caption, “The Qassami
          [member of the Izz al-Din al-Qassam Brigades] martyr, the hero, Muhammad Fathi
          Farhat… who was killed in the martyrdom operation [in carrying out] a military
          operation whose target was the settlement of Atzmona in the Gaza Strip, on March 8,
          2002, during which he killed four Zionist soldiers and wounded tens.”185

  d.      On the second anniversary of Muhammad Farhat’s death, Hamas published his biography
          on its official website, and details of the way in which he carried out the terrorist attack in




  183
      http://www.alqassam.ps/arabic/byan_poup.php?id=82.
  184
      http://www.alqassam.ps/arabic/operations2.php?id=30.
  185
      http://www.palestine-info.com/arabic/hamas/shuhda/2002/mohamadfarhat/mohamed.htm.


                                                     46
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          the settlement of Atzmona. The biography glorifies, praises, and expresses Hamas’s pride
          in the attack he carried out.186

  e.      On the eighth anniversary of Muhammad Farhat’s death, Hamas’s official website
          published an article about the terrorist and about the operation he carried out in Atzmona.
          The article mentions explicitly, “the one who carried out the martyrdom operation,
          Muhammad Farhat – member of the Izz al-Din al-Qassam Brigades…”187 Publication of
          this report after eight years demonstrates that Hamas attributed importance to the
          operation in Atzmona, and no less so to the activities of the terrorist Muhammad Farhat.

  f.      The official Hamas website published a report written by Maryam Farhat, the mother of
          the terrorist Muhammad, that contains blessings and praise for her son being a martyr. At
          the top of the article is a picture of Maryam Farhat, with a green Hamas bandana on her
          head, as she bids farewell to her dead son. The article was shaped to disseminate the myth
          of martyrdom and to glorify him. 188

  g.      Hamas’s official website published an article on the family of the terrorist Muhammad
          Farhat, under the title, “The Family of the Holy Qassami [Member of the Izz al-Din al-
          Qassam Brigades] Warrior, the Martyr Muhammad Fathi Farhat…” The article mentions
          that Muhammad Farhat was “one of the holy warriors of the martyred Izz al-Din al-
          Qassam Brigades [which is] the military wing of the Islamic Resistance Movement –
          Hamas.”189

  h.      The “Qassam Diary” published on the official website of the Izz al-Din al-Qassam
          Brigades lists all the operations carried out by the organization including the March 7,
          2002 attack on Atzmona. With respect to the attack in Atzmona, it states, “On March 7,
          2002, the holy warrior, the Qassami [member of the Izz al-Din al-Qassam Brigades], the
          martyr Muhammad Fathi Farhat, aged 17, from the al-Shajai’ya neighborhood in Gaza,
          was able to infiltrate the settlement of Atzmona…” Further on, the “Qassam Diary”
          provides details of the operation and its results.190

  i.      The official website of the Izz al-Din al-Qassam Brigades published the life story of the
          terrorist, emphasizing that this was an operation carried out by a young man, one of the

  186
      http://www.palestine-info.com/arabic/feda/2004/fara7at.htm.
  187
      http://www.alqassam.ps/arabic/print_news.php?id=14663.
  188
      http://www.palestine-info.com/arabic/Hamas/shuhda/2002/omahat/farhat.htm.
  189
      http://www.palestine-info.com/arabic/spfiles/insehab/report20.htm.
  190
      http://www.alqassam.ps/images/userfiles/image/books/information_office/alqassam_history/3.html.


                                                        47
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          youngest in Hamas. The website noted that through this operation, the terrorist was able
          to incite the Palestinian population. In addition, the website reports that the body of the
          terrorist, dressed in green clothing on which was written, “perpetrator of the martyrdom
          operation [istashhadi] from the Hamas Movement,” was accompanied to burial by a
          funeral procession comprised of 16 masked men from the Izz al-Din al-Qassam Brigades.
          In addition, the founder of Hamas, Sheikh Ahmed Yassin, was present at the funeral, and
          was joined by the senior leadership of the Movement – Dr. Abd al-Aziz al-Rantisi,
          Mahmud al-Zahar, Isma’il Abu Shanab, and Isma’il Haniya. 191

  j.      Included in the “Pages of Glory” – an official publication of the Information Office of the
          Izz al-Din al-Qassam Brigades with respect to the organization’s operations since its
          founding – is a report on the Atzmona operation. The passage describing the operation
          states, “The Qassami [member of the Izz al-Din al-Qassam Brigades] implementer of the
          martyrdom operation stormed the military college and rained grenades and bullets upon
          it.” In the paragraph indicating “Our [Hamas] losses” is written, “The martyr Muhammad
          Farhat from the al-Shajai’ya neighborhood in Gaza.”192

  k.      Qassamion devoted its ninth issue, in August 2008, to Maryam Farhat. In an interview,
          she revealed that after it was decided that this would be an operation carried out by a
          single attacker rather than four as originally planned, she personally asked Salah
          Shehada, commander of the Izz al-Din al-Qassam Brigades, to send her son, Muhammad,
          to carry out the attack in Atzmona. Shehada’s positive response was conveyed through
          Wa’el Nasar, who was in charge of the operation, and her son was sent alone to carry out
          the attack.193

  l.      Qassamion, in its fourth issue, had an article about Wa’el Nasr, the terrorist who sent
          Muhammad Farhat to the terrorist attack at Atzmona. The article lists the attacks for
          which Nasar was responsible in his capacity as a commander in Hamas’s Izz al-Din al-
          Qassam Brigades. Included in the list is the terrorist attack at Atzmona.194

  m.      In an article on Wa’el Nasar, published on the Izz al-Din al-Qassam English language
          website, it states that he was responsible for the Atzmona operations. The website
          contains the following passage:


  191
      http://www.alqassam.ps/arabic/sohdaa5.php?sub_action=sera&id=205.
  192
      http://www.xn--mgbx8bo.com/arabic/statistics1.php?id=59.
  193
      See pp. 19-20 in: http://www.alqassam.ps/images/userfiles/image/books/information_office/qassamion_9.pdf.
  194
      See pp. 9-10 in: http:/www.alqassam.ps/arabic/upload/magazine/4/Kassamyoun_Layout_v4.pdf.


                                                        48
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                The operations commanded by Wa’el included: – Infiltration of the
                Atzmona settlement by Mohammad Farhat which resulted in killing 7
                soldiers and injuring more than a dozen.195

          c. Summary of the Suicide Attack

                  1) The Suicide Terrorist

  Muhammad Fathi Farhat, aged 17, a resident of the al-Shajai’ya neighborhood in Gaza, was a
  member of the “Youth Brigades” of the Izz al-Din al-Qassam Brigades. In addition, the terrorist
  was a member of a family of Hamas operatives: his eldest brother, Nidal, who was a senior al-
  Qassam member responsible for the development of the Qassam missile project, had been killed;
  two other brothers were arrested by Israel and sentenced to a number of years in jail; and another
  brother was wounded in clashes with the Israel Defense Forces. The mother of the terrorist was
  photographed with him during his preparations for the terrorist attack, and she is considered a
  symbol of Palestinian mothers who encourage their sons to carry out terrorist attacks. The
  mother, Maryam, also known as Umm Nidal, is a Hamas operative, and was elected in 2006 to
  serve as a member of the Palestinian Legislative Council on behalf of Hamas. Her position as a
  representative of Hamas was conferred on her as a mark of honor after her third son, Rawad, was
  killed by the Israel Defense Forces in 2005.196

                  2) The Commander of the Operation – The Dispatcher

  a.      According to an official publication by the Izz al-Din al-Qassam Brigades, the one
          responsible for the Atzmona attack and the person who dispatched Muhammad Farhat
          was Wa’el Nasar, known as Abu al-Muatsem. Nasar, one of the senior leaders of
          Hamas’s Izz al-Din al-Qassam Brigades in the Gaza Strip, was assassinated by Israel on
          May 30, 2004. In official publications of Hamas, it is emphasized that Wa’el supervised
          the preparation and equipment of dozens of suicide terrorists, “foremost among them
          being Muhammad Farhat, who carried out the operation in Atzmona.” 197 A picture of




  195
      http:/www.qassam.ps/martyr-20-Wael_Nassar.html.
  196
           See,    e.g.,    http://www.palestine-info.com/arabic/hamas/shuhda/2002/mohamadfarhat/mohamed.htm;
  http://www.palestine-info.com/arabic/spfiles/insehab/report20.htm;
  http://www.alqassam.ps/images/userfiles/image/books/information_office/alqassam_history/3.html; Guy Aviad,
  Lexicon of the Hamas Movement, pp. 207-208.
  197
      http://www.qassam.ps/martyr-20-Wael_Nassar.html; see also
  http://www.alqassam.ps/arabic/news1.php?id=16172, and also
  http://www.alqassam.ps/arabic/sohdaa5.php?id=1033.


                                                      49
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          Wa’el Nasar together with Sheikh Ahmed Yassin was published in one of Hamas’s
          official publications. 198

  b.      Wa’el Nasar, one of the veteran members of the Izz al-Din al-Qassam Brigades, was born
          in 1973 in Gaza, studied at the Islamic University of Gaza, was a veteran of Hamas, and
          was arrested by Israel in 1991 for his activity in Hamas. He was imprisoned for four
          years by the Palestinian Authority, and was released at the beginning of the Second
          Intifada. He was also one of Sheikh Ahmed Yassin’s bodyguards, and at the same time
          served as a senior Hamas military commander in the city of Gaza. Nasar was involved in
          firing mortars at Israeli settlements, and also initiated and commanded numerous terror
          operations. He was assassinated by Israel on May 30, 2004.199

          d. Conclusion

  The Atzmona attack was not only praised by Hamas but was also considered one of the events
  that influenced public opinion in Gaza, due to a number of factors. First, the dead terrorist was
  relatively young. Second, he came from a family of Hamas operatives (two others of which were
  later killed in the service of Hamas). Lastly, his mother achieved iconic status for allegedly
  bidding him farewell before he set out to carry out the attack (thereby endorsing his “self-
  sacrifice” and encouraging him to go forward with the attack).

  The mother of the terrorist is a Hamas operative and serves as a member of the Palestinian
  Legislative Council on behalf of Hamas. She does not hide her affiliation with Hamas, and takes
  pride in the death of her sons in attacks carried out in the name of Hamas.200

  The reports that the operation was commanded by one of the senior commanders in Hamas –
  Wa’el Nasar – and that the operation was carried out with the approval of the military
  commander of Hamas – Salah Shehada – reinforce that Hamas was responsible for the terrorist
  attack.

  Based on Hamas documents, its announcements, the memorial days for the terrorist attack,
  Hamas’s boasting about taking responsibility, and the pictures and video films, I conclude, with



  198
      http://web.archive.org/web/20070710152042/http://palestine-
  info.info/arabic/hamas/shuhda/2004/wael_nasar/syrah.htm.
  199
      Guy Aviad, Lexicon of the Hamas Movement, p. 161.
  200
      Muhammad was the only son who died in an attack he carried out. Nidal Farhat was killed in a “work accident”
  while experimenting with explosives, while Radwan was killed by the IDF.


                                                        50
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  a very high degree of probability (and, indeed, have no doubt) that Hamas was responsible for
  the suicide attack in Atzmona.




                                               51
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              June 18, 2002 – Suicide Bombing on Bus No. 32-A, Patt Junction, Jerusalem


             a. The terrorist attack

  On the morning of June 18, 2002 in the Gilo neighborhood in southern Jerusalem. a suicide
  bomber detonated a bomb on Bus No. 32-A while it traveled on Dov Yosef Street, killing 19
  people, 17 of whom were local neighborhood residents. Israeli Prime Minister Ariel Sharon
  visited the scene of the bombing and, expressing his shock, stated “I haven’t seen a horror like
  this in all the wars.”


             b. Evidence and Legal Attribution

                     1) The assumption of responsibility

  On the day of the bombing, Hamas issued an official announcement, which stated, “Military
  Announcement on behalf of the Izz al-Din al-Qassam Brigades. The war of the buses continues.
  O Sharon, the Qassami [member of the al-Qassam Brigades] martyr, the heroic holy warrior
  Muhamad Haza al-Ghoul has broken through Sharon’s protective wall … Praise to God…” The
  announcement listed details of the operation and was signed in the name of “The Shahid Izz al-
  Din al-Qassam Brigades. The military wing of the Islamic Resistance Movement. Hamas-
  Palestine.”201

  The Izz al-Din al-Qassam Brigades also published an official announcement on the day of the
  bombing taking responsibility for the attack. At the top of the announcement, in the center of the
  page, is the symbol of the Izz al-Din al-Qassam Brigades. To the right of the symbol appears the
  inscription in Arabic “Izz al-Din al-Qassam Brigades, the military wing of the Hamas
  Movement, Information Office.” To the left of the symbol appears the same inscription in
  English. The announcement was signed by “Izz al-Din al-Qassam Brigades, the military wing of
  the Islamic Resistance Movement – Hamas-Palestine” and stated that the person who carried out
  the attack was the Qassami [member of the Izz al-Din al-Qassam Brigades] martyr, the holy
  warrior and hero Muhamad Haza al-Ghoul, aged 24, a Masters student at al-Najah University.
  The announcement explicitly mentions the No. 32 bus, and emphasizes a number of times that
  the Izz al-Din al-Qassam Brigades took responsibility for carrying out the attack.202

  201
        http://www.palestine-info.com/arabic/hamas/statements/2002/18_6_02.htm.
  202
        http://www.alqassam.ps/arabic/byan_poup.php?id=4503.


                                                          52
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  In addition, in the al-Faraa Refugee Camp, where the suicide bomber lived, an announcement
  made via the loudspeaker system of the mosques, which publicized the suicide bomber’s name,
  noted that he was responsible for a suicide bombing in Jerusalem, and took responsibility on
  behalf of Hamas for the suicide bombing in Jerusalem. 203


                  2) Pictures

  The Hamas website and the Izz al-Din al-Qassam Brigades’ website published numerous
  pictures of Muhamad al-Ghoul. In some of the pictures al-Ghoul appears holding an M-16 rifle
  and wearing a bandana and scarf containing Hamas symbols. The pictures were also published in
  the Izz al-Din al-Qassam Brigades’ Book of Martyrs.204 On the Hamas website, on the page on
  which the suicide terrorist’s pictures were published, it was written, “Special pictures of the
  Qassami martyr, the hero Muhamad Haza al-Ghoul, who carried out the ‘martyrdom operation’
  near the settlement of Gilo, which caused the deaths of 19 Zionists … this high-quality operation
  was carried out on June 18, 2002.”205

  In addition, on al-Ghoul’s “Will” page (see below), the official Hamas website published a
  picture of the terrorist dressed in a military uniform and holding an M-16 rifle. In the picture, al-
  Ghoul can be seen wearing a Hamas bandana on his forehead, and a scarf around his neck; both
  contain Hamas’s symbols. 206




  203
      http://www.palestine-info.com/arabic/hamas/shuhda/2002/mohmad_algol/report.htm.
  204
      http://www.palestine-info.com/arabic/spfiles/suhada_2005/sh_Nables/gol.htm;
  http://www.palestine-info.com/arabic/hamas/shuhda/2002/mohmad_algol/algol.htm;
  http://www.palestine-info.com/arabic/hamas/shuhda/2002/mohmad_algol/waseyah.htm;
  http://www.alqassam.ps/arabic/sohdaa5.php?sub_action=picture&id=201;
  http://web.archive.org/web/20040407084011/http://www.palestine-
  info.info/arabic/palestoday/intifada_photos/photo226/photo226.htm.
  205
      http://web.archive.org/web/20040407084011/http://www.palestine-
  info.info/arabic/palestoday/intifada_photos/photo226/photo226.htm.
  206
      http://www.palestine-info.com/arabic/hamas/shuhda/2002/mohmad_algol/waseyah.htm.


                                                      53
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  The official Hamas website also published the picture of Ali Musa Alan, an al Qassam Brigades’
  commander in the southern West Bank and the individual who sent Muhamad al-Ghoul to carry
  out the suicide bombing on the No. 32-A bus at Patt Junction in Jerusalem. The picture appeared
  underneath the caption “Ali Musa Alan, the Qassami commander, who caused Sharon a
  headache”:207




  207
        http://www.palestine-info.com/arabic/spfiles/suhada_2005/bet_lahem/alaan.htm.


                                                           54
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  The following poster was prepared by Hamas following the death of Muhanad Taher, who had
  recruited Muhamad al-Ghoul to be a suicide bomber. The poster includes the pictures of suicide
  bombers whom Taher had dispatched for terrorist operations. On the poster is written, “The
  martyr, the commander, Engineer No. 4.”208




                  3) The “Will”

  As mentioned above, the suicide terrorist’s Will was also published on Hamas’s official
  website.209 In his “Will” – in which he admitted his intention to carry out the suicide bombing –
  al-Ghoul recounted that he had twice previously attempted to carry out a suicide bombing, but
  ultimately did not carry them out. The official Hamas website, which published the Will, also
  revealed that al-Ghoul had written previous “Wills.”210

  Al-Ghoul’s “Will” was also published on the official website of the Izz al-Din al-Qassam
  Brigades, on a page devoted to the suicide bomber. In the “Will” published on this site, al-Ghoul
  thanked Allah for having made him one of the select sons of the Hamas Movement.211


                  4) Material from Hamas websites

  a.      The official website of Hamas published Muhamad al-Ghoul’s biography, emphasizing
          the religious side of his personality and his actions for Islam. At the top of the page is his
          picture in a military uniform holding an M-16 rifle, and on his forehead is a bandana with
          Hamas symbols.212

  208
      http://www.palestine-info.com/arabic/hamas/shuhda/2002/taher/photo.htm.
  209
      http://www.palestine-info.com/arabic/hamas/shuhda/2002/mohmad_algol/waseyah.htm.
  210
      http://www.palestine-info.com/arabic/hamas/shuhda/2002/mohmad_algol/report.htm.
  211
      http://www.alqassam.ps/arabic/sohdaa5.php?id=201.
  212
      http://www.palestine-info.com/arabic/hamas/shuhda/2002/mohmad_algol/serh.htm.


                                                      55
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  b.      The official website of the Izz al-Din al-Qassam Brigades published the biography and
          Hamas activities of Ali Alan, the terrorist who dispatched Muhamad al-Ghoul to the
          suicide bombing in Jerusalem. 213

  c.      As stated above, the official Hamas website stated that following the attack, the
          loudspeaker announcement system in the al-Faraa Refugee Camp reported the name of
          Muhamad al-Ghoul as the perpetrator of the suicide operation.214

  d.      The official website of the Izz al-Din al-Qassam Brigades published a special page on the
          suicide bomber, with a poem in praise of him. The poem, which includes incitement
          against the Jews and compares them to monkeys, was designed to glorify and praise the
          suicide bombing al-Ghoul carried out. This page also included personal details about
          Muhamad al-Ghoul, and his “Will.”215

  e.      The official website of the Hamas Movement published Muhamad al-Ghoul’s picture,
          underneath the caption, “The perpetrator of the sacrificial operation, the Qassami
          [member of the Izz al-Din al-Qassam Brigades], the hero Muhamad Haza al-Ghoul (24),
          who carried out the sacrifice operation in Gilo on June 18, 2002.”216

  f.      In June 2010, eight years after the terrorist attack, the official website of the Izz al-Din al-
          Qassam Brigades published an article marking the terrorist attack, in which the
          organization also acknowledged responsibility. The article included pictures of the
          suicide bomber, Muhamad al-Ghoul, and pictures from the scene, including pictures of
          the bus after the explosion.217

  g.      Sheikh Ahmed Yassin, the founder of Hamas, stated after the Patt Junction bombing,
          “The act of sacrifice carried out by one of the organization’s operatives on Tuesday,
          yesterday morning, near Jerusalem, was carried out in the framework of the Palestinian
          people’s right to make use of the path of resistance and of self-defense.”218




  213
      http://www.alqassam.ps/arabic/sohdaa5.php?id=283.
  214
      http://www.palestine-info.com/arabic/hamas/shuhda/2002/mohmad_algol/report.htm.
  215
      http://www.alqassam.ps/arabic/sohdaa5.php?id=201.
  216
      http://www.palestine-info.com/arabic/hamas/shuhda/2002/mohmad_algol/algol.htm.
  217
      http://www.alqassam.ps/arabic/news1.php?id=16533.
  218
      http://www.alqassam.ps/arabic/operations2.php?id=82.


                                                       56
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                   5) Official Hamas reports

  a.      The official website of the Izz al-Din al-Qassam Brigades published a detailed report on
          the suicide bombing carried out by Muhamad al-Ghoul. The first part of the report is set
          up in the form of a checklist of significant details about the attack:
                 Type of operation: Martyrdom
                 Method of executing the operation: Explosion on a Zionist bus
                 Date of the operation: the morning of Tuesday, June 18, 2002
                 Location of the operation: In the occupied city of Jerusalem
                 Enemy losses: 19 Zionists killed, and 74 Zionists wounded.
                 Organization executing [the operation]: The Izz al-Din al-Qassam Martyr
                    Brigades
                 Executed by: The perpetrator of the sacrificial operation, the Qassami
                    [member of the Izz al-Din al-Qassam Brigades], Muhamad Haza al-
                    Ghoul.219

  b.      Qassamion referenced in its No. 15 issue from November 2009 a survey of Hamas
          operations in Jerusalem that included the suicide bombing on the No. 32 bus carried out
          by Muhamad al-Ghoul. The journal mentions that in this operation “20 Zionists were
          killed.”220

  c.      The official Hamas website published the names of those members of the organization
          killed in June 2002. The name of the suicide bomber appears at No. 34 of the list, and his
          address – al-Faraa Refugee Camp – is also given.221


          c. Official Documents of the Israeli Government


                   1. Report of the Israel Security Agency on the Terrorist Attack at Patt
                      Junction




  219
      http://www.alqassam.ps/arabic/operations2.php?id=82.
  220
      See page 24 in: http://www.alqassam.ps/images/userfiles/image/books/information_office/qassamion_15.pdf.
  221
      http://www.palestine-info.com/arabic/palestoday/shuhada/june_2002.htm.


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                                            “June 18, 2002
           Explosion of a Suicide Bomber on a Bus in the Gilo Neighborhood in Jerusalem
                                      19 killed and 50 wounded
                             The suicide bomber – Muhamad al-Ghoul”

  A resident of Nablus, aged 22, a Masters student of Religious Law at al-Najah University, blew
  himself up on an Egged No. 32 bus on Dov Yosef Street in the Gilo neighborhood in Jerusalem.
  The suicide bomber was located, recruited, and trained by the Hamas military infrastructure in
  Samaria. Following two failed attempts to send the suicide bomber for a terrorist attack, and
  following the interception of Qeis Adwan (one of the leaders of the Hamas infrastructure in
  Samaria), the suicide bomber was referred by Mazen Fukha to Muhanad Taher, who at that
  time headed the Hamas infrastructure in Samaria (since killed).

  Muhanad Taher brought the suicide terrorist to Khalil Marwan Khalil, a member of the
  organization in Samaria (under arrest), who transported him to Azariya in East Jerusalem, where
  he was supposed to be collected, by prior arrangement, by Ali Alan, a Hamas military operative
  from Bethlehem. Ali was assisted by his colleague Ramadan Mashahrah, and his brother,
  Fahmi Mashahrah, both of whom were residents of East Jerusalem and holders of blue identity
  cards (under arrest), in planning and executing the attack.

  Following the gathering of intelligence carried out by Fahmi, the target for the attack was
  selected – the Egged No. 32 bus traveling from the direction of the Gilo neighborhood toward
  the center of Jerusalem. The target was chosen as attractive for carrying out a terrorist attack in
  light of the fact that it stops at the Beit Zafafa stop, an area with a large Arab population, where a
  person of Arab appearance would not be deemed suspicious. As part of the preparations for the
  terrorist attack, Fahmi traveled on the aforementioned bus route a number of times, purchased a
  multi-ride bus ticket, and even had it punched so that it could be used by the suicide bomber
  without arousing suspicion.

  The suicide bomber was transferred to Bethlehem, where he stayed overnight, and the following
  morning he was transported to the area of Abu Dis in Jerusalem where Fahmi collected him, and
  the two continued their journey toward West Jerusalem, with Ramadan Mashahrah traveling
  ahead of them and warning them of Israeli checkpoints. Upon their arrival at the bus stop near
  Beit Zafafa, the suicide bomber was dropped off; he got on the bus and blew himself up.”222



  222
        W_S089692-93.


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                 2) Announcement on behalf of the Israeli Ministry of Foreign Affairs

  The Israeli Ministry of Foreign Affairs announcement of the terrorist attack was accompanied by
  photographs from the attack scene and stated that Hamas had taken responsibility for carrying
  out the bombing. The announcement also published the name of the terrorist, Muhamad al-
  Ghoul. The report provided details of the terrorist’s route from northern Samaria to Jerusalem.223


                 3) Documents and legal proceedings in Israel

  a.     The indictment filed in the military court against Fahmi Eid Ramadan Mashahrah
         – Hamas operative from the Jerusalem region, who was responsible for the logistics of
         the terrorist operation and for dispatching the suicide bomber to the bus stop, accused
         Mashahrah of membership in the Izz al-Din al-Qassam Brigades (first count). Pursuant to
         instructions from his recruiter, he prepared the vehicle for transporting the suicide
         bomber Muhamad al-Ghoul, carried out four preliminary reconnaissance runs in
         Jerusalem to identify a place to carry out the terrorist attack, and finally recommended
         the Gilo neighborhood as a place to carry out the terrorist attack. The indictment claimed
         that the defendant himself carried out a preliminary reconnaissance run, during which he
         traveled on the bus from the Beit Zafafa stop, which is where he recommended that the
         suicide bomber get on the bus. In addition, Mashahrah was accused of purchasing a
         multi-ride ticket for the bus in order to give it to the suicide terrorist so that he would not
         arouse suspicion. He was accused of driving the terrorist in his vehicle to a point 200
         meters from the bus stop, handing him the bus ticket and instructing him to carry out the
         explosion after the bus made three additional stops. The terrorist got on the bus and some
         seconds later blew himself up. 224

  b.     The verdict against Fahmi Eid Ramadan Mashahrah – based on his admission,
         Mashahrah was convicted by the military court. The court sentenced him to 20
         consecutive life terms.225

  c.     The indictment against Ramadan Eid Ramadan Mashahrah – Hamas commander in
         the Jerusalem region. Mashahrah recruited his brother, Fahmi Mashahrah (see the two
         previous paragraphs), and initiated the terrorist attack. The indictment accuses Ramadan

  223

  http://www.mfa.gov.il/MFA/MFAArchive/2000_2009/2002/6/Suicide%20bombing%20at%20Patt%20junction%20i
  n%20Jerusalem%20-%2018.
  224
      W_S156882-30.
  225
      W_S156740-41.


                                                   59
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          Eid Mashahrah of membership in the Hamas Movement and the Izz al-Din al-Qassam
          Brigades (first count); of recruiting his brother Fahmi into the al-Qassam Brigades, and
          using him to pursue the terrorist attack (second count); and of carrying out preparations
          for the terrorist attack including carrying out preliminary reconnaissance of the location
          intended for execution of the suicide bombing. Ramadan Mashahrah was also accused of
          providing money to his recruit to prepare the vehicle for transporting the suicide bomber;
          of receiving instructions from Ali Alan, the commander of the Hamas in Judea, who
          instructed him how to make contact with the suicide bomber and where to meet him; and
          of tracking and maintaining visual contact with the vehicle in which the suicide bomber
          was traveling, in order to ensure that he reached the target designated for the explosion
          (third count).226

  d.      The verdict against Ramadan Eid Ramadan Mashahrah – the military court
          sentenced Ramadan Eid Mashahrah to 20 consecutive life terms.227

  e.      Report of the Israel Police crime laboratory – the report confirms that this was a
          terrorist bomb, with its various components, including metal ball bearings intended to
          cause a large number of deaths. The report also includes laboratory proofs that the bomb
          indeed blew up on the bus.228

        d. Summary of the Suicide Bombing on Bus No. 32-A at Patt Junction

  From all the materials described above, I conclude that the principal Hamas members involved in
  the terrorist attack – and the infrastructure that directed the terrorist attack – are as follows:

  1.      The suicide bomber – Muhamad al-Ghoul: born in 1978, resident of the al-Faraa
          Refugee Camp in the northern part of the West Bank, and a Masters student in the
          Department of Islamic Law at al-Najah University in Nablus. Al-Ghoul joined Hamas
          while still a high school student. He continued his academic studies at al-Najah
          University and in 1997 joined the “Islamic Bloc” (“al-Kutla al-Islamiya”) – the student
          organization of Hamas at the University. Al-Ghoul was a religious radical who knew the
          Quran by heart and who, during his Masters studies, expressed his willingness to carry
          out a suicide bombing. The fact that he wrote a “Will” three times proves, in my opinion,
          the extent of his zealousness and devotion, and the seriousness of his intentions. 229

  226
      See Appendix 1, pp. 1-9.
  227
      See Appendix 1, pp. 10-11.
  228
      W_S161544, 161573-75; W_S161542-43; W_S161545-53.
  229
      http://www.palestine-info.com/arabic/spfiles/suhada_2005/sh_Nables/gol.htm,


                                                        60
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          Al-Ghoul was recruited to serve as the suicide bomber and was sent to Jerusalem to carry
          out his mission by Muhanad Taher, the commander of the Izz al-Din al-Qassam
          Brigades in the northern West Bank (see below for details regarding Taher). Pursuant to
          instructions received from his operator in Nablus, al-Ghoul traveled to the village of
          Azariya near Jerusalem – where he was received by the accomplices of Ali Alan,230
          commander of Hamas in the southern West Bank. The following day – June 18, 2002 –
          he was sent to blow himself up on the bus in Jerusalem. 231

  2.      Ali Musa Alan: born in 1975. Resident of the al-Ayda Refugee Camp near Bethlehem.
          High school educated, married and the father of a son, he served as commander of the Izz
          al-Din al-Qassam Brigades in the southern West Bank. Alan was first arrested in 1994
          for his involvement in terrorist activity for Hamas, and was sentenced to four and half
          years’ imprisonment. At the beginning of the Second Intifada (al-Aqsa Intifada), he
          joined the Izz al-Din al-Qassam Brigades, was trained by bomb expert Ayman Halaweh
          in the preparation of bombs, and appointed by the Hamas high command as commander
          of the Izz al-Din al-Qassam Brigades in the southern West Bank.

          Since 2002, he has become known as a person responsible for suicide operations. He used
          his connections with Nablus to obtain explosive belts, recruit suicide bombers and
          dispatched them into the Israel to carry out attacks. Among other things, he sent suicide
          bomber Muhamad al-Ghoul to carry out the suicide mission on the No. 32-A bus at Patt
          Junction in Jerusalem. He was killed on March 18, 2003, in a shooting battle with Israel
          Defense Forces troops. Following his death, the Izz al-Din al-Qassam Brigades published
          his picture and biography on its official website, taking pride in the fact that he “killed
          over 50 Zionists.”232

  3.      Muhanad Taher233: commander of the Izz al-Din al-Qassam Brigades in the northern
          West Bank. Taher coordinated his activities at al-Najah University, where he was a
          member of the student council for Hamas. He was arrested by the Palestinian Authority

  http://www.palestine-info.com/arabic/hamas/shuhda/2002/mohmad_algol/serh.htm.
  230
      For information regarding Ali Alan and his ties with Hamas, see:
  http://www.alqassam.ps/arabic/sohdaa5.php?id=283.
  231
      Guy Aviad, Lexicon of the Hamas Movement, p. 232.
  232
      Guy Aviad, Lexicon of the Hamas Movement, p. 220; see also:
  http://www.alqassam.ps/arabic/sohdaa5.php?id=283; see also: http://www.palestine-
  info.com/arabic/spfiles/suhada_2005/bet_lahem/alaan.htm ; http://www.alqassam.ps/arabic/news1.php?id=16755.
  233
      For information regarding Muhanad Taher and his status within Hamas as one of the senior commanders of its
  military wing, see, for example, the detailed reports published about him on the Hamas website and on the Izz al-Din
  al-Qassam         website:       http://www.palestine-info.com/arabic/spfiles/suhada_2005/sh_Nables/mohanad.htm;
  http://www.alqassam.ps/arabic/news1.php?id=16755.


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          and was imprisoned for two years. Upon his release by the Palestinian Authority, at the
          outbreak of the Second Intifada, he began to operate as part of the Izz al-Din al-Qassam
          Brigades, and became commander of the al-Qassam Brigades in the northern West Bank.
          He was responsible for a series of terrorist attacks, among them the terrorist attack at
          Sbarro pizzeria in Jerusalem, the terrorist attack at the Dolphinarium, and the terrorist
          attack at the Park Hotel in Netanya. His expertise in preparing explosive devices earned
          him the nickname “Hamas’ Engineer No. 4.” On June 10, 2002, he was killed in a gun
          battle with Israel Defense Forces troops.234


          e. Conclusion

  The suicide bombing on bus 32 in the Gilo neighborhood in Jerusalem on June 18, 2002, is a
  classic example of the modus operandi of the Izz al-Din al-Qassam Brigades. The terrorist attack
  was managed by the local command, which scheduled and coordinated the operations of cells in
  different areas of the West Bank, and succeeded in sending to Jerusalem a suicide bomber who
  lived in northern Samaria. This cooperation indicates that in the period under review, the
  regional command had control over Hamas cells in different regions, and these cells operated not
  randomly, but in line with instructions and guidance they received from the command.

  Muhanad Taher and Ali Alan were senior commanders in Hamas. Taher commanded the
  northern region of the West Bank, while Alan commanded the southern region of the West Bank.
  The cooperation between them facilitated the suicide bombing.

  The suicide terrorist bomber was recruited by Taher. As a religiously fanatical young man, there
  was no need to convince al-Ghoul to carry out the suicide bombing. He chose to carry out the
  operation of his own free will.

  Al-Ghoul is an example of a member of the Islamic Bloc, the student arm of Hamas, who made a
  rapid transition from political activity and religious preaching as part of the Da’wa to military
  activity and willingness to carry out a suicide bombing.

  As part of the coordination between Taher and Alan, Taher was responsible for recruiting the
  terrorist and sending him to Jerusalem, while Alan was responsible for arming him with an
  explosive belt and transferring him to the site for carrying out the attack. For this mission, Ali
  Alan recruited Ramadan Mashahrah, who in turn recruited his brother, Fahmi Mashahrah, to
  234
     Guy Aviad, Lexicon of the Hamas Movement, p. 111; see also:
  http://www.alqassam.ps/arabic/news1.php?id=16755.


                                                       62
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  assist in the operation. The Mashrah brothers were residents of East Jerusalem, and had
  Jerusalem identity cards. The two carried out a preliminary reconnaissance run and identified the
  bus stop at Patt Junction as a potential location for a suicide bombing.

  Through coordination between Ali Alan and Muhanad Taher, the suicide terrorist was sent to
  Jerusalem. Ali Alan provided the explosive belt, and the two brothers, by prior arrangement,
  transported the terrorist Muhamad al-Ghoul to the chosen location. He got on the bus and blew
  himself up.

  Based on the materials cited above, and my experience and familiarity with the modus operandi
  of Hamas, I conclude, with a very high degree of probability (and, indeed, I have no doubt) that
  Hamas was responsible for the suicide bombing carried out on June 18, 2002, at Patt Junction in
  Jerusalem.




                                                 63
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                                   Exhibit 7
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                                     14809
                                                                            1


    1    UNITED STATES DISTRICT COURT
    2    EASTERN DISTRICT OF NEW YORK
         -------------------------------------------x
    3    MOSES STRAUSS, et al.,

    4                              Plaintiffs,
    5          -against-

    6    CREDIT LYONNAIS, S.A.,

    7                        Defendants.
         -------------------------------------------x
    8    BERNICE WOLF, et al.,

    9                              Plaintiffs,

   10          -against-
   11    CREDIT LYONNAIS, S.A.,

   12                        Defendants.
         -------------------------------------------x
   13
   14                              One Liberty Plaza
                                   New York, New York
   15
                                   February 12, 2014
   16                              10:15 a.m.
   17

   18            Videotaped Deposition of RONNI SHAKED,

   19    before Shari Cohen, a Notary Public of the

   20    State of New York.

   21

   22

   23            ELLEN GRAUER COURT REPORTING CO. LLC
                   126 East 56th Street, Fifth Floor
   24                  New York, New York 10022
                             212-750-6434
   25                        REF: 106037
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                                     14810
                                                                           19


    1                               SHAKED
    2    what you're saying, does this report reflect

    3    all of the opinions you propose to express in

    4    these cases concerning the five attacks and
    5    does it contain all of the facts that you

    6    rely upon in reaching those opinions?

    7                      MR. UNGAR: Objection to form
    8             and compound.

    9                      MR. FRIEDMAN: Do you want me

   10             to break it up and take more time?
   11                      MR. UNGAR: I just want to put

   12             the objection on the record.

   13                      MR. FRIEDMAN: Do you want me
   14             to break it up and take more time?

   15                      MR. UNGAR: I think it would be

   16             clearer to do one at a time because
   17             the answer to one of them I don't

   18             think is the one you asked the first

   19             time.

   20                      MR. FRIEDMAN: Exactly.

   21             Q.      My first question is does this

   22    report contain all the opinions that you

   23    intend to express concerning the five attacks

   24    that you cover?

   25             A.      The report contains all the
Case 1:05-cv-04622-DLI-RML Document 360-1 Filed 02/24/17 Page 109 of 455 PageID #:
                                     14811
                                                                           20


    1                               SHAKED
    2    opinions and all the facts connected with all

    3    the attacks and not everything            -- everything

    4    that I was able to find in my research. It's
    5    possible that there was a piece of paper or a

    6    piece of information that escaped me and I

    7    could not put my hand on.
    8             Q.      Did anyone help you with your

    9    research for this report?

   10             A.      No.
   11             Q.      The documents that you refer to

   12    in the footnotes in your report, did you

   13    obtain all of those on your own or were any
   14    of them provided to you by someone else?

   15             A.      To the best of my recollection

   16    and my knowledge all the footnotes in the
   17    report were collected by myself except maybe

   18    and I would have to check all the footnotes

   19    now maybe a remark that I received from the

   20    counsel of the plaintiffs and if it exists

   21    and I would have to check it I indicated it

   22    which I customarily do I indicated that I

   23    received it from the plaintiffs.

   24             Q.      Are all of the documents you

   25    rely on identified in your report?
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                                     14812
                                                                           21


    1                               SHAKED
    2                      MR. UNGAR: Objection to form,

    3             vague.

    4             A.       I did to the best of my ability
    5    to make sure that they would all be

    6    identified and if I made a mistake here or

    7    there, but I believe that I did the best to
    8    the best of my ability to identify.

    9             Q.       Are you aware of any documents

   10    that you relied on that are not identified in
   11    your report?

   12             A.       I'll give you an example from

   13    the most recent period.          Two new books for
   14    example.      One of the terrorists the murderer

   15    Abdullah Barghouti and some other material

   16    that was written in Gaza after the terrorists
   17    were released in the deal that is going on

   18    with John Kerry right now.

   19             Q.       Are those materials that you

   20    relied on in your report that you did not

   21    identify in your report?

   22             A.       I did not rely on these

   23    materials because they are repetition and

   24    reinforcement of my positions.

   25             Q.       So let me go back to two
Case 1:05-cv-04622-DLI-RML Document 360-1 Filed 02/24/17 Page 111 of 455 PageID #:
                                     14813
                                                                           22


    1                               SHAKED
    2    questions ago.       Are you aware of anything

    3    that you relied on in writing this report

    4    that is not identified in this report?
    5                      MR. UNGAR: Objection to form,

    6             vague.

    7             A.       I repeat my previous answer.          I
    8    did to the best of my ability and to the best

    9    of my professional knowledge to make sure

   10    that everything would be contained here.
   11    Unless there is something what's called a

   12    slip of the pen and that may be a minor

   13    mistake.
   14             Q.       But as far as you know as you

   15    sit here today everything you relied on is

   16    identified in your report, correct?
   17                      MR. UNGAR: Objection, asked

   18             and answered.

   19             A.       Certainly to the best of my

   20    estimation and to the best of my ability,

   21    yes, except that occasionally the material

   22    that is inside me, my knowledge, my

   23    professional knowledge is so vast that I used

   24    something from my professional experience.

   25             Q.       Mr. Shaked, plaintiffs' lawyers
Case 1:05-cv-04622-DLI-RML Document 360-1 Filed 02/24/17 Page 112 of 455 PageID #:
                                     14814
                                                                           30


    1                               SHAKED
    2             A.      That's right.       The Magid

    3    Institute at the Hebrew University.

    4             Q.      You taught that course in 2013?
    5             A.      No, in the last month of 2013

    6    and in 2014.

    7             Q.      Could you please look at the
    8    entry for 2014 under employment in your CV.

    9    What university does that state the Magid

   10    Institute is part of?
   11             A.      It's a slip of the pen.          It's

   12    not in Arab.      It's the Hebrew University

   13    because in Hebrew Arabic and Hebrew it's just
   14    the difference of one letter.

   15             Q.      I just want to make sure that

   16    in your --
   17             A.      The letter bet and the letter

   18    reish on the keyboard are next to each other.

   19             Q.      I just want to make sure that

   20    your CV says that you teach at the Arab

   21    University in Jerusalem, but in fact you

   22    teach at the Hebrew University in Jerusalm?

   23             A.      Right.

   24             Q.      The course that you are

   25    teaching is entitled history of the Israeli
Case 1:05-cv-04622-DLI-RML Document 360-1 Filed 02/24/17 Page 113 of 455 PageID #:
                                     14815
                                                                           31


    1                               SHAKED
    2    Palestinian conflict; is that right?

    3              A.     Yes.

    4              Q.     This is an undergraduate
    5    course?

    6              A.     Yes, it's a course within the

    7    undergraduate studies, yes.
    8              Q.     In that course do you teach

    9    anything about any of the attacks at issue in

   10    these lawsuits?
   11              A.     No because I talk about

   12    different topics.

   13              Q.     What topics do you talk about?
   14              A.     Psychological -- sociological

   15    aspects of the conflict like, for example,

   16    narratives, collective memory, collective
   17    recollection, orientation of collective

   18    emotions and I include history inside this

   19    topic because the purpose of the course is

   20    not to tell about what's happening with

   21    terror and such, but to show how the society

   22    or community behaves and how a culture of

   23    conflict is constructed.

   24                     Of course I deal with the

   25    aspect, the so-called aspect of violence,
Case 1:05-cv-04622-DLI-RML Document 360-1 Filed 02/24/17 Page 114 of 455 PageID #:
                                     14816
                                                                           32


    1                               SHAKED
    2    terror and resistance because according to my

    3    research it's part of the culture.

    4             Q.      But you don't cover
    5    specifically any of the attacks that are at

    6    issue in these lawsuits as part of your

    7    teaching, right?
    8                      MR. UNGAR: Objection, asked

    9             and answered.

   10             A.      I don't cover that.        I don't
   11    focus on them.

   12             Q.      You stated that you're a

   13    researcher at the Truman Research Institute?
   14             A.      That's right.

   15             Q.      For how long have you done

   16    that?
   17             A.      Since 2012.      The school year.

   18             Q.      Is that position part of your

   19    continuing doctoral studies?

   20             A.      This position positions me as

   21    part of the Palestinian desk and it enables

   22    me to continue my doctoral studies.

   23             Q.      What subjects do you research?

   24             A.      I research the ethos of the

   25    conflict of the Palestinian society.
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                                     14817
                                                                           33


    1                               SHAKED
    2             Q.      The ethos of the conflict of

    3    the Palestinian society?

    4             A.      Yes.
    5             Q.      From a sociological and

    6    psychological perspective?

    7                      MR. UNGAR: Objection to form.
    8             A.      From the perspective of social

    9    psychology.

   10             Q.      You're continuing your doctoral
   11    studies that you told us about in 2011,

   12    correct?

   13             A.      Actually I'm in the last stages
   14    of finishing it.

   15             Q.      You will soon submit your

   16    dissertation entitled, "The Ethos of Conflict
   17    in the Palestinian Society", right?

   18             A.      That's right.

   19             Q.      Does that dissertation address

   20    any of the attacks that are at issue in these

   21    lawsuits?

   22             A.      No.

   23             Q.      Has any of your research at the

   24    Truman Research Institute addressed any of

   25    the attacks at issue in these lawsuits?
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                                     14818
                                                                           34


    1                                SHAKED
    2             A.      No.

    3             Q.      When you receive your

    4    doctorate, Mr. Shaked, and congratulations on
    5    your continuing studies, in what field will

    6    your doctorate be in?

    7             A.      Ph.D. in philosophy.
    8             Q.      So you are pursuing a Ph.D.

    9    from the philosophy department?

   10             A.      No, the name is Ph.D. from the
   11    department of -- Middle East department.

   12             Q.      The Ph.D. will be in philosophy

   13    so you will be a doctor of philosophy?
   14             A.      Yes.

   15             Q.      The specific area of philosophy

   16    you're specializing in in your studies is the
   17    ethos of conflict in Palestinian society,

   18    right?

   19             A.      Correct.

   20             Q.      Sincerely congratulations on

   21    your studies.

   22             A.      I hope in two months.

   23             Q.      Your CV also states that in

   24    January of 2013 you served as a commentator

   25    on Palestinian matters on the Knesset
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                                     14819
                                                                           46


    1                               SHAKED
    2             Shaked, marked for Identification.)

    3             Q.      Mr. Shaked, let me show you

    4    what the reporter marked as Exhibit 36 which
    5    is the supplemental expert report you

    6    submitted in these cases.           If you look at

    7    page 2 under the heading scope of the
    8    required work, you wrote, "In May 2009

    9    counsel for the plaintiffs asked me to

   10    provide an expert opinion on the question of
   11    whether Hamas was involved in the recruiting,

   12    planning and perpetration of the following

   13    suicide bombings" and then you listed several
   14    bomb, and if you look on to page 3, you

   15    wrote, "Counsel for the plaintiffs also asked

   16    me to provide an expert opinion with respect
   17    to the question of whether Hamas had been

   18    involved in the recruiting and perpetration

   19    of the following terrorist attacks --

   20                      MR. UNGAR: Perpetration.

   21             Q.      "Perpetration of the following

   22    terrorist attacks" and then you listed other

   23    attacks.      Do you want to interpret that?           If

   24    you look at your most recent report Exhibit

   25    34 you just launched on page 1 into
Case 1:05-cv-04622-DLI-RML Document 360-1 Filed 02/24/17 Page 118 of 455 PageID #:
                                     14820
                                                                           47


    1                               SHAKED
    2    discussing the first of the five attacks that

    3    you address.      With that background my

    4    question is the following. Is the scope of
    5    the work or is the description of the scope

    6    of the work -- of the required work that you

    7    put in your last report, would you describe
    8    the scope of the required work for your

    9    newest report in the same terms merely

   10    substituting the five additional attacks for
   11    the attacks listed in your prior report?

   12                      MR. UNGAR: Objection to form.

   13             Q.      Or, in other words, is the
   14    scope of the required work for your most

   15    recent report about the five attacks the same

   16    as it was for the prior attacks except that
   17    now you are dealing with five different

   18    attacks?

   19             A.      I learned about those terrorist

   20    attacks and it's the same scope because I

   21    wanted to continue with the same line, the

   22    same methodology and the same way.

   23             Q.      You anticipated my next

   24    question, but let me just be clear.             In your

   25    prior report you have a section beginning on
Case 1:05-cv-04622-DLI-RML Document 360-1 Filed 02/24/17 Page 119 of 455 PageID #:
                                     14821
                                                                           48


    1                               SHAKED
    2    page 3 that describes your methodology and I

    3    think based on your last answer your answer

    4    to this question will be yes, but just to
    5    confirm, did you follow in your most recent

    6    report with respect to the five additional

    7    attacks the same methodology that you
    8    describe in your prior report?

    9             A.      Yes.

   10             Q.       Mr. Shaked, at your prior
   11    depositions, the Credit Lyonnais deposition

   12    and the Nat West deposition, you answered

   13    questions that I asked you about your
   14    methodology and you describe your methodology

   15    further in response to my questions.              I take

   16    it that your description of your methodology
   17    in your prior testimony applies equally to

   18    the methodology that you used for your most

   19    recent report, correct?

   20                      MR. UNGAR: Objection to form.

   21             A.      I can't remember what I

   22    answered to the questions that I was asked at

   23    the time, it was a long time ago, but I use

   24    the same methodology the same ways of

   25    supposition, analysis and conclusions as
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                                     14822
                                                                           49


    1                               SHAKED
    2    before.

    3              Q.       When did you last read the

    4    transcripts of the two days of deposition
    5    testimony that you gave in this office?

    6              A.       I think it will be in the

    7    course of the last month.
    8              Q.       Did you see anything in your

    9    prior testimony that you wish to change?

   10                       MR. UNGAR: Objection to form.
   11                       MR. FRIEDMAN: What's the form

   12              objection?

   13                       MR. UNGAR: It's a very broad
   14              question.    For the record he said he

   15              might have seen it within the last

   16              month.    Big transcripts.       If he
   17              remembers anything that stands out,

   18              then point it out.

   19              Q.       Mr. Shaked, having read the

   20    transcripts more or less in the last month,

   21    is there anything you can tell us today that

   22    you wish to change in your prior testimony?

   23              A.       No, as I said, I also found in

   24    new materials that the reliance and the

   25    methodology were all right.
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                                     14823
                                                                           59


    1                                SHAKED
    2    files before you were engaged by the

    3    plaintiffs to prepare your expert report; is

    4    that correct?
    5             A.      To the best of my recollection

    6    it is correct.

    7             Q.      Where physically do you keep
    8    these files?

    9             A.      In two places today in my room,

   10    in my research room at the university where I
   11    have four or five meters of documents there

   12    and the rest at home whatever my wife would

   13    allow.
   14                      MR. FRIEDMAN: I'm going to ask

   15             the reporter to mark as Exhibit 37 a

   16             Hebrew language document provided to
   17             us by plaintiffs.

   18                      (Shaked Exhibit 37,

   19             Document, marked for Identification.)

   20             Q.      I will represent to you, Mr.

   21    Shaked, this is a document that you cite in

   22    your most recent report.

   23             A.      Correct.

   24             Q.      From where did you obtain

   25    this?
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                                     14824
                                                                           60


    1                                SHAKED
    2             A.      I obtained this document

    3    directly from the ISA.

    4             Q.      Is there a specific person at
    5    the ISA from whom you received this document?

    6             A.      I received it from Avi Shy in

    7    the communication department.
    8             Q.      You received it while you were

    9    working at Yediot?

   10             A.      Correct.
   11             Q.      Tell me how do you know looking

   12    at this document that you received it from

   13    Avi Shy at Shabak?
   14                      MR. UNGAR: Objection to form.

   15             A.      Besides the fact that I

   16    received it in my hand, not just me, but also
   17    several other journalists as well together my

   18    experience from the ISA from the Yediot

   19    Aharonot and also from my research taught me

   20    that this is the ISA's language.            In

   21    addition, this report had been published in

   22    the middle of the Intifada and towards 2008

   23    and a similar report was issued and it has on

   24    it the logo of the ISA because the ISA came

   25    out of hiding.
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                                     14825
                                                                           61


    1                               SHAKED
    2              Q.     This document does not bear the

    3    logo of the ISA, correct?

    4              A.     Not here.
    5              Q.     You can put that to one side.

    6    For each of the five attacks you address in

    7    your report you refer to claims of
    8    responsibility for those attacks that appear

    9    on websites that you attribute to Hamas,

   10    correct?
   11              A.     Yes, but if I may explain

   12    something.      In my work trying to find the

   13    organization that is behind a certain
   14    terrorist attack I can say I work like a

   15    physician.      If I come to a doctor and say I

   16    have a pain in my elbow, I make several
   17    various suppositions of where the pain may be

   18    coming from and I try to analyze the entire

   19    situation and only then I arrive at the

   20    result.

   21                     I mean in this case that the

   22    subject of claiming responsibility or the

   23    subject of the ISA or the subject of the

   24    police I analyze all the material together

   25    and only then I arrive at the result, in
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                                     14826
                                                                           62


    1                               SHAKED
    2    other words, I try to look at the entire

    3    picture and not only at a little segment of a

    4    picture and the gathering of all the
    5    materials, the supposition and the analysis

    6    gives me at the end of the day the result

    7    that is not dependent on the several minutes
    8    or the hour of the given event, but it gives

    9    me a perspective of the several days that

   10    thanks to which I can draw the correct
   11    conclusions.

   12                     This is different than my

   13    journalistic work because as a journalist I
   14    have to come up with an immediate result of

   15    the exact moment which I'm analyzing and

   16    therefore it happens several times that there
   17    were mistakes made and on the other hand in

   18    this type of report with a perspective of

   19    more time I can arrive at different results

   20    by analyzing let's say the totality of data

   21    and arriving at a complete picture.

   22                     MR. FRIEDMAN: I want to state

   23             that I may at some point move to

   24             strike all of that answer other than

   25             the word yes which was responsive to
Case 1:05-cv-04622-DLI-RML Document 360-1 Filed 02/24/17 Page 125 of 455 PageID #:
                                     14827
                                                                          109


    1                               SHAKED
    2    infrastructure was directed to locate a

    3    target. I'm reading it from English, a

    4    suitable target, while the infrastructure in
    5    Jenin was asked to locate a candidate.              I

    6    think it's more or less word for word as it

    7    was cited.
    8             Q.      Does Mr. Aviad's book say that

    9    the infrastructure in Ramallah was asked to

   10    send the suicide bomber to Jerusalem?
   11             A.      No.    It only asks to carry out

   12    an attack.

   13             Q.      You can put that aside.          Let's
   14    talk about the December 1, 2001 bombing on

   15    Ben Yehuda Street?

   16             A.      Yes.
   17             Q.      First of all you write the car

   18    bomb exploded outside the editorial offices

   19    of Yediot Aharonot and therefore when you

   20    heard the explosion you went downstairs to

   21    the attack scene, correct?

   22             A.      That's correct, it was right

   23    under my window.

   24             Q.      Are the opinions you express in

   25    your report premised at all on anything you
Case 1:05-cv-04622-DLI-RML Document 360-1 Filed 02/24/17 Page 126 of 455 PageID #:
                                     14828
                                                                          110


    1                                SHAKED
    2    observed at the attack scene?

    3             A.      No.

    4             Q.      Look at footnote 134 on page 31
    5    of your report.        Read it to yourself, please.

    6             A.      I read it.

    7             Q.      What's your source for the
    8    information you report that such a telephone

    9    call was received at the offices of the BBC?

   10             A.      I can assume that it was
   11    Muhammad Badran from the BBC who called me.

   12             Q.      You believe this is based on a

   13    telephone call that you received from an
   14    employee of the BBC?

   15             A.      On the telephone conversation

   16    and on the quick news communica that was
   17    shown on the BBC later on.

   18             Q.      That you witnessed -- that you

   19    saw?

   20             A.      There is a person who

   21    constantly observes the news on the

   22    television and he saw it.

   23             Q.      At the offices of Yediot?

   24             A.      Correct.

   25             Q.      What you have in this footnote
Case 1:05-cv-04622-DLI-RML Document 360-1 Filed 02/24/17 Page 127 of 455 PageID #:
                                     14829
                                                                          111


    1                               SHAKED
    2    is your personal recollection of what you

    3    were told by an employee of the BBC or what

    4    you were told by a fellow employee of Yediot
    5    Aharonot that he saw on the BBC television

    6    news; is that correct?

    7             A.      This announcement was published
    8    because just upon listening or hearing and

    9    without doing a cross verification I wouldn't

   10    have cited it.
   11             Q.      Mr. Shaked, my question is not

   12    a trick question.        I just want to establish

   13    the fact.     Let me finish.        What you wrote in
   14    this footnote is based on your personal

   15    recollection of what you were told by an

   16    employee of the BBC and/or what you were told
   17    by a fellow employee of Yediot that he or she

   18    had seen on the BBC television news; is that

   19    correct?

   20             A.      Yes.

   21             Q.      Look at page 33 of your report.

   22    The photograph on the top of that page is a

   23    photograph from what you characterize as the

   24    official website of the al-Qassam Brigades;

   25    is that right?
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                                     14830
                                                                          128


    1                               SHAKED
    2    question was whether it was consistent with

    3    your understanding of the practices of

    4    Israeli authorities at the time that if a
    5    terrorist was killed while perpetrating an

    6    attack in Atzmona that the authorities would

    7    have provided the terrorist's body to his
    8    family?

    9                      MR. UNGAR: Same objection.

   10              A.     To the best of my knowledge
   11    that was the reality.

   12              Q.     So to the best of your

   13    knowledge it was the practice of the Israeli
   14    authorities at that time to provide the body

   15    of a deceased terrorist in Gaza to his or her

   16    family?
   17                      MR. UNGAR: Objection to form,

   18              asked and answered.

   19              A.     To the best of my recollection

   20    this was the reality.

   21              Q.     Turn to page 44, please.

   22              A.     Yes, please.

   23              Q.     As to the photograph at the

   24    bottom of this page you describe this photo

   25    as having been taken prior to Muhammad
Case 1:05-cv-04622-DLI-RML Document 360-1 Filed 02/24/17 Page 129 of 455 PageID #:
                                     14831
                                                                          129


    1                                SHAKED
    2    Farhat's departure for the terrorist attack

    3    in Atzmona, correct?

    4             A.      Correct.
    5             Q.      What's your basis for saying

    6    that?

    7             A.      I saw several movies on the
    8    internet besides the movie by Barbara Victor.

    9    I read about it on the Hamas website and in

   10    the life story of Maryam Farhat.            From the
   11    filmography I had the impression that these

   12    were real photos.

   13             Q.      Independent of what you saw on
   14    websites or in films, you yourself based on

   15    your own personal knowledge do not know

   16    whether this photo was taken prior to Mr.
   17    Farhat's departure for the terrorist attack

   18    in Atzmona, correct?

   19             A.      The murderer Farhat.         Of course

   20    I don't know because I wasn't there.              Based

   21    on all my knowledge and everything that's

   22    connected with the woman's status and the

   23    woman's position and especially mothers of

   24    dead people, people who are killed that's

   25    taken from the Karan I have the basis to
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                                     14832
                                                                          130


    1                               SHAKED
    2    believe that this is a real picture although

    3    I wasn't there.

    4                     MR. FRIEDMAN: I move to strike
    5             that.

    6             Q.      Look at the top of page 45.

    7    Sorry, before you do that, the bottom of page
    8    44, what is the source that you cite in

    9    footnote 178, can you describe that to me?

   10             A.      We are talking about the
   11    official website of the Hamas.            I have to see

   12    exactly.      It's Palestine info.        It has very

   13    extensive description of this operation.
   14             Q.      You are talking about footnote

   15    177, right?

   16             A.      Yes.    You are asking about 178?
   17             Q.      Indeed I am.

   18             A.      It's a website in Gaza.          I

   19    don't remember exactly what it is, but it's a

   20    website in Gaza or maybe it's an excerpt from

   21    a short film that I took.

   22             Q.      You don't know?

   23             A.      I don't remember.

   24             Q.      An excerpt from a short film

   25    that you took?
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                                     14833
                                                                          131


    1                               SHAKED
    2             A.      No, God forbid, which I found

    3    on one of the websites.

    4             Q.      That you attribute to Hamas?
    5             A.      It's not important.        To me the

    6    photo is important, not who received it or

    7    obtained it.
    8             Q.      You are of the view that this

    9    photo is reliable, correct?

   10                      MR. UNGAR: Objection to form.
   11             A.      To the best of my recollection

   12    it was taken in her yard, the yard of her

   13    house.
   14             Q.      The source that you took it

   15    from stated that it was taken before his

   16    departure from Atzmona, correct?
   17             A.      I can't say it with certainty

   18    because I don't remember what was written

   19    there.    I would have to check on it.

   20             Q.      You don't recall whether the

   21    website contains the characterization of the

   22    photo that you put in your report?

   23                      MR. UNGAR: Objection to form.

   24             A.      I believe that what I wrote is

   25    correct and what I took from the website.
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                                     14834
                                                                          132


    1                               SHAKED
    2             Q.      If you would like, Mr. Shaked,

    3    I will show you that website and you will see

    4    that it merely contains the photo so my
    5    question for you is the following.             You wrote

    6    in this report which you signed and which you

    7    testified is true and accurate in all
    8    respects that this photo was taken of Mr.

    9    Farhat with his mother prior to his departure

   10    for the terrorist attack in Atzmona and my
   11    question is what is your basis for saying

   12    that?

   13                      MR. UNGAR: Objection, asked
   14             and answered.

   15             A.      From professional knowledge of

   16    whoever dealt with films this is not a still
   17    photo, it's a photo from a film from a moving

   18    film.    I wrote here that this is a photo of

   19    him and his mother that was taken before him

   20    going to Atzmona without citing the website,

   21    just only attributing the photo to it.

   22             Q.      So I ask you again what is your

   23    basis for saying in your report that this

   24    photo was taken prior to his departure for

   25    the terrorist attack in Atzmona?
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                                     14835
                                                                          133


    1                               SHAKED
    2             A.      A, the movies that I saw,

    3    especially the movie by Barbara Victor.               B,

    4    to the best of my recollection there are
    5    other websites which contain the photo of

    6    Abdullah Farhat and his mother.            I wanted to

    7    show here in this picture the culture that
    8    existed in the Palestinian society at that

    9    time concerning attacks and suicide attacks,

   10    terror attacks and suicide attacks.
   11             Q.      So you agree with me that your

   12    characterization of this photo is not

   13    revealed in the website that you cited for
   14    the statement, correct?

   15                      MR. UNGAR: Objection to form.

   16             A.      It's not cited and I don't cite
   17    anything either.

   18             Q.      So just to make sure the record

   19    is clear, your characterization of this photo

   20    is based on something that you have not

   21    disclosed in your report, correct?

   22                      MR. UNGAR: Objection to form.

   23             A.      I indeed wrote my report from

   24    an official Hamas website that Mrs. Farhat

   25    parted from or that the son parted from his
Case 1:05-cv-04622-DLI-RML Document 360-1 Filed 02/24/17 Page 134 of 455 PageID #:
                                     14836
                                                                          134


    1                               SHAKED
    2    mother before going out to carry out an

    3    operation.

    4             Q.      That's not what this sentence
    5    in your report says.         Your sentence in the

    6    report says as follows, "The following is the

    7    photo taken together with his mother prior to
    8    his departure for the terrorist attack in

    9    Atzmona."     You've agreed with me that the

   10    website you cite for -- that you identify for
   11    that statement does not contain that

   12    information so what is your source for that

   13    information?
   14                      MR. UNGAR: Objection to form.

   15             A.      I agree that maybe this exact

   16    citation is not on the website, but from my
   17    experience, my knowledge and my ability to

   18    evaluate it as a professional this is a

   19    picture that was taken before his going out

   20    to an operation.

   21                      MR. FRIEDMAN: Hold that

   22             thought and we'll sit here and he will

   23             change the tape.

   24                      THE VIDEOGRAPHER: We are now

   25             off the record.       The time is 4:28
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                                     14837
                                                                          136


    1                               SHAKED
    2             going to finish this line of

    3             questioning.

    4                      MR. UNGAR: I'll give you two
    5             minutes.

    6                      MR. FRIEDMAN: You don't give

    7             me anything.      I want to finish this
    8             line of questioning.         If you want to

    9             walk out walk out, but I'm entitled --

   10             if you really had to go, you would let
   11             me finish, okay.

   12             Q.      Mr. Shaked --

   13                      MR. UNGAR: You can have two
   14             minutes.

   15                      MR. FRIEDMAN: What?

   16                      MR. UNGAR: You can have two
   17             minutes and then we are going to take

   18             a break.

   19                      MR. FRIEDMAN: Are you going to

   20             talk to him during the break?

   21                      MR. UNGAR: If he's going to

   22             the restroom with me.

   23                      MR. FRIEDMAN: Are you going to

   24             talk to him about his testimony during

   25             the break?
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                                     14838
                                                                          137


    1                               SHAKED
    2                      MR. UNGAR: We are taking a

    3             break because we've been going for an

    4             hour and 15 minutes.
    5                      MR. FRIEDMAN: Are you going to

    6             talk to him about this testimony?

    7                      MR. UNGAR: No, we will not
    8             talk about the testimony at all, but I

    9             would still like to take a break in a

   10             minute or two.
   11             Q.      Mr. Shaked, how long before Mr.

   12    Farhat departed for the attack was this photo

   13    taken?
   14                      MR. UNGAR: Objection to form.

   15             A.      I don't know because I wasn't

   16    there.    I believe to what it says that before
   17    he went out this photo was taken.             It might

   18    have been a day, two days, an hour, two

   19    hours.

   20             Q.      You said you believed to what

   21    it says that before he went out this photo

   22    was taken.      What is it, what says that to

   23    you?

   24             A.      In one of the Hamas websites

   25    and I don't have the website in front of me
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                                     14839
                                                                          138


    1                               SHAKED
    2    it says that the son says good-bye to his

    3    mother before going out on a mission or

    4    operation.
    5             Q.      It references this photo in

    6    saying that?

    7             A.      I can't say with certainty that
    8    it references this photo.

    9             Q.      What is it about your knowledge

   10    of Hamas culture that tells you this was
   11    taken prior to his departure for the

   12    terrorist attack?        You said a few moments ago

   13    that the statement is based on your knowledge
   14    of Hamas culture.        What is it about your

   15    knowledge of Hamas culture that tells you

   16    this particular photo was taken prior to his
   17    departure for the terrorist attack in

   18    Atzmona?

   19                      MR. UNGAR: Objection,

   20             mischaracterizes the testimony.

   21             A.      I'll try to answer you standing

   22    on one foot because it's a very long answer.

   23    There are mothers of dead people and the

   24    mothers are called in Arabic hansa.             If you

   25    want to compare it to the Jewish tradition
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                                     14840
                                                                          139


    1                               SHAKED
    2    it's Hannah and her seven sons.            According to

    3    the Muslim tradition there was a poet by the

    4    name of Hantza Bint Amer who was very close
    5    to the prophet Mohammad who sent off her sons

    6    and they parted from her before going to a

    7    battle for the prophet in order to be
    8    shahids.

    9                     Ever since then and especially

   10    during the Intifada and especially within the
   11    Hamas this model was adopted and there is

   12    several examples both in Gaza and in the West

   13    Bank of mothers whose sons became shahids who
   14    said good-bye to the mothers before going

   15    toward death.

   16                     There are researches regarding
   17    this phenomenon written by Palestinians.

   18    This is a well known phenomenon and the

   19    mothers become heroines just as Maryam Farhat

   20    became a heroine.

   21             Q.       That is the basis on which you

   22    say that this photo was taken prior to his

   23    departure for the attack?

   24                      MR. UNGAR: Objection to form.

   25             A.      I cited the narrative here, but
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                                     14841
                                                                          140


    1                               SHAKED
    2    I hope you are going to see the film by

    3    Barbara Victor which contains long segments

    4    of the parting.
    5                      MR. FRIEDMAN: I have two more

    6             questions.

    7             Q.       Did you cite Barbara Victor's
    8    film in your report?

    9             A.       No.

   10             Q.       Does this photo appear in her
   11    film?

   12             A.       I don't remember whether this

   13    particular photo appears, but other similar
   14    pictures definitely.

   15             Q.       You did not take this photo

   16    from her film?
   17             A.       No, unfortunately I don't have

   18    the film.

   19                      MR. FRIEDMAN: Let's take a

   20             break.

   21                      THE VIDEOGRAPHER: We are now

   22             off the record.       The time is 4:38

   23             p.m., February 12, 2014.

   24                      (Recess taken.)

   25                      THE VIDEOGRAPHER: We are now
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                                     14842
                                                                          147


    1                               SHAKED
    2    you quote from on page 58, when was that

    3    published?

    4             A.       In my opinion it was published
    5    a long time afterwards because it took a

    6    while before the two brothers were arrested

    7    and after their interrogation was completed
    8    because according to the information

    9    contained in the report it seems to me that

   10    it was written after an interrogation.              I
   11    won't be surprised if it was taken from the

   12    annual report or a report that was written a

   13    few months after.
   14                      MR. FRIEDMAN: Let's take a

   15             break.

   16                      THE VIDEOGRAPHER: We are now
   17             off the record.       The time is 5:17

   18             p.m., February 12, 2014.

   19                      (Recess taken.)

   20                      THE VIDEOGRAPHER: We're now

   21             back on the record.         The time is 5:26

   22             p.m., February 12, 2014.

   23             Q.       Mr. Shaked, if you look at page

   24    55 of your report?

   25             A.       All right.
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                                     14843
                                                                          148


    1                                SHAKED
    2             Q.      Your description of al-Ghoul's

    3    Will is based on what you saw on websites

    4    that you attribute to Hamas, right?
    5             A.      Yes.

    6             Q.      The next section, section 4,

    7    captions material from Hamas websites.
    8    Again, that's all based on what you read on

    9    websites that you attribute to Hamas,

   10    correct?
   11             A.      That's right.

   12             Q.      On page 57 the section

   13    captioned official Hamas reports, that's all
   14    material that you saw on websites that you

   15    attribute to Hamas, correct?

   16             A.      Correct.
   17             Q.      Then you go on to cite a report

   18    that you attribute to the ISA, correct?

   19             A.      Yes.

   20             Q.      Mr. Shaked, with respect to all

   21    of the ISA reports that you refer to in your

   22    report here, am I right that you have not

   23    spoken to anyone from the ISA to learn more

   24    about what is stated in those reports?

   25             A.      I was present at the ISA's
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                                     14844
                                                                          153


    1                               SHAKED
    2             A.      Yes, first court, yes.

    3             Q.      I don't know what you mean by

    4    first court?
    5             A.      It's just a word that appears

    6    here first court, but these are documents

    7    from the court.
    8             Q.      From the military court?

    9             A.      Yes.

   10             Q.      So document 3A that you refer
   11    to, the indictment, that's a military court

   12    indictment, correct?

   13             A.      Of course, terrorists are only
   14    tried in military court, terrorists from the

   15    West Bank from the territories.

   16             Q.      Document 3B, the verdict that
   17    you describe, that's also a military court

   18    verdict, correct?

   19             A.      Yes.

   20             Q.      And document C, that's a

   21    military court indictment, correct?

   22             A.      Yes.

   23             Q.      And document D, that's a

   24    military court verdict, correct?

   25             A.      That's what I wrote.
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                                     14845
                                                                          154


    1                               SHAKED
    2             Q.      That's your understanding?

    3             A.      Yes.

    4             Q.      You describe the first document
    5    that you refer to as a military court

    6    indictment against Fahmi Eid Ramadan

    7    Mashahrah, correct?
    8             A.      Yes.

    9                      MR. FRIEDMAN: I'm going to ask

   10             the reporter to mark as Exhibit 46 the
   11             document you refer to as the

   12             indictment against Fahmi Eid Ramadan

   13             Mashahrah.      This is the document that
   14             you cite in your footnote 224.

   15                      (Shaked Exhibit 46, Document,

   16             marked for Identification.)
   17             Q.      This is, Mr. Shaked, an

   18    indictment of someone named Fallah Tahar

   19    Abdallah Nada, correct?

   20             A.      Yes.

   21             Q.      So what you refer to in your

   22    report as an indictment against Fahmi Eid

   23    Ramadan Mashahrah is actually an indictment

   24    of Fallah Tahar Abdallah Nada, correct?

   25             A.      There is simply a mistake here,
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                                                                          155


    1                               SHAKED
    2    maybe a slip of the pen regarding the

    3    citation.     We are dealing here with two

    4    completely different people and this case
    5    deals with the attack on -- just a minute --

    6    the double attack on Ben Yehuda.

    7             Q.      So the document that you
    8    referenced in footnote 224 as the indictment

    9    filed in military court against Fahmi Eid

   10    Ramadan Mashahrah is not in fact that
   11    indictment and in fact does not pertain to

   12    the Patt Junction attack at all, right?

   13             A.      I think that this is simply a
   14    slip of the pen and maybe a mistake in

   15    printing or typing on the computer.             This is

   16    not an attempt to do anything else.             I have
   17    no problem with producing it as soon as

   18    possible in order to show that this was

   19    really a slip of the pen and nothing else

   20    because there are quotations, citations here

   21    on this and not something else.

   22             Q.      Have you ever spoken to Mr.

   23    Aviad?

   24             A.      No surprisingly.

   25             Q.      Why surprisingly?
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                                   Exhibit 8
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             SECOND SUPPLEMENTAL REBUTTAL REPORT OF MOSHE AZOULAY


        I submit this Second Supplemental Rebuttal Report to address certain aspects of the
        reports submitted by Ronni Shaked, dated December 2, 2013 (the “Shaked Report”), and
        Dr. Eli Alshech, dated November 29, 2013 (the “Alshech Report”), in the lawsuits
        captioned Strauss, et al. v. Credit Lyonnais (Case No. 06-cv-702 (DGT)(MDG)) and
        Wolf, et al. v. Credit Lyonnais (Case No. 07-cv-914 (DGT)(MDG)), which I understand
        are pending in the U.S. District Court for the Eastern District of New York. I previously
        submitted 3 reports in these lawsuits. The first is dated December 8, 2009, which I will
        refer to as the “Primary Expert Opinion.” The second is dated July 1, 2010, which I will
        refer to as the “Rebuttal Report.” The third is dated March 31, 2011, which I will refer to
        as the “Supplemental Rebuttal Report.”

        The documents and other information I considered in forming the opinions I state in this
        report are identified in this Second Supplemental Rebuttal Report and the annexes
        thereto.

        Since I have already conveyed in the framework of the Primary Expert Opinion and of
        my Rebuttal Report matters that shall be detailed in this Second Supplemental Rebuttal
        Report, I shall where appropriate refer below to the relevant sections of the Primary
        Expert Opinion or the Rebuttal Report.

        A. Shaked Report

        I address below Shaked’s characterizations of certain of the documents and other
        materials he identifies in his report as the basis for his conclusions that Hamas is
        responsible for the five attacks listed in Annex A to this report, and the admissibility of
        these documents under the Evidence Ordinance of Israel as proof of their contents under
        certain circumstances.

        1.    Statements attributed to the ISA & other government agencies:

              1.1    Nature and content of the documents:

                     I refer below to the documents and other materials identified in the Shaked
                     Report containing statements Shaked attributes to the Israeli Security
                     Agency (ISA) and other government agencies according to the numbers of
                     the footnotes in which Shaked has cited these documents.


                                                    1
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                  1.1.1   FN 17 – W_S089727

                          Shaked refers to this document as an ISA document, although it
                          does not bear any symbol of, or reference to, the ISA. The
                          document summarized 4.5 years of struggle, focusing on suicide
                          bombing attacks.

                          Shaked cited the entire passage regarding the attack at Neve Yamin
                          gas station (attack no. 1 on the list in Annex A).

                          According to the passage, the Hamas infrastructure in Kalkilya was
                          responsible for the attack at Neve Yamin.

                          The portion of the passage regarding Tarek Barzilai’s role in the
                          attack – specifically, that Barzilai and Jibril Jibril sent the suicide
                          bomber – is not consistent with certain military court files that
                          Shaked cited. For example, W_S161584 and W_S161576, show
                          that Barzilai testified before the military court that he did not know
                          that Fadi Amer was going to commit a suicide bombing. Barzilai
                          also pleaded that he did not “recruit” Amer for military actions,
                          and that Jibril Jibril met Fadi in a coffee shop that Barzilai owned
                          in Kalkilya.

                          It should be noted that the military court did not believe Barzilai,
                          and convicted him for assistance to cause death.

                          The ISA report cited by Shaked does not provide any source that
                          proves Jibril is a Hamas member.

                  1.1.2   FN 19 – W_S089556

                          The document appears to be printed from the website of the
                          Ministry of Foreign Affairs. It is titled, “Suicide and Other
                          Bombing Attacks in Israel since the Declaration of Principles (Sept
                          1993).”

                          The document contain a list of attacks that occurred in Israel from
                          September 1993 through January 2007. It states that on March 28,
                          2001 two teenagers were killed in an attack at a gas station near
                          Kefar Sava.


                                                 2
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                          The document states that Hamas claimed responsibility for the
                          attack. There is no indication of the basis for this statement.



                  1.1.3   FN 43 -- SHAKED001277
                          http://mfa.gov.il/MFA/MFAArchive/2000/Pages/Suicide%20bo
                          mbing%20at%20the%20Sbarro%20pizzeria%20in%20Jerusa
                          le.aspx.

                          The link leads to an article on the website of the Ministry of
                          Foreign Affairs about the bombing at Sbarro on August 9, 2001
                          (attack no. 2 on the list in Annex A). The article states that Hamas
                          and Islamic Jihad claimed responsibility for the attack.

                          There is no indication of the basis for this statement.



                  1.1.4   FN 75 –

                          http://www.pmo.gov.il/NR/rdonlyres/81819B47-FE6C-47C2-
                          B000-
                          77B9A7EB9A5A/0/%D7%97%D7%95%D7%91%D7%A8%
                          D7%AA%D7%9E%D7%97%D7%91%D7%9C%D7%99%D
                          7%9D%D7%9E%D7%AA%D7%90%D7%91%D7%93%D7
                          %99%D7%9D%D7%91%D7%9C%D7%99%D7%AA%D7
                          %9E%D7%95%D7%A0%D7%95%D7%AA1.doc.

                          The link is inaccessible. To reach this file, I had to delete the “O”
                          from the “PMO” of the link. The corrected link leads to a word
                          document named: “suicide bombers notebook without pictures 1.”

                          This is the same source as in FN 17 above. Shaked refers to this
                          document as an ISA document, although it does not bear any
                          symbol of, or reference to, the ISA.

                          Shaked cited a small part of the entire passage regarding the
                          bombing at Sbarro on August 9, 2001 (attack no. 2 on the list in
                          Annex A). According to the cited part of the document, the attack
                          was planned and directed by Hamas, and the bomb was produced

                                                3
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                          by Abdalla Jamal, who was the Hamas engineer in the Judea
                          region.

                          There is no indication of the basis for this statement.

                  1.1.5   FN 155 – W_S089715-16

                          This is the same source as in FN 17 and FN 75 above. Shaked
                          refers to this document as an ISA document, although it does not
                          bear any symbol of, or reference to, the ISA.

                          Shaked cited the entire passage regarding the explosion of two
                          suicide bombers in Ben Yehuda Street in Jerusalem on December
                          1, 2001 (attack no. 3 on the list in Annex A). The article provides a
                          description of the process of recruiting the suicide bomber, the
                          approval of the attack and its execution.

                          The document states that Hamas claimed responsibility for the
                          attack.

                          The information provided in this passage purports to be based on
                          interrogations of certain individuals who were allegedly involved
                          in the attack.



                  1.1.6   FN 156 – W_S089532

                          This is a press release made by the Prime Minister’s Office on
                          February 7, 2002. Shaked provides the complete translation of the
                          announcement.

                          According to the announcement, the suicide bombers of the
                          December 1, 2001 attack were recruited to a Hamas cell and
                          assisted by Hamas operatives from Ramallah and Bethlehem.



                  1.1.7   FN 222 – W_S089692-3




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                          This is the same source as in FN 17, FN 75 and FN 155 above.
                          Shaked refers to this document as an ISA document, although it
                          does not bear any symbol of, or reference to, the ISA.

                          Shaked cited the entire passage regarding the explosion of a
                          suicide bomber on a bus in the Gilo neighborhood in Jerusalem on
                          June 18, 2002 (attack no. 5 on the list in Annex A). The document
                          provides a description of the Hamas infrastructure in Samaria’s
                          process of locating, recruiting and training the suicide bomber. The
                          process of planning and executing the attack was described as well.



                  1.1.8   FN 223 – SHAKED001702

                          http://www.mfa.gov.il/MFA/MFAArchive/2000_2009/2002/6/Suic
                          ide%20bombing%20at%20Patt%20junction%20in%20Jerusalem%
                          20-%2018.
                          The link is inaccessible. I was able to access the document at the
                          following link:

                          http://mfa.gov.il/MFA/MFA-
                          archive/2002/Pages/Suicide%20bombing%20at%20Patt%20juncti
                          on%20in%20Jerusalem%20-%2018.aspx

                          This is an article on the Ministry of Foreign Affairs website about
                          the bombing at Patt Junction on June 18, 2002 (attack no. 5 on the
                          list in Annex A). According to its content, the announcement is
                          based on a “preliminary investigation” and includes the full names,
                          the age, the living cities and the pictures of the victims. It also
                          refers to publications that were made on June 19, 2002, the day
                          after the attack. The many details contained in the announcement
                          and the statement that it is based on preliminary investigation
                          findings convince me that it was made or at least updated after the
                          day of the attack.

                          The article states that Hamas claimed responsibility for the attack,
                          and that Hamas identified the suicide bomber as “Muhamed al–
                          Ral.” (According to Shaked, his name is “Muhamad al-Ghoul.”)



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                          The article also includes a description of the suicide bomber’s
                          route on the day of the attack.

                          As noted in the announcement, the information is based on a
                          “preliminary investigation.”



            1.2   Analysis of the documents pursuant to the Evidence Ordinance:

                  1.2.1   Prime Minister’s Office and MFA press releases / spokesman
                          announcements

                          1.2.1.1   Certain of the documents described in paragraph 1.1
                                    above are press releases made on behalf of the Prime
                                    Minister’s Office or the Press Division of the Prime
                                    Minister’s Office, or were published on the website of the
                                    Ministry of Foreign Affairs as public information. These
                                    publications are in most cases issued in real time, soon
                                    after and concerning the occurrence of terrorist attacks,
                                    and address the number of victims and preliminary
                                    investigative conclusions regarding the events.

                                    Some of these documents are based on information
                                    received from the findings of investigations undertaken
                                    by agencies such as the IDF, the ISA and Israel Police.

                          1.2.1.2   I have been asked to address the evidentiary status of the
                                    documents discussed in paragraphs 1.1.1 – 1.1.8 above,
                                    and in particular whether they would be admissible under
                                    the Evidence Ordinance of Israel as proof of their
                                    contents, in a proceeding arising from a civil claim for
                                    damages against a defendant who was not a party to the
                                    events these documents describe, and other than as
                                    submitted in the nature of providing support for a
                                    qualified expert’s offer of an opinion on a subject within




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                                                                       his competence based upon his specialized analysis or
                                                                       interpretation of those documents.1

                                                    1.2.1.3            All of these documents are hearsay evidence. None
                                                                       contains factual data received by Shaked using his own
                                                                       senses. Further, they all rely on factual data and/or
                                                                       assessments of other third parties (ISA, IDF, Israel
                                                                       Police, etc.). Because these documents constitute hearsay
                                                                       evidence, according to the general Evidence Laws of the
                                                                       State of Israel they are inadmissible as evidence of their
                                                                       contents, unless it is proven that they are within one or
                                                                       more of the exceptions of the rule that disqualifies
                                                                       hearsay evidence, as set forth by the Evidence Ordinance
                                                                       or by case law.

                                                                       In the framework of the following analysis, I shall
                                                                       examine whether the documents addressed above, which
                                                                       constitute part of the factual foundation from which
                                                                       Shaked states his conclusions are derived, are included in
                                                                       any of the exceptions to the rule that disqualifies hearsay
                                                                       evidence, and therefore would be admissible as evidence
                                                                       in the type of civil proceedings described above.

                                                    1.2.1.4            Among the exceptions to the rule that disqualifies hearsay
                                                                       evidence and renders it inadmissible is one for
                                                                       institutional records. The definition of an institutional
                                                                       record and the requirements for proving that a document
                                                                       constitutes such a record are set forth in Sections 35 to 39
                                                                       of the Evidence Ordinance.2

                                                                       An institutional record is defined as “a document,
                                                                       including an output, which is executed by an institution
                                                                       during the regular course of activity of that institution.”
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                      I do not address this subject because I understand that it will be addressed under U.S. evidence
                      law. In any event, in my view, under Israeli evidence law, the documents attached to the Shaked
                      Report are inadmissible under Israeli evidence law as proof of their contents, and providing them
                      as exhibits to the Shaked Report does not change their legal status in a manner that would cause
                      an Israeli court to receive them in evidence as providing support for any expert opinions, because
                      Shaked does not apply any specialized knowledge to analyzing or interpreting these documents,
                      and instead merely cites and/or summarizes their contents.
        2
                      The Evidence Ordinance [New Version] 5731-1971.

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                                                                       Section 35 of the Evidence Ordinance defines the term
                                                                       “institution” as including, among others, the “State.” It
                                                                       also defines the term “output” by way of referring to its
                                                                       definition in the Computers Law,3 which in turn defines
                                                                       this term as including “data, symbols, concepts or
                                                                       instructions that are generated, in any given way, by a
                                                                       computer.”

                                                    1.2.1.5            Section 36 of the Evidence Ordinance states the
                                                                       requirements for proving that a document constitutes an
                                                                       institutional record.

                                                                       First, the section determines the admissibility of an
                                                                       institutional record as proof of its content in every legal
                                                                       procedure, both criminal and civil, as an exception to the
                                                                       rule that disqualifies hearsay evidence; second, it
                                                                       determines the conditions for admissibility of a record as
                                                                       such. These two basic conditions must be satisfied for
                                                                       any institutional record. Further, when such a record is a
                                                                       computer output, an additional condition must be
                                                                       satisfied in order for the output to be admitted.

                                                                       The basic conditions for admissibility of an institutional
                                                                       record are as follows:

                                                                       x The first condition is that, in the course of its regular
                                                                          conduct, the institution enters a record of the event
                                                                          that is the subject of the document “proximate to its
                                                                          occurrence” (Section 36 (a) (1) of the Ordinance).

                                                                       x The second condition is that “the method of collection
                                                                          of data on the subject of the record and the record’s
                                                                          editing attest to the truth of its content” (Section 36
                                                                          (a) (2) of the Ordinance).

                                                                       When the record is a computer output, the following must
                                                                       also be proven:


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                      The Computers Law, 5755 – 1995.

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                                                                       x The method of generating the record attests to its
                                                                          credibility (Section 36 (a) (3) (a) of the Ordinance).

                                                                       x The institution regularly employs reasonable security
                                                                          measures to protect against an infiltration to the
                                                                          content of the computer materials and from failures in
                                                                          the computer’s operation.

                                                    1.2.1.6            A party that wishes to submit the abovementioned
                                                                       documents as institutional records must prove that they
                                                                       fulfill these conditions, and this proof must be provided
                                                                       by sworn testimony by a witness who is competent to
                                                                       provide this proof.4

                                                                       In State of Israel v. Ohana et al.5 the court ruled as
                                                                       follows:

                                                                       “The prosecution must prove the statutory conditions of
                                                                       admissibility of the institutional record so that it would be
                                                                       possible to submit it as evidence of the truth of its
                                                                       content, and only if no counter-argument is raised against
                                                                       it and it is consensual, it may indeed be submitted as
                                                                       such, without proving its conditions of admissibility. This
                                                                       is clearly evident from the wording of Section 36 (“if all
                                                                       these are upheld”).6

                                                                       “Moreover, in our opinion, the rationale underlying the
                                                                       requirement for proving the terms of admissibility in the
                                                                       previous Section 37 has not changed: the legal
                                                                       arrangement for submitting institutional records – similar
                                                                       to bank records in the past – not by the person conducting
                                                                       them, is an exception to the rules of evidence, and
                                                                       therefore it is understandable that anyone who wishes to
                                                                       use evidence in deviation from the rules of evidence must
                                                                       fulfill the very minimal requirement of proving that the
                                                                       conditions for its account as an institutional record have
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        4
                      Dr. Kedmi, Consolidated and Updated Version, 2009, 2nd Part, p 986.
        5
                      Opening Motion 1120.04 Tel Aviv District Court; The State of Israel v. Rafi Ben Kalifa Ohana et
                      al., published in NEVO.
        6
                      Pages 5 and 6 of the court ruling.

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                                                                       been upheld (as had been required in the previous Section
                                                                       37).”7

                                                                       The court further specified as follows:

                                                                       “We also do not accept the position of the prosecution’s
                                                                       representatives by which, after they had submitted the
                                                                       documents, the defense is then transferred the burden of
                                                                       proving that it is not an institutional record. As explained
                                                                       hereinabove, this is not the correct order of things as the
                                                                       law prescribes. The institutional record shall be admitted
                                                                       as such, and as admissible to the truth of its content,
                                                                       inasmuch as there is consent to the document’s submittal
                                                                       or insofar as the party submitting the document shall
                                                                       prove the existence of the conditions prescribed by the
                                                                       law. By its argument, the prosecution may be pointing to
                                                                       Section 36 (d) of the Evidence Ordinance, which
                                                                       determines that:

                                                                       ‘In the event where evidence, by virtue of this clause, has
                                                                       been admitted, the second party shall be entitled to carry
                                                                       out a cross-examination of witnesses it has summoned for
                                                                       testimony, for the purpose of refuting the evidence,
                                                                       inasmuch as these witnesses are associated to the litigant
                                                                       submitting the evidence.’ However, in our opinion, the
                                                                       provisions of this clause do not transfer the burden of
                                                                       refuting the conditions for an institutional record, but
                                                                       rather deal with its own weight, after having already been
                                                                       ‘admitted’ as evidence and, in any case, this burden, as
                                                                       aforesaid shall not be transferred to a defense that has
                                                                       expressed its objection, but only after the prosecution
                                                                       proves the basic conditions of admissibility pursuant to
                                                                       Section 36 (a) of the Evidence Ordinance.”8




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                      Page 6 of the court ruling.
        8
                      Section 7 of the court ruling on page 11.

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                                                    1.2.1.7            In another case, Dr. Lotan v. The Israel BAR,9 the court
                                                                       makes an important distinction between proof of the
                                                                       content of an institutional record, and proof of the truth of
                                                                       the content of an institutional record, and states that:

                                                                       “‘Proof of the content’ is proof of the record’s
                                                                       authenticity, whereas proof of the truth of the content is
                                                                       as its name implies: proof of correspondence of the
                                                                       record’s content to reality…. It is accepted by the two
                                                                       parties that proof of the record’s truth of content, i.e.
                                                                       fulfillment of the conditions prescribed in Section 36 to
                                                                       the Evidence Ordinance, requires a testimony or
                                                                       affidavit.” The Supreme Court made the same point in
                                                                       criminal appeal 347/88 Demianyuk v. The State of Israel,
                                                                       Padi 47(4) 227.

                                                    1.2.1.8            In the case of United Mizrahi Bank v. Plutnik10 the
                                                                       defendant objected to the submission of a “certificate
                                                                       regarding institutional record of a bank entity” which was
                                                                       signed by two senior officials of the bank because it was
                                                                       not supported by an affidavit and because these officials
                                                                       did not testify in court and the defendant had no chance
                                                                       of cross-examine them. The court agreed with the
                                                                       defendant and declared this certificate inadmissible.

                                                                       It may be concluded from the provisions of Section 36 of
                                                                       the Evidence Ordinance, from the court rulings addressed
                                                                       above and from the words of the scholar Dr. Kedmi in
                                                                       this matter, that when a party refuses to agree to the
                                                                       receipt in evidence of a document as an “institutional
                                                                       record,” the party interested in submitting the document
                                                                       as such must prove by sworn witness testimony the
                                                                       existence of the prerequisites for admissibility of the
                                                                       document pursuant to Section 36 of the Evidence
                                                                       Ordinance. Regarding the basic conditions (Sections 36
                                                                       (a) (1) and (2)), a witness must testify from his own
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        9
                      Administrative Petition 611/06 (Jerusalem) Dr. Michael Lotan v. the Israel BAR, published in
                      NEVO.
        10
                      Civil Case (T.A) 103072/97 United Mizrahi Bank v. Plutnik Uziel, page 4, published in NEVO.

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                                  personal knowledge that the conditions have been upheld,
                                  and regarding Section 36 (a) (3), a person must testify on
                                  behalf of the institution that generated the record.

                        1.2.1.9   Shaked cannot serve as a witness for purposes of proving
                                  the fulfillment of the conditions prescribed in Section 36
                                  of the Evidence Ordinance, because he did not draft any
                                  of the documents he cites, he is not an employee of the
                                  institution that generated these documents, nor is he an
                                  expert in the field of computers and information security.

                        1.2.1.10 Even if the fulfillment of these conditions would have
                                 been proven by testimony from competent witnesses as
                                 required, it would still be necessary to examine whether
                                 they are admissible as evidence of the truth of the
                                 documents’ contents due to other requirements, such as
                                 whether they are expressions of opinion or based on
                                 professional knowledge, in which event they could be
                                 submitted under Section 20 of the Evidence Ordinance
                                 [Physician certificate and Expert report], or whether they
                                 are merely information of investigative authorities that is
                                 inadmissible pursuant to Section 36 (c) of the Evidence
                                 Ordinance,      which renders inadmissible materials
                                 generated by investigative authorities in order to submit
                                 them in criminal proceedings. The contents of such
                                 documents – including reports of confessions, affidavits
                                 and the like – must be proven by witnesses with first hand
                                 knowledge of these matters.

                        1.2.1.11 The second relevant exception to the rule that disqualifies
                                 hearsay and renders it inadmissible is the exception that
                                 applies to “public certificates.” Section 29 of the
                                 Evidence Ordinance defines a “public certificate” as “a
                                 certificate of one of the bodies prescribed hereunder,
                                 which is an act of legislation, judgment or execution, or a
                                 record of such act, or part of the formal records of one of
                                 the bodies hereunder and, in this context, a certificate that
                                 is held as a record, whether held formally or in some
                                 other way; and these are the said bodies:

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                                                                       (1) The State of Israel or the sovereign authority over
                                                                           land outside of Israel;

                                                                       (2) Government offices, a local authority, a court of law,
                                                                           any other body with judicial quasi-judicial authority,
                                                                           a notary or any other formal body of Israel or of a
                                                                           land outside of Israel (hereinafter: ‘The Institutions’);
                                                                           and

                                                                       (3) A civil servant, an employee of a sovereign authority
                                                                           over a land outside of Israel or a worker of an
                                                                           institution (hereinafter: ‘Clerk’).”

                                                                       This does not entail every document that is generated by
                                                                       a public authority, but rather only a certificate that in
                                                                       itself constitutes an act of legislation, judgment or
                                                                       execution carried out by a public body or a record of such
                                                                       act.

                                                                       “This definition emphasizes the fact that it involves a
                                                                       ‘certificate’ or a ‘record’ that personifies a ‘governmental
                                                                       action’ by law – contrary to an ‘administrative action’ –
                                                                       of the governmental bodies prescribed thereof, both
                                                                       Israeli governmental bodies and foreign governmental
                                                                       bodies.”11

                                                                       Documents that satisfy the criteria of Section 29 of the
                                                                       Evidence Ordinance are considered public certificates
                                                                       and are admissible in evidence as proof of their contents.

                                                                       Section 32 of the Evidence Ordinance states that a
                                                                       document can be proven to be a public certificate by
                                                                       presenting the original document, or a verified copy of
                                                                       the original, or a copy certified and sealed by the
                                                                       authority holding the document or a copy certified by a
                                                                       Minister or other senior civil servant that satisfies the
                                                                       judge regarding the reliability of the certification of the


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                      Dr. Kedmi, 2nd part, page 638.

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                                                                       document, or a copy of the document is certified and
                                                                       sealed by an Institution.

                                                                       Case law establishes four additional criteria that a
                                                                       document must satisfy in order to be considered a “public
                                                                       certificate.” In the Demianyuk case,12 the court
                                                                       reaffirmed these criteria, as follows:

                                                                       (a) The document must be prepared according to a legal
                                                                           duty to prepare it,

                                                                       (b) It must be a kind of public document,

                                                                       (c) There must be an intention to preserve it for the
                                                                           future, and

                                                                       (d) It must be open to the public.

                                                                       The rule is that when a document satisfies the criteria of
                                                                       Section 29 of the Evidence Ordinance, it is admissible
                                                                       only to prove its existence. When a party seeks to submit
                                                                       such a document in evidence for the truth of its contents,
                                                                       he must prove that the document also satisfies the four
                                                                       other criteria listed above.

                                                    1.2.1.12 The first question I shall try to clarify is whether the
                                                             documents at issue constitute an “act of execution” or a
                                                             record of an act of execution. In other words, do they
                                                             meet the definition of an act that personifies
                                                             “governmental activity” or do they constitute merely an
                                                             “administrative activity”?

                                                                       If it is concluded that the document constitutes
                                                                       “governmental activity,” we must still verify whether
                                                                       such activity (such as a press release) is performed as an
                                                                       explicit statutory obligation, which is required by the first
                                                                       among the conditions determined by case law.


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                      Criminal appeal 347/88 Demianyuk v. The State of Israel, Padi 47 (4) 227.

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                                                    1.2.1.13 A document that satisfies the conditions for a public
                                                             certificate constitutes admissible evidence for the truth of
                                                             its contents, without the requirement for an attesting
                                                             witness and without the second party, against which the
                                                             document is submitted, having the right to cross-
                                                             examination of the person who created the document, and
                                                             therefore it is important to examine whether the
                                                             document fulfills all of the conditions set forth by case
                                                             law.13

                                                    1.2.1.14 The press releases and spokesman announcements on
                                                             which Shaked relies are roughly divided into two types of
                                                             statements. The first type is a collection of press releases
                                                             concerning the occurrence of a terrorist attack and the
                                                             details of the event, to the extent known at the time of
                                                             publication. The second type is a collection of press
                                                             releases concerning defensive operations carried out by
                                                             the various security forces, such as the exposure,
                                                             apprehension or assassination of terrorist operatives in
                                                             encounters or initiated operations.

                                                                       A review of the documents demonstrates that, apart from
                                                                       a factual report of the actual events, they also incorporate
                                                                       reports that are based on investigations carried out by the
                                                                       ISA or the Israel Police, and reports that certain
                                                                       organizations have claimed responsibility for an attack.

                                                    1.2.1.15 Thus, the press releases are not tantamount to a
                                                             “legislative action” or a “judicial action,” or a record of
                                                             them.

                                                                       The question I shall try to answer is whether these
                                                                       documents constitute “governmental action” or a “record
                                                                       of a governmental action.”

                                                                       I have examined the case law and the characteristics and
                                                                       types of documents that have been admitted by case law
                                                                       as public certificates, by virtue of their classification as a
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                      Dr. Kedmi, 2nd part, p. 644.

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                                                                       governmental action. After examining the documents that
                                                                       have been admitted by the court as public certificates, I
                                                                       am convinced that, beside fulfillment of the conditions set
                                                                       forth in Section 29 of the Evidence Ordinance and the
                                                                       four other conditions prescribed by case law, they all
                                                                       share the following common characteristics that
                                                                       distinguish a document that is a “public certificate” from
                                                                       any other formal document of an administrative nature:

                                                                       x They are tantamount to a declaration of a status by a
                                                                          legal body or of the status of rights and duties.

                                                                       x They establish a judicial norm, or a new status, or
                                                                          rights and duties that did not exist before.

                                                                       x They change a judicial norm, or an existing status, or
                                                                          the status of rights and duties.

                                                    1.2.1.16 To illustrate this conclusion, consider the following
                                                             examples, from case law in Israel, of documents that have
                                                             been admitted as public certificates, on account of the
                                                             fact that they constitute a “governmental action”:14

                                                                       a. Birth certificate, marriage certificate, death
                                                                          certificate, travel certificate, passport, identity card,
                                                                          soldier card, records of the population census.

                                                                          If issued by the entity authorized by law (both local
                                                                          law and foreign law), these certificates are tantamount
                                                                          to a public certificate that constitutes prima facie
                                                                          evidence of their contents.

                                                                          It is evident that the abovementioned documents are
                                                                          characterized by the fact that:

                                                                          x They declare the status of a person (birth,
                                                                             marriage, divorce, death, citizenship, certificate of
                                                                             registration of a corporation, etc.).

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                      Dr. Kedmi, 2nd part, pp. 652-661 and the court rulings he cites.

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                                    x Beside forming or changing a status, these
                                       certificates also form or change the rights and
                                       duties, e.g.:

                                       o Marriage certificate – the right to remarry and,
                                         on the other hand, the prohibition of bigamy.

                                       o Divorce certificate – rights for alimony over
                                         children and the duty of the parents to bear
                                         payments, etc.

                                       o Death certificate – also establishes a new
                                         status of legal heirs.

                                       o A corporation registration certificate subjects
                                         the corporation to rights and duties prescribed
                                         by the relevant law (companies, partnerships,
                                         associations, etc.).

                                       o Registration in the population census – by
                                         virtue of which a person has the right to elect
                                         and be elected, etc.

                                b. A confiscation order, an execution office report of an
                                   execution, property tax records, records at the Real
                                   Estate Regularization & Registration Dept.,
                                   “governmental” aerial photos taken by the
                                   government for official purposes, records related to
                                   copyrights.

                                If legally issued by the authorized body, these documents
                                constitute public certificates. These documents also bear
                                the same “identifying marks” of an act of execution, since
                                they establish, declare or modify the status of rights in
                                real estate assets or intellectual property and/or rights of
                                creditors and/or duties of debtors.

                        1.2.1.17 My conclusion is that the press releases and spokesman
                                 announcements concerning the occurrence of acts of
                                 terrorism on which Shaked relies do not conform to the

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                                                                       criteria required for their classification as a governmental
                                                                       action, because they do not establish any rights and/or
                                                                       duties and/or status.        They are mere informative-
                                                                       administrative notices that are made to the public via the
                                                                       media, as part of a general policy - anchored in
                                                                       democratic governance and the informative role of the
                                                                       government - of conveying information to the public,
                                                                       both within the State and for international purposes.

                                                                       Indeed, one may postulate that the actual notice, on
                                                                       behalf of a government institution, that a certain event
                                                                       was an act of terrorism, establishes rights and duties, such
                                                                       as the right for compensation pursuant to the
                                                                       Compensation to Victims of Hostilities Law.15 However,
                                                                       a review of the provisions of Section 10 of this Law
                                                                       demonstrates that the authority to determine whether a
                                                                       certain action is a “hostility” that permits compensation
                                                                       pursuant to this Law was given to an “admitting
                                                                       authority,” which is appointed by the Minister of
                                                                       Defense, following consultation with the Minister of
                                                                       Labor and Social Services. Therefore, such form of notice
                                                                       is not tantamount to an announcement, by law, of the
                                                                       occurrence of a “hostility” and, moreover, it does not in
                                                                       any way attest to the identity of the person or entity
                                                                       responsible for its execution.

                                                    1.2.1.18 In addition, none of these press releases and spokesman
                                                             announcements concerning the occurrence of acts of
                                                             terrorism satisfies the first of the four conditions set forth
                                                             by the ruling in the Demianyuk case because they are not
                                                             made in accordance with an explicit statutory obligation.
                                                             Similarly, none of these documents satisfies the third
                                                             condition, because there is no demonstrated intention to
                                                             preserve them for future use, contrary to activities which


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                      The Compensation to Victims of Hostilities Law 5730 – 1970; see also to the 8th chapter of the
                      Property Tax and Compensation Fund Law, 5721-1961, which refers to the definitions of
                      “hostilities” in the Compensation to Victims of Hostilities Law.

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                                 are documents in a diary or other means of preservation
                                 of information.

                        1.2.1.19 Regarding the second type of press release, in which the
                                 spokesman of the Prime Minister’s Office or the Ministry
                                 of Foreign Affairs issues a report concerning operations
                                 that are carried out by other bodies, i.e. the IDF, the ISA
                                 and the Israel Police, one may postulate that such notice
                                 constitutes a record of a “governmental action,” because
                                 the various security forces execute and carry out their
                                 roles in accordance with law.

                                 However, these documents do not fulfill the condition of
                                 a statutory obligation for execution of the publication
                                 because (a) none involves a record of an institution that
                                 carried out a governmental action, but rather constitutes
                                 an informative notice, and (b) there is no authority for the
                                 proposition that the Prime Minister’s Office or the
                                 Ministry of Foreign Affairs is obliged by law to release to
                                 the press such type of notice. Therefore, even if the report
                                 would have been conveyed by the institution that carried
                                 out the governmental action (e.g. due to the fact that the
                                 ISA is an independent state body that is subordinate to
                                 the Prime Minister), these press releases do not fulfill the
                                 first of the four conditions set forth by the ruling in the
                                 Demjanjuk case, regarding the admissibility of a public
                                 certificate as evidence of its content, a condition requiring
                                 that a record be made in accordance with an explicit
                                 statutory obligation.

                                 Israeli courts have shown some flexibility in applying this
                                 statutory obligation requirement. For example, there is
                                 no requirement that a party prove the existence of a
                                 specific law or regulation obliging the execution of a
                                 governmental action. An order of a supervisor or a
                                 military commander will suffice. But in my view even if
                                 a spokesman or press advisor is operating in accordance
                                 with a ministry’s or a minister’s guidelines, the
                                 documents at issue are issued for the purpose of

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                                    providing the public with information and not for the
                                    purpose of executing a governmental action.

                                    Nor does any of these documents satisfy the third
                                    condition, for the reasons stated above with respect to the
                                    first type of press release.

                          1.2.1.20 Finally, as stated above, even if a document qualifies as a
                                   public certificate under the criteria described above, as
                                   also stated above, Section 32 of the Evidence Ordinance
                                   states that a document can be proven to be a public
                                   certificate by presenting the original document, or a
                                   verified copy of the original, or a copy of the certified
                                   and sealed by the authority holding the document or a
                                   copy certified by a Minister or other senior civil servant,
                                   or a copy of the document is certified and sealed by an
                                   Institution. None of documents at issue has been
                                   presented in conformity with these requirements, and
                                   therefore none qualifies for the exception to the rule that
                                   disqualifies hearsay evidence for public certificates.

                  1.2.2   ISA Report

                          1.2.2.1   One of the documents on which Shaked bases his
                                    opinions is described by him as an ISA report. As I noted
                                    above, this document does not bear any symbol of, or
                                    reference to the ISA. For the purpose of this analysis I
                                    will consider this document as if it were generated by the
                                    ISA.

                          1.2.2.2   The following is stated in the terms of usage of the ISA
                                    website:

                                    “Official Publications of the State of Israel

                                    In the case of contradiction or inconsistency between the
                                    material published on the website and that which appears
                                    in written official publications of the State of Israel, only
                                    the material appearing in such official publications will
                                    be considered accurate.”

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                                  Moreover, as also noted in terms of usage, the website
                                  contains photographs from several sources, including 2
                                  private sources: the Spielberg archive and Jupiter images.

                                  According to the disclaimer:

                                  “The service is presented to the public ‘as is.’

                                  The State of Israel is not responsible for adaptation of the
                                  service to the user’s needs. Likewise, the State of Israel
                                  disclaims liability for errors in the material presented in
                                  the service.

                                  The State of Israel disclaims liability for changes made in
                                  the material presented in the service by the user or by any
                                  third party.”

                                  It is evident from the content of these warnings that the
                                  material published on the ISA website does not constitute
                                  “an official written publication of the State of Israel,” and
                                  the presented information (or at least part of it) is
                                  generated or copied from other private sources.

                        1.2.2.3   There is no doubt that this report was not prepared and
                                  not written by Shaked himself, and it is not submitted by
                                  the ISA, and therefore it constitutes hearsay evidence.
                                  Furthermore, Shaked relies upon this document for the
                                  truth of its contents, and it constitutes an important aspect
                                  of the factual basis from which his conclusions are
                                  derived.

                                  Therefore the question that must be asked is whether this
                                  document is within one or more of the exceptions to the
                                  rule that disqualifies hearsay, and which exceptions
                                  therefore qualify it to be admitted as evidence of its
                                  contents.

                        1.2.2.4   An examination into the admissibility of ISA report is, to
                                  a great extent, derived both from the nature and essence
                                  of the document and from the nature of the organization

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                                  itself, its functions and spheres of responsibility. The
                                  functions of the ISA in brief, among others, include
                                  defense against terrorist activity committed against the
                                  State of Israel and its inhabitants and to investigate,
                                  expose and arrest the persons involved in such activity, to
                                  take operative confessions from them and, from this stage
                                  on, to transfer the detainees and their confessions to the
                                  Israel Police for further investigation and testimonies, for
                                  the purpose of prosecuting the perpetrators and their
                                  accomplices. The ISA is an investigative-intelligence
                                  body that constitutes part of the executive authority of the
                                  State of Israel, and the information generated from its
                                  investigations is the initial phase in the chain of
                                  information emerging from the investigations of an
                                  “investigative authority,” and ultimately serves as
                                  evidence in criminal proceedings.

                        1.2.2.5   As detailed in the ISA report itself, the factual findings it
                                  contains are a product of investigations and the collection
                                  of intelligence from various sources. Consequently, some
                                  of the conclusions in this report constitute an intelligence
                                  assessment and/or opinion that is based on the cumulative
                                  sources of information in the organization regarding the
                                  same matter.

                        1.2.2.6   The report titled “suicide bombers in five years of
                                  conflict” is comprised of a statistical collection of data on
                                  types of terrorist attacks committed during the period
                                  covered by the report, 2000-2005, sorted by various
                                  profiles, and a list of all the suicide bombing attacks
                                  committed during the period covered by the report, which
                                  includes, where available, the identity of the suicide
                                  bombers. In addition to the statistical data provided by
                                  this report, it also incorporates the assessment of the ISA
                                  regarding the suicide bombers’ organizational affiliation,
                                  according to information derived from investigations of
                                  and/or confessions taken from other detainees by ISA
                                  investigators, concerning those involved in assisting,


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                                  commanding and dispatching the suicide bomber to his
                                  mission.

                        1.2.2.7   I conclude that the ISA report does not qualify as an
                                  institutional record, and thus is not admissible evidence
                                  on this ground. Even if such a report were proven to be
                                  an institutional record, it must be viewed as a
                                  concentration of material prepared by an “investigative
                                  authority” for the purpose of its filing as evidence in a
                                  criminal case, which according to Section 36(c) of the
                                  Evidence Ordinance, as detailed above, is inadmissible as
                                  an institutional record.

                                  Furthermore, it seems that the ISA report also does not
                                  fulfill all of the conditions prescribed by Section 36 of the
                                  Evidence Ordinance for its admissibility as an
                                  institutional record since, by its very nature, this report is
                                  a concentration and processing of periodical data edited
                                  by “someone” in the ISA, and it is not a record of an
                                  “event” that was prepared proximate to its “occurrence,”
                                  in accordance with the requirements of Section 36(a)(1)
                                  of the Evidence Ordinance:

                                  “(1) The institution, in its regular course of conduct,
                                  enters a record of the event subject of the record
                                  proximate to its occurrence.”

                                  Furthermore, we have no evidence that the ISA report
                                  fulfills the second condition set forth in Section 36 of the
                                  Evidence Ordinance – that “the method of collection of
                                  data on the subject of the record and the record’s editing
                                  attest to the truth of its content.”

                                  Moreover, since this ISA report involves a computer
                                  “output,” we also do not have evidence of the existence
                                  of the third condition, which requires that, when the
                                  record is a computer output, in addition to proving the
                                  existence of the abovementioned basic conditions, the
                                  following must also be proven:


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                               o The manner in which the record was generated may
                                 attest to its credibility.

                               o The institution regularly employs reasonable security
                                 measures to protect from an infiltration to the content
                                 of the computer materials and from failures in the
                                 computer’s operation.

                               As detailed     above, the party interested in filing a
                               document as     an institutional record bears the burden of
                               proving that     the document fulfills the conditions of
                               admissibility   set forth in Section 36 of the Evidence
                               Ordinance.

                               At a minimum, as stated above, I am convinced that the
                               contents of the document support the conclusion that it
                               does not fulfill the conditions for its admission as an
                               institutional record. In addition, proof of the existence of
                               the first two conditions would be necessary by way of
                               testimony from the person who wrote the report or at
                               least by the person in charge of the team responsible for
                               it.

                               Moreover, even if the conditions of Section 36 of the
                               Evidence Ordinance were fulfilled, I believe that it is a
                               document of an “investigative authority,” since it is no
                               more than a concentration of data from investigations
                               conducted for the purpose of their filing as evidence in a
                               criminal proceeding, and therefore they are subject to the
                               provisions of Section 36 (c) of the Evidence Ordinance,
                               which in turn removes them from the population of
                               institutional records that may be submitted as evidence of
                               their content unless they may be filed as evidence
                               “according to a different law,” as prescribed in Section
                               39(B) of the Evidence Ordinance.

                               Section 39(B) of the Evidence Ordinance provides that
                               the section of the Law regarding institutional records
                               does not render admissible documents which are


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                                                                       inadmissible pursuant to a restriction other than their
                                                                       failure to qualify for an exception to the rule against
                                                                       hearsay evidence, nor does it limit the admissibility of
                                                                       evidence that is authorized by other law, including case
                                                                       law.

                                                                       In the next section, I will analyze the admissibility of the
                                                                       ISA report according to other exceptions to the rule that
                                                                       disqualifies hearsay evidence.

                                                                       Thus, the ISA report is not an institutional record, and
                                                                       therefore it is inadmissible as evidence of its content, in
                                                                       the framework of this exception to the rule that
                                                                       disqualifies hearsay evidence.

                                                    1.2.2.8            Nor does this document qualify as a “public certificate.”
                                                                       The question that must be asked in this context is whether
                                                                       this ISA document enters the definition of an “act of
                                                                       execution” or a record of such an act that personifies a
                                                                       governmental action, and whether the conditions - set
                                                                       forth by case law for the documents’ admission as
                                                                       evidence of their contents – exist in it, and particularly
                                                                       whether there is a statutory obligation to publish this
                                                                       report.

                                                                       In my opinion, this ISA report does not qualify as a
                                                                       public certificate due to the following:

                                                                       (a) There is no statutory obligation to publish

                                                                       x The Israel Security Agency Law 5762-2002,16 and the
                                                                          regulations thereunder, define the function of the
                                                                          Agency, its authorities and duties. Section 12 of the
                                                                          Law obliges the General Director of the Agency to
                                                                          report its activity to the Ministerial Committee on
                                                                          ISA Matters, which is to be established by virtue of
                                                                          Section 5 of the Law, and is to be headed by the
                                                                          Prime Minister. The Director General of the Agency
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                      The Israel Security Agency Law 5762-2002.

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                                  is also obliged to report to the Knesset Committee on
                                  ISA Matters, which is the Secondary Committee for
                                  Intelligence and Secret Services of the Knesset
                                  Foreign Affairs and Defense Committee, and is
                                  headed by Chairman of the Foreign Affairs and
                                  Defense Committee.

                               x Beside this duty to report to the Ministerial
                                  Committee and the Knesset Committee, the Israel
                                  Security Agency Law and/or the regulations
                                  thereunder do not include any obligation to publish
                                  any of the activities of the ISA.

                               x Moreover, Section 19 (a) (3) of the Israel Security
                                  Agency Law states the following: “The Prime
                                  Minister may permit the publication of information
                                  whose publication is prohibited under this section,
                                  and he may prescribe by regulation provisions
                                  regarding the grant of a permit for publication.” To
                                  the best of my knowledge, to date, no regulations
                                  have been issued regarding the permit for publication.
                                  Notwithstanding, we must remember that even if the
                                  Prime Minister would have determined the
                                  abovementioned, this would entail a permit for
                                  publication and not a duty for publication.

                               x Furthermore, a review of the Terms of Usage of the
                                  ISA website, the page publishing the “current
                                  activity” of the Agency does not state that the Agency
                                  does so by virtue of some given statutory duty.

                               x The rules, the Agency guidelines and procedures are
                                  classified and there is no obligation to publish them in
                                  any official publication (Section 22 of the Israel
                                  Security Agency Law). So that in effect, even if there
                                  were some internal guideline of the Agency by way of
                                  rules and/or instructions, it is impossible to verify
                                  this, without testimony by the ISA representative who
                                  is responsible for the publications. Therefore, it is

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                                  reasonable to assume under such circumstances that
                                  there is no obligation to publish.

                               x Accordingly, the first among the four conditions
                                  prescribed by case law for the admissibility of a
                                  public certificate as evidence of its content is not
                                  fulfilled.

                               (b) The publication is not an “act of execution” or a
                                  record of an act of execution

                               x Seemingly, ISA reports are official documents, as
                                  there is no doubt that the ISA is an official body of
                                  the State of Israel that operates in accordance with
                                  law.

                               x However, as mentioned above regarding the analysis
                                  of this report as an institutional record, the document
                                  discussed contains data, some of which are statistical
                                  [number of terrorist attacks, their types and the
                                  number of casualties sorted by regional profile, etc.];
                                  part are products of interrogations held with suspects
                                  and detainees; and part are by definition intelligence
                                  assessments or intelligence opinions.

                                  Judging by the nature of the document, in my opinion
                                  it must be attributed to one of two groups:
                                  investigation findings or opinions.

                                  If belonging to the first group, the document will not
                                  be admissible pursuant to Section 36 (c) of the
                                  Evidence Ordinance, because it is a document that
                                  concentrates on investigation findings that were
                                  prepared by an investigative authority for the purpose
                                  of their filing as evidence in a criminal proceeding; if
                                  belonging to the second group, it must be submitted
                                  in the same manner as an expert opinion is submitted,
                                  by the expert who created it on behalf of the ISA



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                                                                          according to Sections 20 and 24(a) of the Evidence
                                                                          Ordinance.

                                                                          In this context, it is noteworthy that in legal
                                                                          proceedings where expert opinions of the ISA were
                                                                          submitted in order to prove a given fact, the expert
                                                                          who furnished the opinion was required to appear as a
                                                                          witness and undergo cross-examination regarding his
                                                                          findings and conclusions.17

                                                                       x Furthermore, according to the analysis I have
                                                                          conducted hereinabove, in the context of publications
                                                                          on behalf of the spokesman of the Prime Minister’s
                                                                          Office and the spokesman of the Ministry of Foreign
                                                                          Affairs, I came there to the conclusion that a
                                                                          “governmental action” or a record of such action held
                                                                          by an institution is characterized by several
                                                                          “identifying marks” that may facilitate the distinction
                                                                          between a public certificate and some other action of
                                                                          an official body that is not a “governmental action.”
                                                                          An examination of the ISA reports under this test
                                                                          shows that they do not contain any one of the
                                                                          necessary identifying marks, since they do not
                                                                          establish or alter status, rights or duties.

                                                                       x Accordingly, this document is not tantamount to a
                                                                          “governmental action” or record thereof, and even if
                                                                          there was some doubt regarding this conclusion, there
                                                                          is no doubt that the ISA does not have a statutory
                                                                          obligation to publish this report. Therefore, my
                                                                          conclusion is that it is inadmissible as evidence of its
                                                                          contents in the framework of the “public certificate”
                                                                          exception to the disqualification of hearsay evidence
                                                                          and, inasmuch as a given party is interested in
                                                                          submitting it, it must do so by way of the expert on

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        17
                      Criminal Appeal 621/88 Eliezer Piler et al v. the State of Israel, Court Rulings, Vol.47, 3rd part,
                      5753/5754, 1993, in Plea for Criminal appeal 11493/03 Mahmud Mahajna v. The State of Israel,
                      published in NEVO.

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                                                                          matters of intelligence who created it or at least was
                                                                          in charge of the team that created it.18

                                                                       (c) The ISA report reflects retrospective opinions

                                                                       x The ISA report on which Shaked relies was published
                                                                          from May 2005 and onwards.

                                                                          o The report titled “Terrorist suicide bombers in
                                                                            five years of conflict” summarizes figures until
                                                                            September 2005, and it is obvious from its content
                                                                            that it was published after this date [footnotes 17,
                                                                            75, 155 and 222 in the Shaked Report].

                                                    1.2.2.9            The report of the ISA on which Shaked relies may be
                                                                       considered “opinion.” According to case law in Israel, an
                                                                       expert may rely upon opinions of other “experts,”
                                                                       provided that his conclusions may not merely be the
                                                                       adoption of the conclusions of the other experts, but
                                                                       rather must reflect his own conclusions.19 Here, in
                                                                       addition to the fact that this report is not conducted
                                                                       according to statutory authority, the identity of the expert
                                                                       who prepared it is unknown. Therefore, in my opinion,
                                                                       this report must not be viewed as an opinion of “another
                                                                       expert.” If one wishes to rely on this report to prove the
                                                                       truth of its contents, it would be admissible under Israeli
                                                                       evidence law only if it was submitted pursuant to the
                                                                       sworn testimony, on behalf of the ISA, of an attesting
                                                                       witness who prepared it or was in charge of the team that
                                                                       prepared it.

                                                                       This principle is demonstrated by the decision of the
                                                                       Supreme Court in the matter of Mahmud Mahajna,20 in
                                                                       which the court states that “had an expert witness in a
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        18
                      Refer to Appeal 80/03 (the Military Court of Appeals) Sergeant Ilan Weissberg v. the Chief
                      Military Attorney; also refer to a guiding ruling in the matter – Criminal Appeal 566/89 Marziano
                      v. The State of Israel, Ruling 46 (d) 539, 601.
        19
                      Criminal Appeal 566/89 Martziano v. The State of Israel, page 9 of the decision, published in
                      NEVO.
        20
                      In Criminal Petition 11493/03 Mahmud Mahajna v. The State of Israel, page 9 of the decision,
                      published in NEVO.

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                                     criminal trial testified that, on the basis of the
                                     professional information at his disposal, John Doe is a
                                     member of Hamas or that X organization is a terrorist
                                     organization, though cannot convey any given detail
                                     concerning the information on his behalf, and in light of
                                     which the defense would be totally prevented from any
                                     possibility of conducting a cross-examination, then there
                                     could possibly be some truth in the allegations of the
                                     defense by which such testimony does not allow to
                                     employ an appropriate defense for the defendants.” The
                                     court made this statement in the context of rejecting the
                                     defense’s petition to disqualify the testimony of an ISA
                                     member who was among others supported in his
                                     testimony by confidential evidence, and the court ruled
                                     that this should not disqualify his testimony, which will
                                     in turn be examined comprehensively, while also taking
                                     into account the non-disclosure of confidential
                                     information. Here, Shaked is relying on ISA reports as
                                     evidence of the truth of their contents. However, in
                                     contrast to the Mahmud Mahajna case, here no one from
                                     the ISA is testifying about these reports, and therefore the
                                     defendant is being deprived of an opportunity to cross-
                                     examine the party responsible for these reports.

        2.   Statements attributed to newspaper and magazine articles and website pages:

             I refer below to the documents and other materials identified in the Shaked Report
             containing statements Shaked attributes to newspaper and magazine articles and
             website pages. In addition, Shaked cites and refers, in 142 footnotes, to numerous
             Arabic language websites, including websites said to be official or affiliated with
             Hamas. I itemize these websites below only to analyze the admissibility of their
             contents under Israeli evidence law.

             2.1    Nature and content of the documents:

                    2.1.1 FN 1 – Yediot Aharonot, March 29, 2001 - Shaked001096

                            This is an article published on March 29, 2001 in the “Yediot
                            Aharonot” daily newspaper, and written by Oren Meiri, Reuven


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                         Weiss and Efrat Milner, concerning the suicide bombing attack in
                         Neve Yamin Junction that was executed the day before.

                         Shaked’s description of this attack on page 1 of his report contains
                         information that is not mentioned in th article, even though he cited
                         this article as his sole support for his description.

                         According to the authors of the article, the explosion occurred “at
                         the gas station near Neve Yamin Junction not far from Qalqilya.”
                         Shaked added to this, without support, that the explosion occurred
                         at “the Mifgash Hashalom gas station” and that it was “not far
                         from the southern entry checkpoint to Qalqilya.” Shaked also
                         added that the victims “had been waiting for the bus to transport
                         them,” although the article states that they “were on their way to
                         the Yeshiva high school.”

                         It is noted in the article that “our journalist Ronni Shaked reported
                         that Hamas claimed responsibility for the attack in Neve Yamin as
                         well as for suicide bomb attack of the day before yesterday in the
                         French Hill in Jerusalem.”

                   2.1.2 FN 2, 4 – W_S089569

                         These pages are printed from a website written in the Arabic
                         language, which I do not read.

                         The first page bears the date January 21, 2007, which, according to
                         the footer of these pages, is the same date that they were printed.
                         The article contains several passages bearing different dates
                         between April and June 2001. None of the passages was created on
                         the date of the attack in Neve Yamin.

                         Shaked cited in his report a translation of one of these passages
                         that purports to be a detailed description of the Neve Yamin attack.
                         As I will analyze in Chapter 7 of this report, many details in this
                         announcement are inconsistent with other sources Shaked cites,
                         such as the description of the attack, the bomb used, the place of
                         the attack and the targeted victims.

                   2.1.3 FN 3 –


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                         http://www.alqassam.ps/arabic/sohdaa5.php?sub_action=byan&id
                         =101 -- SHAKED001102

                         According to Shaked, this is a claim of responsibility by Izz al-Din
                         al-Qassam Brigades for the attack in Neve Yamin. As noted by
                         Shaked, this announcement was published in Arabic on the above
                         website, on April 12, 2001, which is about two weeks after the
                         attack.

                         As I will analyze in Chapter 7 of this report, the late claim of
                         responsibility could have been because it was a false claim made
                         by Hamas, and not because of the purported “security reasons”
                         Shaked cited.

                   2.1.4 FN 7, 27 -

                         http://www.terrorism-
                         info.org.il/malam_multimedia/html/final/sp/sib3_04/k_apc.htm --
                         Shaked001106

                         The link leads to the homepage of the Meir Amit Intelligence and
                         Terrorism Information Center, and does not produce the
                         information noted by Shaked.

                         The document “Shaked001106” has been printed on April 5, 2011
                         from the “Malam” website. The article presents a series of posters
                         that, according to the unidentified authors of this article, were
                         found and photographed by IDF and A.P. photographers at several
                         schools in the West Bank and Gaza during 2003.

                         The first poster on page 1 of the article includes several pictures.
                         One of them seems to be similar to pictures presented by Shaked as
                         a picture of Fadi Amer.

                         The text relating to this poster states that it is in memorial of Abdel
                         Rahman Hamed, who was the head of the Hamas infrastructure in
                         Qalqilya and responsible for deadly attacks in Israel, including
                         Neve Yamin on March 28, 2001.

                         There is no indication of the basis for these statements.


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                   2.1.5 FN 34 – Yediot Aharonot, August 10, 2001 – Shaked 001097

                         The source is a page from Yediot Aharonot that was published on
                         August 10, 2001- one day after the August 9 attack at Sbarro. The
                         page contains a few items written by different authors, which all
                         describe the results of the deadly attack at Sbarro. As described by
                         Shaked it is noted that the Schijveschuurder family lost five of its
                         members and two others were injured.

                   2.1.6 FN 35 – Shaked001098

                         CNN Jerusalem Bureau Chief Mike Hanna and Correspondent
                         Jerrold Kessel contributed to this report – August 9, 2001

                         This is a journalistic report published by the CNN website on
                         August 10, 2001 [not August 9, as Shaked cited]. The report is
                         mainly about the Israeli retaliation after 14 were killed and dozens
                         injured by a suicide bomber who attacked a busy Jerusalem
                         pizzeria.

                         The description of the scene of the attack provided in this source,
                         and that Shaked quotes in his report, is based on pictures that
                         according to the report’s author were published on television.

                   2.1.7 FN 37 --

                         http://news.bbc.co.uk/2/hi/middle_east/1483492.stm                    –
                         Shaked001269

                         This is a journalistic article printed from the BBC news website
                         that describes the attack in a pizza parlour in Jerusalem on August
                         9, 2001.

                         The article includes the map presented in page 12 of the Shaked
                         Report.

                   2.1.8 FN 38 –- Yediot           Aharonot,     September     10,   2001       -
                         Shaked001101




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                         This is a journalistic article from Yediot Aharonot written by
                         Shaked. The article was published on August 10, 2001 [not on
                         September 10, as Shaked noted in his FN 38].

                         The author states that a Hamas member, Iz a-din Al Masri, is the
                         terrorist that executed the attack the day before at Sbarro.
                         According to the author, the military wing of the Hamas – Iz al-din
                         al Qassam Brigades in Jenin – published a claim of responsibility
                         for the attack.

                         There is no indication of the basis for this statement.

                   2.1.9 FN 42  http://www.guardian.co.uk/world/2001/aug/09/israel –
                         SHAKED001274

                         This is identified as a “6 pm update” published on August 9, 2001,
                         on what appears to be the The Guardian’s website. According to
                         the authors, Islamic Jihad in Beirut said it carried out the suicide
                         bombing at Sbarro. In a statement, the group said the attack had
                         been carried out by Hussein Omar Abu Naaseh, 23.

                         There is no indication of the basis for this statement.

                   2.1.10 FN 44 - Yediot Aharonot, August 10, 2001 – Shaked001101

                         This is the same article as in FN 38 above, which was written by
                         Shaked. The article contains the upper picture presented in page 14
                         of the Shaked Report. As printed on the picture, its source is the
                         Reuters news agency.

                   2.1.11 FN 73 - Yediot Aharonot, August 9, 2001.

                           This is the same article as in FN 38 and FN 44 above, which was
                           written by Shaked. The article was published on August 10 and
                           not on August 9. The article contains what is purported to be a
                           statement made by Abdel Aziz Rantissi regarding the reason for
                           the attack.

                   2.1.12 FN                              74                               –
                   http://www.memri.org/report/en/0/0/0/0/0/0/538.htm#_edn16               --
                   SHAKED001378

                                               34
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                                     14882




                         This is a journalist article on the subject of: “‘72 Black Eyed
                         Virgins’: A Muslim Debate on the Rewards of Martyrs,” by Y.
                         Feldner.

                         Shaked cited the full passage from the article. According to the
                         author, the source of the information is “Al-Risala (Palestinian
                         Authority), August 16, 2001.”

                   2.1.13 FN 107–
                          http://query.nytimes.com/gst/fullpage.html?res=9F04EFDF1F3FF9
                          33A05755C0A9649C8B63 – SHAKED001454

                   .     This is an article from the N.Y. Times Magazine by Elizabeth
                         Rubin published on June 30, 2002 on the Magazine’s website.

                         The author states that Qeis Adwan was responsible for the attack in
                         Sbarro Pizza in Jerusalem. The source of this information is
                         described as a “Shin Bet” [ISA] officer.

                   2.1.14 FN 112 --
                          http://www.nytimes.com/2005/07/17/international/europe/17explos
                          ives.html – SHAKED001465

                         This is a journalistic article whose subject is: “A Black Market for
                         Bomb Materials Is Said to Flourish in Europe,” by Heather
                         Timmons, published on July 17, 2005.

                         The author states that the information regarding the TATP
                         homemade explosives is according to “official sources.”

                   2.1.15 FN 131, 132 and 133 – Shaked001267 and Shaked001268

                         Yediot Aharonot, December 2, 2001, pp. 1-2.

                         Yediot Aharonot, December 2, 2001

                         This a journalistic report published in Yediot Aharonot on
                         December 2, 2001 by several authors, including Shaked. The
                         article describes the attack and the scene of the attack in Ben
                         Yehuda St, in Jerusalem.



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                         The second source is a picture taken on the scene of the attack by
                         “Zoom 77,” and the headline of the Yediot Aharonot daily
                         newspaper of December 2, 2001.

                         Shaked stated on page 30 of his report that “11 people were killed
                         and another 188 wounded.” These numbers of casualties do not
                         derive from this article. According to the information in this
                         article, 6 people were killed and 166 wounded.

                         The authors refer to several sources of information, including the
                         Israel Police, Palestinian sources, eye witnesses and unidentified
                         security sources.

                   2.1.16 FN 171 – Yediot Aharonot, March 10, 2002 – SHAKED001324

                         This is a journalistic report that was published in Yediot Aharonot
                         on March 10, 2002 by Amir Rappaport, Itsik Saban and Zvi Alush.

                         The article describes the attack on March 7, 2002 at the settlement
                         of Atzmona. As cited by Shaked, the description is based on the
                         information received from an eye witness that was in the lecture
                         room during the attack.

                         The story about the killing of the attacker seems to be based on an
                         interview with an IDF officer, L.T. Col. Eyal Tam, in which he
                         explained how he killed the attacker.

                         There is no indication of the source of information regarding the
                         number of grenades and magazines used by the attacker.

                   2.1.17 FN 172 -

                         http://www.ynet.co.il/articles/0,7340,L-1745788,00.html           -
                         Shaked001562

                         This is a journalistic article on the Ynet website of Yediot
                         Aharonoth, posted on July 1, 2002, and written by Atilla
                         Shumpelbi and Shimon Ifargan, headlined: “Five Young people
                         were killed in an attack in Atzmona.”
                         According to the authors, “the Iz al-din al-Qassam Brigades, the
                         military wing of the Hamas, announced that they carried out the

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                          attack. According to the announcement the attack carried out by a
                          19 years old young Palestinian, a resident of Sajai’ya in Gaza.”

                          There is no indication of the source of the information regarding
                          the details of the attack or of the claim of responsibility.

                   2.1.18 FN 178 –

                          http://scr.mzajtv.com/yt-thumbs/llBt76Ab4sk_1.jpg                     -
                          Shaked001580

                          The link does not produce the picture reproduced by Shaked on
                          page 44 of his report and in SHAKED001580.

                          The website http://scr.mzajtv.com does not provide any
                          information about the authors or about the sources of information.
                          There is no indication of the source for Shaked’s statement that
                          “The following is the photo taken together with his mother prior to
                          his departure for the terrorist attack in Atzmona.”

                   2.1.19 FN 200 – “Muhammad was the only son who died in an attack he
                          carried out. Nidal Farhat was killed in a “work accident” while
                          experimenting with explosives, while Radwan was killed by the
                          IDF.”

                          Shaked does not cite to any source for this information..

                   2.1.20 FNs 3, 4a, 5, 6, 7, 8, 9, 10, 11, 12, 13, 14, 15, 16, 20, 21, 22, 23,
                          24, 25, 26, 28, 29, 30, 31, 39, 40, 41, 45, 46, 47, 48, 49, 50, 51, 52,
                          53, 54, 55, 56, 57, 58, 59, 60, 61, 62, 63, 64, 65, 66, 67, 68, 69, 70,
                          71, 72, 95b, 98b, 101, 103, 104a, 111, 114, 115, 119, 121, 134,
                          135, 136, 137, 138, 139, 140, 141, 142a + 142b, 143, 144, 145,
                          146, 147, 148, 149, 150, 151, 152, 153, 154, 163, 164, 165, 166,
                          169a + 169b, 173, 174, 175, 176, 177, 180, 181, 182, 183, 184,
                          185, 186, 187, 188, 189, 190, 191, 192, 193, 194, 195, 196a-196c,
                          197a-197c, 198, 201, 202, 203, 204a-204f, 205, 206, 207, 208,
                          209, 210, 211, 212, 213, 214, 215, 216, 217, 218, 219, 220, 221,
                          229a-229b, 230, 232b-232d, 233a-233b, 234b,




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                                                    All the 142 footnotes above, which include 156 sources, are cited
                                                    by Shaked as Hamas and / or as Iz Al- Din Al - Qassam Brigades
                                                    official or affiliate websites.

                                                    As noted above, I did not examine each source separately, but will
                                                    analyze the admissibility of their contents under Israeli evidence
                                                    law.

         2.2          Analysis of the documents pursuant to the Evidence Ordinance:21

                                     2.2.1 Publication in a newspaper

                                                    As a rule, a newspaper or magazine article is inadmissible hearsay
                                                    and may be received in evidence only to prove the actual
                                                    publication of the article and not its contents. This rule was
                                                    determined in Tik v. Krinitzi,22 and was adopted in a later ruling of
                                                    the court. It is also stated in Lerner v. Gvirz.23 In the ruling of the
                                                    Court for Family Affairs in Kfar Saba, in the matter of Rodriguez
                                                    v. Dr. Iris Brown24 the court prescribes the following:

                                                           “According to the provisions of Section 23 to the Anti-
                                                           Defamation Law 5725 – 1965, the actual publication in the
                                                           newspaper may be proven by way of submitting a copy of the
                                                           newspaper. However, it has been clarified in case law that a
                                                           quote of the words of a person in a newspaper does not even
                                                           constitute alleged evidence to the fact that the person said these
                                                           things or phrased them in the fashion that the newspaper
                                                           presented them. When attempting to prove the defendant’s
                                                           responsibility for words quoted from him, one must prove that
                                                           they were indeed said by the defendant, thus the court clarified
                                                           the following in Tik v. Krinitzi –

                                                           The respondent’s claim that it was not he who said about the
                                                           appellant that he is a criminal in terms of Urban Building
                                                           Laws, obliged the appellant to prove that these things were

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                      Again, as stated above, I do not analyze the admissibility of these documents as submitted in the
                      nature of providing support for a qualified expert’s opinion.
        22
                      Civil Appeal 114/64 Tik v. Krinitzi et al., Vol.18 (4) 378, 383, 386-387.
        23
                      Civil Case [Tel Aviv] 489/96 Lerner v. Gvirz tk-48, 2010(1)1351.
        24
                      Family Court Case [Kfar Saba] Uri Rodriguez v. Dr. Iris Brown.

                                                                             38
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                                                           indeed published by the respondent (Civil Appeal 114/64 Tik
                                                           v. Krinitzi et al., Vol.18 (4) 378, 383, 386-387, and also refer
                                                           to Civil Case (Rishion LeZion) 883/05 – Shmueli Doron et al.
                                                           v. Limon – Venue Gardens Ltd. et al. Takdin M.C.2007(1),
                                                           28201).”

                                     2.2.2 Information from websites attributed to Hamas is inadmissible
                                           as evidence of the truth of their contents

                                                2.2.2.1            Information obtained from websites attributed to Hamas is
                                                                   not admissible as evidence of the truth of its contents. The
                                                                   decision of the Magistrate’s Court in Tel Aviv from May
                                                                   19, 2009 discusses the evidentiary validity of this type of
                                                                   document, in the framework of a claim for punitive
                                                                   damages filed by the family of Taher Zaid against the State
                                                                   of Israel,25 over the killing of Taher Zaid by IDF forces. In
                                                                   the framework of its defense against the claim, the State
                                                                   requested to submit, by way of a civil servant certificate, a
                                                                   web page that was printed from the Hamas website, as
                                                                   evidence of the affiliation of the deceased with the Hamas
                                                                   organization. It was argued that, according to the
                                                                   information from the Hamas website, he belonged to a
                                                                   terrorist organization, and therefore the State is exempt by
                                                                   law26 from paying compensation, which was expressed in
                                                                   the ruling as follows:

                                                                   “The applicant is appending to its application a public
                                                                   servant certificate of Mrs. Sophia Mishaniya from the
                                                                   Ministry of Defense, who serves as a translator and detector
                                                                   of publications and notices on Islamic websites, arguing
                                                                   that, in the framework of the investigation and collection of
                                                                   material in this case, she had identified a notice on the
                                                                   website of the Hamas organization by which the deceased
                                                                   was a member of the Hamas movement and that a notice
                                                                   regarding his death was published on the Hamas website.
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        25
                      Civil Case (Magistrates Tel-Aviv) 45464-04, the inheritance of the late Taher Muhamed Zaid v.
                      The State of Israel; a decision from 19 May, 2009. An appeal to the Tel Aviv district court [civil
                      appeal 29489-11-09] on this decision was dismissed.
        26
                      Civil Wrongs (Liability of the State) Law, 5712-1952.

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                              The translated notice is hereby cited: Today, during the
                              morning hours, the young martyr Taher Atef Mahmud
                              Zaid, age 17, from the Nablus region, died from his
                              wounds. This martyr was considered one of the most active
                              youths in the Yabed mosques and in the Islamic student
                              association of the mosques.”

                              The court had examined whether the document fulfills the
                              requirements of an “official document” that may be filed as
                              evidence by way of a “civil servant certificate,” and
                              whether the evidence may be considered an “institutional
                              record.” The court rejected the petition of the State to
                              submit this evidence due to several reasons, and
                              determined, among others, the following:

                              “I am of the same opinion as the plaintiffs in this matter –
                              the translation of information that allegedly appeared on the
                              Hamas movement website is not tantamount to ‘something
                              that is recorded in an official document,’ and therefore this
                              certificate shall not be deemed a civil servant certificate in
                              its definition in the Evidence Ordinance.

                              “Furthermore:

                              “As to submitting the printout itself and its translation –
                              filing evidence from the virtual world is subject, as is any
                              other evidence, to the Evidence Law.

                              “In order for a document to be considered an institutional
                              record it must fulfill the conditions prescribed in the
                              Evidence Ordinance. In our case, we are dealing with a
                              notice that was published in some given website, which
                              according to the claims of the defendant is the website of
                              the Hamas movement. Since in my opinion this does not
                              involve a record that was created in the ordinary course of
                              conduct of an institution, and since this does not entail data
                              collection and a method of conducting a record that may
                              attest to the truth of its content, the notice shall not be
                              deemed an institutional record.


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                                 “Since the printout that appears on the website is
                                 tantamount to hearsay evidence, it must be submitted by a
                                 witness that may confirm its content and be subjected to a
                                 cross-examination in its regard. In our case, the correct
                                 manner of filing the printout is by a witness that may
                                 confirm the content of the notice, i.e.: the person publishing
                                 the notice or the editor of the website on which the notice
                                 had been published. The actual printout is tantamount to
                                 hearsay evidence and is inadmissible as evidence.”

                       2.2.2.2   At the conclusion of the decision, the court ruled as
                                 follows:

                                 “In light of the abovementioned and when concluding that
                                 the certificate that was submitted by Mrs. Mishaniya is not
                                 tantamount to a civil servant certificate, that the printout
                                 from the website does not constitute an institutional record
                                 and is in itself inadmissible as evidence, it would then not
                                 be permitted to submit the evidence.”

                       2.2.2.3   Therefore, according to this ruling, submitting information
                                 from an internet source by way of a civil servant certificate
                                 according to Section 23 of the Evidence Ordinance is not
                                 acceptable, and such information cannot be considered as
                                 an institutional record according to Section 36 of the
                                 Evidence Ordinance.

                       2.2.2.4   In his final judgment on October 8, 2009, clauses 39 – 44
                                 of the judgment, the honorable Judge Y. Harel summarized
                                 once again his decision from May 19, 2009 and empasized
                                 as follows:

                                 “In my decision from 19.05.09 I dismissed the request of
                                 the defendant to submit as evidence the civil servant
                                 certificate made by Miss. Sofia Mishania, who serves as a
                                 translator and a locator of publications and announcements
                                 in Islamic websites. To the civil servant certificate attached
                                 a printout of the announcement and its translation to
                                 Hebrew by Miss Mishania. The defendant applied in its


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                                                                   closing that I consider once again my decision within the
                                                                   final Judgment.

                                                                   As said, the certificate is based on a printout from the
                                                                   Hamas website. The request was dismissed due to the
                                                                   reason that the certificate that Miss. Mishania edited is not
                                                                   considered as “civil servant certificate” because the
                                                                   publication in the website “…is not considered as ‘item
                                                                   which was registered in an official document’…” due to the
                                                                   reason that the printout from the website is not an
                                                                   “institutional record” as its meaning in section 35 of the
                                                                   Evidence Ordinance……

                                                                   Due to the above said, and as I reached the conclusion that
                                                                   the certificate that was submitted by Miss. Mishania is not
                                                                   considered as “civil servant certificate” and as the printout
                                                                   from the website is not considered as “institutional record”
                                                                   and is inadmissible itself, there is no room allow its
                                                                   submission as evidence.

                                                                   After I reconsidered my above decision, I did not find a
                                                                   reason to change it.”

                                                2.2.2.5            An appeal on the final Judgment was submitted to the Tel
                                                                   Aviv district court in Civil Appeal 29489-11-09. The
                                                                   appeal was dismissed on April 6, 2011.27




                                 2.2.3              Conditions for the admissibility of the contents of websites
                                                    generally

                                                2.2.3.1            In a claim filed by Tel Aviv University against a student for
                                                                   a debt of tuition fees, the university petitioned to submit an
                                                                   enrollment document of the student, which was submitted

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                      Civil Appeal (Tel Aviv District Court) 29489-11-09 Atef Muhamed Zayed et al V. The State of
                      Israel. Published in NEVO.

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                                                                   on-line, as evidence of its contents.28 The following was
                                                                   decided in the ruling of this claim:

                                                                   “In Hebrew year 5760 (2000-2001), the on-line method of
                                                                   enrollment to courses was made available for the first time;
                                                                   a method that is called bidding, by which the student
                                                                   enrolls directly and independently via a personal code
                                                                   which only he knows, and without the intervention of the
                                                                   secretariat. Most of the arguments in the summations entail
                                                                   attempts to permit the academic records as admissible
                                                                   evidence. It was first argued that the documents requested
                                                                   in this matter were not serviced, and particularly in relation
                                                                   to the enrollment software, in order to examine its
                                                                   reliability and its operation instructions.

                                                                   “The plaintiff bases its claim on the academic records, by
                                                                   which it is alleged that the defendant enlisted to 29
                                                                   academic hours in the 5760 school-year.

                                                                   “Section 36 to the Evidence Ordinance (New Version)
                                                                   determines the existence of aggregate conditions in order
                                                                   for an institutional record to be admissible evidence in
                                                                   proving the truth of its content in a legal proceeding.

                                                                   “The plaintiff must explicitly prove that all of the statutory
                                                                   aggregate conditions, pursuant to this section, have been
                                                                   fulfilled.

                                                                   “An institutional record, including a computer output that
                                                                   reflects the records, constitutes an exception to the rule that
                                                                   disqualifies hearsay evidence, as well as an exception to the
                                                                   rule of the best possible evidence. Two basic conditions are
                                                                   required for admitting an institutional record, as well as
                                                                   another aggregate condition for admitting a record in the
                                                                   form of a computer output: the institution regularly
                                                                   documents the event that is the subject of the record, in
                                                                   proximity to its occurrence; the method of collecting the
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                      Civil Case (Magistrate’s – Tel-Aviv) 85608.01 Tel-Aviv University v. Shtoyer Yehuda; not
                      published.

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                                                                   data and the record may attest to the truth of the record’s
                                                                   content; the mode of generating the computer output may
                                                                   attest to its credibility; and the institution regularly employs
                                                                   reasonable security measures to protect from an infiltration
                                                                   to the content of the computer materials and from failures
                                                                   in the computer’s operation. The said conditions, which are
                                                                   aggregate conditions, require proof by an expert on the
                                                                   matter and by any person that may attest to the actual entry
                                                                   of the record.

                                                                   “A review of the book by author Kozolowsky ‘The
                                                                   Computer and the Legal Procedure – Electronic Evidence
                                                                   and Legal Procedures,’ chapter 10, reveals that, in order to
                                                                   admit the institutional record as evidence, the litigant must
                                                                   explicitly and specifically demonstrate that all of the
                                                                   aggregate conditions set forth in Section 36 are fulfilled.
                                                                   The proof must be provided explicitly by way of testimony,
                                                                   whether orally or by affidavit, and in the event where the
                                                                   party submitting the record cannot bear such burden, the
                                                                   evidence must be rejected as inadmissible.

                                                                   “The author further raises the existing fear of unauthorized
                                                                   infiltration into a computer that would bring about
                                                                   modification of the information or damage thereof, given
                                                                   the fact that computer communication is exposed to
                                                                   unauthorized penetration to the data stored thereof.

                                                                   “In order to fulfill the requirements of the clause and
                                                                   overcome the fear of failure of the computer software,
                                                                   proof of the technical competence of the system and the
                                                                   security and operational measures must be provided by a
                                                                   professional technical officer that is qualified for this
                                                                   function.”

                                                2.2.3.2            Another ruling of the Tel Aviv Magistrate’s Court, in the
                                                                   matter of Kavei Zahav,29 addressed the question of the
                                                                   admissibility of web pages as evidence. The court

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                      Civil Case (Tel-Aviv) 731916/03 Kavei Zahav Ltd. 012 v. Gez Eliyahu Phili, published in NEVO.

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                              comprehensively analyzed the case law in Israel and even
                              compared it to case law in the United States, and ruled as
                              follows:

                              “The mere presentation of the records or the computer
                              output is insufficient, as they must be presented by
                              appropriate witnesses that shall confirm by affidavit the
                              fulfillment of the conditions required for their presentation
                              pursuant to the Evidence Ordinance - conditions that have
                              been detailed hereinabove.

                              “The Computer Law only partially solved the problem of
                              evidence originating from the internet, as aforesaid, by
                              creating an additional category of an ‘institutional record.’
                              A web page may be incorporated in an institutional record.
                              A web page may in itself be an institutional record, but it is
                              possible that it shall not constitute an institutional record, as
                              it all depends on the circumstances of documentation,
                              preservation and presentation of the page.

                              “However, it does not suffice that a certain website and
                              web pages may be determined to be an institutional record;
                              the conditions prescribed in Section 36 of the Evidence
                              Ordinance for determining the admissibility of the
                              institutional evidence must also be fulfilled. We must then
                              ask, are the conditions required for the admissibility of the
                              information in court fulfilled in this case, and this prior to
                              an examination of its credibility and feasibility – an
                              examination that the court carries out in the second stage.”

                              The court further noted as follows:

                              “The internet is not a narrow and well-defined area, but
                              virtually a ‘world on its own merit’; therefore, any
                              reference to information that is located on the internet
                              cannot be uniform by nature. There are numerous types of
                              information on the internet. At times the information is
                              accurate, at times it is partial and at times it is incorrect.



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                                                                   “Some of the information is admissible in court and some is
                                                                   inadmissible. Regarding admissible information, its
                                                                   credibility and weight shall also be examined in the second
                                                                   stage.

                                                                   “One must distinguish between random information that
                                                                   originates from various websites and web pages and
                                                                   information that originates from databases that are secured
                                                                   and protected by a security program, respective of the
                                                                   technology available at that time. This rule is incorporated
                                                                   in the Computers Law.”

                                                2.2.3.3            An examination of recent court rulings in Israel indicates
                                                                   the courts are willing to accept evidence originating from
                                                                   institutional websites of government authorities, as well as
                                                                   from the websites of various companies. This regards
                                                                   general information that pertains to the policy of the offices
                                                                   or the companies, the identity of various senior officers and
                                                                   other data that is not specific information to a narrow and
                                                                   defined date or event. In these cases, the information was
                                                                   admitted even without any support by testimony or
                                                                   affidavit of a person who attested to the truth of the
                                                                   information or had personal knowledge of the
                                                                   information’s appearance on the internet.

                                                                   However, the courts did not accept specific information
                                                                   that originates from the internet without clear verification
                                                                   by way of supporting testimony from competent
                                                                   witnesses.30

                                                2.2.3.4            Here, on the same grounds that are detailed in the court
                                                                   ruling in the case of Tel Aviv University, the web pages to
                                                                   which Shaked refers and which are said to be printed out
                                                                   from websites do not meet the tests required for their
                                                                   admission as evidence of their contents. Similar to the
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                      See also a decision in Civil Request 012658/07 in main court file: Income Tax Appeal (Tel Aviv
                      District Court) 1281/03 Asher Hershkovitz v. the Tax Authority. Issued on June 28, 2007.
                      Published in NEVO. The District Court refers to the analysis of the court in the Kavei Zahav case
                      regarding the inadmissibility of internet pages as evidence for specific information where the
                      pages are not supported with supplemental testimonies.

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                                     rulings in the Taher Zaid and Tel Aviv University cases, in
                                     order for such a computer output to be admitted as an
                                     institutional record, a witness that is suitable for proving
                                     that the conditions prescribed in the Evidence Ordinance
                                     have been satisfied is required. Therefore, in my opinion,
                                     these records are not admissible as evidence of their
                                     contents without such supporting testimony.

                           2.2.3.5   It further appears to me that the emphases made by the
                                     court in the summation of the hearing in the Kavei Zahav
                                     case and in the Tax authority case [footnote 30 above] also
                                     apply here. Shaked’s sources are taken from the websites
                                     of various organizations, and are intended by Shaked to
                                     prove “information specific to a date or a narrow and
                                     defined event” – specifically, the responsibility of Hamas
                                     for certain attacks on specific dates – and not general
                                     information of an administrative nature of an institution or
                                     an authority that publishes them on the internet. The case
                                     law in this regard, including the ruling in the Taher Zaid
                                     case, which specifically refers to the Hamas website,
                                     indicates that a court in Israel would not receive in
                                     evidence pages from such websites as evidence of their
                                     contents, without supporting testimony from a competent
                                     witness, as required by law.

        3.   Statements attributed to court documents, police investigation & explosives
             expert reports:

              I refer below to the documents and other materials identified in the Shaked Report
              that are court documents (such as indictments, minutes, verdicts and sentences)
              and police investigation statements and forensic reports.

              3.1   Military court indictments

                    FN 76 – ROTH 00436 Shaked refers to this source as a military court
                         indictment against Abdullah Barghouti. Instead, it is a verdict of the
                         military court against him. [Marked also as W_S085594.]




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                   FN 79, 80, 81, 82, 123, 128 - ROTH 00417-26 This document is an
                         amended military court indictment against Ahlam Tamimi. [Marked
                         also as W_S085575-84.]

                   FN 86, 87, 88, 89, 126, 127 - ROTH 00404-13 This document is an
                         amended military court indictment against Muhamad Daglas.
                         [Marked also as W_S158713-18 and W_S085562-71.]

                   FN 95, 96, 97, 98, 99b, 108a, 110, 113, 116a, 117, 124, 125, 157,–
                        ROTH00350-92 This is a batch of documents from the Beit El
                        military court file against Abdallah Barghouti, including a 109-count
                        indictment [ROTH00350-435], confession and conviction
                        [ROTH00436], and sentence [ROTH00396-403]. [Marked also as
                        NAIM000587-638 and W_S085508-561.]

                   FN 162, 167, 170 ROTH00363-364 This document is part of the military
                        court indictment [ROTH00350-392] against Abdallah Barghouti.
                        [Marked also as W_S085508-61.]

                   FN 224 - W_S156882-30 Shaked refers to this source as a military court
                         indictment against Fahmi Eid Ramadan Mashahrah. However, these
                         are military court documents against another person, Fallah Taher
                         Abdallah Nada.

                   FN 226 - Appendix 1, pp. 1-9 This document is an amended military court
                         indictment against Fahmi Eid Ramadan Mashahrah.

             3.2   Military court verdicts

                   FN 90 – W_S157275-76 This document is a military court verdict against
                         Abdullah Barghouti. The verdict is only in W_S157275. The
                         following page contains pleadings for the punishment.

                   FN 92 - W_S156682-83 This document is a verdict of the military court in
                         Beit El in the case of Bilal Yaa’cob Ahmad Barghouthi. Barghouthi
                         was convicted based on his confession to the amended indictment.

                   FN 158a - ROTH00436 This document is the military court verdict based
                         on the confession of Abdallah Barghouthi to the amended
                         indictment. [Marked also as W_S085594.]


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                   FN 225 - W_S156740-41 Shaked cites to this source as a military court
                        verdict against Fahmi Eid Ramadan Mashahrah. Rather, this source
                        contains the sentence and not the verdict. According to the following
                        page, W_S161742, the verdict was handed to the parties in hard copy
                        while the defendant’s advocate was absent.

                          The verdict is in the pages marked as W_S156746-50.

             3.3   Military court sentences

                   FN 32 – Guy Aviad, Lexicon of the Hamas Movement, pp. 97-98.

                    Shaked refers to this source as the basis for the military court sentence
                    against Selim Hija. It is obvious that this source is not a military court
                    sentence.

                   FN 33 - W_S161576-82 and W_S161583-93 The first source is a judgment
                    of the military court of appeals in 1648/04, an appeal of the Samaria
                    military court’s verdict and sentence of Tareq Muhammad Abd al-Latif
                    Abu in file 5090/03. Only pages W_S161591-593 of the second source
                    contain the sentence.

                   FN 77, 78, 159, 168 - ROTH 00397-403 This document is a military court
                           sentence against Abdullah Barghouti. [Marked also as
                           W_S085554-61 and Naim 000631-38.]

                   FN 85 - W_S156479-503 Pages 479-81 are a military court sentence against
                           Achlam Tamimi. All other pages are minutes of the military court
                           in her trial.

                   FN 91 - W_S157271-73 This document is a military court sentence against
                    Muhamad Daglas.

                   FN 93 - W_S156678-80 This document is a military court sentence against
                    Bilal Barghouthi.

                   FN 118 - Guy Aviad, Lexicon of the Hamas Movement, p. 101.

                            Shaked refers to this source as the basis for the military court
                            sentence against Ayman Halaweh. It is obvious that this source is
                            not a military court sentence.

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                   FN 158b – ROTH00398 This is the first page of the sentence delivered by
                          the military court against Abdallah Barghouthi. [Marked also as
                          W_S085556.]

                   FN 159 – ROTH00403 This is the last page of the sentence delivered by the
                           military court against Abdallah Barghouthi. He was sentenced to
                           67 consecutive life terms in prison. [Marked also as W_S085561.]

                   FN 225, 227 - W_S156740-41 This document is a military court sentence
                           against Fahmi Eid Ramadan Mashahrah. [Marked also as
                           Appendix 1, pp. 10-11.]

             3.4   Other court documents

                   FN 83 - ROTH00430-32 This document contains minutes of the military
                           court in Beit El in the trial of Ahlam Tamimi, file No. 42550/01,
                           including her statement to the court before sentencing. [Marked
                           also as W_S085580-82.]

                   FN 84 - ROTH00428-29 This document contains minutes of the military
                           court in Beit El in the trial of Ahlam Tamimi, file No. 42550/01,
                           including a record of the prosecution’s amendment of the
                           indictment and Tamimi’s confession to its charges. [Marked also
                           as W_S085586-87.]

             3.5   Police investigation documents

                   FN 18a - W_S161554-66. This document is a report of a police explosives
                         expert. According to the findings of the explosives expert, the
                         attacker wore a belt that tightened the bomb to his body. These
                         findings are not consistent with the Hamas announcement claiming
                         responsibility for the Neve Yamin attack, which Shaked cites in
                         footnote 2. According to this announcement, the bomber “carried a
                         bag filled with explosives.”

                          The explosives expert does not make any statement regarding the
                          person or the entity that perpetrated the attack.

                   FN 18b - W_S161567-72. These documents are not part of an expert
                        explosives report. They contain several handwritten police memos


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                         regarding the scene of the attack and collecting and transferring
                         exhibits from the scene and the forensic institute to the explosives
                         laboratory.

                  FN 76b - Appendix No. 1, pp. 12-55. These are statements given by
                       Abdallah Barghouthi to the police interrogator. Barghouthi described
                       how he received the funds for his activity. According to this source,
                       Ibrahim Hamed deposited 40,000NIS into Barghouthi’s account at
                       the Ramallah branch of Arab Bank. This amount was not designated
                       for a specific activity. Barghouthi received all of his other funds
                       from several people in cash.

                  FN 160a – W_S161505-512. This document is a report of a police
                       explosives expert regarding the car bomb detonated at Harav Kouk
                       street in Jerusalem on December 1, 2001.

                  FN 160b – W_S161513–514. This document is a report of a police
                       explosives expert regarding the car bomb detonated at Harav Kouk
                       street in Jerusalem on December 1, 2001. According to the report’s
                       findings, there is a low probability that the explosive material was
                       TAFT.

                         W_S161515-517. This document contains three memos written by
                         explosive laboratory officers regarding the explosion of the car bomb
                         at Harav Kouk street and regarding exhibits found at the scene.

                  FN 160c - W_S161518-525. This document is a report of a police
                       explosives expert regarding the first bomb exploded by a suicide
                       bomber at Ben Yehuda street in Jerusalem on December 1, 2001.
                       According to the report’s findings, there is a low probability that the
                       material used for the bomb is TAFT, and a tiny quantity of
                       Methomyl [commonly known as rat poison] was found on the bomb
                       remains.

                         W_S161526-527. This document contains two police memos, which
                         include the list of exhibits found at the scene.

                  FN 160d - W_S161528-35. This document is a report of a police explosives
                        expert regarding the second bomb exploded by a suicide bomber at
                        Ben Yehuda street in Jerusalem on December 1, 2001. The

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                         laboratory tests could not identify the explosive material used in the
                         bomb. According to the report’s findings, the bomb was probably
                         hidden in a computer frame. Insect poison was found in the remains
                         of the bomb.

                  FN 160e - W_S161541. This document is a police memo concerning
                       exhibits transferred to the explosives laboratory.

                  FN 160f - W_S161538-40. This document is a police memo, which includes
                        a list of exhibits found at the scene. There are also two sketches of
                        the scenes detailing the three different locations where the
                        explosions occurred.

                  FN 160g - W_S161536-37. This document contains the findings of a
                       laboratory test that analyzed the metal pieces found at the scene of
                       the attacks on December 1, 2001. The test found no explosive
                       materials on the metal pieces and a tiny quantity of the poison
                       Methomyl on part of the metal pieces.

                  FN 228a - W_S161544. This document contains the findings of comparative
                        laboratory tests on two pieces of plastic stickers received by the
                        police laboratory on June 27, 2002. According to the report, they are
                        made of PVC and not from the same roll.

                  FN 228b – W_S161573-75. This document contains the findings of the
                       police laboratory’s chemical analysis of a brown material received
                       by the laboratory on June 23, 2002.

                  FN 228c - W_S161542-43. This document contains findings of laboratory
                        tests regarding materials in remains received by the police laboratory
                        on June 19, 2002. The tests revealed NG [Nitro Glizerin] explosive
                        on the fragmentation. The test revealed no explosives on the other
                        exhibits.

                  FN 228d - W_S161545-53. This is a police explosives expert report
                       regarding an explosion that occurred on bus 32a in Jerusalem on
                       June 18, 2002. According to the report, the bomb was an improvised
                       explosive. The results are consistent with a suicide bombing; the
                       laboratory identified the explosive material as NG.


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                      3.6        Analysis of the documents pursuant to the Evidence Ordinance

                                 3.6.1              In the Primary Expert Opinion and in the Rebuttal Report, I
                                                    provided a comprehensive analysis of the admissibility of the
                                                    documents listed in Appendix C of the Primary Expert Opinion
                                                    and of additional documents listed in the Rebuttal Report and its
                                                    annexes. The police investigation files and court documents that
                                                    are appended to and/or cited in the Shaked Report as itemized
                                                    above are the same type and mostly identical to the documents
                                                    contained in Appendix C of the Primary Expert Opinion and in the
                                                    Rebuttal Report.

                                 3.6.2              I shall briefly note the crux of my conclusions in the Primary
                                                    Expert Opinion and Rebuttal Report regarding each of these types
                                                    of documents:31

                                                                       (a)   Documents that are verdicts delivered in criminal
                                                                             proceedings by military courts in the Occupied
                                                                             Territories are inadmissible as evidence of their
                                                                             contents pursuant to Section 42A of the Evidence
                                                                             Ordinance.32

                                                                       (b)   Documents that are considered findings and
                                                                             conclusions in sentences that were delivered in a
                                                                             criminal procedure of any given court, be it in Israel
                                                                             or a military court in the Occupied Territories, are
                                                                             inadmissible as evidence of their contents pursuant
                                                                             to Section 42A(b)(2) of the Evidence Ordinance.33

                                                                       (c)   Documents that are considered findings and
                                                                             conclusions that are provided as verdicts of courts
                                                                             in Israel, in the criminal proceedings that are the
                                                                             subject of the documents appended to and/or cited
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                      See footnote 1 above.
        32
                      Chapter 3.3 of the Primary Expert Opinion and my findings therein.
        33
                      Section 42A (b) (2) and my conclusion in Section 3.7 of the Primary Expert Opinion.

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                                                                       in the Shaked Report,34 would be inadmissible as
                                                                       evidence in a civil proceeding against Crédit
                                                                       Lyonnais in which claims were made similar to the
                                                                       ones I understand are being made in the Strauss and
                                                                       Wolf lawsuits. The bank [Crédit Lyonnais] is not
                                                                       the “substitute” of the party convicted in the
                                                                       underlying       criminal      proceedings,        the
                                                                       “responsibility” of the bank does not “stem from the
                                                                       responsibility of the convicted party,” and the bank
                                                                       was never obliged to be responsible for the
                                                                       “statutory duty” of the convicted; moreover, no
                                                                       such “statutory duty” exists, as detailed at length in
                                                                       the Primary Expert Opinion.35

                                                                       In addition to the case law that I address in the
                                                                       Primary Expert Opinion on this subject, I have
                                                                       considered also the verdict delivered by the District
                                                                       Court–Central Region in Civil Case 5286-08-07
                                                                       Rosenberg v. Bulus Gad Tourism and Hotels Ltd. et
                                                                       al, which considered the question of whether the
                                                                       responsibility of company directors “stems from the
                                                                       responsibility” of the convicted company, and the
                                                                       court ruled as follows:

                                                                       “The legislator explains in the law proposal that it is
                                                                       suggested that the findings in the criminal ruling
                                                                       shall also serve against a third party . . . who will
                                                                       not be a litigant in the criminal trial, e.g. a claim
                                                                       filed against the substitute of the convicted or
                                                                       against the employer of an accused due to his
                                                                       bailment responsibility or against his insurer.’

                                                                       “In his abovementioned book, Kedmi interprets the
                                                                       concept of ‘he whose responsibility stems’ as
                                                                       follows: ‘connected to – he whose responsibility
                                                                       rises – stands or falls – by virtue of the
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        34
                      Shaked does not cite in this report to any verdict of Israeli courts as a basis for his conclusions that
                      Hamas was responsible for the attacks listed in Annex A.
        35
                      Section 3.6 of the Primary Expert Opinion.

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                                                                             responsibility of the convicted, e.g. the bailment
                                                                             responsibility of the employer for the actions of his
                                                                             employees’ (pp.1360).

                                                                             “The examples provided by the scholar Kedmi and
                                                                             the explanations of the law proposal in the matter of
                                                                             ‘he whose responsibility stems’ allegedly indicate
                                                                             that this is directed at he whose responsibility stems
                                                                             solely and exclusively by virtue of the status of
                                                                             another, and it is not a personal responsibility for a
                                                                             wrong. An employer is not responsible for the
                                                                             actions of his employees that are a result of his own
                                                                             wrong, but rather by virtue of the provisions set
                                                                             forth by law (Section 13 of the Civil Wrongs
                                                                             Ordinance), and the same rule applies to a bailor
                                                                             (section 2 of the Bailees Law, 5725-1965) and an
                                                                             insurant (refer to Section 68 of the Insurance
                                                                             Contract Law, 5741 – 1981). Furthermore, it is
                                                                             evident from the abovementioned examples that this
                                                                             entails a party whose responsibility stems
                                                                             exclusively from the obligation of another.

                                                                             “Is the responsibility of the directors for the actions
                                                                             of the company they had served in such? It seems
                                                                             not to me.”36

                                                                       (d)   Minutes of the hearings of courts, both the civil
                                                                             courts in Israel and the military courts in the
                                                                             Occupied Territories, cannot constitute evidence
                                                                             even in a civil case against the convicted or against
                                                                             a convicted accomplice to a felony. In this regard I
                                                                             refer to the decision of the Supreme Court in the
                                                                             matter of Pupik v. Pazgas et al.,37 where the court
                                                                             ruled as follows:



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                      Civil Case 5286-08-07 Rosenberg v. Bulus Gad Tourism and Hotels Ltd. et al, published in
                      NEVO.
        37
                      Permitted Civil Plea 8562/06 Limor Pupik v. Pazgaz 1993 Ltd, et al., published in NEVO.

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                                                                             “The minutes the applicant wished to submit do not
                                                                             in themselves constitute admissible evidence and
                                                                             the applicant also admits to this. The rule is that
                                                                             minutes of a criminal court hearing are not in
                                                                             themselves admissible as evidence in a civil
                                                                             procedure. The applicant wishing to submit them
                                                                             must summon the relevant witness to testify in
                                                                             court. In the course of this testimony, it may be
                                                                             possible to file the minutes considering the
                                                                             provisions of the evidence laws pertaining to them
                                                                             (refer to Permitted Civil Appeal 275/96 Aknin v.
                                                                             Gilat – not published). Contrary to the aforesaid, in
                                                                             a different case, the court is entitled to review the
                                                                             indictment, the minutes and any other material filed
                                                                             in a criminal case. This is when the court deems it is
                                                                             necessary in order to clarify the findings and
                                                                             conclusions of a preemptory verdict in a criminal
                                                                             case, which were admitted as evidence pursuant to
                                                                             Section 42a of the Evidence Ordinance (New
                                                                             Version), 5731-1971 (refer also to Section 42b of
                                                                             the Evidence Ordinance). This is no the matter in
                                                                             the case at hand and, as such, the minutes may be
                                                                             filed – inasmuch as they may be filed – only in the
                                                                             course of the testimonies of the relevant
                                                                             witnesses.”38

                                                                       (e)   Written confessions of suspects are tantamount to
                                                                             documents of an investigative authority that are
                                                                             inadmissible as an institutional record pursuant to
                                                                             Section 36 (c) of the Evidence Ordinance;
                                                                             furthermore, we are dealing with an external
                                                                             confession of a convicted party to a criminal
                                                                             procedure, who is not a party to these proceedings
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                      See also Request for Civil Appeal (Jerusalem District Court) 35801-09-10 AIG Insurance
                      Company Ltd. v. Bar Mochay Ariel. Published in NEVO. In Section 7 of the judgment, the court
                      ruled that “the rule is that the minutes of the hearing of the criminal trial is, in itself, inadmissible
                      as evidence in a civil trial. One who is interested to submit it, should summon the relevant witness
                      to testify in court. Within this testimony it might be possible to submit the minutes [as evidence
                      M.A] after considering the orders of the relevant evidences rules.”

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                                                                             against Crédit Lyonnais, which cannot be submitted
                                                                             as evidence against a given third party in any form
                                                                             other than by means of testimony by the
                                                                             interrogator and the interrogated party that gave the
                                                                             confession.39

                                                                       (f)   Documents that were prepared by prosecuting
                                                                             and/or     investigating  authorities,   such    as
                                                                             indictments, testimony provided to policemen and
                                                                             evidence collected by the police or the ISA for the
                                                                             purpose of their filing as evidence in a criminal
                                                                             procedure, are inadmissible as evidence of their
                                                                             contents.40

                                                                       (g)   Additional documents appended to or cited in the
                                                                             Shaked Report that are police investigation files and
                                                                             forensic reports     are inadmissible pursuant to
                                                                             Section 36 (c) of the Evidence Ordinance, because
                                                                             they are documents that disclose investigation
                                                                             findings that were prepared by an investigative
                                                                             authority for the purpose of their filing as evidence
                                                                             in a criminal proceeding.

                                                                             Furthermore, a party that wishes to submit these
                                                                             reports against Crédit Lyonnais in a civil case must
                                                                             do so in the same manner as an expert opinion is
                                                                             submitted, by presenting testimony by the expert
                                                                             who created them on behalf of the weapons,
                                                                             explosives, and chemical laboratories units of the
                                                                             Israel Police department.




        4.         Statements attributed to books:

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                      Section B of the Evidence Ordinance; Sections 10-12 regarding the admissibility of testimony or a
                      confession given outside of court.
        40
                      Section 36 (c) of the Evidence Ordinance; Section 10.2 of the Primary Expert Opinion.

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            4.1     Shaked refers or cites to the book of Guy Aviad, Lexicon of the Hamas
                    Movement as the basis for several factual statements, which are pivotal to
                    his conclusions.

             4.1.1 FN 31, 118, 120 - Guy Aviad, Lexicon of the Hamas Movement, p. 101.

                     These footnotes refers to page 101 of Aviad’s book. According to the
                     source, Ayman Halawah was killed due to an explosion in his car. The
                     source does not support Shaked’s claim that Israel assassinated Halawah.

                     The author notes that during 1997 Halawah assisted with the production of
                     bombs that caused the death of 21 Israelis. Even though, according to the
                     source, Halawah was sentenced to only two-and-a-half years in prison for
                     his assistance with the production of these bombs.

                     On page 27 of his report, Shaked states that “Halaweh constructed the
                     bombs for the terrorist attack at the Dolphinarium and at the Sbarro
                     pizzeria in Jerusalem.” This statement is not consistent with other sources
                     cited by Shaked. On page 165 of the Aviad book, the author states that
                     Abdallah Barghouti constructed the bomb for the Sbarro attack.

                     There is no indication on page 101 of Aviad’s book of the basis for the
                     author’s information.

            4.1.2   FN 32 – Guy Aviad, Lexicon of the Hamas Movement, pp. 97-98

                     This footnote refers to pages 97-98 in Aviad’s book. Here, Aviad
                     describes the terrorist activity of Selim Hija. Aviad does not identify the
                     basis for this information.

                     In Shaked’s summary of the Neve Yamin attack, [page 8 of the Shaked
                     Report] Shaked wrote:

                     “From all the materials surveyed above, I conclude that the principal
                     members of Hamas involved in the terrorist attack are as follows:”

                     Section 4 of Shaked’s summary discusses Selim Hija. According to
                     Shaked, Hija was one of the “principal members of Hamas” involved in
                     the attack in Neve Yamin. Beside the headline of this summary, Shaked
                     did not provide any other basis for his conclusion about Hija’s
                     involvement in this attack.

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                   Furthermore, even the source referred to by Shaked in this footnote does
                   discuss Hija’s involvement in any aspect of this attack.

                   Therefore the source is not relevant to the attack in Neve Yamin, and it is
                   not clear on what basis Shaked added the name of Hija to his summary for
                   this attack.

             4.1.3 FN 36 - Guy Aviad, Lexicon of the Hamas Movement, p. 144.

                   This footnote refers to page 144 in Aviad’s book. The relevant page
                   purports to summarize the biography of Az al din al Masri, who is
                   identified as the suicide bomber in the Sbarro attack in Jerusalem.

                   The source does not indicate that the infrastructure in Ramallah was asked
                   “to send the suicide bomber to Jerusalem.”

                   The source also conflicts with other sources referred to by Shaked. The
                   military court indictment against Ahlam Tamimi, W_S085578, indicates
                   that the suicide bomber arrived in Ramallah on August 7, not August 9,
                   and Tamimi instructed him to carry out the attack at the street corner, not
                   atthe Sbarro. [W_S085579]

                   Aviad’s book does not indicate the basis for the information described on
                   page 144.

             4.1.4 FN 104, 105, 106 - Guy Aviad, Lexicon of the Hamas Movement, pp. 189-
                    90.

                   This footnote refers to pages 189 and 190 in Aviad’s book. According to
                   Aviad, Qeis Adwan recruited the suicide bomber for the Sbarro attack.
                   Aviad does not name the suicide bomber.

             4.1.5 FN 122, 130 - Guy Aviad, Lexicon of the Hamas Movement, p. 165.

                   This footnote refers to page 165 in Aviad’s book. Aviad does not identify
                   the basis for his statement that the Sbarro Pizzeria attack was revenge for
                   the killing of the Hamas leaders in Nablus.

                   As noted in section 4.1.1 above, and contrary to the statement made by
                   Shaked, Aviad writes that Abdallah Barghuthi constructed the bomb for
                   the Sbarro attack, not Halaweh.

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                 In addition, Aviad writes that 110 people were wounded in the attack,
                 while Shaked writes that 130 were wounded in the attack

           4.1.6 FN 161 - Guy Aviad, Lexicon of the Hamas Movement, pp. 95-97.

                 This footnote refers to pages 95-97 in Aviad’s book . This passage
                 discusses Ibrahim Hamed, who Aviad describes as the commander of the
                 military wing of Hamas in the West Bank.

                 Shaked’s statement that Hamed ordered Barghouti to prepare three bombs
                 for the December 1, 2001 attack is not supported by the pages of the book
                 Shaked refers to in this footnote.

           4.1.7 FN 199 - Guy Aviad, Lexicon of the Hamas Movement, p. 161.

                 This footnote refers to page 161 in Aviad’s book . This passage discusses
                 Wa’el Nasser, who Aviad describes as a Hamas senior commander in
                 Gaza until he was assassinated on May 30, 2004.

                 Aviad does not indicate the source of his information.

           4.1.8 FN 231 – Guy Aviad, Lexicon of the Hamas Movement, p. 232.

                 This footnote refers to page 232 in Aviad’s book. This passage discusses
                 Muhamad Al Ghoul, who Aviad describes as the suicide bomber that
                 carried out the June 18, 2002 attack on Bus 32A in Jerusalem.

                 Aviad does not provide any source for his statements.

           4.1.9 FN 232 - Guy Aviad, Lexicon of the Hamas Movement, p. 220.

                 This footnote refers to page 220 in Aviad’s book. The content of this page
                 does not correspond with Shaked statements regarding this footnote.

                 Shaked refers to this page in Aviad’s book as a source of information for
                 his statements regarding Ali Musa Alan [Shaked Report p. 61].

                 The passage in Aviad’s book does not mention Ali Musa Alan and all of it
                 is regarding another person, Akram Ibrahim Mahmud Qawassmeh.

           4.1.20 FN 234 - Guy Aviad, Lexicon of the Hamas Movement, p. 111.



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                                     This footnote refers to page 111 in Aviad’s book. This passage discusses
                                     Muhanad Taher. The statements of Aviad and Shaked regarding the
                                     involvement of Taher in the Park Hotel attack conflict with the content of
                                     page 165 of the book [FN 122 and 130 above], which do not mention
                                     Taher as involved in the Park Hotel attack.

                                     Contrary to Shaked’s statement, Aviad does not mention Taher as one of
                                     those responsible for the attack at the Sbarro Pizzeria.

                                     Aviad does not identify his sources for his statements about Taher.

                   4.2           Analysis of the documents pursuant to the Evidence Ordinance:41

                                 4.2.1              As a rule and as detailed above, professional literature in itself is
                                                    hearsay evidence and is inadmissible as proof of its contents.
                                                    Again, I do not address the admissibility of these items as if they
                                                    were submitted as providing support for a qualified expert’s offer
                                                    of an opinion on a subject within his competence based upon his
                                                    specialized analysis or interpretation of them.42

                                 4.2.2              I was not able to review the sources of the Aviad statements, as far
                                                    as they are detailed in the pages referred to by Shaked. As far as
                                                    the sources include indictments, sentences, confessions, press
                                                    items, interviews, etc. these types of documents are all
                                                    inadmissible as evidence of the truth of their contents against
                                                    Crédit Lyonnais in this civil case. The fact that Aviad cited or
                                                    relied on them in his book does not make them admissible.


        5.            Audio recordings and video movies:

                      5.1 “Testaments of suicides” on the YouTube website


                                 5.1.1              Shaked cites several audio and video recordings. The speakers use
                                                    literary Arabic, a language I have not mastered. However, and
                                                    subject to this restriction, I will examine the admissibility of these
                                                    recordings according to their nature.

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                      See footnote 1 above.
        42
                      See footnote 1 above.

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                                 5.1.2              An audio or video recording is deemed an out of court statement
                                                    which was made in the presence of the person who has listened in
                                                    and recorded it. In actuality, this is a sort of record made by the
                                                    speaker in the recording.

                                 5.1.3              So long as the recording qualifies under the admissibility tests
                                                    described below, it may be admitted in evidence.

                                 5.1.4              A recording can be received in evidence if it qualifies under three
                                                    tests,                        as                           follows:


                                                      The technical test – regarding the
                                                       credibility and authenticity of the
                                                       medium itself;

                                                      The substantiality test – whether the
                                                       terms for admissibility of the contents
                                                       of the recording have been met;

                                                      The formality test – whether the
                                                       recording meets the conditions
                                                       stipulated in the Secret Taping Law.43




                                                    The burden of proving these tests are satisfied lies with the party
                                                    seeking to offer the recording in evidence.


                   5.2               The technical admissibility test


                                 5.2.1              This test is designed to make sure that whatever is said in the
                                                    recording does indeed reflect what was actually said when the
                                                    recording was made, because electronic media can be easily
                                                    altered, edited and counterfeited with hardly leaving any telltale
                                                    traces. The case law in Israel has established several “technical”
                                                    tests a recording must satisfy in order to be admitted in evidence.
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                      Dr Kedmi, part 3, p. 1320. see also criminal appeal 2801/95, Jacob Korkin v. the State of Israel
                      Padi 52 (1), 791, 803-804

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                                                    Among other considerations, the recording must be true and
                                                    authentic, having been appropriately guarded, such that there is no
                                                    doubt about it not having been altered or processed, and that the
                                                    voices of the speakers are clearly and positively identifiable.44


                                 5.2.2              Shaked bases his conclusion that certain attacks have been
                                                    perpetrated by Hamas on “recorded testaments” of those who
                                                    claim to be carrying out those attacks.



                                                    Within the framework of footnotes numbers 179a – 179d and 180
                                                    of his opinion, Shaked refers to several video recordings posted on
                                                    YouTube and on websites purportedly affiliated with the Iz al Din
                                                    al Qassam Brigades, which he presents as proof of their contents.


                                 5.2.3              The first question to be addressed is whether these movies, posted
                                                    on a social network such as YouTube, satisfy the first, technical
                                                    test.



                                                    In my opinion, the answer is they do not.



                                         5.2.3.1           First, Shaked has not presented the original version of the
                                                           recorded event. Instead, he has presented only what is said to
                                                           be a copy of the original recording that was posted by
                                                           unidentified persons on the YouTube website and on a website
                                                           that Shaked states is an official Iz al Din al Qassam Brigades
                                                           website.



                                                           Shaked has offered no information concerning whether the
                                                           copy posted on these websites is an accurate and/or complete
                                                           and/or true copy of the original recording.


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                      Dr. Kedmi, part 3, pp. 1321-1331.

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                                         5.2.3.2 Second, Shaked has presented no testimony from whoever
                                                 made these recordings, who may verify that whatever is heard
                                                 or seen in the recordings was indeed said by whoever is seen to
                                                 be speaking in them.



                                         5.2.3.3           Further, there is no evidence that the voice heard in the
                                                           recording is indeed the voice of whoever is shown to be
                                                           speaking.

                                                            “Identifying the voices of the speakers in a recording is an
                                                           essential requisite for the technical admissibility of the
                                                           recorded medium.” And “if the voices identification was not
                                                           proved beyond a reasonable doubt – the recording is
                                                           inadmissible” 45 Further, the manner in which these movies
                                                           were recorded and edited raises doubts as to the identity of the
                                                           speaker who is heard in the movie and whether the words he is
                                                           speaking are indeed his own. These doubts increase in view of
                                                           the fact that, in the recording, the person photographed is
                                                           shown as though reading the texts from documents he holds in
                                                           his                                                      hands.

                                                           In addition, the text heard in these recordings is in the literary
                                                           Arabic language that, to the best of my knowledge and
                                                           experience, is not in daily use among young Palestinians, such
                                                           as the persons depicted in these recordings. This indicates the
                                                           texts are dictated by the initiator and /or creator of the movie
                                                           and are not the words of whoever is shown as the speaker
                                                           therein.



                                         5.2.3.4 Moreover, watching these recordings, even with an untrained
                                                 and non-professional eye, one can very clearly perceive that
                                                 they have undergone editing and processing after they were
                                                 recorded.


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                      Dr. Kedmi, part 3, p. 1325.

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                                                           For example, it is clearly discernible that nationalistic songs
                                                           were added, as well as scenes from places other than and
                                                           different from the location at which the "speaker" in the movie
                                                           was recorded, such as scenes that show unidentified persons
                                                           holding rifles and other arms. In addition, the YouTube film
                                                           referred to in footnote 179b contains a scene in which a person
                                                           is sitting on a wheel chair and dressed with clothes like the
                                                           clothes that Sheikh Ahmad Yassin wore. It is clear that the
                                                           compositor of this video intended to convey that the person is
                                                           indeed Ahmad Yassin, but he does not provide even a profile
                                                           of him and in fact it could be anyone.

                                                           Two of the four videos present another example. The videos
                                                           present a woman as the mother of Muhamad Farhat, who
                                                           Shaked describes as the perpetrator of the attack in Atzmona.
                                                           She is shown beside what appears to be an unidentified dead
                                                           body. Comparing the picture produced by Shaked as the
                                                           picture of Muhamad Farhat to the face of the dead body shows
                                                           that it is not the same person. Moreover, it is well known that
                                                           Israel usually refuses to deliver the dead bodies of terrorists
                                                           back to their families, which is another indication that the dead
                                                           body does not belong to the perpetrator of the Atzmona attack.
                                                           The immediate impression of watching these videos is that of
                                                           propaganda rather than that of a “will.”

                                                           Moreover, it is not certain that the editing work done on these
                                                           recordings was not more extensive than can be readily
                                                           perceived. Likewise it is not possible to exclude that whoever
                                                           is actually reading what is heard is not the person shown in the
                                                           recording, but rather is some other, unknown person. As a
                                                           rule, an intentional manipulation of a recording in order to alter
                                                           it in any way will cause it to be disqualified as evidence.46



                                         5.2.3.5 An article written by Alshech and referred to in his report47
                                                 analyzed the type of “will” published by Hamas during the

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                      Dr. Kedmi, part 3, p. 1325.
        47
                      E. Alshech / Die Welt des Islams 48 (2008) 23-49.

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                                                           “Second Intifada,” which is the period when the relevant
                                                           attacks were perpetrated.

                                                           In this article, Alshech states as follows:

                                                            “It is evident that the documents are edited prior to publication
                                                           because, for example, portions of the original texts are often
                                                           deleted and marked with ellipsis.”48

                                                           And,

                                                           “While it is impossible to know whether ণamas editors
                                                           formulated these documents or merely edited them, it is clear
                                                           that the editors had control over the form and content of the
                                                           documents.”49

                                                           If accurate, these observations confirm these recordings are
                                                           inadmissible.

                                         5.2.3.6 Nor has Shaked offered any evidence as to the identity of the
                                                 person who recorded the movies and /or who edited them and
                                                 /or who posted them on the internet, whether on YouTube or
                                                 other websites claimed to be affiliated with Hamas.



                                         5.2.3.7           Nor is there any evidence with regard to the points in time at
                                                           which the movies were recorded and /or edited. It is apparent
                                                           that they were not recorded in one place or on one date and all
                                                           of them were edited.



                                         5.2.3.8           Taking into consideration the fact that Shaked attributes the
                                                           making of these movies to terrorist organizations or terrorism
                                                           activists, for whom providing deceptive information is often
                                                           tactical and customary, all of the questions I have noted above
                                                           become particularly important in assessing the reliability of


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                      Supra page 29 footnote 16.
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                      Supra page 30.

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                                                           these recordings and the circumstances under which they were
                                                           made.

                                                           As to the credibility of the contents of these documents,
                                                           Alshech states as follows:

                                                           “There is no reason to doubt that the documents contain some
                                                           authentic material about the self-immolation attackers and their
                                                           lives. At the same time, I argue that by systematizing their
                                                           content, ণamas inevitably “reconfigured” some of the true
                                                           information to conform to its notions of piety and martyrdom
                                                           and thus to the collective worldview it was hoping to construct.
                                                           Hence, I do not use the documents to learn about the ণamas
                                                           martyrs’ actual lives, beliefs, and deaths, but rather to study the
                                                           ideology that underlies the texts produced by ণamas during the
                                                           second Intifada.”50

                                                           A party wishing to submit these recordings as evidence of their
                                                           contents must remove these doubts by means of credible
                                                           evidence and /or by means of witnesses who can address the
                                                           questions set forth above, and who can be cross-examined in
                                                           order to test the reliability of the recordings and of their
                                                           contents.



                              5.2.4                 In view of the above said, I am of the opinion that the videos
                                                    presented by Shaked as evidence of their contents do not satisfy
                                                    the first, technical admissibility test and cannot serve as proof of
                                                    their contents or the identities of those shown as speakers therein.

                              5.2.5                 Furthermore, in addition to the technical requirements the
                                                    recordings must meet, as detailed above, the rules of evidence
                                                    applicable to “computer output” and /or to computer output
                                                    produced from the internet should also be applied to these
                                                    recordings posted on websites. As stated above, there is no
                                                    evidence that they meet these criteria.


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                      Supra footnote 18.

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                              Furthermore, perusing the details in the webpages of these movies,
                              there is no information about the author, the size of the file, the
                              date of creation, or the date of any editing of these videos.

                              There is no information with regard to the manner in which these
                              movies reached the website’s operators, to whether the editing of
                              these movies was carried out by the original recorders or whether
                              these movies have undergone additional editing by the website's
                              operators who, as mentioned above, are unknown.

                  5.2.6       My conclusion that these recordings do not satisfy the technical
                              admissibility test should suffice to disqualify them as evidence of
                              the truth of their contents without considering the additional
                              applicable tests.


            5.3           The substantiality test


                  5.3.1       The purpose of this test is to determine the admissibility of the
                              contents of a recording that has satisfied the technical admissibility
                              test.

                  5.2.2       The contents of the recordings are undoubtedly hearsay.
                              Therefore, the party interested in submitting them as proof of their
                              contents must demonstrate that they qualify under one of the
                              exceptions to the rule disqualifying hearsay testimony, according
                              to the Evidence Ordinance and /or the caselaw.



                  5.3.3       Among the exceptions to the rule disqualifying hearsay testimony,
                              the ones relevant for examining the admissibility of recorded
                              media as proof of their contents are as follows:


                             Utterance of a deceased who cannot be brought
                              to court to testify;
                             Testimony of an utterance by a witness at the
                              scene of a committed violation according to
                              Section 9 of the Evidence Ordinance;


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                                                   Utterance of a victim of an act of violence
                                                    according to Section 10 of the Evidence
                                                    Ordinance;
                                                   An institutional record according to Section 36
                                                    of the Evidence Ordinance.


                                                    As stated below, my opinion is that these videos posted on
                                                    YouTube or on other websites, are not admissible for the truth of
                                                    their contents under any of the above exceptions to the rule
                                                    disqualifying                hearsay                   evidence.


                              5.3.4                 The exception - Utterance made by a deceased


                              5.3.4.1               An utterance by a deceased may, under certain circumstances, be
                                                    admitted in evidence despite the fact that there is no possibility to
                                                    "examine the deceased in court about things he said or had
                                                    written."51



                              5.3.4.2               Among the utterances of a deceased which have been recognized
                                                    in Israeli caselaw to be admissible in evidence, three are relevant to
                                                    the case at hand. One is an utterance by a deceased which at the
                                                    time it was made was, prima facie, contrary to the deceased’s
                                                    monetary or proprietary interests. Another is an utterance by a
                                                    deceased contained in a document which was made during the
                                                    deceased’s “regular course of business,” and the third is an
                                                    utterance of a deceased that was made when he was “on duty.”



                              5.3.4.3               As I have pointed out above, it is not certain that the voice heard in
                                                    the recorded media is indeed the voice of the person shown, and
                                                    therefore it is not clear at all whether it concerns an utterance of a
                                                    “deceased,” even if we assume it concerns a person who has died.




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                      Dr. Kedmi, part 2, p. 573.

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                              5.3.4.4               As to the other two exceptions in the context of a deceased, the
                                                    caselaw states that an utterance of a deceased “office holder”
                                                    would be admissible in evidence only if it concerns a document he
                                                    made with regard to an act carried out in the past (as opposed to an
                                                    act he intended to carry out in the future), and provided that the
                                                    person can be accorded the status of an “office holder” in an
                                                    “institution” which he purportedly represents.



                                                    Likewise, one cannot say about the deceased that making
                                                    documents of the kind of such recorded movies was done during
                                                    his “regular course of business.”


                              5.3.5         The exception - an utterance made by a deceased at the scene of a
                                            committed violation – Section 9 of the Evidence Ordinance


                              5.3.5.1               Section 9 of the Evidence Ordinance states as follows: “Testimony
                                                    to an utterance made when, as claimed, a violation was
                                                    perpetrated, or directly before or after, and that utterance concerns
                                                    the matter directly, it will be admissible if the person who uttered it
                                                    is a witness in the trial.”



                              5.3.5.2               According to the Shaked Report, the speaker in the video referred
                                                    to in footnote 180 [as far as he is indeed the speaker] is dead, and
                                                    certainly cannot be a “witness in the trial.” Furthermore, there is
                                                    no proof that the utterances of the speaker were made “when . . . a
                                                    violation was perpetrated, or directly before or after,” as required
                                                    by Section 9 of the Evidence Ordinance.



                              5.3.5.3               Indeed, the case law has stretched the applicability of this article to
                                                    cover also the case where the speaker52 [as far as was proved that
                                                    he has spoken in his own voice] is dead, but only concerning one
                                                    of the “Res Gestae” exceptions of the British Common Law, where


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                      Criminal appeal 7293/97, Jafer Amer v. the State of Israel, p. 460, 469 published in NEVO.

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                                                    the utterance is “spontaneous” and was made in the face of an
                                                    “exciting event.”



                              5.3.5.4               By their substance and character, it is clear that the utterances
                                                    made by the deceased in these recordings could not be considered
                                                    as “spontaneous” utterances. The recordings show clearly that the
                                                    persons depicted seem to read from a written document, written in
                                                    advance, and probably not by the deceased himself. Furthermore,
                                                    these recordings do not appear to concern any “exciting event.”



                              5.3.5.5               In view of the above, I am of the opinion that these recordings do
                                                    not meet the criteria of the exception stated in Section 9 of the
                                                    Evidence Ordinance.


                              5.3.6         The exception - Utterance of a victim of an act of violence –
                                            Section 10 of the Evidence Ordinance


                              5.3.6.1               This article of the Evidence Ordinance allows admitting in
                                                    evidence, under certain stipulations, an utterance of a victim of an
                                                    act of violence as the result of which he was injured.



                              5.3.6.2               Section 10 deals clearly with an utterance by a person on whom it
                                                    is contended that “an act of violence was perpetrated.”53



                              5.3.6.3               According to the Shaked Report, the person shown in those
                                                    recordings is a suicide bomber who caused death and injuries to
                                                    many people, including the plaintiffs. Therefore, it seems to me
                                                    that it is impossible to attribute to this person the status of someone
                                                    on whom ”an act of violence was perpetrated.” Therefore, in my
                                                    opinion, this exception is not applicable to these videos.




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                      Section 10 of the Evidence Ordinance,[New Version] 5731–1971

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                              5.3.7         The exception - An institutional record – Section 36 of the
                                            Evidence Ordinance


                              5.3.7.1               The admissibility of web pages under the exception of institutional
                                                    records, including web pages that were produced from a Hamas
                                                    website, has been extensively analyzed in this opinion above.
                                                    Based on the same reasons stated above, I conclude that these
                                                    recordings do not qualify for the exception from the exclusion of
                                                    hearsay for institutional records.



                              5.3.7.2               I note again that the source of the recorded “will” [Shaked FN 180]
                                                    is a website that Shaked claims is affiliated with the Iz al Din al
                                                    Qassam Brigades. Even assuming this to be true, there is no
                                                    justification to consider such terror group and whoever is behind
                                                    the posting of this movie on this website to be “an institution,” and
                                                    certainly not to attribute to these recordings the appellation of
                                                    “institutional record.”54

                                                    As for the other videos posted on YouTube as referred to in
                                                    footnote 179 to the Shaked Report, these webpages do not provide
                                                    any information about the author, the date of creation or alteration
                                                    of these videos.



                              5.4                   For the reasons listed above, I am of the opinion that these
                                                    recordings do not satisfy the substantiality test for them to be
                                                    received in evidence for the truth of their contents.



                                                    Because the third formal test deals with recorded media meeting
                                                    conditions stipulated in the Secret Taping Law,55it is not relevant
                                                    to the case at hand, and therefore I will not analyze it.




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                      See the analysis in section 2.2.2.2 and footnote 25 above.
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                      The Secret Taping Law, 5739–1979.

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                   5.5          In sum, I am of the opinion that these recordings do not qualify
                                under the technical test for admissibility with regard to their
                                authenticity, and nor do they qualify under the substantiality test
                                for admissibility in evidence of their contents. Therefore, they are
                                inadmissible in evidence for the truth of their contents.


        6.   Photographed interviews:

             General:


                   6.1          As a factual foundation for his conclusions that Hamas is
                                responsible for perpetrating the terrorist attacks relevant to the
                                claims at hand, Shaked refers to video recordings that include
                                interviews made by him for a British documentary named “For the
                                Sake of Allah.”



                   6.2          This movie includes interviews in English and in spoken Arabic,
                                which I understand to a level sufficient to enable me also to
                                analyze their contents. The interviews are said to have been held
                                with Palestinian prisoners incarcerated in Israeli jails.



                   6.4          It should be pointed out that the interviewers were presented to the
                                interviewees as representatives of a Canadian television company.
                                Whenever the interviewee was able to understand and speak
                                English, the interview was conducted by whoever seemed to be the
                                production manager /director, in English, and whenever the
                                interviewee spoke only Arabic, Shaked was the main interviewer
                                while being directed from time to time by the production manager
                                to ask specific questions.


             6.5         The admissibility of these movies in evidence:


                   6.5.1        As I have pointed out in other contexts above, I will not address
                                the evidentiary status of these movies having been submitted as
                                appendices to an expert opinion, but instead to the admissibility of

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                          the documents themselves, while referring to the fact that Shaked
                          is a witness in this case and was present during, and /or took active
                          part in their production.



                6.5.2     As a rule, the evidentiary status of these movies is similar to that of
                          the YouTube movies, with the exception fact that, unlike the
                          YouTube movies, Shaked has, as mentioned, taken active part in
                          their production.



                6.5.3     The contents of these interviews, and in particular the
                          interviewees’ answers, are considered inadmissible hearsay unless
                          they qualify under one of the exceptions to the rule disqualifying
                          hearsay testimony recognized in the Evidence Ordinance and /or
                          the caselaw.



                6.5.4     The interviews are equivalent to a written utterance by a “witness”
                          made outside the courtroom. Therefore, the relevant exceptions
                          according to which their admissibility in evidence should be
                          examined are those stated in the provisions of Sections 9, 10, and
                          10A of the Evidence Ordinance.



                6.5.5     I am of the opinion that the movies do not meet the conditions
                          required by these Sections of the Evidence Ordinance:



                6.5.5.1   Section 9 of the Evidence Ordinance deals with utterances made by
                          whoever is a “witness in court.” To the best of my knowledge, not
                          one of the interviewees falls under the definition of “witness in
                          court” in the cases at hand, therefore this exception could not be
                          applicable.



                          Furthermore, even the extension of this exception with regard to
                          “spontaneous” utterances and an “exciting event” does not apply


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                             to these interviews. The interviews were conducted with the
                             interviewees devoid of any spontaneity and without any exciting
                             event taking place at the scene, and with full knowledge that they
                             were intended for airing on foreign television.



                   6.5.5.2   According to the Shaked Report, the interviewees were terrorists
                             who initiated and carried out terrorist attacks, some of which are
                             included in the list of terrorist attacks that are the subject of the
                             claim against Crédit Lyonnais. It seems clear to me that none of
                             the interviewees in these movies may come under the definition of
                             a person on whom an act of violence has been perpetrated, and
                             therefore the exception stated in Section 10 of the Evidence
                             Ordinance does not apply for these interviews.



                   6.5.5.3   Section 10A of the Evidence Ordinance deals exclusively with
                             criminal proceedings. As the case at hand involves civil claims,
                             this exception does not apply to either the YouTube movies or the
                             photographed interviews of this documentary.



                   6.5.5.4   Because the movie was produced with the presence and/or the
                             participation of Shaked, and because he is a witness in this case,
                             this movie may be submitted on his behalf only as evidence to its
                             mere existence. Still, the contents of the movie retain the status of
                             hearsay testimony that is inadmissible in evidence for the truth of
                             its contents.


                             The contents of these interviews could be proved only by
                             testimony of the interviewed persons in the trial.



        7.   Research concerning relevant attacks

             7.1      General




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                   7.1.1 For the purpose of this opinion, and in order to evaluate further
                         the opinions of Shaked and Alshech, I have on my own
                         initiative attempted to conduct independent research in
                         connection with the 5 attacks relevant to this report, as follows:

                      x   March 28, 2001 – Suicide Bombing at Neve Yamin.
                      x   August 9, 2001 – Suicide Bombing at Sbarro in Jerusalem.
                      x   December 1, 2001 – Suicide Bombings on Ben Yehuda Street.
                      x   March 7, 2002 – Attack at Atzmona.
                      x   June 18, 2002 – Suicide Bombing on Bus No. 32-A, Jerusalem.



                   7.1.2 Because the Israel Police collect the relevant evidence and
                         testimony with respect to an attack for submission to
                         prosecutors, who then submit this evidence in court, I have
                         focused on examining the investigation files of the Israel Police
                         with regard to the above listed attacks.

                   7.1.3 The issues I sought to examine independently are as follows:

                      x   Whether the investigation files of the relevant attacks are open
                          to the public and can be accessed by approaching the
                          investigation officer in charge of the district in which the
                          investigation was carried out;

                      x   Whether the entire investigation file may be read by a member
                          of the public;

                      x   Whether the investigation files contain the complete
                          investigation material relevant to each attack, other than certain
                          material such as minutes of the prosecution and of the court,
                          which are not always given to the police;

                      x   Whether the documents contained in the files for these attacks
                          were referred to in the Shaked Report and/or the Alshech
                          Report;




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                                            x       Whether the documents referred to in the Shaked Report and
                                                    the Alshech Report are included in the files; and

                                            x       If the contents of the documents contained in the files do not
                                                    correspond with Shaked’s and Alshech’s conclusions as to the
                                                    identity of the perpetrators of these attacks, what that would
                                                    indicate with respect to the accuracy of Shaked’s and
                                                    Alshech’s conclusions and methodologies.



                      7.2            My efforts to obtain the relevant files

                                     7.2.1 On October 1, 2013, I sent, by email, a request to Lt. Col. Dror
                                           Shwartz, the officer in charge of Freedom of Information at the
                                           Israel Police,56 to peruse and copy all the documents contained in
                                           the investigation files for the five attacks listed above.57

                                     7.2.2 On November 10, 2013, I received a preliminary answer from the
                                           police, dated October 22, 2013, that informed and instructed me to
                                           forward the request to the investigations officer in the relevant
                                           region, and that the request should not be according to the Freedom
                                           of Information Act but according to Instruction No. 14.8 of the
                                           Legal Adviser to the Government Instructions,58 regarding
                                           applications of third parties to peruse investigation materials that
                                           are in the police file.59

                                     7.2.3 According to these instructions, on November 18, 2013, I resent
                                           two applications: one to the investigation officer in the central
                                           district of the Israel Police regarding the police file of the attack in
                                           Neve Yamin, and the other to the investigations officer in the
                                           Jerusalem district regarding the police files for three of the other
                                           attacks.60

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                      In accordance with the Freedom of Information Law 5758 – 1998, any official entity of the State
                      must appoint a person to be in charge of carrying out the Law.
        57
                      A copy of the request is attached as Annex 1.
        58
                      The legal adviser to the Government serves also as the general prosecutor of the state.
        59
                      A copy of the answer dated October 22, 2013 is attached as Annex 2.
        60
                      A copy of the request of November 18, 2013 is attached as Annexes 3 and 4 accordingly.

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                                     7.2.4 On November 20, 2013 I received another “formal” answer from
                                           Major Y. Shatal, who is the deputy of the investigations officer in
                                           the Jerusalem district of the Israel Police. In his answer, he
                                           informed me that my request was forwarded to Major Y. Elmaliah
                                           who is the commander of the minorities unit in the central unit of
                                           the Jerusalem district.61

                                     7.2.5 A few days later, I received a telephone call from Major Elmaliah
                                           in which he informed me that I am not permitted to peruse the
                                           files. I tried to convince him that he can redact any personal /
                                           private information or pictures of the victims or classified
                                           information but he still refused to allow me to see the files.

                                                    At the end of our conversation, I requested a formal written
                                                    answer, and he promised to deliver one.

                                     7.2.6 On November 27, 2013, I sent a reminder letter to Major Elmaliah
                                           and requested once again a formal written answer.62

                                     7.2.7 About two weeks later after a few failed attempts to reach Major
                                           Elmaliah by telephone, and due to the fact that I did not receive
                                           any written answer, I sent another letter, dated December 8, 2013,
                                           to Major Shatal. I informed him about my request and Major
                                           Elmaliah’s oral refusal and insisted that I receive a formal answer
                                           to my request to peruse the police files.63

                                     7.2.8 On January 9, 2014, and having received no response to my other
                                           applications, I sent another reminder to Major Shatal.64

                                                    A few hours after delivering this reminder, I received by fax an
                                                    answer from Major Elmaliah refusing my request.65 The grounds
                                                    for refusal were detailed in sections 2 and 3 to this letter:


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                      A copy of the answer dated November 20, 2013 is attached as Annex 5.
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                      A copy of the request of November 27, 2013 is attached as Annex 6.
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                      A copy of the letter dated December 8, 2013 is attached as Annex 7.
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                      A copy of the reminder letter dated January 9, 2014 is attached as Annex 8.
        65
                      A copy of the answer dated January 9, 2014 is attached as Annex 9.

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                                                     “2. these are sensitive investigation files from investigative and
                                                     security point of view and the files include privacy aspects.

                                                     3. As you are not empowered by one of the involved in the said
                                                     files, and while there is no court decision that enables copying the
                                                     files, and due to the sensitivity of the files as noted, your request is
                                                     not permitted.”

                                     7.2.9 While the Jerusalem district did not permit the perusal or the
                                           copying of the files, my application to the central district appears
                                           to have been, so far, totally ignored by the investigations officer
                                           because I have received no written or oral answer.

                                                    On January 9, 2014, I sent a reminder letter to the central district
                                                    investigations officer with a copy to the officer in charge of
                                                    freedom of information.66

                                     7.2.10 The outcome of all my efforts to peruse and copy the police files
                                            pursuant to the procedures available to ordinary Israeli citizens is
                                            that I have been unable to review any of the police files regarding
                                            the five attacks discussed by Shaked and Alshech. Accordingly, I
                                            have been precluded from comparing the contents of these files to
                                            the documents appended or cited by Shaked and / or Alshech, for
                                            example to determine whether any of Shaked’s and Alshech’s
                                            opinions about the responsibility of Hamas for the attacks at issue
                                            in Neve Yamin are flawed or incomplete, in light of what is
                                            indicated in the police files.

                                                    For example, some of the documents cited by Shaked, such as
                                                    footnote 17 [W_S089727], identify Jibril Jibril as a key player in
                                                    the attack. Jibril Jibril is also mentioned in the military court
                                                    indictment against Tarek Abu Maryam [W_S161576], who is
                                                    described as the recruiter of the individual Shaked claims to be the
                                                    suicide bomber in the Neve Yamin attack, Fadi Amer. Shaked does


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                      A copy of the reminder letter to the central district of the police dated January 9, 2014 is attached
                      as Annex 10.

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                             not mention Jibril Jibril as one of the “principal Hamas members”
                             responsible for this attack.

                      7.2.11The absence of any reference to Jibril Jibril by Shaked when the
                             sources cited by Shaked indicate he was the initiator and the
                             dispatcher of the suicide bomber in the Neve Yamin attack, leads
                             at least to the inference that Shaked did not provide with his report
                             the entirety of the relevant documents he considered for this attack
                             and/or did not fully consider all of those documents in reaching his
                             conclusions.

        7.3   Analysis of the attack in Neve Yamin

              7.3.1   As previously mentioned, on examining the documents cited or appended
                      to the Shaked Report regarding this attack, I noticed that Jibril Jibril,
                      according to Shaked’s sources, was the initiator of the attack and the
                      dispatcher of the suicide bomber to his deadly mission.

              7.3.2   Among the entire documents that I understand were provided by plaintiffs
                      together with the opinions of Shaked and Alshech, I could not find any
                      statement of Jibril Jibril to the police, or any indictment, any verdict, or
                      any sentence delivered by any court, whether military or Israeli, against
                      him.

              7.3.3   Due to the absence of these documents and due to many aspects of
                      Shaked’s analysis of this attack that I found to be inconsistent with
                      Shaked’s methodology regarding other attacks, I cannot agree with
                      Shaked’s conclusion, based on the information he has provided, that
                      Hamas perpetrated this attack.

                      Rather, according to my analysis, which is based on the same documents
                      relied on in the Shaked Report, I believe that there is substantial doubt
                      that Hamas was actually responsible for the attack, and instead may not
                      have been responsible for this attack, but retrospectively “adopted” the
                      credit for it.




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                      7.3.4          Shaked cited a claim of responsibility, translated from Arabic to English,
                                     that was published in what is purported to be a Hamas official website as
                                     follows:

                                     “He carried a bag filled with explosives, approached the military target at
                                     which the operation was directed, and detonated the bomb in the vicinity
                                     of three soldiers stationed at the checkpoint. He killed two of them and
                                     wounded seven.” 67

                      7.3.5          Shaked does not explain how essential details of this claim can be
                                     reconciled with the description of the attack in other sources he relies on,
                                     as follows:



                                         Subject                        Hamas claim    Other sources       References
                                      Location of                      Military        Gas station     FN17 - W_S089727
                                      the attack                       checkpoint
                                      The target                       Soldiers        Students        FN17 - W_S089727


                                      The structure                    A bag filled    Improvised     FN 4,18 - W_S161556
                                      and cover of                     with            bomb hidden in
                                      the bomb                         explosives      an explosive
                                                                                       belt

                      7.3.6          Shaked admits that Hamas published its claim of responsibility on April
                                     12, 2001, two weeks after the attack. According to Shaked, “the Hamas
                                     announcement claimed that the publication had been delayed due to
                                     ‘security reasons.’”68

                                     Even Shaked apparently found this excuse unpersuasive, as he also
                                     attempts to give an alternative excuse for the delay.

                                     According to this alternative excuse, “Hamas delayed taking responsibility
                                     for the attack because of concerns of collective punishment of the


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        67
                      Shaked report p. 2 and footnote 2.
        68
                      Shaked report p. 2 and footnote 4.

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                                     residents of Qalqilya due to the large number of terrorist attacks
                                     emanating from the town at that time.”69



                                     Yet even this alternative explanation is not consistent with Shaked’s final
                                     conclusions about this attack. On page 10 to his report, Shaked stated that:
                                     “Hamas did not attempt to hide its responsibility for the terrorist attack at
                                     Neve Yamin. On the contrary, the suicide bomber and the members of the
                                     cell responsible for the attack enjoyed its respect and admiration.”

                      7.3.7          In my opinion, Shaked does not establish that the real cause for this delay
                                     is the “security reasons” purportedly referenced by Hamas, or the concern
                                     of collective punishment as also proposed by Shaked. Indeed, the
                                     documents suggest that the Hamas commanders “to whom responsibility
                                     for dispatching the suicide bomber for the terrorist attack at Neve Yamin
                                     is ascribed,”70 were not aware of the initiative to carry out the attack, did
                                     not know who was behind it, who would carry it out, what the exact target
                                     was and what means would be used to carry out the attack.

                      7.3.8          Support for the alternative conclusion that Hamas was not responsible for
                                     this attack, and instead merely claimed credit for it, can be found in the
                                     Shaked Report itself and in other sources cited by him as well.

                                     7.3.8.1 The purported ISA report71 states as follows:

                                                    “…The operatives updated Abd al-Rahman Hamad (killed) and
                                                    Raed Hutari, a senior Hamas military operative, with respect to
                                                    the terrorist attack, so that they could take responsibility…”
                                                    [emphasis not in original.]

                                     7.3.8.2 In the verdict of the military court of Beit El found in file 5090/03,
                                             the Military Prosecutor v. Tarek Abu Maryam,72 the court
                                             summarized Nazal’s testimony regarding meetings in the cemetery


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        69
                      Shaked report p. 2.
        70
                      Shaked Report, p. 9 [item regarding Abd al-Rahman Hamad].
        71
                      Shaked Report, p. 7 and footnote 17- W_S089727.
        72
                      See W_S161587.

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                                                    of Qalqilya between Jibril Jibril, the accused, and the heads of the
                                                    Hamas in Qalqilya, and states as follows:

                                                    “Nazal describes in his statement that the heads of Hamas in
                                                    Qalqilya wanted to know who is behind the attack in Neve Yamin.”

                      7.3.9          In the sentence of Tarek Abu Maryam,73 the military court used the term
                                     “Military activist” to describe Jibril Jibril, who is described as the initiator
                                     and the planner of the attack.74

                      7.3.10 Jibril Jibril was a witness in the military trial of Tarek Abu Maryam. As
                             mentioned above, the court identified Jibril Jibril as a “military activist,”
                             and as the planner and initiator of the attack, but the court never stated
                             or mentioned that Jibril Jibril was a Hamas member.

                      7.3.10 According to Shaked and the police explosives expert, the bomb used in
                             the attack was an improvised one, and the explosives were also
                             improvised.75 The use of improvised explosives and of an improvised
                             bomb suggest that this attack could have been a private initiative of Jibril
                             Jibril rather than an organized attack by a terrorist group such as Hamas.

                      7.3.11 All other citations and sources referred to by Shaked as pictures and other
                             publications on the purported Hamas websites are retrospective
                             publications that were done in order to glorify their organization and to
                             enjoy the respect and admiration of the people.

                      7.3.12 As I noted above, Jibril Jibril is described as the initiator and the planner
                             of the attack and was also an essential witness in the sole military trial
                             cited by Shaked to support his conclusion that Hamas was responsible for
                             this attack. Nonetheless, Shaked did not provide his statement to the
                             police, or his testimony before the military court.

                      7.3.13 Instead, Shaked emphasized the role of Selim Hija as one of the principal
                             Hamas members that was responsible for this attack. As I noted in section
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        73
                      See W_S161591 rows 11-12
        74
                      See also the verdict against Tarek Abu Maryam where the military court used the terms “attack
                      planner” to describe the role of Jibril Jibril in this attack. [W_S161583 rows 32-33.]
        75
                      Shaked Report pp.1 and 7. See also W_S161554-66 and W_S161567-72. [FN 18 of his report]

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                                     4.1.2 regarding the source referred to in FN 32 of the Shaked Report, there
                                     is no basis for this statement and there is no indication of any involvement
                                     of Selim Hija in this attack.

                      7.3.14 Shaked also did not cite another claim published on the Fatah movement
                             website, the same day of the attack, naming the name of the suicide
                             bomber without any notice about his organizational affiliation.76

                      7.3.15 Shaked also did not cite what Alshech noted is a message published on the
                             website http://alweehdat.net that attributed the attack to Al Aksa Martyrs
                             Brigades of the Fatah.77

                      7.3.16 Considering the above, and based solely on Shaked’s cited sources, leads
                             to the following conclusions:

                                     x      Hamas published its claim of responsibility 16 days after the attack
                                            occurred.
                                     x      Shaked’s sources do not establish that Hamas perpetrated the attack.
                                     x      Shaked’s sources do not establish that Hamas planned the attack.
                                     x      Shaked’s sources do not establish that Hamas supplied the explosives
                                            for the attack.
                                     x      Shaked’s sources do not establish that Hamas produced the bomb.
                                     x      Shaked’s sources do not establish that Hamas commanders knew who
                                            was behind the attack.
                                     x      Shaked’s sources do not establish that Hamas knew the location of the
                                            attack.
                                     x      Shaked’s sources do not establish that Hamas knew the exact means
                                            used in the attack.
                                     x      Shaked’s sources do not establish that the supposed initiator and
                                            planner of the attack – Jibril Jibril – who the military court identified
                                            as a “military activist” without any stable organizational affiliate, had
                                            any organizational backup.
                                     x      Shaked’s sources do not establish that Jibril Jibril was a Hamas
                                            member.


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                      See Alshech Report page 25 and footnote 70 there.
        77
                      See Alshech Report page 26 and footnote 79 there.

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                      7.3.17 The many indications noted above suggest that Hamas was not responsible
                             for this attack but retrospectively took the credit for it.

                                     Furthermore, I conclude that Shaked had an insufficient basis to state that
                                     Hamas was responsible for this attack, and that if he had followed his own
                                     methodology, he should at least note the reasons supporting the conclusion
                                     that Hamas did not perpetrate this attack.

                      7.3.18 To be complete, I note that the person that was convicted for recruiting the
                             suicide bomber - Tarek Abu Maryam - was also convicted for being a
                             Hamas member. Tarek pled in court that he did not recruit the bomber and
                             he did not know that there was a plan for a suicide bombing. Also, Jibril
                             Jibril testified that he met the suicide bomber in a coffee shop owned by
                             Tarek. The military court stated that both lied in their testimony and
                             credited statements they gave to the police. The conviction by the military
                             court was based on the statement of Jibril Jibril, the accused, and the
                             testimony of another witness named Nasser Nazal, who testified about the
                             meeting in a cemetery in which the Hamas commander requested
                             information about the attack.

                                     Considering all of the above, I believe that this decision of the military
                                     court may be mistaken. Moreover, the court admitted that Jibril Jibril and
                                     the suicide bomber tried to execute an attack but failed to do so, and only
                                     “succeeded” in a second try.

                                     The military court of appeals corrected the sentence and decided that the
                                     two life terms in prison will not be accumulated.78

                                     Even accepting the conclusion of the military court, Shaked’s sources do
                                     not show that Tarek recruited the suicide bomber in his role as a Hamas
                                     member, or pursuant to the order of any Hamas member or commander.
                                     Therefore, I believe that even Tarek’s conviction by the military court,
                                     where it is the sole and only indication of Hamas responsibility, should not
                                     lead to the conclusion that Hamas was responsible for this attack.

        B. Alshech Report

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                      See FN 33 to Shaked Report: W_S161576-582.

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        8.            I address below (a) Alshech’s characterizations of and reliance upon certain of
                      the documents and other materials he identifies in his report as the basis for his
                      conclusions that Hamas’ claims of responsibility for the five attacks he addresses
                      are reliable and credible, and (b) the admissibility under the Evidence Ordinance
                      of Israel of the documents printed or cited by Alshech in his report.79


                      8.1            The second part of the discussion below concerns the admissibility of the
                                     documents said to be taken from various websites, mainly from websites
                                     Alshech attributes to Hamas or from websites of organizations he
                                     describes as claiming to belong or that he characterizes as being controlled
                                     by Hamas, or other online publications or military court documents or
                                     other Israeli publications on which Alshech relies.80

                      8.2            In describing Hamas’ claims on the internet of responsibility for the five
                                     attacks at issue, Alshech elaborately describes websites as a low cost,
                                     efficient and relatively secure medium for Hamas to communicate with its
                                     targeted audiences, i.e. its members, supporters, volunteers, etc.

                                     Alshech also states that Hamas uses this medium for, among other
                                     purposes, dissemination of its ideologies, as an operational platform and
                                     for publishing claims of responsibility for its attacks.

                      8.3            Alshech noted in pages 2-3 to his report that “In this field, we rarely deal
                                     in absolutes, but instead, approach the analysis with the aim of reaching
                                     conclusions with a reasonable degree of certainty that a claim of
                                     responsibility is credible. ” As I discussed above regarding the very same
                                     sources cited or referred by Shaked, and as I will further discuss below,
                                     the degree of certainty that may be sufficient for academic research is not
                                     sufficient as evidence for the truth of the contents of these claims of
                                     responsibility for the purposes of a legal proceeding.


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                      Alshech refers in his report to five attacks: on March 28, 2001 in Neve Yamin, on August 9, 2001
                      in Sbarro Pizzeria in Jerusalem, on December 1, 2001 on Ben Yehuda Street in Jerusalem, on
                      March 7, 2002 in Atzmona and on June 18, 2002 in Egged Bus 32A in Jerusalem.
        80
                      Again, I do not address the admissibility of these documents as appendices to an opinion of a
                      qualified expert.


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                      8.4            The methodology used by Alshech in his report is based, among other
                                     foundations, on working assumptions about the behavior of terrorist
                                     groups and their members. Some of these working assumptions are
                                     incompletely analyzed and not always properly implemented, in a manner
                                     and degree that detract from the credibility of Alshech’s analysis and
                                     conclusions.

                                     8.4.1 As described in footnote 4 to the Alshech Report, the motivation
                                           for executing an attack is not merely ideological, but rather for
                                           achieving other benefits from the attack, such as glory and higher
                                           social status among their people, and financial and other material
                                           support for the perpetrators (if they were arrested alive) and /or for
                                           their families if they did not survive the attack.

                                                    As I will further analyze regarding specific claims of
                                                    responsibility, these motivations may result in false claims of
                                                    responsibility by terror organizations, including by Hamas.

                                     8.4.2 In fact, Alshech explicitly admits that claims of responsibility for a
                                           terrorist attack may not reliably indicate that the party claiming
                                           responsibility actually perpetrated the attack. In particular, he
                                           states that terrorist organizations such as Hamas compete with one
                                           another, and claiming responsibility for an attack can “enhance the
                                           organizations’ prestige and political clout, enable them to attract
                                           and identify new recruits, raise funds, and intimidate Israeli
                                           citizens as well as competitors.”81 Thus, Alshech concedes that a
                                           claim of responsibility may be attributable to one of these
                                           considerations, in which event the making of the claim would not
                                           indicate that the claim is true.

                                     8.4.3 Alshech also relies for the credibility of claims on the existence or
                                           the absence of competing claims of responsibility by other
                                           organizations.

                                                    In my opinion, Alshech had to, but failed to consider in his
                                                    analysis other aspects that are relevant to the absence of competing

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                      See Alshech Report page 40.

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                                                    claims. As an example, when the initiator or the perpetrator of an
                                                    attack is not affiliated with any organization, there is no
                                                    organization that can publish a competent claim of responsibility.
                                                    If Hamas were to claim responsibility for such a “private” attack, it
                                                    is obvious that no serious competing claim of responsibility would
                                                    be expected from any other organization.

                                     8.4.4 Moreover, as I discussed above regarding the Neve Yamin attack,
                                           when an attack is an outcome of a “private initiative,” there is a
                                           motivation of both the initiator / perpetrator and Hamas to take the
                                           credit for the attack. The initiator may wish to be “adopted” by an
                                           organization that will support him and his family if he will be
                                           exposed and incarcerated by the Israeli authorities, and there is
                                           motivation for the organization’s local field commanders to take
                                           over and claim the credit for the attack in order to glorify
                                           themselves and to enhance their position in the organization.

                                     8.4.5 Alshech further states that because of security or political reasons,
                                           Palestinian organizations do not tend to take responsibility for
                                           attacks that they did not commit.82

                                                    As I discussed in my Rebuttal Report regarding Evan Kohlmann’s
                                                    report, which raised the very same argument, this assumption
                                                    works both ways, and sometimes the competent organization that
                                                    perpetrated the attack could not deny or contradict the Hamas
                                                    claim of responsibility because of political reasons.

                                                    Unlike organizations affiliated with the Fatah, which is the most
                                                    important entity of the Palestinian Authority, Hamas gains its
                                                    power among Palestinians by claiming and publishing its “heroic”
                                                    operations against the Zionist regime.

                                                    It should be noted that, during the time period of the five attacks,
                                                    the Hamas military wing was an underground organization and its
                                                    members were hiding themselves and their activity from both
                                                    Israeli security forces and the Palestinian Authority security

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                      See Alshech Report page 9.

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                                                    services. Every collective punishment against the Palestinian
                                                    population fell under the responsibility of the P.A. Moreover,
                                                    Hamas was not concerned about such retaliations and, to the
                                                    contrary, it gained more points among the population in its
                                                    competition against the Fatah and the P.A. and glorified itself as
                                                    the only organization that could challenge the Israeli forces. Thus,
                                                    Hamas had the interest, the incentive and the opportunity to claim
                                                    responsibility for attacks it did not commit, especially when other
                                                    organizations who actually perpetrated the attacks could not do so.

                                                    Today, Hamas behaves in Gaza exactly as the P.A. behaved in the
                                                    West Bank during 2000-2005. Hamas is the de facto governor of
                                                    the Gaza Strip, and in that capacity, it is more concerned about the
                                                    retaliation of Israel for the rocket attacks from Gaza to Israel.
                                                    Therefore, it does not take responsibility for these attacks and lets
                                                    extremist organizations do so.

                                     8.4.6 The validity of Alshech’s opinions is also questionable because all
                                           five of the attacks at issue were committed during the years 2001
                                           and 2002, yet Alshech states that his research is focused mainly on
                                           the use of internet by terrorist groups after 2004.83




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                      See footnote 161 to the Alshech Report in which he stated as follows: “As I stated in my report in
                      Gill at p. 42 n.107, my professional research addressed specifically the terrorists’ use of Internet
                      and other media after 2004. In my capacity as director of the Jihad and Terrorism Studies Project,
                      I studied the general use of the Internet by various Jihad organizations including Hamas, PIJ and
                      al-Qaeda, mainly from around the year 2004 and afterward.”

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        9.            The sources cited or referred by Alshech

                      9.1            In the last paragraph of page 4 of his report, Alshech defines the sources
                                     he relies on as (a) “primary sources,” including “material produced by
                                     terrorists and their sympathizers and published on terrorist organizations’
                                     own websites, including articles, communiqués, films, chat texts, and
                                     ‘semi-religious texts’ (such as spiritual wills and biographies of deceased
                                     terrorists). Web content posted by the administrators of a terrorist website
                                     is a primary source,” and (b) “secondary sources,” including “sources
                                     which discuss the primary sources, such as published studies, news items,
                                     official government reports, and interviews conducted by known media
                                     agencies.”

                      9.2            The “primary sources” on which Alshech relies, such as the websites said
                                     to be controlled or affiliated with Hamas, are the same type of sources
                                     cited and referred to by Shaked and, in some cases , they are even
                                     identical.

                                     Alshech ’s “secondary sources” are also of the same type used by Shaked.
                                     Alshech refers to these as sources that, in his view, corroborate the
                                     credibility of the primary sources. Among these sources are military
                                     indictments, military verdicts and sentences, news items posted in various
                                     online newspapers, announcements posted in the MFA or PMO websites,
                                     ISA reports and scholars’ articles, including an article written by Alshech
                                     to which I will refer below.84

        10.           Analysis of the documents pursuant to the Evidence Ordinance85:

                      10.1           I have considered whether the information disseminated by means of these
                                     websites, such as claims of responsibility for perpetrating certain attacks
                                     and personal “wills,” are credible to such a degree that they may be
                                     admissible in court proceedings against a third party as evidence of the
                                     truth of their contents, without investigating or probing into the persons
                                     who compiled said information and / or who administers these websites
                                     and / or who collected said information, and what should be the

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                      E. Alshech / Die Welt des Islams 48 (2008) 23-49.
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                      See footnote 1 above.

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                                     framework within which documents and information from said websites
                                     may, if at all, be submitted as evidence in court.

                      10.2           As I noted in section 5.2.3.5 above, Alshech himself argued in his article
                                     about martyrdom that the content of the so -called personal recorded wills
                                     is manipulated, edited and reconfigured to such a degree that Alshech
                                     stated he relies on these documents only for studying the ideology of
                                     Hamas and he did not use these documents “ to learn about the ণamas
                                     martyrs’ actual lives, beliefs, and deaths.”86

                      10.3           All of the “primary sources” and “secondary sources” on which Alshech
                                     relies constitute hearsay. The legal issue in question is whether these
                                     sources should be considered as a legal proof of certain facts. In my
                                     opinion, based on the Evidence Ordinance and the case law of Israel, the
                                     answer is no.

                      10.4           In accordance with Israeli law, printed web pages are classified as
                                     “computer output” as defined in the Computers Law.87 Therefore my
                                     conclusions below relate to all computer outputs on which Alshech relies.

                      10.5           According to Section 36 of the Evidence Ordinance,88 computer output
                                     may be regarded as an “ institutional record,” the admissibility of which is
                                     conditional on several cumulative criteria stipulated in the Evidence
                                     Ordinance. This I have detailed in my Primary Expert Opinion and in
                                     Chapter A of this report above, especially regarding the Shaked Report.

                                     For the sake of convenience I am listing here the essence of the
                                     admissibility conditions of a computer output as an institutional record,
                                     according to the Evidence Ordinance, as follows:

                                     The basic conditions for admissibility of an institutional record are:

                                            (a) The first condition is that, in the course of its
                                                regular conduct, the institution enters a record of the
                                                event that is the subject of the document “proximate
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                      E. Alshech / Die Welt des Islams 48 (2008) 31, n.18.
        87
                      The Computers Law, 5755 – 1995.
        88
                      The Evidence Ordinance [New Version] 5731-1971. Section 36.

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                                                    to its occurrence” (Section 36 (a) (1) of the
                                                    Ordinance).

                                            (b) The second condition is that “the method of
                                                collection of data on the subject of the record and
                                                the record’s editing attest to the truth of its content”
                                                (Section 36 (a) (2) of the Ordinance).

                                     When the record is a computer output, the following must also be proven:

                                            (c) The method of generating the record attests to its
                                                credibility (Section 36 (a) (3) (a) of the Ordinance).

                                            (d) The institution regularly employs reasonable
                                                security measures to protect against an infiltration
                                                to the content of the computer materials and from
                                                failures in the computer’s operation. (Section 36 (a)
                                                (3) (b) of the Ordinance).

                                     A party that wishes to submit the abovementioned documents as
                                     institutional records must prove that they fulfill all these conditions, and
                                     this proof must be provided by sworn testimony by a witness who is
                                     competent to provide this proof.89

                                     The said conditions are aggregate conditions that require proof by an
                                     expert on the matter of computerized security systems and by a person that
                                     may attest to the actual entry of the record.90

                      10.6           The computer outputs on which Alshech founds his opinion, which
                                     include web pages from websites he states belong to entities which are
                                     claimed to be part of Hamas and / or organizations affiliated and / or
                                     subordinated to and / or controlled by Hamas, do not fulfill the
                                     requirements stated above and court judgments with regard to such
                                     documents being admissible in court as evidence, and certainly not as
                                     proof to the truth of their contents, against a third party, such as Crédit
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                      Dr. Kedmi, 2nd Part, p. 985.
        90
                      Civil Case (Magistrates Tel-Aviv) 45464-04, the inheritance of the late Taher Muhamed Zaid v.
                      The State of Israel; a decision from 19 May, 2009.

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                                     Lyonnais, which I understand has no connection to the organization and /
                                     or the source of the information of which these documents have been
                                     compiled and / or to the contents of these documents.

                      10.7           Alshech states on page 8 of his report that Hamas operates multiple
                                     websites, and it has often changed the location of its ISP providers and of
                                     its servers from one country to another, and also that Hamas migrated
                                     from certain iterations of its domain names.

                                     Unlike Kohlmann before him, Alshech does not emphasize how, over the
                                     years, these websites collapsed and / or were attacked and disappeared
                                     offline, and how they were revived and uploaded a considerable number of
                                     times and again, every time under another name and another URL.

                                     Instead, he merely states that Hamas took these measures in order to
                                     ensure its presence on the internet and to enhance its chances to survive
                                     cyber-attacks against its websites by governmental and private agencies.

                      10.8           Alshech’s statements indicate the insufficient level of security that is
                                     characteristic of these websites, their level of being prone to infiltration
                                     and their exposure to being influenced and / or having their contents be
                                     altered by third parties. Furthermore, Alshech admits that Hamas itself
                                     used to reconfigure and edit the personal “wills” and used them as a tool
                                     for disseminating its propaganda among the Palestinian people and among
                                     the Muslims around the world, in a manner that one cannot rely on their
                                     contents, etc.91

                      10.9           The insufficient level of security is aggravated by the fact (which Alshech
                                     has also pointed out) that terrorist organizations, including Hamas, make
                                     extensive use of various media of communication, including the internet,
                                     for multiple purposes, to such an extent that it is not possible to
                                     differentiate between the true and the false data provided in those mass
                                     communication media.

                                     This issue assumes enhanced significance when such differentiation
                                     between true and false information is considered for the purpose of

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                      See E. Alshech / Die Welt des Islams 48 (2008) 28, 30.

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                                     qualifying publications quoted from sources said to be managed and
                                     controlled by terrorist groups as “institutional records.”

                                     It bears emphasis that such status is granted by law and case law to vastly
                                     more reliable sources of information, such as banks, universities and other
                                     institutional websites for admission as evidence, and even then, the party
                                     that wishes to submit such records must satisfy the aggregate conditions
                                     required by the Evidence Ordinance.

                      10.10 As I have addressed above, in order to submit a computer output as an
                            institutional record, it is also necessary to prove through a witness who is
                            expert in the field of computerized systems security that the ”institution”
                            (as far as a terrorist organization could be defined for this purpose as an
                            “institution”) maintains computerized information security at such a level
                            as to justify trusting its contents.

                                     To the best of my knowledge, no such testimony has been brought forth
                                     and Alshech cannot serve as such a witness because, to my knowledge, he
                                     has no personal acquaintance with these systems and their procedures.

                      10.11 Furthermore, the objectives of terrorist organizations, which include
                             dissemination of propaganda via communication-media including
                             websites, do not correspond to, and instead would appear to contradict the
                             second condition stated in Section 36 (a) (1) of the Evidence Ordinance
                             for admission of computer output as institutional records, because in view
                             of the objectives of these organizations one could not show that “the
                             method of collection of data on the subject of the record and the record’s
                             editing attest to the truth of its content.” As noted above, this assumption
                             is supported by Alshech’s own analysis.

                      10.12 For these reasons, as discussed above, the Tel Aviv Magistrate’s Court in
                            the case of Taher Muhamed Zaid against the State of Israel92 rejected an
                            application by the State of Israel to submit a computer output from a
                            Hamas website as an institutional record by means of a civil servant
                            certificate, stating, among other things, as follows:
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                      Civil Case (Magistrates Tel-Aviv) 45464-04, the inheritance of the late Taher Muhamed Zaid v.
                      The State of Israel; a decision from 19 May, 2009.


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                                     “I am of the same opinion as the plaintiffs in this matter – the translation
                                     of information that allegedly appeared on the Hamas movement website is
                                     not tantamount to ‘something that is recorded in an official document,’
                                     and therefore this certificate shall not be deemed a civil servant certificate
                                     in its definition in the Evidence Ordinance.”

                                     And:

                                     “Since the printout that appears on the website is tantamount to hearsay
                                     evidence, it must be submitted by a witness that may confirm its content
                                     and be subjected to a cross-examination in its regard. In our case, the
                                     correct manner of filing the printout is by a witness that may confirm the
                                     content of the notice, i.e.: the person publishing the notice or the editor of
                                     the website on which the notice had been published. The actual printout is
                                     tantamount to hearsay evidence and is inadmissible as evidence.”

                      10.13 My conclusion that these sources of information are inadmissible in
                            evidence for the truth of their content is even stronger regarding any
                            intention of the plaintiffs to use the information published in these
                            computer outputs to prove “information specific to a date or a narrow and
                            defined event” – specifically, the responsibility of Hamas for certain
                            attacks on specific dates and places – and not to prove merely general
                            information of an administrative nature of an institution, or an authority
                            that publishes such information on the internet.

                                     The courts in Israel have made an important differentiation as to the
                                     character of the information to be proven by a computer output. The case
                                     law in this regard, such as the case of Kavei Zahav93, and the ruling in the
                                     Taher Zaid case, which specifically refers to a Hamas website, state that
                                     the more the information to be proven is specific as to the time and place
                                     of an event, the more the party seeking to submit these computer outputs is
                                     required to corroborate them with appropriate testimony. “The mere
                                     presentation of the records or the computer output is insufficient, as they
                                     must be presented by appropriate witnesses that shall confirm by affidavit
                                     the fulfillment of the conditions required for their presentation pursuant to

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                      Civil Case (Tel-Aviv) 731916/03 Kavei Zahav Ltd. 012 v. Gez Eliyahu Phili, published in NEVO.

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                                  the Evidence Ordinance - conditions that have been detailed
                                  hereinabove.”94

                   10.14 In sum, all of the “primary sources” that are pages cited or printed from
                         websites said to be owned, managed, controlled or affiliated with Hamas
                         and on which Alshech relies are “computer outputs” which, according to
                         the Evidence Ordinance , must fulfill the aggregate conditions stated in
                         Section 36 of the Ordinance. As I conclude above, these documents do
                         not satisfy at least two of the aggregate conditions: there is no competent
                         witness who can testify and be cross - examined on the matter of the
                         security measures and procedures used in these websites against
                         penetration and against manipulation of the content of their database.
                         These conditions are much more relevant when we deal with pages printed
                         or cited from websites that are managed or controlled by terrorist groups
                         such as Hamas, for which the truth is not one of their foundation stones.

                   10.15 Further, in order to define the credibility and the reliability of the Hamas
                         claims, Alshech referred to “secondary sources” as purportedly providing
                         corroboration for the information he states was placed by Hamas on its
                         websites. Alshech’s comparison between the primary sources and the
                         secondary sources is one of the main indicators presented by Alshech for
                         the conclusion that the Hamas claims for responsibility for these five
                         attacks at issue are credible.

                                  As I have amply analyzed above, all these type of documents that Alshech
                                  defines as corroborative are all inadmissible as evidence to the truth of
                                  their content:

                                  10.15.1 The IDF spokesman press release [footnote 114, marked also
                                         as ALSHECH001004] and the spokesman announcements and
                                         other publications on the Israeli Foreign Ministry’s and Prime
                                         Minister’s websites, particularly the announcements that cite
                                         Hamas claims of responsibility for attacks, are considered
                                         inadmissible hearsay evidence, on several grounds:


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                   Civil Case (Tel-Aviv) 731916/03 Kavei Zahav Ltd. 012 v. Gez Eliyahu Phili, published in NEVO


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                                                        a. They do not satisfy the requirements of the
                                                           Evidence Ordinance and of the case law to
                                                           be recognized as institutional records.

                                                        b. They cannot be submitted without
                                                           supporting testimony of a witness on behalf
                                                           of the entity who can testify and be
                                                           examined about his testimony with regard to
                                                           the manner in which said documents were
                                                           compiled and to the means of security
                                                           maintained at this entity.


                              10.15.2 The ISA report “Summary of four years of struggle” [footnotes 185
                                       and 207 of Alshech report] contains statistical information
                                       regarding many aspects of terrorist attacks in the years 2000-2004.
                                       Another ISA report cited by Alshech in footnotes 112 and 113 to
                                       his report, is a document that summarized 4.5 years of struggle,
                                       focusing on suicide bombing attacks. This source is identical to the
                                       source referred by Shaked in footnotes 17, 75, 155 and 222 to his
                                       report.

                                                 All the details of these documents are results of the ISA
                                                 investigations and interrogation of suspects for their
                                                 involvement in the attacks.

                                                 I have analyzed these specific documents in my Rebuttal Report
                                                 and in section 1.2.2 above and concluded that they are
                                                 inadmissible in evidence for the truth of their contents.95

                                  10.15.3 The military court indictments cited by Alshech96 are
                                         inadmissible because they are a type of document that was
                                         prepared by an “investigative authority” for the purpose of its
                                         filing as evidence in a criminal case, which according to
                                         Section 36(c) of the Evidence Ordinance, as detailed above, is
                                         inadmissible as an institutional record.
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                   See the detailed analysis in chapter 1.2 of my Rebuttal Report.
     96
                   The military court indictment V. Abdallah Barghthi – Roth00350-392 [Fn115]; The military court
                   indictment V. Fahmi Eid Ramadan Mashara - W_S156822-24. [FN 148]

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                                     10.15.4 The verdicts cited by Alshech97 are verdicts delivered in
                                            criminal proceedings by military courts in the Occupied
                                            Territories and therefore are inadmissible as evidence of their
                                            contents pursuant to Section 42A of the Evidence Ordinance.98

                            10.15.5 The sentences cited by Alshech99 are considered findings and
                                    conclusions in sentences that were delivered in a criminal
                                    procedure of any given court, be it in Israel or in a military
                                    court in the Occupied Territories and therefore are inadmissible
                                    as evidence of their contents pursuant to Section 42A of the
                                    Evidence Ordinance.100
                      10.16 Therefore, the supposedly corroborative “secondary sources” do not afford
                            the “primary sources” more legal validity and / or credibility, because a
                            citation of a hearsay or other inadmissible source such as indictments,
                            verdicts and sentences delivered by military courts in the Occupied
                            Territories, cannot serve as a proof of the “primary source” hearsay, and
                            certainly not as evidence of the truth of the content of the “primary
                            source” hearsay.

        11.           The conclusions of Alshech regarding the Neve Yamin attack

                      11.1           In pages 25-26 in his report, Alshech summarized his analysis about the
                                     attack of March 28, 2001 in Neve Yamin and concluded that “Hamas’s
                                     claim of responsibility was both authentic and highly credible.”
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                      The military court of appeals verdict in appeal 1648/04 V. Tarek Abu Maryam – W_S161576-82
                      [FN 76];The Bei El military court verdict in case 3380/03 V. Abdallah Barghuthi - W_S085594
                      [FN 94, 97, 115] ; The Beit El military court verdict in case 3452/02 V. Bilal Yaacob Ahmad
                      Barghuthi - W_S158608-610[FN 96] ; the Judea military court verdict in case 3807/02 V. Fahmi
                      Eid Ramadan Mashara - W_S156746-50. [FN 145]
        98
                      See chapter 3.3 of the Primary Expert Opinion and my findings there.
        99
                      The Judea military court sentence in case no. 3580/03 V. Samer abed elSamia Ahmad al Atrash –
                      W_S087793-95 [FN 195]; The Judea military court sentence in case 3807/02 V. Fahmi Eid
                      Ramadan Mashara – W_S156740 [FN 145, 148, 149]; The Judea military court sentence in case
                      3380/03 V. Abdallah Barghuthi – ROTH00396-403 [FN 94, 97, 115]; The Judea military
                      sentence court in case 4646/03 V. Ibrahim Hamed – W_S163219-22 [FN114]; The Bei El military
                      court sentence in case 3452/02 V. Bilal Yaacob Ahmad Barghuthi - W_S158611-613 [FN 96];
                      The Beit El military court sentence in case 42575/01 V. Muhamad Waeel Muhamad Daglas –
                      W_S085572-74 [FN 95] and the sentence delivered by the Haifa District court in Criminal case
                      189/03 regarding Munir Rajbi [marked as ALSHECH001318-324].
        100
                      Section 42a (b) (2) and my conclusion in Section 3.7 of the Primary Expert Opinion.

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                      11.2           In my opinion, according to Alshech’s methodology and the indicators
                                     described in the report, he could not logically and competently reach the
                                     above conclusion.

                      11.3           Alshech argued that “It likewise is important to consider the proximity in
                                     time between the attack and the issuance of the claim of responsibility. A
                                     claim of responsibility that describes an attack and contains accurate and
                                     detailed information about that attack, and which is posted online very
                                     soon after an attack occurs, is often seen as more credible than one posted
                                     later, after details of the attack have been published by other sources, but
                                     there are also delayed claims that may be found credible for other
                                     reasons.”101

                                     11.3.1 The claim of responsibility for this attack, was published by
                                            Hamas on April 12, 2001, sixteen days after the attack, and not a
                                            “few days” as noted by Alshech.102 Unlike Shaked, Alshech did
                                            not provide or propose any excuse for the delay of publication.
                                            According to his methodology, this factor – the delayed
                                            publication - underscores the claim’s lack of credibility and he
                                            does not propose any “other reasons” that make this late claim
                                            more credible.

                                     11.3.2 As I noted regarding the Shaked Report, the Hamas claim of
                                            responsibility, even though it was delayed more than two weeks,
                                            also contained inaccurate information regarding the target, the
                                            exact location of the attack, the means used by the bomber, the
                                            structure of the bomb and more.

                                                    All these indicators should be considered by Alshech according to
                                                    his methodology, but he disregarded them.

                                     11.3.3 According to Alshech, a website affiliated with the Fatah
                                            movement was the first to publish the suicide bomber’s name on


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        101
                      Alshech Report page 5.
        102
                      Alshech Report page 25.

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                                                    the same day of the attack, but did not specify his organizational
                                                    affiliation , if any103 [Shaked did not mention this source].

                                                    The content of this message is consistent with the findings of the
                                                    military court that no one, including those who are purported to be
                                                    the Hamas commanders in Qalqilya, knew who was behind the
                                                    attack.

                                                    As I will detail below, Alshech also disregarded the military court
                                                    documents regarding the conviction of Tarek Abu Maryam and
                                                    therefore did not consider the facts they contain.

                      11.4           As a legal corroborative document, Alshech referred to the ruling of the
                                     military court of appeals in the Occupied Territories, in the appeal of
                                     Tarek Abu Maryam104 from his conviction and sentence delivered by the
                                     Beit El military court105.

                                     But Alshech disregarded the findings of the Beit El military court
                                     regarding the circumstances of the attack. Alshech does not mention at all
                                     the person – Jibril Jibril - who according to the corroborative military
                                     court documents was the initiator of the attack, the producer of the bomb
                                     and the dispatcher of the suicide bomber to his mission. Alshech
                                     particularly disregarded the military court finding that Jibril was a
                                     “military activist” and not a member of Hamas.

                                     Furthermore, the ruling of the military court of appeals on which Alshech
                                     relied stated regarding the appellant Tarek Abu Maryam as follows:

                                     “…it could not be any argument that the appellant did not view the attack
                                     as ‘his offence ’ because certainly he was not involved in the planning
                                     process, certainly he was not aware of any of the performance details”106




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        103
                      See Alshech Report page 25.
        104
                      See Alshech footnote 76 - W_S161576-582.
        105
                      W_S161584.
        106
                      See W_S161581.

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                                     It should be noted that, based on this conclusion, the military court of
                                     appeals reduced the sentence against Tarek Abu Maryam and ruled that
                                     his two life sentences will be served as concurrent sentences.

                                     These factual findings shows that even Abu Marayam, the only convicted
                                     person who was identified by Shaked and Alshech as a Hamas member,
                                     did not know the details of the attack and did not play any role in its
                                     planning.



                      11.5           Alshech also disregarded one of the main findings of the Abu Maryam
                                     criminal case before the military court, that the Hamas commanders in
                                     Qalqilya did not know who was responsible for the attack and they first
                                     received the details days after the attack, through the “military activist”
                                     initiator, Jibril.

                      11.6           Instead, Alshech elaborately detailed the number of publications made by
                                     Hamas and /or the Iz al-din Al Qassam Brigades on the various websites,
                                     including many details about Fadi Amer, the suicide bomber.

                                     It is evident from the text of Alshech’s report and its footnotes that all
                                     these publications have been prepared long, even years, after the attack,
                                     and thus merely show that they were published, but certainly not that their
                                     contents are accurate.

                      11.7           As I noted above, the fact that no competing claim for responsibility has
                                     been made by other organizations is not and could not establish the
                                     credibility of the claim made by Hamas. When the attack is a result of
                                     private initiative – such as in this case – there is no competent
                                     organization that could claim responsibility.

                      11.8           Alshech stated that Palestinian terrorist groups are often eager to quickly
                                     disseminate biographical data on those whom they perceive to be heroes
                                     and martyrs who have died in the service of their cause.107 It is evident
                                     that, in this case, Hamas did not behave according to this assumption and
                                     instead published its claim more than two weeks later and only after

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                      See Alshech Report page 4.

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                                     receiving the details from the real initiator of the attack, who, according to
                                     the documents provided by Alshech and Shaked, was not declared or
                                     identified as a member of Hamas.
                      11.9           Alshech did not consider the possibility of private / individual initiative to
                                     commit the attack. Alshech also disregarded the local commanders’
                                     motivation to enhance their status and position in the organization by
                                     taking responsibility for attacks for which there is no other competent
                                     claim, and did not consider the credibility of claims that are made when
                                     the real responsible organization is unable to take responsibility or even
                                     publish a denial of responsibility because of political reasons.108

                      11.10 Moreover, Alshech did not even accurately apply his own methodology to
                            the factual findings and the circumstances that derive from the documents
                            on which he relied regarding the Neve Yamin attack. As described above,
                            Alshech disregarded the major part of Jibril Jibril in this attack and the
                            fact that there is no evidence that he was a Hamas member.

                      11.11 Thus, according to the documents provided by Shaked and Alshech, they
                            have not provided a reliable factual basis for concluding that the March
                            28, 2001 attack was perpetrated by Hamas.

        12.           Summary
                      The corroborative sources for Alshech’s conclusions, such as the Israeli Foreign
                      Ministry website publications, or the Prime Minister Office website publications
                      or other online newspapers, are merely citing the publications of the “supported”
                      websites. As I concluded above, one hearsay source cannot serve as a support of
                      another hearsay source, especially not for the objective of proving the truth of the
                      contents published in the “supported” sources.


        C.            Authentication of Legal documents for use outside Israel




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                      See section 1.14 in page 114 of my Rebuttal Report regarding the claim for responsibility for the
                      January 29, 2004 attack in bus 19 in Jerusalem, where I concluded that the Hamas claim was false
                      and was enabled due to the difficulty of the Al Aksa Martyrs Brigades to make such a claim
                      because of political reasons.


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        13.   I address below the authentication method that was employed for some of the
              military court documents cited or referred to by Shaked and Alshech in their
              reports.

              13.1   Authentication of documents is often required for several legal and
                     administrative purposes; the authentication requirements procedures are
                     expressed in legislation as well as in the case law.

              13.2   I refer to the analysis on pages 94-104 of my Rebuttal Report regarding
                     the authentication procedures of several types of documents, particularly
                     of public certificates and institutional records. None of the documents
                     Shaked and Alshech cite in their reports are authenticated by any of the
                     methods discussed in pages 94-104 of my Rebuttal Report.

              13.3   I provide the following additional analysis regarding the specific new
                     supposedly “authenticated” documents that were cited or referred to by
                     Shaked and Alshech.

              13.4   For the essence of this analysis I prepared a detailed table in which I
                     identify and define the nature of the documents, the entity that delivered
                     them, the accused’s name where it is relevant, and the purported
                     authentication method. The table is attached as Annex B to this report.

              13.5   The only documents that are purported to be authenticated are some of the
                     military court verdicts and sentences. These documents are marked with
                     different production numbers, and in some instances Shaked and Alshech
                     referred to a version of the document [according to its production number]
                     that does not bear any symbol of authentication.

                     I do not discuss the legal effect of referring to a non-authenticated version
                     of a document where there is another version that is purported to be
                     authenticated, and for the purpose of this analysis I considered that the
                     reference is to the supposedly “authenticated” version of the document.

        14.   Authentication of Documents in the West Bank

              The procedure for certifying signatures and documents in the West Bank (the
              “Zone”) is stated in Decree 264 of the military governor. The original, Decree




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                      167, was enacted in 1967 and was amended in 1991 by Decree 264 (amendment
                      1346).109

                      14.1                         Article 1 of Decree 264 defines the special terms mentioned in it:

                                                   “Other Zone” – a zone held by the IDF which is not the Zone.

                                                    “The Supervisor” – whoever was appointed by me as the
                                                    supervisor for the purpose of this decree.

                                                    “Authentication Action” – authentication of signatures and seals on
                                                    documents.

                                                    “Certification Action” – including the following actions:

                                                           1. Certification of correctness of document copies.

                                                           2. Certification of correctness of document translations.

                                                           3. (items 3 to 5 are not relevant)

                                                    “Authentication and Certification Action” – an action of
                                                    authentication or an action of certification.

                      14. 2          Article 2 of Decree 264 states as follows:

                                     a.             “The Supervisor may, upon request of an interested party, and after
                                                    it is proven before him that there is justification for such, execute
                                                    in the Zone an Authentication Action which is designated to be
                                                    used outside the Zone.

                                     b.             Without derogating from the statement in section a, anyone that is
                                                    authorized within his authority and his role according to law or
                                                    security legislation is entitled to execute an Authentication and
                                                    Certification Action regarding documents which are designated for
                                                    use outside the Zone, but this action will be valid only after his
                                                    signature or his seal was certified by the supervisor.”

                      14.3           Article 3 of Decree 264 (amendment 1346) states as follows:


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                      See Annex 11 to this report.

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                    “An Authentication and Certification Action, executed according to the
                    law of Israel, or executed in the Zone or in an Other Zone by one who is
                    authorized to do it in the established method of execution of
                    Authentication and Certification Actions according to the binding law in
                    Israel, or executed in another Zone according to law or the security
                    legislation of that zone, will be lawful in the same manner as if was done
                    in the Zone by one who was authorized to do it in the Zone.”

             14.4   Article 7 of Decree 264 states as follows:

                       a. “An action which is executed by the Supervisor according to this
                          decree will not serve as proof that the signature or the seal has
                          been signed or sealed pursuant to the role, and within the scope of
                          authority of the signatory.

                       b. The full meaning of an Authentication Action, executed by the
                          Supervisor, will be only that the signature or the seal that exists on
                          the document, is the signature or the seal of the person or the
                          authority that signed or sealed it.

                       c. The full meaning of a signature certification of the Supervisor will
                          be but one – that the document was brought before the Supervisor
                          and certified by him for the purpose of Article 4.”

             14.5   Article 8 of Decree 264 states as follows:

                           “As a condition to the execution of an action according to this
                           decree, the Supervisor may:

                       a. Demand the payment of a fee in the sum that will be decided from
                          time to time by the Supervisor in an order that will be publically
                          announced according to any procedure that he shall see fit.

                       b. Demand the production of a copy or photocopy of any document
                          that he is requested to authenticate or certify, and a proof that a
                          copy or a photocopy of the said document is in custody of any
                          authority, in accordance with law or security legislation.”

             14.6   Interpretation of Decree 264:



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                                     14.6.1 According to Decree 264, any document from the Zone [the West
                                            Bank] that is designated for use outside the Zone should be
                                            brought before the “Supervisor” in order to authenticate or certify
                                            the signature and the seal of the “authorized person” by Law that
                                            certified the document.

                                                    Shaked and Alshech did not provide any information about the
                                                    identity and / or the role of the “Supervisor” or of the “authorized
                                                    person.” Further, they did not provide the legal basis of the
                                                    purported authorization of the persons that put their seals or
                                                    signatures on the rulings to certify or authenticate them.

                                                    My independent attempts to locate such legal sources did not bear
                                                    any results. Therefore there is no possibility to verify if the seals
                                                    and / or the signatures that exist on the documents listed in Annex
                                                    B are seals and signatures of the “Supervisor” or of the
                                                    “authorized person.”

                                     14.6.2 It might be argued that Article 3 of Decree 264 states an alternative
                                            procedure to the procedure stated in Article 2, of authentication
                                            and certification of documents that were produced in the West
                                            Bank.

                                                    According to this interpretation, it is possible to authenticate the
                                                    rulings rendered by military courts in the West Bank “in the way of
                                                    authentication and certification according to the binding law in
                                                    Israel.”

                                                    As I discuss below, the authentication and certification of judicial
                                                    rulings that are designated to be used abroad is to be done
                                                    according to the regulations for the implementation of the Hague
                                                    Convention.110

        15.           Apostil

                      The regulations for the implementation of the Hague Convention abolished the
                      necessity to authenticate public documents originating in member countries of the

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                      Regulations for the implementation of the Hague Convention (abolition of authentication of
                      foreign public documents) 5737-1977.

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                      convention through diplomatic or consular authentication, and state as an
                      alternative for authentication of a “document according to the convention”
                      [Apostil], which certifies the authentication of the document, of its signatures, and
                      of the document seal.

                      Regulation 5 (a) of the Regulations of the Hague Convention determines who is
                      entitled to authenticate documents for the purposes of the convention:

                      “(a) Ministry of Foreign Affairs, registrar in the Magistrate’s Court or civil
                      servant appointed by the Minister of Justice according to Article 45 in Notary
                      Law -1976, will be –each of them– the competent authority to issue in Israel
                      certificates according to the Convention.”

                      As the documents provided bear an Apostil of the Ministry of Foreign Affairs, the
                      analysis below will be concentrated on the procedure of authentication by the
                      Ministry of Foreign Affairs.

        16.           Apostil by the Ministry of Foreign Affairs

                      16.1           The binding procedure for authentication111 of Rulings and Judgments of
                                     the Judicial Courts by the MFA, is detailed in the instructions that are
                                     published by the MFA on its website.112

                                     According to the first paragraph of the instructions: “The branch is
                                     responsible for certifying only Israeli public documents which were
                                     issued by government authorities and ministries in the State of
                                     Israel.”

                                     The procedure is described as follows:

                                     “One must follow the certification procedure as follows:

                                     Documents for certification:
                                     1. Population Registry documents
                                     2. Marriage or Divorce documents
                                     3. Academic and Matriculation documents
                                     4. Medical Doctors Accreditation documents
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                      The MFA uses the term “certification” instead of “authentication.” To my best knowledge and
                      according to the context, these terms have the same meaning in Hebrew.
        112
                      See: http://mfa.gov.il/MFA/ConsularServices/Pages/PublicDocumentsEng.aspx. Attached also as
                      Annex 12

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                    5. Certificates of Good Character
                    6. Notarized documents
                    7. Writs of inheritance
                    8. Court rulings”

             16.2   The procedure for certifying Court rulings is described in Item 8 of the
                    procedure as follows:

                    “8. Rulings and Judgments of the Judicial Courts (but not of
                    Tribunals*):

                    A.     Photocopy of the ruling or judgment in its entirety.

                    B.     Authoritative seal of the Judicial Court where the ruling or
                           judgment was rendered.

                    C.     Signature and Seal of the Chief Secretary or Deputy Chief
                           Secretary of the Judicial Court where the ruling or judgment was
                           rendered.

                    D.     Signature and Seal of the Registrar of the Supreme Court or the
                           deputy director of the Judicial Courts that certify items B and C
                           above.”

             16.3   The “authenticated” documents provided by Shaked and Alshech do not
                    meet the substantive conditions stipulated in the MFA authentication
                    procedure and, particularly in sections 8B – 8D of it, for the following
                    reasons:

                    16.3.1 The rulings were not issued by “by government authorities and
                           ministries in the State of Israel.”

                           As stated in my Primary Expert Report, the military courts in the
                           Occupied Territories are not considered as Israeli authorities, and
                           not a part of the “Israeli Judicial Courts” because their powers and
                           authority derive from a decree of the military commander of the
                           Occupied Territories in his capacity as the Governor, and not from
                           the legislation of the Knesset.

                    16.3.2 Condition B requires the seal of the Judicial Court where the
                           ruling was rendered.

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                                                    Except for the ruling rendered by the Military Court of Appeals
                                                    [marked as W_S161576-582] which I will discuss separately, all
                                                    other rulings do not meet this condition because they bear the seal
                                                    of the Military Court of Appeals and not of the Judicial Court
                                                    where the ruling or judgment was rendered.113

                                     16.3.3 Condition C requires the signature and the seal (which must
                                            include the name and position) of the chief (or the deputy)
                                            secretary of the court that rendered the ruling.

                                                    Except for the ruling rendered by the Military Court of Appeals
                                                    [marked as W_S161576-582] that bears the signature and the seal
                                                    of the “administrative officer,” all other rulings do not bear the seal
                                                    of the chief (or the deputy) secretary of the court that rendered the
                                                    ruling.

                                     16.3.4 Condition D requires Signature and Seal of the Registrar of the
                                            Supreme Court or the Deputy Director for the Judicial Courts
                                            certifying conditions B and C.

                                                    None of the produced documents bears such certification.

                                     16.3.5 The “authenticated” documents listed in Annex B are also signed
                                            and sealed by an IDF City Officer. These seals and signatures of
                                            IDF City Officers on the documents do not offer any explanation
                                            of the reason of sealing or signing the documents.

                                                    As the process of authentication of the documents is not presented,
                                                    I am unable to verify who certified the documents as a “true copy”
                                                    or who certified the seal or signature of the other seal or signatures.

                                                    When the process is properly done, all these details should be
                                                    presented and detailed on the authenticated document.

                                                    Finally, it should be noted that the Apostil only certified the
                                                    signature and the seal of the IDF City Officer as a formal Israel
                                                    Defense Forces seal. This method of authentication of rulings and
                                                    judgments is not according to any procedure that I am familiar
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                      As noted in the table Annex B, the original military courts are the “Beit El” and the “Judea”
                      courts.

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                              with or that I could locate in any legal sources. Certainly it is not
                              according to the procedure of the entity that used that method.

               16.4   As described above, the process of authentication is a chain of actions that
                      has its inherent logic, and each of its links is essential to the completeness
                      of the process.

                      16.4.1 In the first step, the court certifies the copy of a judgment that was
                             rendered by it. This certification should be done by the signature
                             and the seal (which must include the name and position) of the
                             chief (or the deputy) secretary of the court that rendered the
                             ruling.

                      16.4.2 The second step is done by the registrar of the Supreme Court by
                             certifying the signature and the seal of the secretary of the court
                             that rendered the ruling.

                      16.4.3 The third and last step is the Apostil seal. By sealing the document
                             with Apostil, the Ministry of Foreign Affairs certifies the signature
                             and seal of the Supreme Court Registrar.

                      Obviously, when one or more of the links in this chain is broken – as it has
                      been for the documents listed in Annex B that do not meet all the
                      conditions detailed above - the whole process is impacted and puts doubt
                      on the validity and the credibility of such “authentication.”

        16.5   Summary

               Based on the above analysis, I conclude that the “authenticated” documents listed
               in Annex B do not meet any of the recognized authentication procedures under
               Israeli law, nor the procedure stated in Decree 264, or the MFA procedure.

               Therefore it is not clear to me on what basis the consular official certified these
               documents with an Apostil seal, and my conclusion is that they were mistakenly
               or improperly sealed by the consular official with the Apostil seal.

               Obviously, none of the police documents listed in the table Annex B bears any
               method of authentication, and therefore none of these documents is properly
               authenticated.



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              The Judea Military Court file No. 4646/06 marked as W_S162467-544 [which
              exists also as W_S163208-306] is sealed only by the seal of the Military Court of
              Appeals without Apostil. Therefore, this file is not considered as “authenticated”
              according to any procedure for using it for any purpose outside Israel.

              The ruling rendered by the Military Court of Appeals [marked as W_S161576-
              582] is sealed as a true copy by the Military Court of Appeals by the seal and
              signature of the administrative officer of the court and Apostil by the MFA. The
              signature of the administrative officer of the court that rendered the ruling is not
              certified by the registrar of the Supreme Court, and therefore it could not be
              certified by the MFA.



        D.    Verdicts attributing responsibility for the attacks to Hamas

              In this chapter I shall address whether an Israeli court or a military court in the
              occupied territories has issued a verdict finding Hamas responsible for
              committing one or more of the 5 attacks listed in Annex A.

              The findings discussed below are based solely on documents produced by
              plaintiffs regarding the 5 attacks listed in Annex A, or those cited in Shaked’s
              Report or Alshech’s Report.

              Responsibility for committing the attacks listed in Annex A has been determined
              by an Israeli court verdict or by a verdict of a military court within the occupied
              territories as follows:

        17.   Responsibility of Hamas for Committing Attacks According to Verdicts of
              Israeli Courts

              17.1    Based on the documents reviewed, there were no verdicts were issued by
                      Israeli courts that indicate Hamas was responsible for any of the attacks
                      listed in Annex A.

              17.2   Table 1A – Responsibility of Hamas for Committing Attacks
                      According to Verdicts of Military Courts in the Occupied Territories

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 No.    Attack              Court                  Legal                Defendant(s)           Verdict and           Ref. No
                                                   Procedure                                   Responsibility

 1      Neve Yamin          Samaria                5090/03              Tarek Muhamad          Guilty verdict - W_S161583-
        March 28,                                                       Abed el latif                           590
        2001                Military Court                              Abu Maryam             Hamas

 2                     Beit El                                          Muhamad                Confession -
        Sbarro                                     42575/01                                                          W_S157275
        August 9, 2001 Military Court                                   Waeel Daglas           Hamas

 3                          Beit El                                     Bilal Yaa’cob          Confession -          W_S156682-
        Sbarro                                     3452/02              Ahmad
        August 9, 2001 Military Court                                                          Hamas                 83
                                                                        Barghuthi

 4                     Beit El                                          Abdallah               Confession -          Roth00436
        Sbarro                                     3380/03
        August 9, 2001 Military Court                                   Barghuthi              Hamas                 W_S085594

 5      Sbarro         Beit El                     42550/01             Ahlam Tamimi           Confession -          W_S158762-
        August 9, 2001                                                                                               767
                       Military Court                                                          Hamas



 6      Ben Yehuda          Beit El                3380/03              Abdallah               Confession -          Roth00436
        Street                                                          Barghuthi
        December 1,         Military Court                                                     Hamas                 W_S085594
        2001

 7      Ben Yehuda          Judea                  4646/06              Ibrahim Hamed          Guilty verdict - W_S162408-
        Street                                                                                                  466
        December 1,         Military court                                                     Hamas
        2001
 8114   Ben Yehuda          Beit El                3042/02              Muhamad                Plea bargain -        W_S158719-
        Street attack                                                   Abdallah               Military              722
        December 1,         Military Court                              Hassan Halabia         activist
        2001



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                          According to this court file, the two suicide bombers in the Ben Yehuda Street attack
                          were members of Halabia’s “military cell.” The court did not define this cell as a Hamas
                          cell, and Halabia was not convicted for being a Hamas member. Furthermore, Halabia
                          was sentenced for not preventing the Ben Yehuda Street attack.

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 No.   Attack           Court               Legal              Defendant(s)        Verdict and          Ref. No
                                            Procedure                              Responsibility

 9     Bus 32A          Judea               3807/02            Fahmi Eid           Guilty verdict - W_S156746-
       June 18, 2002                                           Ramadan                              750
                        Military court                         Mashahara           Hamas

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                17.3    As Table 1A indicates, according to the verdicts of military courts in the
                        Occupied Territories, Hamas or Hamas members were responsible for the
                        following four attacks listed in Annex A:

                            x Attack No. 1: March 28, 2001, Neve Yamin Bombing
                            x Attack No. 2: August 9, 2001, Sbarro’s Bombing
                            x Attack No. 3: December 1, 2001, Ben Yehuda St. Bombing
                            x Attack No. 5: June 18, 2002, Patt Junction Bombing
                 17.4   The admissibility of these documents is covered by my analysis in section
                        3.6.2. As I concluded there, the verdicts listed in Table 1A are of the types
                        of documents that are inadmissible as evidence of their contents pursuant
                        to Section 42A of the Evidence Ordinance.

                 17.5   Based on the documents reviewed, there is one attack listed in Annex A
                        for which plaintiffs have not provided a verdict issued by an Israeli court
                        and/or military court in the occupied territories:

                            x   Attack No. 4: March 7, 2002 – Shooting Attack in Atzmona




         Dated: January 31, 2014



                                                              Moshe Azoulay




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                                   Exhibit 9
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Case 1:05-cv-04622-DLI-RML Document 360-1 Filed 02/24/17 Page 267 of 455 PageID #:
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Case 1:05-cv-04622-DLI-RML Document 360-1 Filed 02/24/17 Page 268 of 455 PageID #:
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Case 1:05-cv-04622-DLI-RML Document 360-1 Filed 02/24/17 Page 269 of 455 PageID #:
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Case 1:05-cv-04622-DLI-RML Document 360-1 Filed 02/24/17 Page 271 of 455 PageID #:
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Case 1:05-cv-04622-DLI-RML Document 360-1 Filed 02/24/17 Page 272 of 455 PageID #:
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Case 1:05-cv-04622-DLI-RML Document 360-1 Filed 02/24/17 Page 276 of 455 PageID #:
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          iivi N'7W71   nmaij'     in       -iia-Tn nny ,o'n '7'n -11:1- -17i1737 YE)j7.In p a173) .;k"-' lIOX.
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         mionia .vivhD n'inx ana -ivi ,on57 n'an -Oinn nx 5'"ny a aDvn        2'infl1Ja7




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Case 1:05-cv-04622-DLI-RML Document 360-1 Filed 02/24/17 Page 285 of 455 PageID #:
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Case 1:05-cv-04622-DLI-RML Document 360-1 Filed 02/24/17 Page 286 of 455 PageID #:
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         ,o"!)n: "o',vp" 11-317 '7w -mvix-n irij7a imw~ yyiE) ,7in                       18 . ,D)VjI-luNa -IE) ain


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Case 1:05-cv-04622-DLI-RML Document 360-1 Filed 02/24/17 Page 287 of 455 PageID #:
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         ,iinn'n -iirO' D-n'n flhf oiv pn' axia Dlv~rnn,- Dnirm o'iA'i                                     D-7raxnnn 'wJil




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         ,I'7'-wa 9'7ni'      anp    "IT' oiaiui4' n0.0V'1-- o',4              -'7 am4     '1W3   31 Ij. jfl-7'P'7P J~in
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         -T2MJ173,-    inx   Ypim jh'71f rnnn      liiib' r, nna7mnn    O' ,ym
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Case 1:05-cv-04622-DLI-RML Document 360-1 Filed 02/24/17 Page 288 of 455 PageID #:
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         nuoia .'7vwn nrmTwa          rrr     i5ii   -mnnc7'      aW,IX.I)32 -3-n' 20 13L ow/irli awiin
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         -mv' v'n iaiaim-i .'wisn 'n inin flNIf'7n'niw                     vi- 1,:3   p'ox- al n-an     Dl -Fn,
         irn.0I-7n        I'm9i"inn   'ninn7 fllTnl vna ,x-ivw'a n'pin 'nMa in'nwup-3f7 '7v aya
         mau -') nioic'        -ax.nrn,- -io          n'7, n',iw7 n2omi           wn'rwoax n,     3~i9u iwpia
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         i'7 niiw    o'-iirncn- o'-ra wa7i on'Ta         -Taicin c9"7flf        -IV'03,- 1'7na   ru'~nxn a31m
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Case 1:05-cv-04622-DLI-RML Document 360-1 Filed 02/24/17 Page 290 of 455 PageID #:
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         i--n      wvwn Jvwa E35ix nrraxicn v~ia-! isxa                       oniu        -) iJ fl3
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         iT2y11 yyiq fnx';0x7          nL'O-ll'3I2                     Tn-7a
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         -in         ouI,-inm -mxannn.i"7wn'a n'7' n2iiwaj cboi arr airnla 32 '07 -rW oiaiuixa
         -raximnn IlK wxin7 D"7vjc nuIl'0'3                     3 '2    nO' .lnniva n'in        o"xnnflfl n'nwn 'r, '7v
         -rannn -1EI-I              (Iriniva ox"inn n'nwn 'wxnii) i-rrv o,-17 '7w iuin"- -In74i 11I'9
         111711W2 o"xannn n-nvjn3          vWK12 nllun flflIK2 inu1 -ivi                              71
                                                                                              73.-InD MlflJ2 j~9        --r- '711
         li-mI)W      nl3221KJ,-flfl    -)an WnxlIf) i'in                 '7t l2Kflnfl IlK wan1 -IjIML lflT             n       )
         '7w Vwinn niiam g~ h)v g0K'n'               nn     inx        3vD-ij"7wn n-IrnawV n'1r11'     wY'on- lIWK (I
         snag i-nxa2i if~fninI lpTm-i runfl                       vvi1    "711 12n57 21272 way~ 0"IOnf        7119EIl"1v
         .131mai rnA'n         111y'2 ,(w'-mxv) M'im .r.n -7va o-"7wn' mmr 'ain                         DfI'Jw .-I-I.-IW?2
         n'7'a rnrwv Iiiin in -Tyix '7 32                 ip    1112'9' 1IJ'l -inai -nng invw 1r-rin cgio'xi nO

         nu1   32n3 1Y11 mini :) mawn~i nl)IJ13I'                        11Y''7'2170            m-1n .o"7Wfl' DY1)35

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         -r3y0 n-lpfl          mxmn9f vwIa5' n'lnn             n'nwmi win (Ann) flfl1mI       mem' fliwdxlO




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         vip'a nnifm -rft'f '2 in'w :)"av-a( (,Iri-                   ff        'Wi'nn nIITvi nmn -Ian) 'oxaiu
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         f)-lnn72D   (wIA7 13-) ,IMU'? nnrr ,pa7 wua axi JXIX I-XV .i"Wvn 11                                           1l 1,rn    '-rx
         niainx iW,i ni'ni7 1nn tvij7'ai lo-i '-rvwn' 139 '-rxi 7,o .n"y 8000                                        -r'vo i'7   m'a'n
         17 In ?-'wI (a13 nxwao axi 5vW) nm'nI'r nft i'7a' 13"Mi . iwjl7a -rum rn                                     n'aonwv M'7'

          iw-oi niaimn ni'fin nxf ia'nnwv ,nft'                            -rT'ft   'w.j in-a7 worn 'nqi -r'.uo .n"w 200
         bD'j77        1'iO flTijnfl7 .yE9 -inina12fl7           -)1f'                     -T-.J1i'af '11W in-an7 O'731
                                                                                  i'30f 114'ft
         Imunniir'' cgona vi-'E             .307ii o'na 'oxow -r',Yo jioi -m- Ia 1'17 55                                2)   ir n-an
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         viA'9'7     -nranl7f    '7W              mum
                                        inxftifl2aii              imn-itj              ,fay     D'ITM    5,'1)      -FX'T I'M2       '7W




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         iax fnnn n'n nqn nur'])7                         nx 2xlrni vwi!'n               13:)3w.     -n -') n'nJ          ni-Taxnn




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         , ai     -Tiannn j~i'y' limmn              -tvaii3 ainvr                yxismnn 17 la aDn                n'almnr-r awrln
                                                           flnfllo o-'flupt '7W naxi                     , i-'x' IIIJi'   Dml'    wan21
            1 3D' fl'10f-I       flfl'73)   vjx fl"7iCWJ'         n-fl1TII     n'irin-    9170319 -131'ln         iflnI lWfl
         v'an 20 112 -rnnx pi                mn      niiarn        ':)   if7   nl"7'211n -3w '7W Y"awa anfl-~lnn .mw
         Miirnn n'3)nn ED7)m-iwxn                  nioiain imi-E                 qjnnvun'i         in3     nnlln- (nlixp) -linxo


         m1nna     1nIXJu    27/5/2002 -a           nnfl' fl''7 irini n                    inunim~                  v     ix      )TT2




         inia-urn    'ii)-          D'P
                                    MUCK)IY-v~a2          157W-o7          mnio       w'rfvm'        V-xn -' )"aVJ2l rina
         aviin 16 12 ,':n')rpn 1Wi i'ni -1211              irni    -Tn' .D'-mxnnl'        D'3Uvun ni               in'n        TUII)f
         anlA 2)1 A-vwn'7i -liax'7 a'7W' -Fnnx i'nx --r- 'ni nrin -: in'i-na miTnvw ,nwYj--i



         DJ-KII -I'7'1f      '71(1 flJf      im       nmwio2
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Case 1:05-cv-04622-DLI-RML Document 360-1 Filed 02/24/17 Page 295 of 455 PageID #:
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         '142u    'nN'o1 -rx-n'A      '7'3,                               yl T1(' 'niei~I1-3
                                               ,n'au iax -mnin .(in).nnrnix                                                     ,'A~l


         nl2T)1      J'2fl 1w1( fll'714y T14'14 fl1 fl'20 1214           vW~t!
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         -'fl    W12'7 X4IW:) -n3:13          j7IVJ.- 11T12 iirnon              18   12   D:)wh:)oij D'u"7En ninn awifl


         vu~t2,O iin.yxm "Jif                 iW          ~i'vin         nwYI2inrni
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         1'Xi      DYVqUIVW -IVjl7a WXYM73            fT 3JIXE) *11fl147         D'1?JBif       n-nflnJJi "7-.n .,:w:) DN'flI
         inYrim D'3fll14f own'f tanal                   .Cj'yi ']In'u -j7a           1pi D'fl"W fliYY7)142 ifl'1'            Y"Mfl

         ilXV3    2002 '1022 23 1'114fl .3J12'Dfl ]D!027 nil1122 D'901 I"Mflf '141'72 n?2w1 -rim
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         fl'7'2n 714x -i- ff iI        9      fl14'7 .yiy-gi nn
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                        '1'2.           'T KMM~ -ruyi 2002               -31-   6 y'vn-2 .nm-'              'nfjp12'      -r210112n
         "7'vn) '-r' '7v nw17271n -:) nnlfl'j7f2            -IVY     141411     nXl1'A3 flU'1231142 J1'IWTIUO ,1-: '710
         .D'rrn      -I1)1D ' nhiw'7 nI-IUM n'3nl2 jin7 -mxnn-inx
                                                              714 7'in7n                                        n'nrnvn nrTnn
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         .IPaY flTjixY nijon ]12fl71 1j7'71               XV4W n'72f IIJW2 'NJ yiy'!22 JJy~                    19 P2     1-'t     vIfln

         VUA93 12147172l        D0117132 n'-nwY      I'72f '-T- '7Y 121431?2f 'NJ naO' --v Yxia yix-'Dfl 1fl14
         in-v'jifl     .'fl1!3u12 oiafl       '-7, 5m     '712     -ixVJ3J      jm        -iy    yIv
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Case 1:05-cv-04622-DLI-RML Document 360-1 Filed 02/24/17 Page 296 of 455 PageID #:
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         -rxi-'n 'wmn                ,(Ann) xi~mu -rionnn vj7'3 -' -rxnnn- -ion ' 1inou rn-wa
         18     -:   5vw    17wxia   pun -wolni -ion-ninnn 'W inmun DnIX ..JU'~7 TIXXi ,-':l MX'OX
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         22:55 rwwyn nia'aoa oxni ,o'~xyn nnirn ,pi'-n m~ina                                   28 Im j,0WV/:nr7 awiin
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          .IIA'9i 3114 .039013 D'iIA'9 J15N                     IXD~fl7)     010O7 5X
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         laflfl)      .D:vj5 mmxI9      jf"1fw'7N~ fin-vu n-w"unnf            1iy 'gois -nn         -rrnnn xifl -1,5"717
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         .1353        1:)) nif7 3,iIv'       Jya'       mi(n -' innDwO' wv'nn -iava 5"1nu~i aa                 "1
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Case 1:05-cv-04622-DLI-RML Document 360-1 Filed 02/24/17 Page 297 of 455 PageID #:
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         -iriflW'       M'nn '7'ps     -Mn         mvin --r' '7u. liIDmf mut-E     Dn'J   nean 21        na DIMn n7'uE)

         irn'*1       - 11n2f
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         .mmcion 1yiix'J -unvu ow~ p'-na pimtn                    n'7'ioi p'o'm ninu'2 nul'7I]:3-11
                                                                                                nInn
         '7K ny-flI Do'7wn' -imn ln') n-1Ma niVoi o~ni                     o--r-iaO' nraxn7n rwvoin             wixmn i'2
          IIA-El VI~a -30' MYn-)EOn .-fwc OlaiuiO' linoa nyxisnn DV)                                -    mnn'nn 17m




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                     -s nrni -rli oi:L! WQ -riaun 'iinn yiy'!D
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         -TWXN. -Il-X:r -ftni (Anin),nn'7Nw -TN'M *7 n'mun 1-1-1- IIATfl -,tiairn         n-




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                                                         1'n YJnI:)      ni --ir '7w nmi'7




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Case 1:05-cv-04622-DLI-RML Document 360-1 Filed 02/24/17 Page 299 of 455 PageID #:
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         11w'?       -7.v   0'] '1141 iii':)? 2:)12a     x       nJ'fLi!,-i~
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         13-).-1 ig)ia ho1-v'nvi lIIuflfl 311            x1yp71'x1     'ri-i '-1-5v n'?o'          VIA-E9'5   ni'nnx W-M1f ninn?
         oD'raxi 111231           '7xi        nnnfl'3'I n' nEn n-nvwn                   'wynn 'xiiin -mnxi nomorjrT men,
                                                                                            .3)IA'Dfl '3113M473T         O]'
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                                               D'lJinD           34 -1i n,i                15



         ,jiti';in          312W131 n- llflW' ]1'fllTl 1731fllfl 5VJ2 n'XIVJ-1w                      T.n '73)2    ,24 1. ,'3           Wif

         ' 17xnf 3)2y         yE92 ]1112fl    j717i           pion) 1912 5.vyi:o        -ig9'n/3XJ -1132 "-Mm"        ]-Y00of'         03)]

         .IXIrTI o ..7 311W1412 I''22 o"xn72flf nl'TWjfl IUIfla V)Yla                                   VIA'!Dl   .IYY3 YYI!9I '142
         107-    510 ?XlV'a 09f3109 19E073               IY3      p inT)i 110o 31fl!f I'22 123)2 -iiy3 fl'flI 12an147f
         -axnnn3f .9"TIwa ovJIfin                              mn
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                                                                                                  50a'? 311'jlf '9) 5?.V."?"?E)
         .Jllnrraxn          v112' J1ivmxa1     9"nv 3          -X      fl')i,-i5 Wj-7'21 o"x1-13 l91 inv3W 311
                                                                     -]:4)                                                  jIY'l
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         14W] ':)fl1213)f '?iY' lj ii"?u-              0t7'     -xnxm.J 91 IWJ.12 3)12'9'? 13)innin ]fl'fl2 3)1'9' 1313)
                                                                                                              .n"5?iw'   nlifIT   flhi3)fl




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Case 1:05-cv-04622-DLI-RML Document 360-1 Filed 02/24/17 Page 300 of 455 PageID #:
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         '7-,iCfiw 21(nJ1) ''J,vEaJwin -rm iaiuinrnn "'lii-mnx'7 mm,21                                     pj~'Y'lavnn

         -Tn np'      i-an
                         12 .ia'f           wafl]'     %u
                                                        W7-9'1
                                                            0:)W2 D'rni T2fl7M 11.-3
                                                                                ITIW2YJ                    l1-n TiN PXII



         1JIP'Dfl   12 nJlI"X-Wl'11I11T fll'lI'            Mma3J fl'2D   VWX I:)' Y?4       --T- '71 W17an3   1 :)    .0Woy
                   Wrn
         M-16 narmvfin                      ,F                                  muh~fvj
                                             n-vauW nm~1 gonfl v~Og3ov9)yDJ mun I9I                         -'715W) y x3f-
         i'7ni YArn noi' -T- s wnria ,.i'xu 'n                   .-lm ijniix     waai w"wn ..vws' vxi'          nl'3onni
         AtliiJW 79l nfi)n '711wm -ill'
                                  'flijj~ 11112 I"w                    flxfn
                                                                     n mDi              xi!D 12xnT-i72   1I(: --v '!Di'7'

                                                                                                         .2"AY ncO Wjnf




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                      a'1N 'in "jian'a" swDp7 n'aa -TaLnin liann yixY'D
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         170-t1 -v7 17211]   'in)      '7'1573       or"Aa W12'7 xufw) fls)jpfl fl''         033     ,23 la n)w a1in




                             .JJI~t!   I'            m 3D '71ITfDW27
                                                           inno                o p lTD .-rixn      j7 -isnoni Mn'7f
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Case 1:05-cv-04622-DLI-RML Document 360-1 Filed 02/24/17 Page 301 of 455 PageID #:
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                                                       o'yims 144 -1 D'2-inf 29

                                               wrrm uoxa'i -ray -axinnn annn
            '7"rrwo           nix o'n-IT       MnIMI 1:1 DIV T11 113TIK jnXI) Ji'O 033                           25 12   ,i:      '711   awrn
         flimml2,D3w2                  Dl)   L7iuf   fli*1Qaf o"xnn.flf       inwii .-' Ililfl I'l1                 .l7nym YNIEDi -1TOf
         WyVnw ,(lixl) Dl) '71W) JJiA-0 'nlflin                            -r-o '7H o1QJ .-iimo ma
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         acrie               ryin   vumm, WYiN'        JIM -' mi'jlna mnrin                oxu .-inci        'icin o"lcnnl ixn
         2 A'vn'7 'nnyw -ivan'nwlnn '7'O irninwi                                   xn~     oxin-7
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         fl'Jliflfl In) D'E)l                D"7'jJDIl OQl non2f VLV               lu        .10I12.0 D'xnflJ).l           ll        'ncIYw"
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         03-"1 '032273 VJ25 ,IE)n,-l ,i1 7317T                  n';t7'arnnn                   ijumm~ iny'a          uoxci'          -Tm nx
         fl7Iv2i                    vji5
                        ffl ilY'71f ieJ2'7             n lli'WDiIil        1-31    fn'DE iej3l ,DIV'ieJ3 5Wm ,D"W3f                      D"71l)

         .'714IVJ-2 0-rx mTinf D--lTxa fli7muf                  oidh 1114 '72 -innn7 Ilnnu DII Difl vayaL 1131                            'ijn

         Dna        ,o'0:)      ami j7xnf man o301 im) rifnx-im                   ,yqvif 1fl12fl l2anfllf 111 i-ra'                      oicw
         nx1    a5-yvw -nmO .n'7vtnn57-:' 0' -'aoni A"1,7                                10 57wix       i'nw yE)3, 1nrnn                 irnuin
         *7~ inici nic oxov an:                      wa-vinvi T113nni nvU)1nlV                     1-7-1 WilM-16 -Ill          Dl' -Qx21C1
         -r--    ,9013a .DOX175X1-TI'T~7                TV) -I'T~ 13W2 I1'               JM5
                                                                                           '7               '21314
                                                                                                       X4I- -ifi           fl21     mxnnin3
         YWnO) V73-W 1YJ1                D:)V- 2IYJln ,lflO          ff      .flW'14X '7W f-IfT Til113112         -raxnnir1 l1 01011-
         1in ymnf flflIn fljlDON'7 winfl1                      ni'        (innl)         Inmy3IW     0"xiciflf    '7w fl42,fl unl
         '2) ifll'jla          in-Tn   (iixv) o-i, '7w      awvm 2,Y              'ofl9 O-n)'7ia wnwn7 inwa                        n'.nwni
         OWvii -fl14                   D"Jdmf
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                                                              a-u    -Ty -Taxornn nx '7'aia mi '7inw'a axi win

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                                            .DM' va' -T"7W nw--mTr Dwu-79fl -inyj 18 na ii9


         m ru   nino D'fl12a( i'in vrmi i~'DDjn'7    rrlann nx i'7'2mj 'in .-inw a'wVJ j7-na

         nrmay). uj71D1m)o lino 'n4 ni-Fx rnnua n-mn)i rnx I2i1 niir
                                                                D-3vl .m-)nino xorn




                                     invn    n imn      i nxUi nanmi ix'i nn'7yna n-r2?alml




                      fl"'j~ji~l~n          2002 win 261




         x,"rn nm'mnn '3      ' irr'vnn Ion o-ixn -iE)) jin' O7n1 MI
                                                                   9Uw       NJIV   y!D3uln-li~fl
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         ]'1].1 3)OJ    ,yE n-man ort '1v xw3 -ivi,25 ja,ow11w'1N n-a ii' D'u'iEn imnj aviin


         o-Fxi T2xnfyjf iin'2xf-rvnI''l             D'flflf            031' 1N'IT .43'0OX -7X.-l- 1JI'021 1-3' flI DIfl




         flfl-flin    -r'ip -rkx      --T '13) p)in m)        l         f'73)iWF1
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                     a"'iwn'a 'xu-i'; molp 'mau fij7 nl:.a iaTarxn ':1nn yiyw,
                                                    D')iYD 80 -1 D'2in                    3



         fl'2 flflD2 iflY     y~ei!     n:)Yjhnfl      n'2'uO'19           mn i-nu         21 la nTiggrafltuft awin
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         ovnw'            aimi     ~    -irrn r      nhu
                                                       .(*U-3                 8)r 'in xioWa          'A      1     'nw'   ~inm'

         i'1 llil      21W21x-ivw
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         ninin ixi1wi -in               yy        yi-r0)j ,Tixn,-i           2NN~'
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                                                                                           1Wn              go'W     :)i11-1130-1:




         'IMM3I 0111M 0113 NJV i'nimt-
                                   3)IA'9'            l flv        1     i'n'1ni imirmn .3)IA'9'1 -rnnn '1w mmiM'
         nnina 2 --r'afl3.
                        nn)IA'DflE~                 oijrn'    -mnxi '1w in'ain *p-'aa ormnn n-nn                          is'lu




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                                      o'pix) 28 -1(o,51,n 4 owInn) iD'ann7
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         '7i Dix fl1imfl -ft.          mxnnlfl      .1I3'aa D'-Tfln T          l-w   24 13L.I'3'h/,Nmr t n ]7o awrin
         01:1101M) Trxrn]         ornowJ rniya myn ymIm~ ni"7v mxhd N"fl7                    823 -Tax012101On'7fl
         '7       iiIfnx    inj-'7 ixinT1    Jn71x        '7w inivix-ck m'xI'O       -Tx1i     f'lifniix,)l fl'io1




         nia vya            imr        -i)
                                       Oi]       loin~l     -72nnnDfI'2-- iaf'Wfl)rin, fl'         f  l .fll2Nl
                                                                                               m m)iY2H




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          niya~ oiaiui1(' or'n7 no'i                t3-n:     -m    -'nx7ox -rx,-'- 57'i     24 i3L,-ir'xv      .n7 awiin



         -rflfl       57w iflivix-)    DMi' n'aa 'nN'7o'Nn- -rnfl'7w
                                                                   5''2if)-mn'n-xy                      n-nwnn- --T- hi


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         fl'hxM~fn-uaiO f           nYhflf          f2l
                                                ui-iu              JD'il   n      "') IlflU'
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         boin       p-7ini- --T-j        "Iv?       n'i7I7miniT     o--n3Y: .!rnan '-I
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         rhxanfl         dixnni.M3'2l7En -rorxn,-lii~nvI2'a                fnrax"7         nTl J1n'1
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         ,oniin         rli"71in     n1~D7I?lDIYn     l rm        TY31(fnjim'7 lin nr7 viqv'2a
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Case 1:05-cv-04622-DLI-RML Document 360-1 Filed 02/24/17 Page 306 of 455 PageID #:
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                              'nr-Ixa jlInnivl IYJN II'fta -raxxln 'aLnn yiy'9D
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                                              1I7--          117--'1 xi(nJI xiWj:)      '7K'-i'      ilo])a i-in Jnfl
         flflD ,flUnfln flm7          aj71DT]W 'Innivinf        7WKX' 1031 '23J'       -139 j7'7ll Jn31n         -lall7 i31h1-I
         invwv o-flITX '7YJ arrwn       IlK   -annn rip. -ITa'7Wa .17--in IP'i'-fl n-3-9
                                                                                      m' nun ift7n
         ,iI't1' J'ivvi7 j7'!Do.- 1211731 .31 ini -llP7 Jun              '79j Y7.Il   '3-17 '3WJ 117'1iTil -17XI ,0ll7n2
         '71)XVJIW 110n,- '7199J-11 0'3'Yj'7fl '3YW2 '71iT13 ow ,n'3Ja '217 7                -n-' mi"vii          imlh' ii
         VJ13n     iax li''nimina ,invW            fl'Ki   ,-i n'nrin n'rnn n'niun '-r' W71
                                                                                          mmaI mix'n .11
         iO.K '7'n: -)jflfinxl -i9'o ,oD)w2 'K2yl 11"Tnif '?OK1YI xo-.v -rinnni '7W iJT1'j7fl2.(-iim)
         -ivx      ,(;ina)   ';nq jn' 'w o'im nv,7a/xrx)3 -ina nvw' -:) 6 ii'oi "7K -Im W'Jn
         nin W7Jfl"nE "7'1095      -13!)'   Ko'1   -:)7'TDW 17-a    r) in:) .'7K'aici axln.ll11293.I'                      -lirn
         fli'lImn flnn -ry nim'on x)i2 -r2Ta fl             fK    w'on     9 n"ln         D3
                                                                                           yoa     '719919       n   0'120':n'
         m-'An owm ,'n ioionn pra' -ranni inK' i'wnn owin ,';nq inK'2 iw~g OW l'f2
                                                                                                             .'7KiK' -imnni



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         an -rini -raxnai u-uin iu'a 17nan                      w"7Vwl-a     D'IM     aim 113-9 D'K9                  aiflia
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Case 1:05-cv-04622-DLI-RML Document 360-1 Filed 02/24/17 Page 307 of 455 PageID #:
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         iflfl2W D'l-ivl '7W Dflin               iDjn)'   9XVW 9013:1      "TflWy":) nin'   ':)   f]ifnx ~lnn   IJu'92




                                  fluil~ia olalulx~i -Taxnn '7afl                      yiY'!D



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         rnli7-a     uiaxa 9 utinx'7n orn vw               ia'?ivW) ,n-7jj nTY3D n'Trx13nnna oiaiOi'
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         awVJ-'in'     r~ni cpwi     np7 ,-13,      'c U~';I,   9-Tii   nnp7'   Anmn -T,'     ?fljflWf     ,ol~lwlx,-
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         niru !) sj nforlfn wan -)xx-v o'wjix '7w niap -M" ,nawi ?UcIra ,5y7nla 'nnw*r
          ."jp'n-7   57'n -Trm" -r, '7v lvu'9' nirni n'7o' .-nn'7 axunn,, 'Innni n"wx
         ny~r~i- .J) awiin ri"7 20 pa              9-'~in
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         b' ont'nn -ah'9-wx-inin "7'b linu'a nn'wa                      imn'jna .iii-'n nl'T,7 linoa -rn 1J W
         2715/02 -a .PIr'Dfl nipy'a -iwx Dn'7                              .nJ~i 'Naxi D'nnn ninwn lab'i
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Case 1:05-cv-04622-DLI-RML Document 360-1 Filed 02/24/17 Page 308 of 455 PageID #:
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                                                                                    ,D'Twlf '7')                     J 01) a3-12

         IIUW-V    0-12Afl -3VW,nr           n fl2Nfin.-        rx-YDiri rix flrrTflm   iriW 172fl3   flT2Nlvfltef nIT
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         I':)02   lTflix xn'flj3 flhl'7n~f             ?Jifl3    ,'Yxm -lflfl--r-Eu 3Yr3anni               nnly.'1   fli-ml~fff




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         W*1Wn'13 VO3J          T   i        kiuiW5v ni7vO flO3 -N~nn nrnim                  ,20      13      ownwi'u      avwin
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          DiU12 9072 -inxc~i -T:aimi nma nP'-rM    Anmn 5nnun rinr-a jiix7 oaiuiin
         'wu . xjn ElM 'Eln --Tru/Ininwni nwi-nrnIJK
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Case 1:05-cv-04622-DLI-RML Document 360-1 Filed 02/24/17 Page 309 of 455 PageID #:
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         -ifli     7'1 'Tix       myna -I(],INT2
                                             -vxm '1I' nT) llinT nwinxn-
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                                               D'jviYD 2 -1i nn                     ii


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         I'VE) :312 -ljl3lnfll              ninx
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                                                             fl2- f IflW?( Dvif                  nins
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         Mmaefl'im onuiJN
                   O'vU1 'oW 0                      r1     D1"v i-O7wnD'721
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         wa2fl'   -iiui:)-    IYTT
                                 -r     Nil 7'r N'7' lljll         -:I13 + 'iWI ,o-r lax2~f
                                                                                         vifi i -)I)2 lxnYD.I1
         fli '7'lwnm xnnf             Iji'7 -raxnn       173-T   nibjff'     JYP'JfllJ NY' D'1uivfl -rfl14Y ]11                      .17'71


         mcm2)     mlinnf     fl'31D72    yyImn.O' -ranflnf Tnx Ori' -')"7h) IpflU'                   J111"0 im1'7fl             flulfi
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                           3U' s) Uixoa1 Do l-ckaD-Trann osIafln 2 3U'V1
                        -M m
                                              DIJywD D'nuivJ 2                      ,80 UnnI
                       -T'fln -iam'a'fl -Tavi n-rinn -rnnni D-tarnnf                                     D"13fl?2
          moi 22 ia ,n"?'p17o'?p          i amnf         -1lftn 13n'2'7       -i         18 1L n)Y~j awrin ,iYr)3f -inn
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         MmII                     23-1o) ..-nuwin wr". -laD'
                             -1T2l)I                                         Inn) '-I- mJia -IM'3 'D              jin .2lDnx
         1211'    *-v vya       no':1     rn-- ix pon 1-"?n mrunn b:) -iW -rn, v~tEn --                                   irnnii       80



         IJI'9' ]iI'1fl       .wxa ni'i'      'nn x)1ni 11A9))f 331u yix'9 I.nx :D-1. Jnx                       Cgij70i    D'11wf
         03-n) 'iua 'N2Y fl"D9 '?JJD -immi flflt                   111flD -rxax .NpN'7               u'?'n '-rrm --r '7v n'?u-3




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Case 1:05-cv-04622-DLI-RML Document 360-1 Filed 02/24/17 Page 310 of 455 PageID #:
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         f1    ,'I~nDT flmfl?    'Wi iniini IJI.1'D mifiinf ni-ix "-'bIln'2 flfl'W2 ilyn'
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         TDnYna n'iy'V           ri   yXID ,ri'-71a n-I'iJl                     -''~lrn'n,19 1. ,V7'77j7 2Vwrn
         rux~i owiif Jnx mut-in')'7) nrinx ;*'w "fl'12Dinf f'Tfl"f .innivi '-ya 'iflonnf
         am1    g~in-iaf   '-Tn -rxx- '7W     m311:2        ,-0-7jpaj7 fl'N2Yfl iirnl      fl'l inf '1I)7fn'Ylfll
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         .Anmn -07 aiu-ni n'nnin nya~n nai2ya 176 ip -wAoiamuNi~i'7i ,23 la.D)                                     awiin
         wyaxan 'Jflin
                  nv]                 -ix-ivW) 12 iwni   W2L7W   '7'iini 0') IJ1 ri' JnX       T'T7   la pan~f Aninf
         rnix rriiu -ammn '7w i'              nx ip7n-IVaJx'iww      n'i
                                                           9UVAfl,-1Mm                       r---     niya .'inn
         -raftnnn -ion in-'pna .yDin nian '7j w7                    nn nnvn nx 0i1'3woian ormIominfY
         (o"xnn -ri)            -'"t:)iio g)oi' ,12fl 1 '7w in i2f IWj7 JW1ii ifnl) 1'lWnin'                 non        ',


         -iwo n            mix ,il'wnv inix '1'- '7ii        ia Irn '7w ioi'A .min -inN'            liiflw nix-minni
         fli'I,7u ni'rnn -min7 -i'amn -iarn -nnn ."n-inm"n op7                          inx-Y' niia   1p'7 Dnip    o'iw
         n'7En nvi'rn            D'"VJT 111137   110'03 7    nn)      ninwn      1-W7'     ni'rnn                 Vi12,25~a'

         nin'7jj) a'W"Tf n-'tla Wlii -mxnn.-if              nnnI~'        DIU2 .J'2h 'i       irrm
                                                                                                 -1-7       3-l   fnn
         n"7yni ininn nx wa7 owi             172'N '7 in'a7 y'ui       17ia.-             ("Kw nn             ' nuIW
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              n'vMnM' in nvWK .-TJ'n, iirN'7 mix nu"7wv a-rx Mx7-)an xniw nionn ,i1Ta .57'irn
         0(' O'ix Am'7 O''            xin .,-7iiqnn Ann xxyrn ia 0')a nrn1In i'7 nnx                  -r'wj: ocui23I'
                                                 .orni gioa7i -rnsa 9-pni min ,p1lTn innx                'v.n'7 n"xn




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Case 1:05-cv-04622-DLI-RML Document 360-1 Filed 02/24/17 Page 311 of 455 PageID #:
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                 .1:111     -Mi :)"2a        rxi 13 nvw'7 im-ra -1ainn'iann yixlg
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                   nix-i.in~D'
                    -Eli                         ini    v3-      fl'7Wa
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         o,,in,g          nvyi axim         .nhwnrin io'Trn 5-Yv) '7w lnll12            MU    VIJYA-JUD.-
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         131'    -Iwi lMrIV 09-'U097         013-V'7       Wn'un inna     nw'Anvi ni 'rnA '-irn 'nm iin
         1'7nna nw         'i-,-5 vyiaw liiwm-in nrramin YIu9                  i    yvu'nin~''
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Case 1:05-cv-04622-DLI-RML Document 360-1 Filed 02/24/17 Page 312 of 455 PageID #:
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          -T -117ia:     LWIVWiL D-.UAE)l 'J- JMlfYJ                 11'Aa 'nY~
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         wr'nai -wix~ LW fl~vE gin -va uyia ji'~in D.): LiOu nwriin,105 DionnL n'i-n2
         -rx.-V~ '7'IID -irm iTxl-i --r 5j) -*wO9'           pini o'i -raxnmn 13): Liua '724'oxn -Tx,-ini
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         ni-ramnn- D-10 LU               o'xi 2 TO 13-17131: rnIXYI 0-3101 IDi D-1711- 22
                                        Tt T5L 13-VOI
         inim~a ~ovI inn o"xnn niimn "'v vi1I)n .'iolii? ivumwm~n yym 10.in -inx
         L'vmn lx-mnn "1'11120' wniu D'L'i.sf -ixw5 9--r -nnn Lw iwp1n vw'x. 1-r -mnn Liw
         -inUVw XIf-l X'19'11X -'hWT3,U n3voi ' II-irXa 91'-r -rnnn Lwj ininwina irmva i'xini
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          R~I iaxnnlfl        umY9     y-Ein'f                 fn:)
                                                      -ixxifl ji        hIrma yymInff 0(' Ilonnf .fl9'flna )oIm ?7'n
         -Ty.' -vaonl -1i iu-wr19                       nirnl lfl9I 'iv .0J1pna Iii        Unuliu i -T iv n110I1I?31imn
         '7v flfo-im Jliflnnx fl'                     n-xvva1 p-Tfl nfl'ifl   IX111ip   DO IX~flf 13 im~ ,-IE)n5fl-7 vt,0

         .1I0a 1fl7IW2i       7nxioxnf -Txnfl".1i ]1'J1WJ '1'. '713IJyI2vu'D               .'rn4Ooxil 1Kfl';tl pixfl    'T
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         ',iinin -mw wi           n'nnn -ri-ig              .17yn-ra -nxC'ox -rxn'.mn f-Tj79fl                   172
                                                                                                  ov -vvi 9-yi -1W

         nn'          vn'a~ uxua ilirnox -mnn xoly                     in ni-ramin vivD', -ainn.- 'w                   Iiw




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                       ,iDfl2 Dfl-ri             Wlu oiuml?     rFaxnfl                        'llfl      yIY'9
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         ,9fri1) 0'    'lln 1127 '71 i'7 Xi? A,-1flWJ) .OI2IQII~il               JIM' O2)'fl'7 '7fni D''OvI'f

         IY.U J4W      1417        2VJ Y93
                                  VJ)W         wirm~f niI1)7314 finkin b)             iyjyv)yxi9Di -raxnnlii 221110i
         n-mwn -ivn)n ,-Vin ofto xinf vu)i vimn Yut-O' nvinxi-*03 o"minnn nimn .17-n
         iflix I')fL ra             inx71-0 I'T7 72p xiifi     ':)   -i'o    iJm- 17fl2 *InniviaU      J1'2Mf          0"xnnfl

         9'11) in3 ir'1 Dx'-) i'? 172141 04' ix niO' 111mn7                 -T214111l Dxl 17711        XifIV      lin V,10''
         xvia n11 -T37w -inO' -T-.iil I77 'I'ah                -m117' n Irm in                 iiiVAn ..via'9'7xy w 7
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Case 1:05-cv-04622-DLI-RML Document 360-1 Filed 02/24/17 Page 315 of 455 PageID #:
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Case 1:05-cv-04622-DLI-RML Document 360-1 Filed 02/24/17 Page 316 of 455 PageID #:
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Case 1:05-cv-04622-DLI-RML Document 360-1 Filed 02/24/17 Page 318 of 455 PageID #:
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Case 1:05-cv-04622-DLI-RML Document 360-1 Filed 02/24/17 Page 319 of 455 PageID #:
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Case 1:05-cv-04622-DLI-RML Document 360-1 Filed 02/24/17 Page 320 of 455 PageID #:
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Case 1:05-cv-04622-DLI-RML Document 360-1 Filed 02/24/17 Page 321 of 455 PageID #:
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Case 1:05-cv-04622-DLI-RML Document 360-1 Filed 02/24/17 Page 322 of 455 PageID #:
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Case 1:05-cv-04622-DLI-RML Document 360-1 Filed 02/24/17 Page 323 of 455 PageID #:
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         ,1-113 013-iM' -IO-3J:) i-*;Wln I'7'9flw 'ji'7                          yiy') v1i-x        Ivun.-i nx1            no'19fl'
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         *n'7ox -rx.-i'. '739 inrvEj                  '112 -) -7axnJ1f -iEDo ill 1pfl                       .- i3i Diofl73l -7"fl .")

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         'a7j       13),lJf   IM       113;3YI Y9       Im1W3 1121 -unfl' -inim31 -ftwAJ l2~nflflf 'j                      13W      'Vuxr




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         .oI'u','7r1'7 1237a fl fl1                 Y-1o.flYj      m1'ina1     )aul   f         (-iixv)   '-ri -rinnn      *pI-xi     c7

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            nn~               1131m
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                                                        -Fipnj'77              '7id        -f:)0~fll4o -W3WJ        ~ln-
                                                                                                                       "7"fl)a123,-',1

                          -ivl~
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Case 1:05-cv-04622-DLI-RML Document 360-1 Filed 02/24/17 Page 324 of 455 PageID #:
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                                      -ixxYv 'uIJ)2'7     -T)Y     -mx~nn.f        fl)2


         ov 11nmin" ElionlD' wanl ,n-n'OX,-l -IU-O-'I:-li 03rnuo Ipin 119 1L om' ixnf aviln
         U3-riuc xnf qx ,20 12 0311 In o'u7E~n mnnj awin "ummiN                                    13l2Oj0      9013J -1'1J

         ,ninTni-riv -xm iv'yfl'i WY313AM3I
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                                          M-ni.0        "wn-OXl
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         a7Wa ..i-r~m) pirn* D-fl'
                               "7-ff
                                  n --1'          lIT nraTI1Jiym
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         -immi inrnov -iino'uirn ;ioi 21 Ja ,ixv yxi9Di ni5na -,aO iamnin ajnn ,nr
         vdjxnJ 1-1-13 -1-113 'YJOI      .0'21D'1 nlj7nT --r: lifl o'7"flfl :n-mi.                xymf       yIx.'Dfl -Ifl7




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         iOwi o-n'uwi iana -a p1-in ,22 la j-Y D'u"n nmn awin Iflniax                                              mm)3ox
          Mirn   M'INI IYID 01"2Wfl         .lMiu       mina     T-w    pin 22 la         ,i'-'      -mn airn nxax


         nym-n        Dn.'      ixy-i y~xi nrilTYi n~m axi I]')fWIV           10'o13 7innni 'ix-rrn naiui in
         VX-a llnk-          ,(a'           1998 -12Y3.1 rim3) liiin nm-aain i AX)rI
                                                                                '                                 .5X1fVJ"

                                                                                                             .'7HivW' nuywa




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Case 1:05-cv-04622-DLI-RML Document 360-1 Filed 02/24/17 Page 325 of 455 PageID #:
                                     15027



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                                     -IN]3        Iax   Ion -TanJnflf llflmn
            '7v,,Yn-nOxii nu'o-u-Ii               urnuo ,711-1 22        pa ,nrv0n"7)a') D'UD                 3n)3 aVwrn
          li:) .D'1N TflDiY fl'XaN fl''7jD0a                j'lT n-b-)'f Ai-13 -ThX32X .1-laY2 MO                  -7011N'A
         '7W n"7I'n '75 I~YY ,ilynn -i -ii                 iax .n-"7'nn mO' vx          nn! 3 Im axiin '7"n
         '7w '7flanf fl 17'7f    .n:ina aiW' -Taxnnn -ivixo nibi'nn myxignaf                    flll'ri       TXIm
         IT' 'ii, -15013 vIu',    nirinx .-in7ix0          y93 'min 5w 1"17 48-i TrAmn'a 3 im 31'xYernn
         --o-myni v,"flhiQ o"mmlfin       J~n]i1     1)f        -i-Txn
                                                               ,la        iY       VI)?piU')i
                                                                               'Tx '-1-                   ,    .0"-g
                                                                                                                   iCYxflf

                                                                                           .MvlmixnW               VlV~lflJ-lTf-l




                                                     2001          'xn~18

                                            DIIIYD 86 -1 D'olnl 5


                                      vnin -rinnn Tiny3.-i 'ianrnn
         *.-nnn 11lMil 1Ij77 fl0-3:)IklDMI YID o"xnln '7'1D -'n ,j7in 21 1. wil221!                                2Wifaii

         -rinnii -nxinni 'anm'i ni            aa n07 no1-)           'im i!n    'v nirn         '7W o"xwnl liAflN
         D'VIA'Dfl 2 -'7 D~t fln-mfl1(f     DI)     '7D -11TN2 d"1(nflf n-'3ljf --r '711
                                                                                       isymma-2                   mmn~)l.Wf1
         -vtonin '7W D"mimijn flTwnwnn "7'11               i-ixnnn ona (18/5 -1,4/3) n'nua in                   D'DI
         -Taxmmir1n4 o"-x        woni'iun     'Nayi o"iomn '7'irn ,(rn) IXYMr             TX19       D.I:) '7iua IW'n
         v'N n'nn,(iI~fw ,rinwnn win1)            7'o 'rn oi   3        M"o WT3n'WV '73 r'ivrn 110211.131'9'7
                                                                     V 13'w


                                                                                  .T14ID' mfix niol7 -raxunn




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Case 1:05-cv-04622-DLI-RML Document 360-1 Filed 02/24/17 Page 326 of 455 PageID #:
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                     [1                                2001         '11mx    29



                                           -ism3        '? k -rxa            nfl     na

         n'ln)'7I"a '7P,J)ox            ni'A3 '7K nIU'o-19Ica no-nl'?              03rwo ,pii-,      23 Ia ,oJ)vw avirn




         -VlDON           J2   o1DI         n
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                                            '7W           m      vxiaIJ7Pwa        mri11
                                                                                   1'!'  n          i
                                                                                                    or) i n'            'iav



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                               X:10'1      'r'ar rN12)I -rnn -rnn                         nn          i



          YiJ~w ,29 117ui 01211K' lino( 112 5.v0IP07J piE)Ii9 ,                               18 p o)V awin
                                                                                     - -Dfl1'D7
         prixK    '1'T 5'v nfli' P1!)? nl-i'fn              xao0     9!D)2 'p1oam-if'1W           flma 012101K        flilf
         fl12'wI ioi'2'     'KinK .13D)Y 1ITKY2    0"KTjfl"'n          7 ni
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         1211211.172      -r       lxn- Np mirin my'jna .iinio                     -nn n'vn P1u's)5 12101f) 57w
         "ii' IJY'2 lIVO.-lI Jl          0~7117JI 1K TI.120
                                                      K     -19:)a                     -:1i25rmxnni 57w In1211fl2
                                                                                     VIM'Df




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         pYig),n"?'ji'?j       "ani     no lU'1'ii"a            urio,o"xnn '?'pY          ,jnin   23 p ,in"?'iig ii wn
         irm] '1'72'7T      m1iaj7 nx21ipa,flT7 xK20 19) nni2y'7 n1'Dnl 444 vW'2:)2i7                         212 flYa in2ym
         wifln"'7p             o"x7nn.- n'nwjn         i3,3i-rj7a   o".-'a   upo.1575-.           n'in
                                                                                                  lifl312a    12'         IVfl1W
         "5.!17' ",nafmoi
                   m.     '1'ia'A                           -',a'
                                                           ii''?      n5VJ3 -raiamn- .1J2'af                        nwI'27
                                                                                                                        n'xfin




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Case 1:05-cv-04622-DLI-RML Document 360-1 Filed 02/24/17 Page 327 of 455 PageID #:
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          'n-imwm (Ann) Txnn                      pamio
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         '1'IJ      onn-TfliD'fl-l      Danix
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                        i~elnianon-nninn ~na ommlix                                     s-r",rxan             n      yiy'!D
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         ,0"xYnf '1'V9,ui'r -'2 flD'om-1'31n2fom,-*                 urriuo ,pin,20 Ii         ,n'1'1Nrva1 ain

         '1' 'WVfl'5U-3 1II'D' nrin                n-In jivI','    vmnwin nfim2l jiion 3o           )xW     ,6'on     1i7

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         Wpm'1Im n1fl'1'NDJ
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         inmM' nrifnma rin -5t)linu'2 rn'wa                         nrn'jna Kin         n'a 'awim D.n'iw ,'m1
         fnx 0",wJ xifl 'fiia        .nl'571mfl       nan         lalin nji'ai rrn pJ im .vu-0,-raun                  '1w


                                                          .ifnmiwa o"xicflfl flfwfl 'Wn) ,(ann) nrn in 2'




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         oimiinn 'x 2-3 pnr-manvo ,Dl5I'7n
                                  on'ivW
                                       i   nimn-mn TIM2 uIMm-ma -Tnvw 22 ijl                                          -Ti




         5yw     'iin    .- p'na .'1'Dnn ia -TAofa fl'o'Kxf fliT          flu1yh      gimwr   n'n -')-i)'] nrrianan
         On-) '1ua o"xnnfln n'nywn --r- 'wp vxia iriLf                        ii-       3K -Taxiumn jh'n inximyn
         aim 23 pa omnn '1'vm               ,oila -rfnn       57w inmmai ,(Xn) n-                 TKID     '1w imimna
                     fl1)
         ITa -vy novlnn               i 1Jia'-)     -TaJxnna n              iin'j7na m-rin -W ivi
                                                                     -in -:)1l                              v D-un)




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Case 1:05-cv-04622-DLI-RML Document 360-1 Filed 02/24/17 Page 328 of 455 PageID #:
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         (-TwO   aviin 'nn-w Auu n) nnwv m~ina -iinxn awina aw 28 la vi.'VIorvo 2iJln
         muonna     ijn3W rnV2      (17mnJIY12   Wil -IWN) IYUM 'V!Dni            W-110 'a 2           in nnr


         nv'a "1xnw', n-ic y jME
                               nrr ia 2000 mnY7 21 -a alax '711 '1nrn                         7ivja invprr     lJii-E)
         ,iJK:) a-:L '711 IJ)u? viAD 121(lflf mra' Ti'21?f vir!0 D-nii? Du' .17iVJa fli']7 JJY'2t
         --r- 'w yxmi iftmnn imunmi) -vva a-ivfl          iWna '1jnn'in"7i 0' 111K 1Ivon 'iv.wn



         5v o'nuh' xrn rm innj5 lirInf -ivixi             1    n in      w con i.un iniwia in-n'               -i'o

         D1iri)nf '7 IlK    nfip'-125 -lX3 NO]3 la   2xfinvinv
                                                            1v2 IT '73J                 -WIfT
                                                                                           IVMfl   .ivj'nwjni



         rip"7'n nn'r '1w ui-na irrion ,ni'7YA                  a'wa.nl2 nrnnno
                                                              TnIn.-                                niv      aigo


         nl"mn     .n'an 'iun 'w ini-awvi            1 5v nr        pin:) .-rann
                                                                              flyfl         ~av    inh'jrrnTi 1nA'D'1

         01]'-DWlril   (qifl' inpUim)Wif   -ahx' 'nli2 II1nma IIJum          JilYuil   na    l2Klyji DIE flhl'


         .i5wvv nva IjJuT -mxnll.-i flhlri2 -)          -11?7'A3X    murr'   p in'm 3-I        i9'uiln fhivfl2K

                                              *Imunin   yiy'D'1 -i2-   5vi   1D102     -lnxn)3-i m Dvi        mWf'iO




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Case 1:05-cv-04622-DLI-RML Document 360-1 Filed 02/24/17 Page 329 of 455 PageID #:
                                     15031


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                    L                                   D'IIIY      35                                                  1


         '7',J      'in       o:)Yja ni'nnh    nuou'iiiu 1--3      nourni wrioo ,pirl 23 1. D:)V avdrn


         ,rni ,wj inivix-a oxia o"Hfflm1nW nvi-upya i'ia-E                            mc .o"xnn,- Imi-l          -T, '11,




         n"7'jJ9'       -in       'ynion 1ixa o'Wflnelmn ,(nimo'om-a'i               o'1ornn '7w ni-riiuol xnf)

                          *ii-iniva o"xnnlflf fl'fl-f2 D'IT:)lflfl    O'l:)ir3jl -Tnxn        lll
                                                                                           wiiM       D'UJ"-ol IX2Y




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         It-'ftn"n vix-          ,n:)j nX'Ahx7 nu'omalia n1in-0710
                                                                -uo7in                         25 p.L jran avwin



         1994 -a 0"mMl' o--iA -rami                  o0"xnn,-i jixix --r- '7j n'7ui virO,' ninxc.nin         3niEo

         oft0 i.wva O"Ninn wn '-r' 5.v v)'n vyia flNufl 5:): Iinxf nnliVw                                 '7yE) ricyj

         in"' '7W lfiii            flflf vyia IJU'f     -) "7'?) lnu'a flf'-ma im-j~la         -ion          I      'm)n~
         xO9miY -T1O              Clflfl.-l   p iml .-raxnnn~f JiM -i219 ~wx inym D"7O '7wi (irwn) nrn'in
                                                                 .1112'Dfl flNixym    0N2113 o"xnfll'7J      (mN)J-1




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Case 1:05-cv-04622-DLI-RML Document 360-1 Filed 02/24/17 Page 330 of 455 PageID #:
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       nr         Iflino
                   on                          ibflO2      nO -T"1 M)Y yYID 1-11
                                                                             flO'2                  nrn '1:fln




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            -ITK' DJ'u0'li-i o"7]Jisni flo'D: -n                  12 Ipn         jmwani, "wn'oi       flU'0,2'I"a
            K'7Yfl3 ymi Imin                      fl'2rax~nn
                                                   )ounL     .9YDrnVJ -lunij;tni ia--WV nwa.I                 -ri-vvn
            ' -fl D'Iujh'oiii --r 'lY -ranw.i inn 1:              i l~ajl.mima -mlfta nx
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            ni7on n-v'o       axymi-flf mn               -~Imo .j7in 27 1p1.-IT.U/-UXVJ D-U-591 m1nn awin


            In'r- -11-rn- *'l-n      .91imn       'n~ 1,400 miui~i -ma-riin 'n 50-60 '?wj fl1732 fl'l .lj7oflfl
            Tfl1( D-Nflx     3
                           -Ov       IT fliJIY1))]fflf iipoflf .Dimm D-O0-DTrlN 2 nlai m-lap -11on
            n'anIm    nri'lI n'lap-a awo11 o"lnn nvn1n .YIN-E'YVJvnw rEid In.                        I'In'rT ONi -I
            vW' .11YYiriv1         nva1    ryon0flf '7)1 -mxflfl 1111W i'D' nrraxmi vwoa
                                                                                      'D2                 -:1)
                                                                                                          ')IILID
                                    'Inn'INI~f   T02    o"IOnflf flhiinf wla'vi livilf 'in' vu112        1)       effyi"




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         9supjl7
               W12T,1 7"l
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                                                     PYx P'ln II




              i    n -ruvi "n'rntoxin       -10-0-12-31X": 03-7UO   1711- ,24   p ,nrq/Inl'r'2 -i'.ux'xo awrin
         V-19X 17(1    pflfll'   07 fi-in     1-n'faflw Viml '7"fl ,2nvO~' fl-IT)n     D0-3' -1-Y 'WVI'T

         1Jyflnwj iix        i   n~' winh' Inn JIIt'9' inrinx '7W "')H'OOMl-nn1
                             91219-.                                                                IInl IX '
                'nng '7w inmn' 5 -1--13J,- rn'i a vw
         ,'jnpivi                                    xI'n1997 '7')X T11 flImunn limnx
         .nvrina 'nn'oin -mnn"an 'ini --  '3-.- ix -innn '7w inima 'iA-'il .1mI -rolln
         ,flilfl      -Tniv.-i1 -Oa7'x .n      l'.-1
                                              -13      PP.'D   n'?nnx.- n'in      'fN'0o    -Tx,-i';k   nwrimn
                                                                          (-i'niin A-m1) .-F'nn r'7jrn




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                                  Exhibit 10
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                                     15035



         3191/03 ,vn p)n                                                       )'VVfl,5t'            Irw~4l
                                                                              2003 ,12flOD 3



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                         mroin                  nib                           win5       i             TI)3
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       71VTn W~ti  V1S   flllMf   T9175P jfl2rWil           Ylnl*71WTr5 Y.I32l2 'l 12l       .3,      Pl'lano2
                                                                                       fl),vfl2n iflN




                .20/10/03 1'n712 orpnp~ iW           mmiii              r5rim
                                                                           71,'VPS
                                                                            fllT '32 1Toi 1W?2

                                   .3,4 TW'271fl 711151 3iN V)"J2fl' nf')n1n ininm 511ln



                                  .0121IVl                 220/9/0301-I/W1                                    31




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Case 1:05-cv-04622-DLI-RML Document 360-1 Filed 02/24/17 Page 334 of 455 PageID #:
                                     15036


         3191/03:'V~fl jirn                                               )FOtYwn IN VO .I'l:
                                                                         2003,vvwxN 24



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                 )I-m"5   j'l      *1"3N')m                24/08/2003 -O'          U      V ll W
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Case 1:05-cv-04622-DLI-RML Document 360-1 Filed 02/24/17 Page 335 of 455 PageID #:
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         3191/03 :'Vo 171M
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         TolN-117-f   m2'W' fnm mnfl Vp2X .p'njY)T5YMf                1913no~l DY ',n2T :!7V3 1"1V
         M"V      l'flV')Tf')     TIV Y WMW5      flDVI2fMMl 2lb               n      .1flV D1tol137V
                                                                                     Mfn~
                                0'))V 0-rr
                                  -13v)N lw l*,)               '-t.TV371lfl




                                            -WITS-11 -MY021 =102 28/05/03 01n Y71' 11 In'03




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Case 1:05-cv-04622-DLI-RML Document 360-1 Filed 02/24/17 Page 336 of 455 PageID #:
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            3191/03 :,vn pm
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                                            14JJM




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                           isvn:,T,,3m I=                      15/04/2003 : t3lin vown vz jr-t
                                 VDIV
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            llonmnl3ml nV Win DY pim ?qwn:i -mnno im prr5 ciji m5 ovm)n :,nmv
            nmv)5 Irm irtol nx wl:1175 wp3m          -I-rvlin -1,713111 3IN mlv , jmv
                                                                           .Mmv ilm-l-pil




                 VV~fl
                  3)T-rT        12/05/03       rm-i   tr,231
                                                           xiy'          nomw?iN-ipnf naTT2l   flYm3i

                                        .fa'lMfl DY021 '1121,             14/04/03 ,C"'ll Pnlffi IIM'




                                                                                                        WVS1 56885
Case 1:05-cv-04622-DLI-RML Document 360-1 Filed 02/24/17 Page 337 of 455 PageID #:
                                     15039




           319) /03         * ?Y7I~3~~31                                                    Ul)VWtl     11122
                 173/03       flV~2fl p'fl
          Vlr))2 567/'03
          l'r')3~568/03
                S569/'03
          li')m~ 570/03
          I--3 571/03
          jlw    57M,'3




                                    oiVN131   -   vlzxlpi ),1118 1'#2     12OW7J




         >C5                                                 il-113N 2WVfl 02.10.55 it,) ,9442 2042,5 .1.31
                                                                                      21.01.03 011 l-




                                                   ~I ~ K




                                                                                                  *WDX'i Wrin


                                                                  .1 970-5,,Yn (378 P~n (11-1nwrfl
                                                                                               .1T1p

      ~t3-i2
           Y)Pw 5T-f* 'IN 71wy~oflv~ 1:)5 liOV3V 'IN 1994 nmW -MIIX3 5,) amn~f                     vto'?I~
      ,Dn )i'; 'IN 'i'i'mn                   fln2 ixvn
                                           pnvd7    IN        lpiu,25 nn im inyin ,prn ,llvlo
         ,nmyn    ~ 1)) ,flrD
                            n~          !7'33 vri~N        :* Ni2 -flN !7) 5y) o~irW,'2 IN, t1~2wi)

                                                              ~IN nfl-113-IN nWflWJ~ 'IN 11'2
            ,D11 W V)5 5fl~b I N WnfVAnn-ls IN -tVn~n , y!r.I5:)
      5w v)iz- : wI ~n 'IN ni 177-.- o'm v non 'IN om                 on-mvn ,onn-,fp~f
                                                                 'I:1   ,5wl W IN          'IT
       'N, fl5WY 0'11N '.15NWhJ    Y!N fl~n.pD5T nVIN -bt75Nt-13,-inxn -fl"r2.'          O:)VN3fl


        5)YIN Y34):   -1:)3 5N 7115NWTMV~m,.m
                                       2''I1N            7 nsr     -rin     fl3pyn u      ~n     r,:) 91'inl
                                                                                                on5


                              r~~~flv)JN
                                   ?~VJpIDlTVl          flfl'I2
                                                           P'           n),l TIM5          fNIVI WIN1 Y.naf
                                                                                       01310J




                                                                                                      173W3 3.-n




                                                                                                            W .S1 56886
Case 1:05-cv-04622-DLI-RML Document 360-1 Filed 02/24/17 Page 338 of 455 PageID #:
                                     15040




                          5YD N v5
                                13 .in
                                    m~n Zol
                                        iiNyn -- , wTinn5n-. -mm.1945~                        -aro         vn



      momxnowmw          112nNN
                              n.V3~
                                 .1-1D)1N
                                        532             lTn ,
                                                      rjoronn                  jirm3f     mflro5 miOnm




                                                                                        .1945 J(Dr-i nivw)

                ,iploDWlw
      'IN 5-1'afl'    12  1.T1D2 rf-Ilil          imn j'nYJ, ,m'xN3         DWNNIf :W'2Y1''A', "'1
      'IN mninflymf nrimn           iNnm
                             n-myN~~fl~                -2
                                                       jnn
                                                   5D3W~    iN ,2T-fl1 -)n3 'mm
                                                                              OTnfllnlf)fl5 1W




      oviflY ,t7nnnlf    IvN 1 ty   ninw! N       3fo Tl   ,flvz rfl I1w1Pn             -m7I~ .- "l     OwNmT



                        n~w n~inmpn                                  m~X~~l~ .3vin             ,,w~vv      M3Wtflf




      !w   ~IN   -Nmn v'is~ cit       -tyi
                                      flo     i fl1vN lm 5m     *mX      5,n     awoniIVW-OfV l




      111371n5l 0)1')8-1-p   '10~i5
                                 pn          mnn l~n2N ,nflflfi 1131NY
                                                                     11-11V             I'3 fl'vwn
                                                                                                 'Itfl-f


                                                           214,a'~                               nv)ini




                                                                                                             WVS1 56887
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                                     15041




                    ivni n55mma -,Nfl Drrnx o)J 21i vW)!) Ix~my rin ,n-21. rmipr -rIxNi
                'riN5-:
      D~v 5'yo, plflN-nl: Imn -rmnm5 -fl12n
                                     1o 1Y-fl 'n3x.vmnn2fl 'junma 7VX3s rl"     Di'VT




                       5mmiv~m-n wtin          y Irinw 5v            -n vpN
                                                                          65o Y                 D'fi l      113iT~n3
                                                                                                              W13), 12m             ),,-

                       .01p~~Dwin
                              nnyl~                mofvl 59 Wvfl
                                                             Ni,,1fl)ry              15i      12w
                                                                                            miwxam                  ty07.05.0


               nrivxn*i prmm5y              lpzn2    -n~       o*,15N-iw)n linwasrnn                       ro'rrvi  '
                                                                                                                5 iijy''

                                      12~~~~~~~
                                       7.02i                         3'2rnf~~QY~f
                                                                             nWw3.                                       -rV
                                                                                                                           '715
                       ir*)5n
                           Imm5*Y.5-.
                                 monnmori pra                    im'ffn        nim           . 3 ,),fl          9nWf3mwIi

                                                                           mtvin
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        wx~vom         T1'i2        5wv wwwom w2im2wo
                                                   ir~oy                                   zoozV P'i I'm
                                                                                                      -'2 lflV :                l     ", al

       11n12     uip           1712M
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                                                                      5001110"
                                                                             ,faNwm')l                      "   IMfl :l'umfl 1om
       Wn'lt       35'Nl" far          rull' 2 IDYi        'Mn                      ,WXl 1Y11Z~ ,~) totntrl
                                                                  a-03,X vmrvnn uim!PW
                   ,DV     .IV2~2
                             '~Yf     ~)~    2l2      A:o1Yt'3 wlimf      t'WoviY)l . 'nlitW!PY a'n~t%
                                                                                                 "f~f?

               DYfl2      -ivm09rll0
                             2Ytl flina                 !7y")T,13Tlf'1               VlD           n.3lV    1lN      22flDYY1




                                                         .23.05.02~.96-n~W
                                                                     a(2imX                OP              nsmnYr                              25

                       mcicn   -niy5mw             .-p'n vot' mcy
                                                               2002         7won,nm                    5Wf DWn)YIP:V)2
                                                                 iw'rr,n       imm '          5
                                                                                             flivtf        if m m2W 1)5n                   n



               W~'nrf~fl2 IWYIn ,N 1.07.   V2Vfi DY)ftl'll 112.0"                           T11931MI 3i101 fVIDX22"~1
                     1~~~~t'?2~t~w
                             1DIifYVlTMfDDV4                D1
                                                         mmiN                                Thsfil Dfl2iW
                                                                                                         9~"f
                                                                                                           Imi     Pf



                                                                                     *~                         ~                   Ir30 %7'W




                                                                                                                                               WV S1 56888
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                                     15042




      ov    fnmm2                  r
                                  -=O"     flt')i'
                                           nV12 n       fl2invo 5"1 U17,'0l fyl-flfl 1ImmY)           =5?2omnJ-n .1-'Ov




                                                                                                    .1968-rv'2~n ,(225

      U-1903              l
              t~ vnin'1f nx   s)2W nflN 1Y~ii: zooz2 fl3W -m-)Na 5-3 ov l                f?~
                                                                                          9,0'Wl
       llflZn31f 5'2V)2 X1TiW 53 nIlP' YS')2 IN MI'2l t7i2VI3 nvY',pD 11W2 IN ,Oflj-pI Dw'NT

      5wJ .Iixif           )o-5y JD 1))3V3 IN 71 n23 -1~nmn WIM2                         ,TPmi nnnn o".l2
                                                                                                       i           fmlflo!


            T 13KNVI              N,V-)m      ninvoN   11153 i-mn             NinwY)7llir
                                                                                    vmon-TTzj'              *X   flX
                                                                                                             Y owmi-I~


                 *5,1uwN3 -nnx5 wn~i"nna                  5"nnnYT            -wi 50 flN nnp5 'X     nnsoo .'V)-n' 1)'T 50




                                                                                                    .1968-n"3)Wr    .(225


      nTnrn.in 5'2Y)2 NiwY to2 nrovW 1Js2 IN N'flY)                     2l    n3Y -,WI   1:)2 p)3   IN ODTlpilOPN

      5W)                           1:3lif71)ova INS-n7lxt'N312 ,llnmn -r1y1y,PNm rmnfl? D'tl2N fln3 n
                 ):I~N   1Nn12'     !ji'      ,3V1311min
                                                     i152 JlVTnlW1m Ni,ivvNxOrf
                                                                     lY          pri12 'na 51yo ,DY)al




      't'n) (11-Ini1r1Mn) -i1'230 flmit~f                   53 -m-m iN5 0i(14 JpyVI 1945 ,(Dllln JIM) rwnn~l
                                                                                          *1968-nfl')JI. ,225

            N'      fl3V flI)Y.T:'2 1hOtV2 IN 2002 TmlY31'2 r312,nivK3 ,5"fl ~EmNl :fl1'Pl 'Iw
                 ,TTI2
                                          -vlnT ,fl1313 '3152 31lrfN31f tp2W2 minw!:  53 311 Y.%'2 IN
      11=3 -1?3xfltYf,3l               '3153~ nrTrlN~mnn i    ,'flfl      rmN -i'32 5)Y - 5',3-n ovwn~
      !wnnam5 *1tim DY).if ISNNM3' W'1 '9t'1 S                    Y W)3 1:)5 1=32 IN f'253N3 ""!7y"
                                                               UlI2
      5"1n311 )nf      fnm fll'2Y 1SNTI' 5Nfl312N ofwmnlf 5w) i-linf *n-5v .111~v lIWN 15NN31'
                '1l)ONfil IVM2 01W~nroim'Y11W 11        n V-l     7:)5 11?M 'IN fSNX21N/          ~2




                                                                    4




                                                                                                                         W...SI 56889
Case 1:05-cv-04622-DLI-RML Document 360-1 Filed 02/24/17 Page 341 of 455 PageID #:
                                     15043




      'tmo) (Irinivnn n-nir)         linos~ nmwim -i3"T        iY    55 1*,yv *'! rnvXJ      nvonsin ominyn mirm
                                                                                                   -1970-ty"Y)JI(378




      woNw        risynJ rfla~ri 5          ~        N2002
                                                       n5,nw 5nn? -m                           t~,n )N.l:l'11
               5-n3 ria
                     in)         I              am    ix"rV,T     irimfl               5ltitvf 1,3   D1f     13 3 V
                                                                                                              TflV
                         ~'~N VU~?i
                  iN 202 Vn~                            : Vfl o Nil)
                                                                 1-113)21,tli         0(i1N173 IN     -lIN,5    I'M"l   N




      5Y)2) -)!)vni t3'nDv) mn'pul 3fv-yyN-i:               n5-i                       pii 1945,Colv
                                                                                      nol4                   nywf2o




          IM
           DII5         1113Y 17'lff)YJ              ,frlW?7151       Tn'W3) r11F'Y   '1Y    51       5u     1TI3~'
                      ~n'~ni~~aup
                  nw~~nin~                           u&'    n~ -v liov         omm                      -tinna o~n~~RhnV)




        nlP!   1)(1)85    -*~   D5      ~             ~nln
                                                        ',n5   'rXrn~xni
                                                                      fly~                  ~nN7P2~sa      T1fiflyn tiV2))f



                    ,vo tnv)-ny555t:
                          (rnin                                     1-3&      N1      *Yi14jr'               nyw) ronn




                                                                                                                          W_ S156890
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      rnu-p7I5      (l)85 n          "05 ny 'nrmn
                                     '-r                  ,P53 3irn-niit12Y    11TVYW      :71V*0= 211TI
      'VM)                 -n'                  wr~~                n (N)14 9*ryv 1945 ,(rnvn nywj) mnin
                                                                    is5wn
                                                                                              .1968-rv')W3I ,C225

       m~'Tw 5:-,-1J3Y    -,IVY ,p)5 JIMt2 IN~ 2002 -INIfl2D W-m          -IIPN.2 517 flWlNl:?1~f1'1




        !M1T13N)     1VM OWI~) .15NNY12            )t JVP' 5NfI2nW OY W30) JD5 1=3 IN f1'3tN2 "15Y"
       500-:) W       fV2f
                    013(         1'ONW2,01-I 'XflW1N3)no
                                                   ,OWNIYfli)f             Ojim         .'iW
                                                                                        Ov~lwN            fIvnf
                                                                                                             12Y)




          3T~~iflwvmb
             '5t~D    22~'
                        crwm                             nv   vi N ninayn 15KN111 5vn3NO VIN2.lTIi11-i




                   0TN
                    1W~~'ninin
                       DY                            m-T00rnri
                                                          inn')
                                                          n5             ,11P2y
                                                                          i     nri      DyNsr      :7fl2Yil '%f1
                    i
       .rn)irvovn7t-fl           )    23$5Q~
                                     M)fl  nl)Y     xi   .152k)3r   is   (N1       ,f     1945 ~
                                                                                             (t~l'l~n      W 7-13-M-



                    11v1M TIY-r)           -TDV IN Z02    i?(,n=
                                                             UNo~~J            ~ r    w Dn5 V15
                            ~w~ny-i~
                                niwi5    O~Vf DW)~1.~T1?nfl n              n-Yflfl
                                                                              Y1    1Mj -     300     ,0
                     .PXP~flfl
                       'pnx 0P         YI2fl     1fl111M 11,1153           1
                                                                          VPIil    1tf IV~~lViflY Y'dY IN
                                                                                          53N




                     7=3 -~la
                          11~        Mm ,n:inynnnmuvmninpra*r                                 5,Y       !7,) On




                                                                                                                   WVS1 56891
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                                     15045




                                                                                          .WY1W2YJ 1~1D


                                                                       .1945 ,(Drrn lyW) -m-
      jjV:     IN 2002 N11n VIMr 1nn - -)I130 VT~fl JfIM            5")nN DWN)-T1 : IVIY1 TIC
             : 17111171Y
                    ,fIffl      ifhrnflfl 5,w3YJ Nxfl' 5D n1v) vs*3 IN NWW 5D -.1113v -Iv 'J
        inri iivrnn 1N1oy oy n!)vl oy!) v0 jz'; pmVa IN '.!YNn-2 "IMMI?6     Iyl=2,5'11 DVNT1

      .rE~mD vwN i o)       -iinlyj o.p-, v351 1Il 3M N Y I' VWjU t3)mfl ,5)y5 oiXl uy
      nlJV~r~h2 flfI) IfIN -IWN "I~NVID 13N" fl3IDni DIN DYJW101 "li"')335 1'     Y))*) ,fl325
                                                                                  11j7fl?

                   Mv                N '"YO,"IV1D
                                   lawL    nir I'Nz-ytnmn  wn -rionno! nimn ,ww'ri olnwon vin
                                            Imlly 12NDY
                                                   a      DY f'lmNfl'-V0 yv ,l~         ?'(I IN flwwa
               jNn-iV r?~flD NmuJ ,piNyin lamp oy w~ ovin.f t5 trvinv)            wJy -TNIIV 13M TNflV
          .Dt~ Iw~s51       "P) VInti '0Uf5D')     Vinf NiD     I N~o1y 1flIV35 -ivnl Thfi N TNny
        .D'llv?2 DIM32 yin flyn Iwn'I VIN5 ID 5Y' TYM MS INIY 13N TKMY U W12 IN2OYW nfl?

      5Y, ,,jnf TflNr wnflrwo it fl1O5 53,17 TIM ,M-16 -T'1VI -TN'fY UNm INMOY IVYM JN)O'W
      15 -I1"5 ITN11W lam INn3Y5 -nlir jl 5")n l "V1 vlmD'W2 1flNn, TINly     1NYY
                                                                               -rov    *o?

                                                                                .5"xl M- 16 VV~
               ''flN
      oD)'Vl '1!7V       -ir"   3u)fl y-r' 11-lrmy.J -InNS ): INI1Y 13N INDYS -111137 )NJIY TI2fln
       W13 flflfNflfl M1II    V~N)Zn7' 11Y1N h) i N331 Y1,115 *flW1 JOIN3 V*1I) N ilT1wr
                                                                                      TI31~1 N

                                                                                     7111K Y1'
                                                                                    11~                .3IN1311n


      fininm)Y:! 131)n I)           51131wN7"-
                                            16il
                                              TUN    von)v         ,'v~iri   w#3
                                                                             12l?         ThnnNiv la      N

        iva ,'flSNv      2nn   D-IDN I)2fnM Dvi oao lfV3 (INY-I) NX5Y ,jKY'IP 5V Innons3
                                                                                     flxn
             D'21~Pfl          .1111W5 o'i~l i211 S"nf
                                                   wm,5'oxvp TIN      20W553227   Pisv1     N1 20o rnw


                          W~~
                            si~ ~ ivx ~     ~   ~N 1NDYm
                                                     ~~31nK,
                                                     wi       ~ ~~~~.h1
                                                          ll)n,))ay   ;5vrn~                           ulyNo




                                                                                        .1968-711"2W 122


          ,J
       M,1D        10'03 IN 2002 ' vww-Tin S nOWN3fl
                                                l3f     lf~   iN   ,5"Yf         1V'3)D7 I
                                      '3-5 flvlri-n 3lr
                         ir-nflx,2fifln              S'22 N1W 5D 711ily) Vs,3% wKjiv 5D-n-aY
          ,ilnf -T3.,Irl nflinin lS2 nliflrNTifl NIfy VN)3n.-I Jw12 -IU2 5S'Yn - S"3l 0N)-.
      3),t It'l SYxNflnx oyi ''N -ri2Tu~ D'fiax -no212 Dy W3o3 'pt -1=3V IN -157N11
      i'w2) fliysfl2N 71YP)537 JI-TlK IJDw71 n7wn17 -'NI nnuD50 -12YflW -inN5 siK1 ,i&xNn*'a


      tru1 o'Sw.ia "1wnin, f-il)-,3 flrT3N~iv ywD~ Y-%': 09.03.02 01P2         MWD
                                                                          '35X122iwN
                                               c1)'ODD 65 5v wwls5l DIN ):1 11 5vMM
      ;1r10vn fl2lp !W7v) 25 Iilifl DYjIfl2 iYVw cv.'     5v inpa.) iw2'v-n 50371
      nv!7p nl     -nvnllv 71vpv innvn SNrnfN           11)2:1 .1:0 11=32 IN flSSND-12, '3NirnI NU
      ,omN37o 7152'p -lfllN                                        ~ 35 )iin ITO1 DS17121 INTI
                                            nS31flr3mn-n ylw'0 pr3 msjD
                                    S~lflN S",1 3pW'1 11'nZ312.))Nilfl TNID 5w innovn )3vT5
                        TINl ,'~0flIW1flf'f
                                                                           .Owxn3T nrlrfl oxn31I




                                                                                                                   W...SI56892
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                                                                                                          .1970-5"Yif3,(378

         '7D7
           VP         In) IN Thly 1-)5 IIUlIN 2002 MW~ Y.YN                     ,1ll3')X3     T DVN~ll :fV 'yfl 11010
              ,): -lv
                   *,f:)      YY
                               -r2 TIJDt     wv PUWv-      lV iiN
                                                                -V-Iv-.   OpP7,I
                                                                              l~21               'lln   n~nY Dlv2
                                                                                                                %2i~cW
                                                                                                                    D
      "p I.')       nDV        VID fl
                              nvinnn                  'Y,?Ipwl
                                                 3 o,-fl    qv: lljf               n    -,TIvn                ~).TYf1,2~
                                                                                                            ITIM~
                                            :~r
                                             V,*nnIlMn
                                          1-173 l)1fl    ~5) I=? P5r IN ow nlnf 'snx
      IN     0l-155xi2 n'1:25N       Ol~     11T2
                                            O'nV3'qv
                                            n-'22     1 1TDfl'llwVnf  T)1102     EOY.N30
           x,vNnnnf flr1N3 J,)J,(pvWn) K'NuY ;155MTay flrflfl Imrw fN Vrnv-fl 7:) 1=1
      nm ioN




                                                                          .1970-5,"Wn ,(378 'vio) (11loivmVVTnl

      Irinn o-nin owmi                 vfli=1V in       'n 3'x f       1-na' -llN           5,37 DPfl jP':'          1flW7
                                                                                                                        Vi
      IN *'N3. -pon 't-5y inpvyinv -isn                    n)in N         ,rn          7,3nf2l IN n          ViO
                                                                                                           0111V      W      IN

             N5I11,i14 nlpj-;         ilf   .p      l nv IN flN2,iin                        niprn jpna,-).           ovWn~
                                                            .Iy~       IN -,Has -rpB        )1)- ) f1plyliflW   -Inrl flTl)'f




      ','o) (T1inivnin nrin,,) ririlav           flT'iflnm 15: -111 IY          (N)14 'p)'Pi 1945 ,(ornfln) m~j-m
                                                                                                         .1968-rv':)vnr,(225

      fllV!0j~       11MV3 IN 01l   O31YPWil vy= -lrm,                                  ~)~ 'a1
                                                                                  nv 0,1to     "t
                                  io*3
                          i T ,31nTff       i lflrnmf-l 5-1V)3 NVIfW 5:) 1111VJ Y1 IN NMflV D 71113Y

      1ii"       rnmiD1on   ,i',-fn   iN    r')Nnl 5h n-va~n, 11irnx -n-n-ni -rrflu Yrl)N Cr-v,1 N'NIv
      YIN-11'. ONMlI,~I3
                    M"VY                      N .715MWO -iri3   1mU2n f3-i nxp 3Tl2 5Y        ,5-ym




                                                                                                              .1960 rnV1. 16
      V1l~i FIY."N5 In~flff ,':)5 flrjv2 IN Z002 ppi T15nn3 -inm2,3f tW)fl- :iV21Ifl ,via
                                             ~n ) rnniii WI')fn nyav2 ix o,,v35 n'i'nln cipni
                       i j,-rm -15 o~vt -,v,-i
      15132 O&NW'VTIntx           ninit7 w'pufnm   ilil       nwi-rnpnn l~n,2 -iwN ,")nl owmnf
      nv~t713 1 3IN 5v flP,-I.)rlV '11)1w l-it'fil  1:)5 llv )N nt Nnl     v~in-,i ln-Ixa Ixntl"
      *ow,& -Tylmnn, oipn Drily) *nL)-Tlv-, nvV?33 -vilnr towz)oi vri"-iaNi OVV
                                                                             .lIfN'wonrz xvi-iN




                                                                   8                                                 113j




                                                                                                                              WS156893
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      nlx'7~ ())(1)85 -.13n7.                 flV2   xniT lYI~2 flrinNivl iiay prov vsn :flwiwsi moint
      ,m) (f-iniwmn-nm                 srrvu     nil-Inzii )5!7: -13XT &7 (N'14 gCPYPI 1945 ,(oliv nyu') minn
                                                                                              .1968-n",:v'n (225
      IN         ton~'n-TI3Y 'IWY               linpvo IN 2002 tr     w~ln~,i    c      ovm'xn :flOY1'ID
                                                         :irwrr ,3nnin m53~. nnnxrcn 513mri 5:fl)~11ysl
                                                                                                   rro
      ,-l~     -r=2 In-n~ln m nrrnmnin N.nr      ,Nilf
                                                  mmn Ini                                             '
                                                                                                     -om5                -       ',n t)VN)-,l
      .IMn -I)WN fll-l 13N 'lNow1 -Tw~l
                                   ) rynno trn,132 nnm                                          )v      ID5 l            ~~INnc        Nn



      mn mysm                )-ivp
                             *,~                I=       niy* -inx5, 'n 1)Tflo Dy flwnon flu nnin                                 "mX    nwa
      13-11 1-lU           ID Y)V 1X3f11 nxIN 13N 1KuINm
                                                       ,iVMV -MOM~ ,'07                                       DTVOY rWXn, 15M3




      'vn) Onw~wni rn          n) -fl1UY5 nvtnn 5                     -1(: 1IN5 (N)14 qYV~I 1945 ,(Wfrn Ml~W)
                                                                                                            Ti~Tnl
                                                                                                                   .1968-n",:'n (~225


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Case 1:05-cv-04622-DLI-RML Document 360-1 Filed 02/24/17 Page 348 of 455 PageID #:
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Case 1:05-cv-04622-DLI-RML Document 360-1 Filed 02/24/17 Page 349 of 455 PageID #:
                                     15051




          mrir)     flnV3 nIxN1n1 i-3-1   I't (1)(N)53 9'*,!      iflV2V ori'--D: npjlfl1i : v2Y1 ntn-
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      'V)3 (11lunmf1 nllmT) flV2                mt   t5:)~f -I2IT~ IS5(N)14 JIYVI 1945   ,(cminf Y1yv) fl)vT1
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         16.0Z.03 DIM~ DVJN3T1 n-PNT131
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                                       (-iisy) .968840173 Ain              -iNv    NoWv
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                                          (rnl~s) .941470759.i.fl -tNnV j3Nmn        TTinn ThXny .7
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                                                (iv)     .938391133.tin ,1xyi,7 q'l n3MI ND I .10
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             J~ff owimn m 1*nI~   ')Jb o       "TVo
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                                                    'Vr~                     : n1N            23
        1WflV~l
              a    v',Nol Vi~n '2i' .11 'mr i)anTl Y ,jxn-w -rnzri 5w mnrrv5 ro               24
      1pirm nimsin 1l( ,ThmlV 1:,N -Tmfl3,7,v i'QDnynry      5v rnrinm5' n     )3m            25
    'nm 0o'v,i olvixii mo pl)Y5 5'N) .8,9,10 ny'wnn 'rry 5w, onnrin~n                         26
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                                     15055


      2726/05: V"I*,M 10-13                                                     2726i0~ ~u~4-mo1lmTh
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           2726/05: V"I'N Min                                                    2005,12MI)IN 31 : 11-IN31




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                                                            mrlmlnp 2'wmn7 5vW     r1iYsfl omnT :                             53
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                                     15057



       2726/05- W"11IN YV3205,3~pN3                                        2005 'mvpiN 31 : Irimn




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                                  Exhibit 11
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                                  Expert Report
                              of Evan F. Kohlmann
                 Linde, et al. v. Arab Bank, and all related cases

                                  Evan F. Kohlmann
                  www.flashpoint-intel.com - evan@flashpoint-intel.com
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     V: The Role of the Internet for the Islamic Resistance Movement (Hamas)......Page 9

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        I.) Professional Background and Qualifications
             My full name is Evan Francois Kohlmann. I am a private International Terrorism
     Consultant who specializes in tracking Al-Qaida and other contemporary terrorist
     movements. I hold a degree in International Politics from the Edmund A. Walsh School
     of Foreign Service (Georgetown University), and a Juris Doctor (professional law degree)
     from the University of Pennsylvania Law School. I am also the recipient of a certificate
     in Islamic studies from the Prince Alwaleed bin Talal Center for Muslim-Christian
     Understanding (CMCU) at Georgetown University. I currently work as an investigator
     with the Nine Eleven Finding Answers (NEFA) Foundation and as an on-air analyst for
     NBC News in the United States. I also run an Internet website Globalterroralert.com that
     provides information to the general public relating to international terrorism. I am author
     of the book Al-Qaida’s Jihad in Europe: the Afghan-Bosnian Network (Berg/Oxford
     International Press, London, 2004), which has been used as a teaching text in graduate-
     level terrorism courses offered at such educational institutions as Harvard University’s
     Kennedy School of Government, Princeton University, and the Johns Hopkins School of
     Advanced International Studies (SAIS).

              As part of my research beginning in approximately 1997, I have traveled overseas
     to interview known terrorist recruiters and organizers (such as Abu Hamza al-Masri) and
     to attend underground conferences and rallies; I have reviewed thousands of open source
     documents; and, I have amassed one of the largest digital collections of terrorist
     multimedia and propaganda in the world. The open source documents in my collection
     include sworn legal affidavits, original court exhibits, video and audio recordings, text
     communiqués, eyewitness testimonies, and archived Internet websites. I have testified on
     eleven occasions as an expert witness in jurisdictions beyond the United States—
     including the United Kingdom, Denmark, Australia, and Bosnia-Herzegovina. I have
     testified twice as an expert witness in U.S. civil cases, Gates v. Syrian Arab Republic and
     Amduso v. Sudan before the U.S. District Court for the District of Columbia, and have
     provided deposition testimony in Strauss, et al. v. Credit Lyonnais. I have additionally
     testified as an approved expert witness in United States federal and military courts in
     sixteen criminal cases:

           United States v. Sabri Benkhala (Eastern District of Virginia, 2004)
           United States v. Ali Timimi (Eastern District of Virginia, 2005)
           United States v. Uzair Paracha (Southern District of New York, 2005)
           United States v. Ali Asad Chandia (Eastern District of Virginia, 2006)
           United States v. Yassin Aref (Northern District of New York, 2006.
           United States v. Sabri Benkhala (Eastern District of Virginia, 2007)
           United States v. Rafiq Sabir (Southern District of New York, 2007)
           United States v. Emaddedine Muntasser (District of Massachusetts, 2007)
           United States v. Hassan Abu Jihaad (District of Connecticut, 2008)
           United States v. Mohammed Amawi et al. (Northern District of Ohio, 2008)
           United States v. Salim Hamdan (Guantanamo Bay Military Commissions, 2008)
           United States v. Ali Hamza al-Bahlul (Guantanamo Bay Military Commissions,
            2008)


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           United States v. Mohamed Shnewer et al. (District of New Jersey, 2008)
           United States v. Oussama Kassir (Southern District of New York, 2009)
           United States v. Syed Haris Ahmed (Northern District of Georgia, 2009)
           United States v. Pete Seda et al. (District of Oregon, 2010)

            In United States v. Uzair Paracha, Federal District Judge Sidney Stein held a
     Daubert hearing on my qualifications as an expert witness and issued a ruling,
     concluding:

            “Evan Kohlmann has sufficient education, training, and knowledge to be qualified as an
            expert, and… Kohlmann’s methodology—that is, his process of gathering sources,
            including a variety of original and secondary sources, cross-checking sources against
            each other, and subjecting his opinions and conclusions to peer review—is sufficiently
            reliable to meet the standards for admissibility of expert testimony set by the Federal
            Rules of Evidence.”

             Likewise, in United States v. Hassan Abu Jihaad, Federal District Judge Mark
     Kravitz held a Daubert hearing on my qualifications as an expert witness and issued a
     ruling, concluding:

            “Mr. Kohlmann is certainly qualified to provide expert testimony… Mr. Kohlmann is
            qualified by means of his education, training, background, and experience to testify as an
            expert on terrorism… Mr. Kohlmann has conducted first-hand interviews of several
            leaders of terrorist organizations and has reviewed reams of information about al
            Qaeda… and the other subjects on which he will offer testimony. Indeed… it is apparent
            that these subjects are Mr. Kohlmann’s life work, and he has, therefore, acquired a
            considerable amount of information and documentation on these subjects… Mr.
            Kohlmann’s work receives a considerable amount of peer review from academic scholars
            and others, and by all accounts, Mr. Kohlmann’s work is well regarded.”

             Similarly, in United States v. Syed Haris Ahmed, Federal District Judge William
     S. Duffey Jr. held a Daubert hearing on my qualifications as an expert witness, and noted
     in his published ruling:

            “Kohlmann has developed an understanding of terrorist organization structures,
            operations, and membership, allowing him to speak with authority about Al-Qaeda in
            Iraq, Lashkar-e-Taiba, and Jaish-e-Mohammed. His research and experience have
            provided him a base of understanding far greater, and far more sophisticated, than of the
            Court or of jurors... A person lacking Kohlmann's advanced knowledge of JeM and LeT
            essentially would not be able to recognize the information on Khan's hard drive as
            information that might link a person to JeM or LeT.”

         I am being compensated by Plaintiffs in these cases according to an hourly billable
     rate of US$400. I confirm that I have no previous professional or personal connection or
     relationship with any of the parties or witnesses in this case that would preclude my
     giving impartial evidence.




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        II.)    Research and Archival Methodology
             The methodology employed in formulating this report is derived from techniques
     taught to me by the late Dr. Joseph Lepgold, a senior faculty member from the
     Department of Government of the Edmund A. Walsh School of Foreign Service (SFS) at
     Georgetown University, as part of official coursework towards the completion of my
     Georgetown University Senior Honors Thesis, “The Legacy of the Arab-Afghans: A Case
     Study.” Sources of research in the field of terrorism and terrorist organizations can
     loosely be divided into three sub-categories: primary sources, secondary sources, and
     tertiary sources. Primary sources are generally considered to be the most credible and
     most authentic sources of information for objective analysis. Examples of primary
     sources would include a face-to-face interview with the leader of a terrorist organization,
     an in-person visit to a training camp, or directly witnessing a terrorist attack. However,
     because international terrorist organizations are, by their very nature, secretive
     organizations which operate clandestinely, access to primary sources is rare and
     inconsistent. As such, frequently, terrorism analysts must instead turn to secondary
     sources in order to gain a deeper understanding of these groups. Examples of secondary
     sources would include an original video or audio recording of a terrorist leader, published
     written communiqués, or an official magazine/website created by a terrorist organization.
     Secondary sources can occasionally be self-authenticating (i.e. a high-resolution video of
     an unmasked individual speaking) or can require deductive reasoning in order to
     determine their authenticity. Beyond primary and secondary sources, there is one further
     category of research: tertiary sources. Examples of tertiary sources would include a
     newspaper article, a television news report, or a book or magazine published by a
     reputable third party. However, because the information offered in tertiary sources often
     comes through a convoluted or unclear chain of custody, I limit my own use of tertiary
     sources to add additional context to information already confirmed by primary or
     secondary sources.

              In order to determine the provenance of particular secondary or tertiary sources, I
     engage in a traditional social science method known as “comparative analysis.” This
     requires me to compare and contrast particular sources in question with other analogous
     sources contained in my digital archive, searching for common threads and themes. By
     drawing from a wide assortment of primary and secondary sources, I establish a single,
     objective narrative—while simultaneously noting any significant factual discrepancies or
     conflicting data. During a May 2009 Daubert hearing before Judge William S. Duffey Jr.
     in the Northern District of Georgia, I explained the process of “comparative analysis” and
     how I rely upon it when making determinations of fact. This testimony was subsequently
     summarized by Judge Duffey in his own published ruling qualifying me as an expert:

            “The basis for Kohlmann’s testimony, generally, is his years of research and tracking of
            terrorist information, through websites, primary interviews, books, news articles, and
            journals, and other information. His testimony essentially synthesizes these concepts,
            and through the use of the comparative analysis methodology, Kohlmann has developed
            an understanding of terrorist organization structures, operations, and membership…
            Kohlmann testified in detail regarding the methodology of comparative analysis, how it is
            relied upon by experts in social sciences, and how the particular information he gathers


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              allows him to perform reliable analysis. He specifically testified to how he gathers and
              analyzes information from primary, secondary, and tertiary sources, and he explained the
              difference between the sources and why and how he relies on each differently. He further
              explained how comparative analysis is performed, assimilating the relevant information
              and comparing and contrasting sources against one another to form a cohesive whole.
              The sources Kohlmann uses and the methodology he employs to analyze those sources,
              are identical to those used by other experts in his field. Kohlmann explained his
              methodology and how he used the methodology to arrive at his opinions in this case. The
              defendants did not offer any evidence at the hearing or subsequent to it to suggest that
              Kohlmann’s methodology is not sound or is not the same methodology typically relied
              upon by other social scientists… Mr. Kohlmann’s ability to synthesize that information
              through comparative analysis establishes his qualification as an expert.”

         III.) Applying Research Methodology to Plaintiffs’ Case

             In October 2010, Plaintiffs’ counsel requested that I provide an expert opinion on
     the use of the Internet and other media by the Islamic Resistance Movement (Hamas,
     a/k/a “the Martyr Ezzadeen al-Qassam Brigades”)1 in order to disseminate propaganda,
     claim responsibility for various terrorist attacks, and/or glorify deceased or imprisoned
     members of its organization. I have specifically been requested to:

             Identify key websites which, in my expert opinion, are directly controlled by
              Hamas, set forth their provenance, and summarize their agenda and purpose.
             Describe how Hamas and its co-conspirators use the Internet and other media,
              including specific websites and Internet discussion forums, to facilitate Hamas’
              terrorist operations.
             Explain and opine upon the meaning and significance of certain texts, websites,
              videos, audio files and other media used by Hamas (including Hamas-controlled
              or related persons, organizations, or entities).
             Offer an expert opinion regarding whether Hamas has claimed responsibility
              through its websites and other media for the following specific terrorist attacks
              from 2001-2004 (the “Attacks”), and—if so—to provide an expert opinion on the
              reliability and credibility of those claims2:

                  o March 28, 2001 – Gas Station Bombing near Kfar Saba

     1
       As used in this report, “Hamas” refers to Harakat al-Muqawama al-Islamiya, a Palestinian Islamist
     movement that is an outgrowth of the Palestinian branch of the Egypt-based Muslim Brotherhood. The
     United States designated Hamas a Specially Designated Terrorist (SDT) in 1995, a Foreign Terrorist
     Organization (FTO) in 1997 and a Specially Designated Global Terrorist (SDGT) in 2001. The official
     name of the military wing of Hamas, spelled herein as “the Ezzedeen al-Qassam Brigades”, can also be
     transliterated from Arabic into English in a variety of other spellings, including “the Izzadeen al-Qassam
     Brigades” and “the Izz al-Din al-Qassam Brigades.”
     2
       As used in this Report, references to a Hamas claim being “reliable” and “credible” are not intended to
     express a legal opinion regarding Hamas’s sole or shared responsibility for an attack, nor are they intended
     to suggest that the specific types of Hamas claims of attribution I address in this Report are dispositive of
     Hamas’s responsibility for any attack. Instead, references to “reliability” and “credibility” signals my view
     that the evidence I have considered and am relying upon from Hamas’ online websites indicates that it is
     more likely than not that Hamas played at least some culpable role for each attack.


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               o   June 1, 2001 – Dophinarium Suicide Bombing in Tel Aviv
               o   August 9, 2001 – Sbarro Pizzeria Bombing, Jerusalem
               o   December 1, 2001 – Ben Yehuda Bombings in Jerusalem
               o   December 12, 2001 – Shooting attack on Bus in Emmanuel
               o   March 7, 2002 – Atzmona Shooting attack
               o   March 9, 2002 – Café Moment Suicide Bombing
               o   March 27, 2002 – Park Hotel Bombing, Netanya.
               o   May 7, 2002 – Sheffield Club Bombing, Rishon Letzion.
               o   June 18, 2002 – Jerusalem Bus #32 Bombing
               o   July 31, 2002 – Hebrew University Cafeteria Bombing, Jerusalem.
               o   September 19, 2002 – Tel Aviv Bus #4 Bombing
               o   January 29, 2003 – Shooting Attack on Route 60
               o   March 5, 2003 – Haifa Bus #37 Bombing
               o   March 7, 2003 – Shooting in Kiryat Arba
               o   April 30, 2003 – Mike’s Place Bombing, Tel Aviv
               o   May 18, 2003 – Jerusalem Bus #6 Bombing
               o   June 11, 2003 – Jaffa Road Bus 14A Bombing, Jerusalem.
               o   June 20, 2003 – Shooting Attack on Route 60.
               o   August 19, 2003 – Jerusalem Bus #2 Bombing.
               o   September 9, 2003 – Bombing at Café Hillel in Jerusalem
               o   October 22, 2003 – Tel Romeida Shooting Attack
               o   January 29, 2004 – Jerusalem Bus # 19 Bombing
               o   September 24, 2004 – Mortar Strike in Neve Dekalim.

             In order to apply my research and analytical methodology to Plaintiffs’ cases, I
     have reviewed my own stored archive of Hamas websites and relevant propaganda
     materials (accessed from 2001 until the present). Both on a manual basis and
     simultaneously using automated web spidering software known as “WinHTTrack,” I
     have gradually compiled an open source historical record of now-defunct Hamas-related
     websites and e-mail lists. Those materials stored on my own information server have
     been supplemented by other available online archives of those same websites and
     materials (primarily hosted by the Internet Archive, www.archive.org). To provide
     further context, I have also thoroughly examined the current iteration of the official
     Hamas Internet website, Alqassam.ps, and its accompanying web discussion forum
     Almoltaqa.ps. On a logistical level, in order to address any issues concerning original
     documents written in the Arabic language, I have been directly assisted in reviewing
     these documents and formulating the subsequent report by my researcher, a graduate
     student and native of Jordan who is fluent in modern standard Arabic and has worked in
     the past as an Arabic-English language tutor.

            After identifying the array of official websites used by Hamas over time, I have
     systematically reviewed copies of communiqués (or “bayans”) stored in their online
     archives, comparing the style, language, and content of those statements to official
     assessments from the Ministry of Foreign Affairs of the State of Israel, and to other
     documents published by Hamas—such as the infamous al-Qassam “Glory Record”—
     video-recorded “martyrdom” wills, photographs, and biographical information about the



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     alleged perpetrators of attacks. This review was conducted both to determine whether
     Hamas had ever issued legitimate claims of credit for particular terrorist attacks, and
     equally, whether Hamas had specifically denied involvement in other terrorist attacks. It
     is a reasonable assumption that the more occasions Hamas claims responsibility for an
     individual operation, and the more specific detail Hamas can provide about the planning
     and execution of that operation, the more likely it is that its claims are legitimate.

        IV.) Summary of Conclusions

            Based upon the information, research, and analysis presented in this report, I have
     reached several key conclusions:

           Since at least 2001, the Palestinian Hamas organization—a designated Foreign
            Terrorist Organization (FTO) otherwise known as the “Islamic Resistance
            Movement” and “the Ezzedeen al-Qassam Brigades”—has maintained a regular
            presence on the Internet through the use of fixed websites, online newsletters, and
            virtual discussion forums. The most notable of these entities are the Palestine-
            info.net website, the Alqassam.ps website (also formerly known as
            Qassamiyoon.com, Kataeb-ezzeldeen.net, Ezzedeen.net, etc.), and the
            Almoltaqa.ps social networking forum. Hamas has employed these venues to
            disseminate its propaganda, to conduct public interviews with senior Hamas
            officials, to facilitate communication and coordination among Hamas supporters,
            and to assist in illicit terrorist financing schemes. Hamas’s web presence is one of
            its most vital material resources, serving as a massive “force multiplier” for its
            membership.

           Since 2001, Hamas, together with persons or entities controlled by, or related to
            Hamas, has utilized certain texts, websites and other media (many of which will
            be discussed and analyzed infra) for the purpose of advertising its involvement
            and responsibility in various violent “operations,” including attacks that are
            alleged to have injured the Plaintiffs in these actions. In my expert opinion, these
            texts, websites and media can be attributed to Hamas and have particular
            significance to Hamas on both a symbolic and operational level, including their
            use in connection with acknowledging Hamas’s involvement and/or contribution
            to particular violent acts.

           Using the above-mentioned means (namely websites, newsletters, and forums),
            Hamas has distributed authentic claims of responsibility—accompanied by other
            evidence in the form of high-resolution photographs, original video recordings,
            and the personal accounts of eyewitnesses—which demonstrate its culpability in
            the execution of particular terrorist attacks identified by Plaintiffs that have
            occurred between 2001 and 2004. Those attacks include (but are not limited to)
            the:

                o March 28, 2001 – Gas Station Bombing near Kfar Saba
                o June 1, 2001 – Dophinarium Suicide Bombing in Tel Aviv


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                o   August 9, 2001 – Sbarro Pizzeria Bombing, Jerusalem
                o   December 1, 2001 – Ben Yehuda Bombings in Jerusalem
                o   December 12, 2001 – Shooting attack on Bus in Emmanuel
                o   March 7, 2002 – Atzmona Shooting attack
                o   March 9, 2002 – Café Moment Suicide Bombing
                o   March 27, 2002 – Park Hotel Bombing, Netanya.
                o   May 7, 2002 – Sheffield Club Bombing, Rishon Letzion.
                o   June 18, 2002 – Jerusalem Bus #32 Bombing
                o   July 31, 2002 – Hebrew University Cafeteria Bombing, Jerusalem.
                o   September 19, 2002 – Tel Aviv Bus #4 Bombing
                o   January 29, 2003 – Shooting Attack on Route 60
                o   March 5, 2003 – Haifa Bus #37 Bombing
                o   March 7, 2003 – Shooting in Kiryat Arba
                o   April 30, 2003 – Mike’s Place Bombing, Tel Aviv
                o   May 18, 2003 – Jerusalem Bus #6 Bombing
                o   June 11, 2003 – Jaffa Road Bus 14A Bombing, Jerusalem.
                o   June 20, 2003 – Shooting Attack on Route 60.
                o   August 19, 2003 – Jerusalem Bus #2 Bombing.
                o   September 9, 2003 – Bombing at Café Hillel in Jerusalem
                o   October 22, 2003 – Tel Romeida Shooting Attack
                o   January 29, 2004 – Jerusalem Bus # 19 Bombing
                o   September 24, 2004 – Mortar Strike in Neve Dekalim.

     With regard to the above-mentioned means (namely websites, newsletters, and forums),
     neither Hamas nor any of its sub-branches (such as the Ezzedeen al-Qassam Brigades)
     has ever issued any rejection or credible denial of its culpability in executing the
     aforementioned series of twenty-four terrorist attacks that occurred between 2001 and
     2004.

        V.)     The Role of the Internet for the Islamic Resistance Movement
                (Hamas)

             Prior to the emergence of the Internet and the modern digital frontier,
     international terrorist organizations such as Hamas faced serious obstacles in matters of
     communication, coordination, and media access. A fixed television channel or radio
     station is an easy target for an organized military force, as the Israeli government has
     proven with its repeated strikes on the Hezbollah broadcast company known as “Al-
     Manar” in Lebanon. Years of effort and hard-earned financing channeled to build the
     physical infrastructure necessary to support traditional media and communications
     methods can be obliterated in an instant by a single laser-guided missile dropped from an
     enemy aircraft. Even inviting mainstream media to do their own independent interviews
     and reporting can present some serious risks. On various occasions, journalists have been
     secretly employed as spies (or assassins, as in the case of the late Afghan warlord Ahmad
     Shah Massoud), and terrorist groups like Hamas have little control over the message of
     the media once journalists leave the conflict zone. Propaganda videos that take Hamas



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     months to film, edit, and create are boiled down into 30-second cable news segments that
     present an incomplete picture of what the organization is attempting to achieve.

             As such, the advent of the Internet has caused a revolutionary democratization of
     media, especially among Foreign Terrorist Organizations with limited fixed resources
     like Hamas. The leaders of Hamas can now speak directly to a broad, globalized
     audience without worrying about imminent security dangers or the filtering effect of Al-
     Arabiya, Al-Jazeera, and Western news agencies. Potential recruits and would-be donors
     can be solicited far from the narrow confines of mosques and Islamic universities in the
     West Bank and Gaza Strip. Hamas can re-shape its own public image, and present raw
     information about its ongoing endeavors. It can even use social networking forums in
     order to facilitate communication between and among Hamas members operating within
     the borders of Gaza—allowing them to instantly pool their intelligence, resources, and
     experience. Charging forward on the frontline of information technology, Hamas has
     also experimented with other innovative strategies such as themed video games and
     online children’s literature in order to expand the potential reach of its recruitment drives.

             Thus, to ask what role the Internet plays in the operations of Hamas is perhaps the
     wrong question. Much like other urbanized populations at large, the Internet and the
     World Wide Web have pervaded every aspect of the lives of Hamas members, whether
     on a personal or political level. The Internet has become an integral communications tool
     and a critical low-cost force multiplier for Hamas. The sudden absence of that tool would
     be catastrophic, and perhaps the best testament to that fact is how quickly Hamas has
     resurrected its primary website following various attacks over time by hackers and law
     enforcement agencies. It is no longer simply a curiosity or a sideshow—rather, the
     Internet has now evolved into serving as the primary mouthpiece to the world for Hamas.

        VI.) The Web Footprint of the Islamic Resistance Movement
             (Hamas)
             The Islamic Resistance Movement (“Hamas”) is divided into several operational
     sub-branches and wings, each of which maintains its own unique presence on the
     Internet.

         The Hamas Political Wing (www.palestine-info.net, et. al)
             Like other analogous terrorist groups, Hamas has both a political and military
     wing. Though there are frequent cross-overs in terms of their leadership and activities,
     the general purpose of the Hamas political wing is to spread the ideological doctrine of
     Hamas, to recruit new activists and members, to negotiate relationships with foreign
     governments and other outside parties, and to help solicit material resources needed to
     finance the military operations of Hamas. On December 1, 1997, Hamas supporters
     based in Beirut, Lebanon established a new organization on the Internet, the Palestinian
     Information Center (PIC). The website of the group—alternatively located at Palestine-
     info.net, Palestine-info.com, Palestine-info.org, Palestine-info.info, and elsewhere—was



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     initially published in Arabic only, but later was complemented with an English-language
     version starting on January 1, 1998.

             Though the PIC has never explicitly acknowledged being affiliated with Hamas, it
     has been identified as such by senior Hamas officials, the U.S. government, and other
     Western governments. In an online interview in May 2003, Hamas senior spokesman
     Ismail Abu Shanab stated, “on the internet there are many websites and pages that
     represent Hamas activities. You can find them on www.palestine-info.info.”3 Likewise,
     in March 2004, federal prosecutors in Idaho filed a second superseding criminal
     indictment against Sami Omar al-Hussayen, alleging that an Internet website under his
     administration was soliciting donations to Hamas: “Participate with money, and this is
     [via] The Palestinian Information Center (the official mouthpiece of the Islamic
     Resistance Movement, HAMAS), which opens the door of donations for all Muslims to
     assist their brothers in their honorable jihad against the dictatorial Zionist Jewish
     enemy.”4 The Open Source Center (OSC)—a U.S. government open-source intelligence
     service, formerly known as the Foreign Broadcast Information Service (FBIS)—refers to
     Palestine-info.net in its official database as a “HAMAS-affiliated site.” This affiliation
     has correspondingly been recognized by European law enforcement authorities. The
     2003 annual “Report of the Office for the Protection of the Constitution” from the
     German Interior Ministry addressed the website under a section titled “Means of agitation
     and communication,” explaining: “The Palestinian Information Centre (PIC) provides
     daily reports and news from the Palestinian perspective. The Palestinian Hamas also
     posts its communiqués and other articles on this site. It [Hamas] no longer has its own
     website and now publishes its material exclusively on the PIC’s site.”5 Finally, it should
     be noted that, at the time of the writing of this report in June 2009, a Google web search
     for the phrase “hamas website” turned up www.palestine-info.com in Arabic among its
     top five results.

             The Internet domain name “Palestine-info.net” was first registered with Network
     Solutions Inc. in November 1998 on behalf of the Palestinian Information Center in
     Beirut by U.S. resident Ziyad Helmi Khaleel.6 While living in the United States, Khaleel
     was a public activist for the Hamas front group Islamic Association for Palestine (IAP)
     and an associate of Ahmed Abu Marzouq, nephew of the Deputy Chief of the Hamas
     Political Bureau, Musa Abu Marzouq. Shortly thereafter, in December 1999, Ziyad
     Khaleel was arrested by authorities in Jordan as an alleged “procurement agent” for Al-
     Qaida leader Usama Bin Laden.7 Khaleel was later identified in documents exhibited



     3
       “Interview with Ismail Abu Shanab, Senior Spokesman and Policymaker of the Islamic Resistance
     Movement (Hamas) on “The Roadmap and the Palestinians’ Right of Return.” IslamOnline. May 28,
     2003. http://www.islamonline.net/livedialogue/english/Browse.asp?hGuestID=BH3h8q.
     4
       Second Superseding Indictment. United States v. Sami Omar al-Hussayen. No. 03-040 (D.
     Idaho, 2004). Page 9.
     5
       “Means of agitation and communication.” German Federal Ministry of the Interior. Annual Report
     of the Office for Protection of the Constitution: 2003. Page 224.
     6
       Internic domain records. (http://www.networksolutions.com/cgi-bin/whois/whois/)
     7
       Lorch, Donatella and Daniel Klaidman. “The Plot Thickens.” Newsweek. February 7, 2000.


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     during United States v. Usama Bin Laden et al. as having purchased a satellite telephone
     and accessories for Bin Laden’s personal use in Afghanistan.8

             Visitors to the Palestinian Information Center Internet homepage were
     immediately offered access to a number of sub-sections, one of which is labeled
     “Hamas.” The “Hamas” sub-section offered a number of options—including access to
     profiles and photos of senior Hamas leaders, copies of official Hamas communiqués (in
     English and Arabic), Hamas propaganda posters, and the Hamas “Glory Record.”9 The
     infamous “Glory Record” serves as an annual tally of operations undertaken by the
     Hamas military wing (the Ezzadeen al-Qassam Brigades). It includes such entries as the
     following:

            “Al-Affouleh Operation: It was the first
             operation in a series of revenge operations
             for the Al-ibraheemy Holy Shrine massacre
             on 6 April 1994. The militant Ra’ed
             Abdallah Zakarneh, a member of Al
             Qassam Brigades, drove a booby-trapped
             vehicle with an Israeli registration plate
             into Al:affouleh bus station at 12:25 p.m.
             and detonated it. Nine Israelis were killed
             and more than 150 were injured. A
             statement revealed that the car was
             carrying 57 kilograms of explosives.”10

            “Dezenkov Street Operation: In an
             immediate reaction to the previous
             operation, the militant Saleh Abdelraheem
             Sawy bombed an Israeli bus at Dezenkof
             Street in downtown Tel Aviv on 19
             October 1994. The explosion was rather
             violent, leaving 22 Israelis dead, 47 injured
             and seriously damaging many shops.
             Israelis were confused and shocked by this             http://www.palestine-info.org/photo/resistance_photo/images_respho/1a.gif

             operation, causing Yitzhak Rabin to                           Sample Image from the Palestine
                                                                              Information Center (PIC)
             shorten his visit to London.”11



     8
       United States v. Usama Bin Laden et al. (SDNY, 2001). Trial Transcript, Pages 3028-3038, 3478-3480,
     3482, and 3485.
     9
       http://web.archive.org/web/19990202113708/http://www.palestine-info.org/hamas/index-h.html and
     http://web.archive.org/web/19990826043235/http://www.palestine-info.net/hamas/. As of July 2009, the
     PIC website appears to have since quietly removed much of its once-flourishing Hamas content.
     10
        http://web.archive.org/web/20000109170449/http://www.palestine-info.net/hamas/glory/index.htm.
     January 2000.
     11
        http://web.archive.org/web/20000109170449/http://www.palestine-info.net/hamas/glory/index.htm.
     January 2000.


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             The Palestine-info.net website contained substantial information on senior Hamas
     leaders, including numerous photographs and extensive personal biographies available in
     both Arabic and English. In fact, the website dedicated more than one sub-section to
     profiling Hamas leaders and extolling their resumes.12 The following individuals are
     some of those identified by the Palestinian Information Center website as senior Hamas
     leaders, along with relevant information from their personal profiles posted on Palestine-
     info.net:

             Shaykh Ahmed Yassin13
                 o The late Shaykh Ahmed Yassin heads the list of Hamas leaders and is
                    credited by Palestine-info.net as a “Founder of Hamas.” The website also
                    acknowledges that Yassin was convicted by an Israeli military court in
                    1991 of involvement in various crimes, “including inciting others to
                    kidnap and murder Zionist soldiers and the establishment of Hamas and its
                    military and security apparatus.”

             Khalid Meshaal14
                 o Syria-based Hamas leader Khalid Meshaal is referred to by Palestine-
                     info.net as the “President” of “the Hamas Political Bureau.” The website
                     also describes him as “one of the founders of the Islamic Resistance
                     Movement (Hamas),” a “Member of [the] Hamas Political Bureau since it
                     was established”, and “Chairman of the Bureau” since 1996.

             Musa Abu Marzouq15
                o Syria-based Hamas leader Musa Abu Marzouq is identified by Palestine-
                    info.net as a “member of [the] Hamas Political Bureau” who was “elected
                    as Chairman of [the] Hamas Political Bureau in 1991.” The website also
                    acknowledges that Marzouq was “arrested by the U.S. authorities at New
                    York’s JFK International Airport” in 1995 based upon evidence that Abu
                    Marzouq was responsible for “issuing commands and transferring money
                    to the military wing of Hamas.”

                 o The website further notes, “An American federal court ordered to extradite
                   him to the Zionist occupation authorities. In January 1997, Dr. Abu
     12
        See: http://web.archive.org/web/19981205033122/http://www.palestine-info.org/hamas/romooz.html,
     http://web.archive.org/web/20040619112356/http://www.palestine-
     info.com/arabic/hamas/leaders/leaders.htm, and
     http://web.archive.org/web/20000818174847/http://www.palestine-info.net/hamas/leaders/index.htm.
     13
        See: http://web.archive.org/web/20001030024835/http://www.palestine-
     info.org/hamas/leaders/yaseen.htm and http://web.archive.org/web/20040814181502/http://www.palestine-
     info.com/arabic/hamas/leaders/yaseen.htm.
     14
        See: http://web.archive.org/web/19981203071355/http://www.palestine-
     info.org/hamas/leaders/mashal.html and
     http://web.archive.org/web/20040626095003/http://www.palestine-
     info.com/arabic/hamas/leaders/khalid.htm.
     15
        See: http://web.archive.org/web/19981201042041/http://www.palestine-
     info.org/hamas/leaders/mosa.html and http://web.archive.org/web/20040626095413/http://www.palestine-
     info.com/arabic/hamas/leaders/abomarzouq.htm.


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                      Marzook decided not to appeal the extradition order against him after
                      having spent 18 months in a solitary confinement cell at a New York
                      federal jail.” The Palestine-info.net website includes several photos of
                      Musa Abu Marzouq being held prisoner in the United States while
                      awaiting extradition.

             Ibrahim Ghousheh16
                  o According to the Palestine-info.net website, Ibrahim Ghousheh is a
                     “Hamas Spokesman” and has served in this role since 1992. The site also
                     indicates that Ghousheh is a “Member of [the] Hamas Political Bureau.”
                     Ghousheh, normally based in Jordan, was deported by the Jordanian
                     government for eighteen months in 1999 for his ties to Hamas.

             Abdelaziz al-Rantisi17
                 o According to the Palestine-info.net website, the late Abdelaziz al-Rantisi
                    is identified as the “Hamas Spokesman in Gaza” who was one of those
                    responsible for “found[ing] the Islamic Resistance Movement, Hamas, in
                    1987.” Al-Rantisi was killed in a targeted Israeli military airstrike on
                    April 17, 2004.

             Mohammed Nazzal18
                o Amman-based activist Mohammed Nazzal was one of the founders of the
                   Hamas political office in Jordan. According to the Palestine-info.net
                   website, Nazzal has served as the “Hamas Representative in Jordan” since
                   1992 and is a “Member of Hamas Political Bureau.” In August 1999, the
                   Jordanian government temporarily closed the Hamas office in Amman and
                   issued an arrest warrant (later rescinded) for Nazzal.

             Jamal Mansour19
                 o According to the Palestine-info.net website, the late Jamal Mansour was
                    “a Hamas leader in the West Bank”, “a Hamas spokesman in the West
                    Bank,” and a “Spokesman of Hamas delegation to the dialogue with the
                    Palestinian Authority.” In 1992, Israel deported Mansour along with more

     16
        See: http://web.archive.org/web/20001214155000/http://www.palestine-
     info.org/hamas/leaders/ghoshe.html and
     http://web.archive.org/web/20040814181530/http://www.palestine-
     info.com/arabic/hamas/leaders/ghosheh.htm.
     17
        See: http://web.archive.org/web/19981203144807/http://www.palestine-
     info.org/hamas/leaders/ranteesi.html and
     http://web.archive.org/web/20040517064728/http://www.palestine-
     info.com/arabic/hamas/leaders/rantisi.htm.
     18
        See: http://web.archive.org/web/20001207082600/http://palestine-info.org/hamas/leaders/nazzal.html
     and http://web.archive.org/web/20040626100049/http://www.palestine-
     info.com/arabic/hamas/leaders/nazzal.htm.
     19
        See: http://web.archive.org/web/19981203100225/http://www.palestine-
     info.org/hamas/leaders/jamalmans.html and
     http://web.archive.org/web/20040626095818/http://www.palestine-
     info.com/arabic/hamas/leaders/jamal.htm.


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                      than 400 other Palestinian extremists to refugee camps in southern
                      Lebanon. Mansour’s violent opposition to the Oslo peace accords led to
                      his imprisonment in a Palestinian Authority-run jail for at least two years
                      and more than five years in Israeli jails in total. Mansour was eventually
                      killed in a targeted Israeli military airstrike in July 2001 for his role in
                      militant activities.

             Imad al-Alamy20
                 o According to the Palestine-info.net website, Imad al-Alamy is a “Member
                     of Hamas Political Bureau.” After being deported from the Gaza Strip in
                     1991 and moving his base of operations to Damascus, Syria, al-Alamy has
                     served as a critical link between Hamas, its various state sponsors, and
                     other Islamic militant organizations active in the region.

             Salah Shehadeh21
                 o According to the Palestine-info.net website, Salah Shehadeh was a
                     “Founder of Hamas’ military apparatus.” Shehadeh was killed in a
                     targeted Israeli military airstrike in July 2002 for his role in terrorist
                     activities. At the time of his death, Shehadeh was the supreme
                     commander of the Hamas military wing, the Ezzadeen al-Qassam
                     Brigades.

             Ismail Haniya22
                 o Based in the Gaza Strip, Ismail Haniya is the Prime Minister of the Hamas
                     government in Gaza and is a senior political leader of Hamas. Haniya’s
                     recent Hamas speeches and biography are cited on Palestine-info.com.

             Shaykh Khaled al-Haj23
                 o Operating in the West Bank, Khaled al-Haj has allegedly served as a
                    senior Hamas leader and coordinator between Hamas and other terrorist
                    organizations in and around the town of Jenin. As a result of his militant
                    activities, Al-Haj has spent nearly three years in Palestinian Authority
                    prisons and additional time as a prisoner in Israeli jails. According to
                    Palestine-info.net, al-Haj is listed as a “spokesman for the Islamic
                    Resistance Movement, Hamas, in the Jenin district.”

     20
        See: http://web.archive.org/web/20001207034900/http://palestine-info.org/hamas/leaders/emadalmy.html
     and http://web.archive.org/web/20040626095643/http://www.palestine-
     info.com/arabic/hamas/leaders/alalami.htm.
     21
        See: http://web.archive.org/web/19981202120441/http://www.palestine-
     info.org/hamas/leaders/salah.html and http://web.archive.org/web/20040814181418/http://www.palestine-
     info.com/arabic/hamas/leaders/salah.htm.
     22
        http://web.archive.org/web/20060213060854/http://www.palestine-
     info.net/arabic/hamas/leaders/2005/haneya.htm.
     23
        See: http://web.archive.org/web/20041102211459/http://www.palestine-
     info.net/arabic/hamas/leaders/khaled_Haj.htm and
     http://web.archive.org/web/20040626095847/http://www.palestine-
     info.com/arabic/hamas/leaders/khalidalhag.htm.


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             Rifat Nasif24
                 o Rifat Nasif is a top Hamas political leader in the town of Tulkarem. He
                     has served jail terms in both Israeli and Palestinian Authority-run prisons
                     for his role in militant activities. According to Palestine-info.net, Nasif
                     “joined the ranks of the Islamic Resistance Movement, Hamas, at the
                     beginning in 1987, and since then has been one of the most prominent
                     Hamas leaders in the city of Tulkarem.”

             Osama Hamdan
                 o Osama Hamdan is the senior representative of Hamas based in Lebanon
                    and is a member of the movement’s politburo.25 In August 2003, the U.S.
                    Treasury Department blacklisted Osama Hamdan as a “Specially
                    Designated Global Terrorist” (SDGT) due to his leadership position in
                    Hamas. According to an accompanying fact sheet distributed by the U.S.
                    government:

                               “Hamdan, a senior HAMAS official based in Lebanon, maintains contact
                               with representatives with other terrorist organizations with the purpose of
                               strengthening the ties between these organizations in order to strengthen
                               an international Islamic Jihad. He has worked with other HAMAS and
                               Hizballah leaders on initiatives to develop and activate the military
                               network inside the Palestinian territories in support of the current
                               intifada, including the movement of weapons, explosives and personnel
                               to the West Bank and Gaza for HAMAS fighters. Funds transferred
                               from charitable donations to HAMAS for distribution to the families of
                               Palestinian ‘martyrs’ have been transferred to the bank account of
                               Hamdan and used to support HAMAS military operations in Israel.”26

                  o In June 2003, Palestine-info.net published an “exclusive interview” with
                    Hamdan, which it described as “the Hamas representative in Lebanon.”27
                    In response to questions about the relationship between Hamas and other
                    Palestinian political movements, Hamdan explained, “internal dialogue
                    between the factions continues in various forms, and it is of a bilateral
                    nature. Speaking for Hamas, we still consider dialogue as a means of
                    understanding among the Palestinian people.” Hamdan also addressed
                    rumors that Western efforts to block financial support for Hamas in the
                    Palestinian territories was “having an impact on the practice”: “we know
                    that our enemies have gone through major efforts to besiege the forces of
                    resistance, we do our best to overcome them.”
     24
        http://web.archive.org/web/20041102211347/http://www.palestine-
     info.net/arabic/hamas/leaders/rafat1.htm.
     25
        “Hamdan says progress made on talks due to compromise; Hamas urges coexistence under Palestinian
     rule.” Al-Arabiya. May 20, 2009.
     26
        “U.S. Designates Five Charities Funding Hamas and Six Senior Hamas Leaders as Terrorist Entities.”
     U.S. Treasury Department Press Release JS-672; Office of Public Affairs. August 22, 2003.
     27
        http://web.archive.org/web/20040624124455/http://www.palestine-
     info.com/arabic/hamas/hewar/hamdan.htm.


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                 o In 2004, Palestine-info.net published the complete transcript of an online
                   public interview on Paltalk chat forums “with the mujahid brother Osama
                   Hamdan, the representative of the Islamic Resistance Movement (Hamas)
                   in Lebanon.”28 During the course of the open question-and-answer
                   session, Hamdan was asked about the “Hamas accounts that were closed
                   by the U.S. government.” He responded, “Everyone knows that it is not
                   the leaders of Hamas who hold accounts in the United States of America.
                   This is part of a cheap U.S. attempt to blackmail Arab governments and to
                   force the whole world to besiege the Hamas movement, as well as to put
                   pressure on the ministers of European countries to put Hamas on the EU
                   terrorist list of European—and this cause for a moment of pause by our
                   people and our nation.”29

                 o In 2005, Palestine-info.net published “an interview with the representative
                   of the Islamic Resistance Movement (Hamas) in Lebanon Osama
                   Hamdan.” Hamdan waved off suggestions by his interviewer that the
                   Lebanese government was showing increasing hostility to Palestinian
                   refugees: “We in Hamas believe that what is required at this stage is to
                   build understanding between the Palestinians and the Lebanese.”30

                 o The Palestinian Information Center (PIC) has prominently posted an
                   appeal on its website for donations from supporters:31

                             “A call for contributions… to support the Al-Aqsa Intifada and the
                             struggle of Palestinian people; to uncover the Zionist massacres against
                             the unarmed Palestinian people; to highlight the dangers posed by the
                             Zionists to our Arab and Islamic nation; in support of the Al-Aqsa
                             Intifada; and to support the mujahideen and the examples of heroism and
                             the heroic resistance; to show the truth that some are trying to cover up
                             or have ignored or distorted. The Palestinian Information Center, the
                             voice of Palestine to the world… To contribute in honor of the cause of
                             jihad, to support serious and objective Palestinian media, contribute to
                             the Palestinian Information Center online.”32

                     The announcement explains that PIC “accepts donations and financial
                     transfers” in a U.S. dollar account (#3-810-622473-0330) at a branch of
                     Arab Bank in Beirut, Lebanon. It further emphasizes, “please kindly put
                     the account number only, without writing the name of the Centre or any
                     other names.” 33
     28
        http://web.archive.org/web/20040624125721/http://www.palestine-
     info.com/arabic/hamas/hewar/hamdan_1.htm.
     29
        http://web.archive.org/web/20040624125721/http://www.palestine-
     info.com/arabic/hamas/hewar/hamdan_1.htm.
     30
        http://www.palestine-info.info/arabic/hamas/hewar/2005/7amdan05.htm. December 2010.
     31
        http://www.palestine-info.info/arabic/donation.htm. January 2011.
     32
        http://www.palestine-info.info/arabic/donation.htm
     33
        http://www.palestine-info.info/arabic/donation.htm. January 2011.


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                  o Plaintiffs’ counsel have provided me with what appear to be printouts of
                    internal bank records from Arab Bank relating to account (#3-810-
                    622473-0330). The records include copies of an identity card for the
                    registered account holder, “Osama Hamdan Abdel latif Hamdan.” Other
                    records show financial transfers sent to several specified beneficiaries at
                    this Arab Bank account, including “Palestinian Information Center”,
                    “Osama Hamdan”, “Intifada”, and           “Harakat Al Muqawamah Al
                    Islamiyah HAMAS.”34




           Banner image from Palestine-info.net promoting the cause of Hamas leaders facing expulsion from Jordan
             In addition to these individual profiles and biographies, the Palestine-info.net
     website run by the Palestinian Information Center also regularly carried general news
     updates, both in Arabic and in English, concerning the recent activities (and legal
     predicaments) of senior Hamas leaders. For example, in 1999, when the Jordanian
     government arrested and eventually expelled a number of locally-based Hamas leaders
     (including Khalid Meshaal, Ibrahim Ghousheh, Ezzat Risheq, and Sami Khater), an entire
     new Arabic-language sub-section was created at www.palestine-info.net/jordanissue
     inorder to identify the Hamas leaders affected by the arrests and expulsions, address the
     underlying issues, and appeal for support from others.35 Individual Hamas leaders were
     also identified in official Hamas statements (published in Arabic and in English) on the
     Palestine-info.net website.36

           The Ezzadeen al-Qassam Brigades
             The “Ezzadeen al-Qassam Brigades” (in Arabic, “Kataeb Ezzedeen al-Qassam”)
     is the military wing of the Hamas movement. According to the April 2003 edition of the
     U.S. State Department Publication Patterns of Global Terrorism:

              “Various HAMAS elements have used both political and violent means, including
              terrorism, to pursue the goal of establishing an Islamic Palestinian state in place of
              Israel… HAMAS activists, especially those in the Izz al-Din al-Qassam Brigades, have
              conducted many attacks—including large-scale suicide bombings—against Israeli
              civilian and military targets… The group has not targeted US interests—although some
              US citizens have been killed in HAMAS operations.”37


     34
        File: ABPLC 188913-188985.pdf (labeled “Account of Osama Hamdan”).
     35
        http://web.archive.org/web/20000309021136/http://palestine-info.com/jordanissue/index.html.
     36
        For example: http://web.archive.org/web/20001217020600/http://www.palestine-
     info.net/hamas/communiques/comm_text/1999/24_11_99.htm. November 14, 1999.
     37
        Office of the Secretary of State and Office of the Coordinator for Counterterrorism. Patterns of Global
     Terrorism 2002. U.S. Department of State. Released April 2003. Page 107.


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                  o Qassamiyoon.com

             In approximately July 2001, the Ezzadeen al-Qassam Brigades established its first
     Internet website located at the domain http://www.qassamiyoon.com. The emergence of
     the Arabic-language website was announced, among other places, on an online discussion
     forum run by the Muslim Brotherhood38, http://www.ikhwan.net.39 In early July, users
     on the Ikhwan.net forum began posting messages with corresponding links to
     qassamiyoon.com under the title, “The Kataeb al-Qassam online website will soon
     appear, God willing.”40 Once ready for the public, under its main series of sub-sections,
     the Qassamiyoon.com website listed two initial offerings for first time visitors: “Who Are
     We?” and “Who Are You?” Those who selected “Who Are We?” were told, “this is the
     path – this is the voice of Hamas… the Brothers from the Martyr Ezzadeen al-Qassam
     Brigades.”41 With regards to “Who Are You?”, the website beseeched:

              “…Are you among those who spend their wealth in the path of Allah? …Are you among
              those who sacrifice their lives in the cause of Allah? …Are you prepared to leave your
              wife, your parents, your children, and follow the lions on the path of glory and
              martyrdom? …Have you decided yet???!!!”42

             The Qassamiyoon.com website offered another sub-section, labeled
     “Communiques,” which was described as “devoted to the publications of the Martyr
     Ezzadeen al-Qassam Brigades, which record the glorious history of these steadfast
     brigades.”43 Also available for download were lengthy insider biographies of the late
     Hamas master bomb-maker Yahya Ayyash44 and a Palestinian Arab-Afghan commander
     credited with having helped establish Hamas in the late 1980s, Shaykh Abdullah


     38
        The “Muslim Brotherhood” refers to Jamiat al-Ikhwan al-Muslimeen, a religious and political
     organization founded by Hassan al-Banna in 1928. It opposed the movement toward secularism that was
     occurring in the Muslim world at the time and encouraged a return to Islamic societies predicated on
     Quranic precepts.
     39
        “The Muslim Brotherhood Websites are a group of websites launched by the Muslim Brotherhood of
     Egypt or any organization around the world claiming to be endorsing the Muslim Brotherhood ideology.
     These websites are announced by a Muslim Brotherhood entity as an official representative of the
     organization or one of its branches. They are either run by individuals or groups affiliated with the Muslim
     Brotherhood… The Muslim Brotherhood began using cyberspace as a new and effective means of
     communication at a time when most attempts to have a media outlet have failed to find their way into
     official recognition… The ikhwan.net website, http://ikhwan.net, was launched on Jan, 21st, 2001. The
     domain information showed it was registered in the name a person in Al-Rayah street , Jiddah, Kingdom of
     Saudi Arabia. The ikhwan.net website expanded its network and launched Saraya Al-Ikhwan Al-
     Muslimeen room on the Middle East domain on the well-known PalTalk program.”
     http://www.ikhwanweb.com/Article.asp?ID=18865&SectionID=0.
     40
        http://www.ikhwan.net/archive/showthread.php?t=2648. July 8, 2001.
     41
        http://web.archive.org/web/20011027084734/http://www.qassamiyoon.com/we/index.htm. December
     2001.
     42
        http://web.archive.org/web/20011110055154/http://www.qassamiyoon.com/you/index.htm. November
     2001.
     43
        http://web.archive.org/web/20011221003349/qassamiyoon.com/byanat/center.htm. November 2001.
     (See e.g.: http://web.archive.org/web/20011212023310/qassamiyoon.com/byanat/26-11-2001.htm)
     44
        http://web.archive.org/web/20011027195233/http://www.qassamiyoon.com/document/ayash/index.htm.
     October 2001.


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     Azzam.45 Demonstrating the authenticity of its credentials, the Qassamiyoon.com site
     even carried an “exclusive interview” with Saleh Shehadeh, the chief of the Ezzadeen al-
     Qassam military wing in Gaza.46 During his interview, Shehadeh appealed for website
     readers to personally render their support to the cause of Hamas:

             “We call upon people to donate their time and money to aid in the smuggling of weapons
             into Palestine—as here in Palestine, the bullet for a Kalashnikov can cost three dollars
             and that of an M-16 costs $1.50, perhaps even up to two dollars. However, with regards
             to defensive weapons, we have no weapons to counter tanks or jets. If they ever become
             available to us, this is a rare occurrence and they fetch unimaginable prices… So, I tell
             all the Muslims and Arabs—and I believe in the goodness in them—to be generous with
             their wealth and weapons, or to facilitate or ease the smuggling of weapons, as we are in
             the frontline of those who are defending Jerusalem, Al-Aqsa, and the soil of occupied
             Palestine.”47

             Further material published on the Qassamiyoon.com website contained detailed
     technical analyses of weapons and tactics used by the Ezzadeen al-Qassam Brigades—
     information that appeared to come directly from those Brigades. On November 13, 2001,
     the site published a report on “remotely-detonated explosive devices… a new tactic that
     has been developed in the war with the occupation.”48 A day later, on November 14,
     Qassamiyoon.com released a second “special report” on “the ingenuity of the mujahideen
     in developing weaponry to resist the occupation.”49 According to that report:

             “Over the past few years, the military wing of the Hamas Movement has been able to
             develop its own weapons and home-grown fighting methods that were previously
             unattainable, and the mujahideen were able to utilize them during the al-Aqsa Intifada.
             The [Hamas] Movement has shown particular advancement in its techniques of preparing
             and detonating explosive devices. This is one of the weapons born from the ingenuity of
             the mujahideen, despite their lack of resources and capabilities, especially by utilizing
             mobile phones to serve as an electric circuit to detonate the explosive from a distance just
             by dialing the phone number of the device—in addition to changing the shapes of the
             devices, which are known as ‘smart bombs’… Sources from the military wing of the
             Hamas Movement confirm that the engineers of our movement were also able to build
             hand grenades of unique quality [made] of plastic and iron to make the intensity of
             explosions more powerful than the Mills and F1-type Grenades. And that’s not all—the
             mujahideen were also able to develop a launcher for these devices, an idea based on the
             principle of a teargas launcher, and the scope of the launched device extends at least 150
             meters… It is fair to say that the [Hamas] Movement has been able to setup workshops
             which have turned into factories for producing light weapons and for the purpose of
             inventing new weapons suiting its present needs, or to add modifications on weapons

     45
        http://web.archive.org/web/20011016085158/http://www.qassamiyoon.com/shohadaa/center.htm.
     October 2001.
     46
        http://www.qassamiyoon.com/chat/salah.htm. October 2001. See also:
     http://web.archive.org/web/20020623074026/http://www.qassam.net/chat/salah.htm.
     47
        http://www.qassamiyoon.com/chat/salah.htm. October 2001. See also:
     http://web.archive.org/web/20020623074026/http://www.qassam.net/chat/salah.htm.
     48
        http://web.archive.org/web/20011212094911/http://qassamiyoon.com/tagrer/index.htm. November 2001.
     49
        http://web.archive.org/web/20011211204612/http://qassamiyoon.com/tagrer/tagrer14_11_01.htm.
     December 2001.


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             designed for special missions such as building expanded ammunition clips, and explosive
             belts.”50

             Underscoring the authenticity of the Qassamiyoon.com website as the online
     voice for Hamas’s al-Qassam Brigades, over the period of its year-long existence, it was
     frequently cited as such in regional mainstream media and by Palestinian non-
     governmental organizations. On December 26, 2001, the Al-Rai newspaper in Amman,
     Jordan published a list of Internet websites serving as the official mouthpieces for
     terrorist organizations. The article identified the official website of the Ezzadeen al-
     Qassam Brigades as www.qassamiyoon.com. Likewise, on several instances, the
     Palestinian Human Rights Monitoring Group (PHRMG) has re-published copies of
     Arabic-language communiqués from the Ezzadeen al-Qassam Brigades, crediting them to
     Qassamiyoon.com.51

                 o Qassam.org

             In the spring of 2002, the Qassamiyoon.com website suddenly came to a halt for
     unknown reasons. Visitors to the site were eventually greeted with a short message in
     Arabic: “Brothers and sisters ... Dear visitors, we invite you to follow up on our new
     address, http://www.qassam.org. You can contact us via email: qassam@qassam.org and
     webmaster@qassam.org.”52 Along with the qassam.org web domain, the administrators
     of the new site also registered a host of other parallel domains—such as qassam.net and
     qassam.ps—that served as mirror locators to reach the same website. Every message on
     the Qassam.org site “welcoming visitors” was signed in Arabic by “the brothers from the
     Martyr Ezzedeen al-Qassam Brigades, the military wing of the Islamic Resistance
     Movement, Hamas.”53 Under its main series of sub-sections, the qassam.org/qassam.net
     website listed the same two initial offerings for first time visitors as had
     Qassamiyoon.com: “Who Are We?” and “Who Are You?” Those who selected “Who
     Are We?” were told, “this is the path – this is the voice of Hamas… the Brothers from the
     Martyr Ezzadeen al-Qassam Brigades.”54

            In the same tradition of its Qassamiyoon.com predecessor, the Qassam.org site
     contained a wide range of original content published by the Ezzadeen al-Qassam
     Brigades that was either highly unusual or entirely unique. The website included a main
     sub-section reserved for the systematic distribution of official Hamas communiqués:
     “This section is devoted to the publications of the Martyr Izzadeen al-Qassam Brigades,
     which record the glorious history of these steadfast brigades.”55 At its zenith, the
     qassam.net/qassam.org website offered visitors the opportunity to download copies of all
     Qassam Brigades communiqués issued from March 2001 through the late spring of

     50
        http://web.archive.org/web/20011211204612/http://qassamiyoon.com/tagrer/tagrer14_11_01.htm.
     December 2001.
     51
        http://www.phrmg.org/PHRMG%20Documents/Suicide%20bombers/kata%27ib%20al-qassam.htm;
     http://www.phrmg.org/arabic/documents/assassination/Testimonies/mahmoud_abu_hnoud.htm.
     52
        http://web.archive.org/web/20020524231122/http://qassamiyoon.com/. May 2002.
     53
        http://web.archive.org/web/20011213134358/http://www.qassam.org/. December 2001.
     54
        http://web.archive.org/web/20020803105011/www.qassam.net/we/index.htm. August 2002.
     55
        http://web.archive.org/web/20020206105419/http://www.qassam.org/byanat/center.htm. February 2002.


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     2002.56 In May 2002, the Qassam website distributed exclusive “documents from the
     archives of the Martyr Ezzadeen al-Qassam Brigades in Jenin. These are identity cards
     belonging to the well-known [Israeli] soldiers who were killed during the battle in the
     Jenin refugee camp.”57 No other website in operation at that time offered anything
     approximating the quality and range of Hamas-related content available for download on
     qassam.net and qassam.org.

            In April 2002, a new announcement in Arabic was posted on the Qassam website
     under the “Hamas – Communiqués” sub-section.58 According to that document:

             “The great country of terrorism, America… America has declared that it will provide the
             Zionist entity with $200 million urgently, from an original sum of $72 billion, to kill
             more Palestinian, scatter them, and quash their resistance to the occupation. Meanwhile,
             the mujahideen in Palestine barely have the money to pay for some bullets and explosives
             to destroy the Zionist-American project. The Ezzedeen al-Qassam Brigades give their
             thanks to everyone who has contributed and who are still contributing supplies in support
             of the mujahideen in Palestine. To support the mujahideen in Palestine: contact us on
             address: support@qassam.org. An important advertisement to those who would like to
             donate: to our dear brothers and sisters, we have discovered that several account numbers
             have been published in the forums, and we—the website of the Ezzedeen al-Qassam
             Brigades—do not have any knowledge of this, and we declare that they do not have any
             connection with us… in any way. Accordingly… whoever would like to donate must
             directly go through the website and to contact at support@qassam.org. We ask you to
             spread this news in all forums.”59

     The Arabic page described above contained a single link to yet another page hosted on
     the Qassam website. This second page offered a similarly-themed message in English:

             “The Martyr Ezzadeen el-Qassam Brigades, your own defending brigades, the military
             wing of Hamas movement in Palestine, is calling upon you to donate with what you can
             to assist the cause of Jihad and resistance until the occupation is eliminated and every
             span of the Muslim Palestine is liberated. While the Martyr Ezzadeen el-Qassam
             Brigades are calling upon you for donation, we put between your hands some of the
             difficulties that your mujahideen brothers are facing to get the equipments and logistics.
             The price of Kalashnikov bullet is $3 and the price of the Kalashnikov gun itself now is
             $2,000 and it was $3,500 couple of months ago, and do you know that the the price of R-
             B-G is $12,000 and the price of T.N.T that’s used by your mujahideen brothers is $100 a
             kilo, also the Martyr Ezzadeen el-Qassam Brigades now manufacture Al-Qassam surface-
             to-surface missiles in different sizes and also the anti-shields Al-Banna bomber. The
             Martyr Ezzadeen el-Qassam Brigades also supervise the development of fighting,
             defensive and attacking weapons and other much projects mustn't be elaborated for
             confidentiality purposes. Martyr Ezzadeen el-Qassam Brigades after getting you

     56
        http://web.archive.org/web/20020206105419/http://www.qassam.org/byanat/center.htm. February 2002.
     57
        http://www.qassam.org/qassam_story/jeneen/index.htm. May 2002. See also:
     http://web.archive.org/web/20020619184901/www.qassam.net/qassam_story/jeneen/index.htm.
     58
        http://web.archive.org/web/20020425102224/http://www.qassam.org/hamas/bayanat/tabar3.htm. April
     2002.
     59
        http://web.archive.org/web/20020425102224/http://www.qassam.org/hamas/bayanat/tabar3.htm. April
     2002.


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              informed of what Palestine is facing, we call upon all Muslims all over the world to give
              a hand to their mujahideen brothers in Palestine who sacrifice their bloods and persons
              for your dignity and guard the front line to defend the Arab and Muslim Ummah… My
              Mujahideen brothers all over the world: now you can contribute to building a strong
              Islamic army. Thousands and thousands of mujahid youth in Palestine long for carrying
              any kind of weapons to defend the Ummah's dignity, but no one is giving a hand. Now
              you can contribute in providing weapons to the mujahideen whose ammunition run out
              while facing the Zionists. Hundreds of men sold the jewelry of their wives and sisters to
              equip as many fighters as possible to defend your honor and dignity. My mujahideen
              brothers ... you'll have no excuse in front of Allah, So contribute with what you can. The
              Martyr Ezzadeen el-Qassam Brigades is calling upon the righteous people from the Arab
              and Muslim Ummah to collect donations in Mosques, and from those who are financially
              able to donate, then send these donations to the mujahideen in Palestine. Dear donator
              brother, send us at the e-mail available at Martyr Ezzadeen el-Qassam Brigades’ web site
              and send us a fake name and the amount that you want to donate and we will secure
              handing this money to the mujahideen.                 You can send any inquiries to
                                        60
              (support@qassam.org).”

             The decision of the Qassam website to post a copy of its fundraising appeal in
     English was, no doubt, aimed at broadening the pool of potential donors. However, it
     also attracted the attention of mainstream Western journalists and bloggers intent on
     shutting down the Hamas infrastructure on the Internet. An article subsequently
     published in USA Today reported that potential donors who attempted to contact the
     Qassam website in response were told to wire their funds to “Ahmed Mohammed Ali,
     Elbatech Bank, account no.: 38926/9/510 Arab Bank -- Gaza branch -- Palestine…
     Please tell us the field in which you prefer your money to be spent on such as: martyrdom
     attacks; buying weapons for the mujahadeen; training the youth; or inventing and
     developing missiles, mortars (and) explosives.” According to USA Today, “the account
     name and number appear to change every 48 to 72 hours.”61 Likewise, an American
     blogger who contacted the Qassam website at the time reported receiving similar
     instructions: “Dear donor, We assure you that all the money will be given to nobody but
     to all the Mujahideen in Palestine. This is the bank account: Name: Ayman ataya
     Mansoor. Bank account no.: 38924/2/510 Arab bank- Gaza branch- Palestine.”62

                  o Kataeb-ezzeldeen.com

            During the fall of 2002, the Qassam.net/Qassam.org website began to experience
     service outages, allegedly due to pressure from U.S. law enforcement agencies and
     cybervigilantes. In due course, the site was replaced with a new web domain registered
     as www.kataeb-ezzeldeen.com. A note added to the sidebar of the revamped website in
     October 2002 explained, “the website administrators thank everyone who helped in
     completing the website with its new look, and those who labor to provide assistance,
     support, and continuous fruitful work. They have worked long nights for nothing more

     60
        http://www.qassam.net/tabaro3.htm. April 2002.
     61
        Kelley, Jack. “Militants wire Web with links to jihad; Islamic groups using Internet to recruit, solicit
     money, send terrorism instructions.” USA Today. July 10, 2002.
     62
        http://www.enterstageright.com/archive/articles/0502/0502terrbankacct.htm.


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     than the grace of Allah… We also wish to mention the brother from our hosting
     company who put priceless efforts into keeping the website online for you.”63 Like its
     Qassam.org predecessor, the Kataeb-ezzeldeen.com website included sub-sections for
     sermons by senior Hamas leaders (such as Dr. Abdelaziz al-Rantisi) and a complete
     database of official Ezzedeen al-Qassam communiqués issued from September 24, 2002
     onwards.64 Underscoring the official relationship between Kataeb-ezzeldeen.com and
     Hamas, on November 18, 2002, the website posted a new official communiqué from the
     Ezzedeen al-Qassam Brigades titled, “Beware of Rogue Publications, and Protect the
     Unity of our People and our Struggle.”65 According to that statement, “recently, deceitful
     forces have attempted to publish false statements and attribute them to our Ezzedeen al-
     Qassam Brigades… and al-Qassam Brigades would like against this to assure that… the
     official communiqués which originate from us are published on the Internet website of
     the al-Qassam Brigades. Any statements from now on that contradict our policies and are
     not published on our website are considered illegitimate and inaccurate statements, and
     we consider this a clear statement of our unchanging position.”66

            Days later, on November 28, 2002, the Kataeb-ezzeldeen.com website posted a
     new announcement titled, “An Appeal for Contributions from the Martyr Ezzadeen al-
     Qassam Brigades, the military wing of the Islamic Resistance Movement (Hamas).”67
     Akin to previous appeals posted on the Qassam.org site, the statement called on “you
     Muslim brothers and Muslim sisters to allocate a part of your money for the mujahideen
     who are fighting to protect the honor and pride of the Muslim nation. If you cannot do
     jihad with us, then the least you can do is to donate from the money Allah trusted you
     with. At a time when forces are waging a war against Islam in order to destroy it, we call
     upon you to support your brothers in Palestine. For more inquiries contact us at our e-
     mail address: support@kataeb-ezzeldeen.com.”68

                 o Ezzedeen.net

            In January 2003, the reigning Qassam website hosted at the domain Kataeb-
     ezzeldeen.com experienced another mysterious fatal meltdown. Once again, in a matter
     of only days, the site was resurrected at a new Internet domain, www.ezzedeen.net. The
     domain name itself was first registered on January 28, 2003 by “Ahmed Salim”
     (vip_man999@hotmail.com) with the contact address: “Ezzedeen.net, Gizaa Bomar
     Cyrcl 59, Cairo, Egypt 41211, 056582895.”69 A notice in Arabic, posted in the website

     63
        http://web.archive.org/web/20021017082932/http://www.kataeb-ezzeldeen.com/. October 2002.
     64
        http://web.archive.org/web/20021211191827/http://www.kataeb-ezzeldeen.com/bayanat/index.asp.
     December 2002.
     65
        http://www.kataeb-ezzeldeen.com/bayanat/Bayan.asp?BayanID=158. December 2002. See also:
     http://www.alqassam.ps/arabic/statments.php?id=164.
     66
        http://www.kataeb-ezzeldeen.com/bayanat/Bayan.asp?BayanID=158. December 2002. See also:
     http://www.alqassam.ps/arabic/statments.php?id=164.
     67
        http://web.archive.org/web/20021201101143/http://www.kataeb-ezzeldeen.com/Ads/Tabar3.asp.
     November 28, 2002.
     68
        http://web.archive.org/web/20021201101143/http://www.kataeb-ezzeldeen.com/Ads/Tabar3.asp.
     November 28, 2002.
     69
        WHOIS search on EZZEDEEN.NET. March 10, 2004.


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     sidebar, addressed “our dear brothers, supporters, and frequent visitors to the al-Qassam
     website”:

             “We celebrate with you the news of our return despite the great hardships and tribulations
             that aimed to shut down this Hamas platform in order to bury the words of truth, power,
             and freedom. We vow to Allah never to forgo any effort in order to preserve this shining
             monument. It draws the Islamic nation towards jihad, fires up its determination, and
             pushes it towards victory and power, Allah-willing. On behalf of your brothers, the
             administrators of the al-Qassam Website.”70

     Unlike its relatively short-lived predecessor Kataeb-ezzeldeen.com, the Ezzedeen.net
     website remained active and online from January 2003 until at least May 2004.

             As with previous Qassam domains, the Ezzedeen.net website offered users a
     meticulously-organized library of Hamas propaganda content and even the opportunity to
     interact directly with Hamas operatives in the field. On March 25, 2004, the
     Ezzedeen.net website posted an announcement of the “martyrdom” of Hamas spiritual
     leader Shaykh Ahmad Yassin “who ascended to the rank of the righteous martyrs after he
     was bombarded in a Zionist attack shortly after dawn prayers on Monday morning… To
     participate in the celebration and mourning of the Mujahid Shaykh, please e-mail the
     following address: news_ezz01@hotmail.com.”71 As a result of their continuing efforts,
     the Ezzedeen.net web team received the dubious honor of being recognized by the U.S.
     Foreign Broadcast Information Service (FBIS)—the open source arm of the Central
     Intelligence Agency (CIA)—as the official “web site of Izz-al-Din al-Qassam Brigades,
     HAMAS military wing.”72

             The emergence of the Ezzedeen.net incarnation of the Qassam website also
     heralded a series of new developments on the site itself—eventually including an
     English-language section for visitors originating from outside the Arab world. In fact,
     the English-language section of the Ezzedeen.net site was prominently labeled,
     “Copyrights © 2004, Ezzedeen Al-Qassam Brigades Official Website.”73 According to
     an “About Us” page on the English section of the website, “we are the grandsons of the
     former Mujahideen and the Companions of Prophet Mohammed… We carried our
     weapons to defend the Ummah honour, its bright history, and its holy sites and
     mosques… Therefore, the most difficult and painful path was adopted: the path of
     resisting the well-armed and well-equipped Israeli occupation till we achieve either
     splendid victory or martyrdom and paradise… Jihad is our path and martyrdom for the
     sake of Allah is our best wishes. We do not mind even if our blood is the price since it is
     in the cause of Allah, al-Aqsa, Palestine, defending our women, kids and properties.”74
     The English-language version of the Qassam website hosted at Ezzedeen.net also offered
     visitors content on the topics of “the Hamas Movement”, “Jihad & Terrorism”, and


     70
        http://web.archive.org/web/20030204152954/http://www.ezzedeen.net/. February 2003.
     71
        http://web.archive.org/web/20040328112250/ezzedeen.net/. March 24, 2004.
     72
        E.g.: United States Foreign Broadcast Information Service (FBIS) daily update. August 21, 2003.
     73
        http://web.archive.org/web/20040315171106/www.ezzedeen.net/english/aboutus.htm. March 2004.
     74
        http://web.archive.org/web/20040315171106/www.ezzedeen.net/english/aboutus.htm. March 2004.


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     “Martyrdom Bombing.”75 According to the administrators of Ezzedeen.net, “this home
     page was constructed to renew the energies and to inflame and revive hearts, which were
     about to be stained with the sickness of loving life and hating death.”76

             Over the length of its existence, the Ezzedeen.net website also saw a dramatic
     expansion of the online video library available to Hamas supporters. Broadening their
     range beyond a scattered handful of low-resolution rocket launches, Ezzedeen.net
     administrators added their first (exclusive) live recording of a suicide car bomb attack on
     an Israeli military checkpoint in Gaza by 23-year old Palestinian Tareq Hmeid.77 On
     March 8, 2004, the online video library hosted on the Ezzedeen.net site received yet
     another new addition: “martyrdom” wills read in English by two British nationals who
     had executed a suicide bomb attack on April 30, 2003 at “Mike’s Place,” a waterfront bar
     in Tel Aviv popular with English-speaking Israelis and Western visitors.78 Though one
     of the bombers failed to detonate, the attack nonetheless killed three people and wounded
     55 others. According to 22-year old Asif Mohamed Hanif’s speech in the video, because
     the “dirty Jews” were eligible for service in Israel’s military, they deserved to be
     murdered: “It’s a great honour to kill one of these people… We have problems and we
     ask Tony Blair and George Bush to help us. Who is Tony Blair and George Bush? I
     wish God either to guide them or for his wrath to come upon these people.” The failed
     bomber, 27-year old Omar Khan Sharif, laughs at the comments of his British companion
     and then proceeds to threaten, “We will take revenge and we will get the Jews and the
     Crusaders out of the land of Islam. Fellow Muslims, we left Britain to look for
     martyrdom.”79 This video is, at least in part, an effort to convince other Muslims from
     Europe—and particularly the United Kingdom—to travel to conflict zones in the Islamic
     world and join extremist organizations, with the intention of becoming unlawful
     combatants and suicide bombers. At the close of the video of the two British suicide
     bombers, the official logo of the Ezzadeen al-Qassam Brigades is shown, alongside the
     URL: “www.ezzedeen.net.”80

                 o Alqassam.com/Alqassam.ps

             The final and current iteration of the Qassam website, alqassam.com (a.k.a.
     alqassam.net, alqassam.com, alqassam.info, alqassam.ws, qassam.info, qassam.ps)
     emerged in early June 2004 when the old Ezzedeen.net domain finally was knocked
     offline by unknown parties. By particularly registering a .PS (Palestinian Territories)
     domain, the Ezzedeen al-Qassam Brigades web administrators have established greater
     insurance against digital hijackings and de-registrations by law enforcement agencies and

     75
        http://web.archive.org/web/20040315171106/www.ezzedeen.net/english/aboutus.htm. March 2004.
     76
        http://web.archive.org/web/20040315171106/www.ezzedeen.net/english/aboutus.htm. March 2004.
     77
        http://web.archive.org/web/20040511011338/http://www.ezzedeen.net/movies/mpg/tareq.WMV. April
     2004. See also: http://ezzedeen.net/movies/open.php?cat=1&book=53.
     78
        “Bomb Britons appear on Hamas tape.” BBC News. March 8, 2004.
     http://news.bbc.co.uk/2/hi/uk_news/3543269.stm.
     79
        http://www.ezzedeen.net/movies/mpg/part2.wmv. March 2004. (A copy of this video is attached as an
     Appendix to this report.)
     80
        http://www.ezzedeen.net/movies/mpg/part2.wmv. March 2004. (A copy of this video is attached as an
     Appendix to this report.)


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     cybervigilantes. Nonetheless, the content of the mirrored “Alqassam” websites are
     virtually indistinguishable from the former and now defunct Ezzedeen.net domain. Even
     the English-language pages created by Ezzedeen.net administrators were simply subtly
     edited to read instead, “Copyrights © 2004. Ezzedeen Al-Qassam Brigades Official
     Website, english@alqassam.ws.”81         Later, in 2006, the attribution was further
     appropriately modified to read, “Copyrights © 2006. Ezzedeen Al-Qassam Brigades
     Official Website, english@alqassam.ws.” In December of that year, the Alqassam.ws
     website published an exclusive English-language “interview with one of the Ezzedeen al-
     Qassam Brigades Field Troops,” “Abu al-Mu’tasim”—“a man who is working in the
     field and on the frontlines.” When asked if he had a message for readers, Abu al-
     Mu’tasim replied, “First of all, I would like to thank the readers for following up on the
     Palestinian issue through this web site. And I hope that each and everyone will be an
     ambassador for Palestine.”82

             As a result, the current series of Alqassam.ws/.info/.com/.ps domains have been
     accepted by virtually all parties as, without question, the official Internet frontend of the
     Ezzedeen al-Qassam Brigades. In a February 2006 article titled “Hamas Web site says
     group received Hizbollah money”, the Reuters news service described the website
     Alqassam.ws as “run by the group’s armed wing, Izz el-Deen al-Qassam.”83 Likewise,
     according to an official report from the Office of the National Coordinator for
     Counterterrorism (NCTb) in the Netherlands, “the majority of jihadi groups have a
     presence on the Internet and, of course, they do their very best, in a number of ways, not
     only to win over souls but also to persuade individuals that they will be ready to
     participate in the violent jihad. Thus, the military arm of Hamas has its own site, entitled
     alqassam.com, aimed at recruitment.”84 As of the time of the writing of this report, the
     principle active Hamas web domain is http://www.alqassam.ps, registered on April 11,
     2005 to “Ehab Ahmad” in the Gaza Strip.85

             In April 2009, the Ezzadeen al-Qassam Brigades issued the second edition of its
     online English-language magazine. The magazine contained, among other things, a
     detailed Q&A about the website alqassam.ps:

             Q: “Why you decided to have a site?”
             A: “As you know, during the last ten years there was a revolution on the internet, we
             began to notice that international opinion formed by reading news or analyzing texts, etc.
             the site became an important mean to the propaganda against the Zionist aggression. We
             want the people in the West to know our cause and to support us… Our voice didn’t
             reach to the entire world. Every language in the world takes information from the
             English sites so the pronounced people became wider. The number of the people who is
             using the internet is getting larger and larger…”

     81
        http://web.archive.org/web/20050718080234/http://www.alqassam.ws/english/aboutus.htm. July 2005.
     82
        http://www.alqassam.ps/english/?action=showinet&inid=1. June 2009.
     83
        Al-Mughrabi, Nidal. “Hamas Web site says group received Hizbollah money.” Reuters. February 15,
     2006.
     84
        “Jihadis and the Internet.” Report issued by the Office National Coordinator for Counterterrorism
     (NCTb); Ministry of Justice, Netherlands. January 16, 2007.
     85
        WHOIS search on ALQASSAM.PS. May 2009.


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             Q: “What is the purpose of your site?”
             A: “It is not one purpose; we have many purposes: defending the resistance name from
             the Zionist media, which described it as ‘terrorism’; exposing the Zionist crimes and
             massacres against the Palestinian civilians; providing researchers with some real facts
             about the Palestinian resistance; keeping readers in the picture of the ongoing matters in
             the OPT; make communications with the intellectuals; exposing our suffering in the
             Zionist jails, torture, and humiliation; and, explaining why we fight the Zionist entity…
             This Website mainly aims at justifying our resistance against the Zionist occupation
             forces according to the international laws…”
             Q: “Did this site bring you advantages?”
             A: “Of course.”
             Q: “Do you have blocked by the ‘Israelis’?”
             A: “We succeeded to foil several electronic attacks on our site. They tried but they failed
             till now. They realize the important of it. So they will keep trying and we will keep
             defending.”
             Q: “Last thing; tell me how I can donate.”
             A: “If you want to donate, send us your details and we will deal with you very well. You
             can contact us on: english@alqassam.ps. For donations: fund@alqassam.ps.”86

     This information is likewise reflected in Arabic on the alqassam.ps website under the
     “Contact Us” content subsection: “The Brigades of the Martyr Izz el-Deen al-Qassam,
     the military wing of Islamic Resistance Movement, Hamas, in Palestine—to contact us
     please e-mail to the following addresses: info@alqassam.ps (management of the site and
     general correspondence), press@alqassam.ps (for media), design@alqassam.ps (for
     technical contributions), and fund@alqassam.ps (for providing support and donations).”87

                 o Almoltaqa.ps

             The second edition of the al-Qassam Brigades’ online English magazine released
     in April 2009 also included a prominent advertisement, urging readers, “for more
     information, visit our forum: www.almoltaqa.ps.”88 Almoltaqa.ps is a multi-lingual
     discussion and social networking web forum which operates using database-driven
     commercial software known as “VBulletin.” It is hosted by the same Internet provider in
     Saudi Arabia, Shabakah.net, as the official Ezzadeen al-Qassam website (qassam.ps); in
     fact, their Internet Protocol addresses are almost sequential. The IP address of Qassam.ps
     is 89.144.96.68, while the IP for Almoltaqa.ps is 89.144.96.37. Both web domains were
     leased using the same registrar service in Gaza, “mektab.”89 Likewise, there are
     prominent hyperlinks to the almoltaqa.ps discussion forum on the Ezzadeen al-Qassam
     Brigades main site (http://www.alqassam.ps/arabic). The front page of the Arabic-
     language section of the almoltaqa.ps forum is clearly labeled with a footnote in Arabic,
     “Copyright, the Media Office of the Martyr Ezzadeen al-Qassam Brigades.”90

     86
        “Ask Us … about the Palestinian cause, you’ll have weekly reports.” Ezzedeen Al Qassam Brigades
     Newsletter. Issue: April 2007. http://www.alqassam.ps.
     87
        http://www.alqassam.ps/arabic/contact_us.php. May 2009.
     88
        “Ask Us … about the Palestinian cause, you’ll have weekly reports.” Ezzedeen Al Qassam Brigades
     Newsletter. Issue: April 2007. http://www.alqassam.ps.
     89
        WHOIS and DNS searches on Qassam.ps and Almoltaqa.ps.
     90
        http://www.almoltaqa.ps. June 2009.


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     Conversely, the front page of the English-language section of the almoltaqa.ps forum is
     labeled with a footnote in English, “Copyright 2000-2009, Jelsoft Enterprises Ltd. The
     Media Office of the Izzadeen al-Qassam Brigades.”91 Users who attempt to register as
     forum participants in the English-subsection of almoltaqa.ps are asked to first review a
     series of guidelines and rules for the forum. According to the first rule in that list, “this is
     the official forum of the Al-Qassam Brigades; however, the opinions expressed here are
     entirely personal and do not necessarily express the views of the Brigades of Hamas.”92

          VII.) The Culpability of Hamas and its Operational Sub-Branches in
                Executing Terrorist Attacks Identified by Plaintiffs

             March 28, 2001 – Gas Station Bombing near Kfar Saba

             On March 28, 2001, a suicide bomber detonated himself at
     the Mifgash Hashalom gas station, east of Kfar Saba, killing two
     bystanders. On April 12, 2001, the Ezzedeen al-Qassam Brigades
     published an Arabic-language statement claiming responsibility for a
     series of ten suicide operations, including the March 28 attack near
     Kfar Saba—a document which has been posted, among other places,
     on Hamas’s alqassam.ps website. The communiqué identified the bomber as 23-year old
     Fadi Attallah Yusif Omar (pictured at right), and a photo of Omar was likewise later
     added to the Alqassam.ps website.93

             The statement released by the Ezzedeen al-Qassam Brigades directly addressed
     the unexpected delay in claiming credit for the blast: “at the time, we refrained from
     mentioning the name of our courageous martyr, the third in the chain of ten martyrs who
     have delivered good news to the media, for security reasons imposed on us by the nature
     of the battle in our blessed land. We have vowed to Allah and to you to avenge the death
     of our martyr Fadi and the other martyrs before him… and we have shown Sharon and
     his miserable council of swine that our operations and the actions of our mujahideen will
     shake their beds until they leave our country defeated and humbled.”94 A copy of the
     identical Arabic-language communiqué was also posted on the Hamas website Palestine-
     info.net.95

            Alongside the Hamas communiqué and a photo of the bomber, the Alqassam.ps
     website has also printed a detailed personal biography of Fadi Omar and a summary of
     his relationship with Hamas.96 According to that document, in the wake of his
     martyrdom, Hamas organized “a symbolic event mourning [him]. People gathered in
     front of the residence of the family of the martyr Fadi Omar, the comrade from the
     Ezzedeen al-Qassam Brigades, and the house was draped in green banners. Also on them

     91
        http://www.almoltaqa.ps/english. June 2009.
     92
        http://almoltaqa.ps/english/register.php. June 2009.
     93
        http://www.alqassam.ps/arabic/sohdaa5.php?sub_action=sera&id=101. June 2009.
     94
        http://www.alqassam.ps/arabic/sohdaa5.php?sub_action=byan&id=101. June 2009.
     95
        http://web.archive.org/web/20040810063327/www.palestine-info.info/arabic/hamas/glory/bayant.htm
     96
        http://www.alqassam.ps/arabic/sohdaa5.php?sub_action=sera&id=101. June 2009.


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     were banners for the Islamic Resistance Movement Hamas, which declared that Hamas
     mourned its fallen comrade Fadi.” In a public ceremony, the director of the Hamas
     Political Bureau, Khaled Meshaal, cited the importance of the Kfar Saba bombing: “I
     send my greetings to our people in Qalqiliya for this Martyr Fadi, whose name carries the
     highest meanings of courage and sacrifice.”97

             June 1, 2001 – Dolphinarium Suicide
              Bombing in Tel Aviv

             On the evening of June 1, 2001, a suicide
     bomber detonated himself in a crowd of teenagers
     standing outside a discotheque on the Tel Aviv
     seafront promenade, killing 21 and wounding 120
     others.98 According to the Israeli Ministry of Foreign
     Affairs, “the explosive charge contained a large
     number of metal objects—including balls and
     screws—designed to increase the extent of
     injuries.”99 Three days later , on June 4, 2001, the
     Ezzedeen al-Qassam Brigades published an Arabic-
     language statement claiming responsibility for the attack in Tel Aviv, a copy of which
     was later posted on the Alqassam.ps website operated by Hamas.100 The statement–
     which identified the bomber as 20-year old Saeed Hassan Hussein Ali Hotari—described
     how he had “approached the target calm and composed at 11:30PM, according to the
     plan, and executed his martyrdom operation deep in the heart of the enemies… This
     operation was carried out using a high-explosive substance, ‘Qassam-19’, that has been
     independently developed by the engineers of the Ezzedeen al-Qassam Brigades.”101 The
     Hamas website Alqassam.ps also offers a complete biography of Saeed Hotari, and a
     matching slideshow of four original photographs of Hotari—including one image of him
     brandishing an AK-47.102

            According to his Hamas biography published on Al-Qassam.ps, “the martyr”
     Hotari was born in Jordan in 1979 and had moved to the northern West Bank town of
     Qalqilya in 1999 to work as an electrician.103 The document further boasted that Hotari’s
     attack “claimed the lives of more than twenty Zionists, and wounded more than one
     hundred and fifty others—the bloodiest single attack witnessed by the Zionist entity in
     more than five years by their own admission, bringing back to mind the ability of our

     97
        http://www.alqassam.ps/a9rabic/sohdaa5.php?sub_action=sera&id=101. June 2009.
     98
        “Tel-Aviv suicide bombing at the Dolphin disco: June 1, 2001.”
     http://www.mfa.gov.il/MFA/MFAArchive/2000_2009/2001/6/Tel-
     Aviv%20suicide%20bombing%20at%20the%20Dolphin%20disco%20-%201-.
     99
        “Tel-Aviv suicide bombing at the Dolphin disco: June 1, 2001.”
     http://www.mfa.gov.il/MFA/MFAArchive/2000_2009/2001/6/Tel-
     Aviv%20suicide%20bombing%20at%20the%20Dolphin%20disco%20-%201-.
     100
         http://www.alqassam.ps/arabic/sohdaa5.php?sub_action=byan&id=128. May 2010.
     101
         http://www.alqassam.ps/arabic/sohdaa5.php?sub_action=byan&id=128. May 2010.
     102
         http://www.alqassam.ps/arabic/sohdaa5.php?sub_action=picture&id=128. May 2010.
     103
         http://www.alqassam.ps/arabic/sohdaa5.php?sub_action=sera&id=128. May 2010.


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     people to respond and strike back.”104 The biography also offered what it described as
     the martyrdom will of Saeed Hotari, which defiantly promotes suicide operations: “If
     preparing [for jihad] is considered terrorism, then we are all terrorists, and if defending
     our honor is considered extremism, then we are all extremists… I will make from my
     body shrapnel and bombs that will chase the sons of the Zionists and burn their
     remnants.” Hotari continued on in his will, urging his father to distribute candy in order
     to celebrate his anticipated “martyrdom.”105

              August 9, 2001 – Sbarro Pizzeria Bombing, Jerusalem

             In the early afternoon of August 9, 2001, a suicide bomber
     entered a Sbarro pizzeria at the corner of King George Street and
     Jaffa Road in downtown Jerusalem, and detonated a guitar case
     packed with 5-10kg of explosives—killing 15 and wounding at least
     130 others.106 On the same day, the Ezzedeen Al-Qassam Brigades
     released an official communiqué claiming responsibility for the
     Sbarro restaurant attack, a copy of which was later posted on the
     Alqassam.ps website operated by Hamas. According to that statement, “By the grace of
     Allah and his support, on the afternoon of Thursday August 9, 2001, this mujahid from
     al-Qassam executed the martyrdom operation in the middle of the Sbarro Restaurant in
     the heart of occupied Jerusalem, causing a large number of dead and wounded among the
     ranks of the Zionists, and this was revenge for the bloodshed of our women, children, and
     the elderly—and in defense of Jerusalem and Palestine, as a tribute to the souls of our
     righteous martyrs.”107 The communiqué further threatened that the Sbarro attack would
     only be the beginning of “a chain of attacks by al-Qassam that will teach the Jews a
     lesson they will never forget, as a punishment for their cowardly actions in assassinating
     mujahideen and members of the Palestinian resistance.”108

             In addition to the Hamas statement itself, the Alqassam.ps website also offered a
     detailed personal biography of the bomber behind the Sbarro explosion, 22-year old
     Ezzedeen Shuhail Ahmad al-Masri (pictured above). According to that biography,
     Ezzedeen’s “jihadi journey” began when he “joined the Martyr Ezzedeen al-Qassam
     Brigades under the command of the al-Qassam Engineer Qais Adwan Abu Jabal, and
     began working in total secrecy… The Brigades had begun preparations for a revenge
     operation… and the martyrs began preparing to rise up to the paradise virgins—and
     Ezzedeen al-Masri was amongst them.”109 Alongside the biography, the Hamas website
     Alqassam.ps also published a high-resolution photo spread showing Ezzedeen al-Masri
     dressed in what appears to be a suicide bomb vest and carrying an assault rifle, wearing



     104
         http://www.alqassam.ps/arabic/sohdaa5.php?sub_action=sera&id=128. May 2010.
     105
         http://www.alqassam.ps/arabic/sohdaa5.php?sub_action=sera&id=128. May 2010.
     106
         http://www.mfa.gov.il/MFA/MFAArchive/2000_2009/2000/10/Suicide%20bombing%20at%20the%20
     Sbarro%20pizzeria%20in%20Jerusale
     107
         http://www.alqassam.ps/arabic/sohdaa5.php?sub_action=byan&id=250. June 2009.
     108
         http://www.alqassam.ps/arabic/sohdaa5.php?sub_action=byan&id=250. June 2009.
     109
         http://www.alqassam.ps/arabic/sohdaa5.php?sub_action=sera&id=250. June 2009.


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     the green headband of Hamas and with a similarly-themed Hamas banner hanging on the
     wall behind him (as depicted in the images below).110




              December 1, 2001 – Ben Yehuda Bombings in Jerusalem

            Late on the evening of Saturday, December 1, 2001, a pair of suicide bombers
     entered a pedestrian mall on Ben Yehuda Street in central Jerusalem and detonated
     explosive devices that killed 11 young bystanders and wounded over 188 others. The
     suicide attack was followed by a nearby car bombing approximately 20 minutes
     afterwards.111 On the same day, an Arabic-language statement was published by the
     Ezzedeen al-Qassam claiming responsibility for the twin suicide bombings on Ben
     Yehuda Street. Matching copies of that communiqué, titled “The Blood of Our Martyrs’
     is Not Water,” were distributed online through both the Palestine-info.net and the
     Alqassam.ps websites.112 The document identified the two bombers as Usama
     Muhammed Eid Bahr and Nabeel Mahmud Jameel Halabiyyah and explained that the two
     men had “carried out… a courageous, painful attack against one of the enemy’s dens in


     110
         http://www.alqassam.ps/arabic/sohdaa5.php?sub_action=picture&id=250. June 2009.
     111
         http://www.mfa.gov.il/MFA/MFAArchive/2000_2009/2001/12/Suicide%20bombing%20at%20the%20
     Ben-Yehuda%20pedestrian%20mall
     112
         http://www.alqassam.ps/arabic/sohdaa5.php?sub_action=byan&id=115. June 2009.


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     occupied west Jerusalem, and this was revenge for the blood of our martyrs.”113 In the
     communiqué, Hamas threatened further suicide attacks aimed at “punishing the reckless
     officials from our enemy’s military and government ministries.”114

            Aside from the statement itself regarding the Ben Yehuda bombings, the
     Alqassam.ps website also offered visitors a series of high-resolution photographs of
     Usama Bahr and Nabeel Halabiyyah (as seen below) and biographies of the two men
     issued as part of an “Al-Qassam Special Report.”115 This “special report” likewise noted
     that “on the website of the Hamas movement, the al-Qassam Brigades declared their
     responsibility for the Jerusalem operation” executed by Bahr and Halabiyyah.116




               Images of Usama Muhammed Eid Bahr and Nabeel Mahmud Jameel Halabiyyah, the Hamas suicide bombers responsible for the December 2001 Ben Yehuda bombings.




              December 12, 2001 – Shooting attack on Bus in Emmanuel

             On December 12, 2001, three assailants launched a multi-pronged assault on Dan
     Bus No. 189 transporting Israeli civilians to the West Bank settlement of Emmanuel. The
     attack, which involved the use of improvised explosive devices, hand grenades, and
     automatic weapons fire, killed 10 and wounded at least 30 others. According to the
     Israeli Ministry of Foreign Affairs:

               “About a kilometer north of the settlement, three terrorists who were lying in wait on a
               hillside overlooking the road exploded two bombs that had been planted earlier, causing a
               great deal of damage. Some of the passengers were killed instantly. The bus continued
               driving for another few hundred meters, at which point passengers began trying to
               escape. At that point, one of the terrorists came down from the hill and began throwing
               hand grenades and shooting at the fleeing passengers. The other two terrorists also shot


     113
         http://www.alqassam.ps/arabic/sohdaa5.php?sub_action=byan&id=115. June 2009.
     114
         http://www.alqassam.ps/arabic/sohdaa5.php?sub_action=byan&id=115. June 2009.
     115
         http://www.alqassam.ps/arabic/sohdaa5.php?sub_action=picture&id=115. June 2009.
     116
         http://www.alqassam.ps/arabic/sohdaa5.php?sub_action=sera&id=115. June 2009.


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            at the passengers, from the hillside. More people were wounded or killed by this
            shooting, including some of the occupants of three private cars that were traveling near
            the bus. The terrorists also shot at the rescuers who were trying to evacuate the
            wounded.”117

            One of the three assailants, 21-year old Hamas “field
     commander” Asem Yousef (a.k.a. Abu Rehan), was killed during the
     operation.118 A photograph and biography for Yousef have been
     since been posted on the Hamas website Alqassam.ps. According to
     the biography, Yousef had been a follower of Hamas since his youth,
     and later joined the armed wing, the Ezzadeen al-Qassam Brigades.
     On November 12, 2001, Israeli authorities raided his family’s West
     Bank house in a search for militants (one of them being his brother Mohammed, a known
     Ezzadeen al-Qassam operative), killing his brother Mohammed Yousef:

            “He saw in the eyes of his mother an extreme sadness and deep wound after his brother
            was killed in front of his parents and brothers and no one was able to offer him any
            assistance… This savageness planted the seeds of dark anger in the lion’s heart, and an
            unrelenting drive. On December 12, 2001, or a month following the day that his brother
            was martyred, he chose to transform one of the centers of exploitation [a settlement] to a
            fire which will burn the Jews… The operation resulted in a large number of dead and
            wounded and the destruction of the entire bus and a number of other vehicles.”119

     The Hamas biography even boasted how several victims of the initial attack were
     subsequently “run over by an ambulance when the driver lost control after being struck
     by the martyr Asem.”120 It concluded by printing purported excerpts from the
     “martyrdom” will of Asem Yousef, wherein he triumphantly declared, “victory has
     drawn near in the final days of this blessed month, which have given me the chance to
     sacrifice myself wholly in the cause of Allah in order to defend the soil of beloved
     Palestine and to avenge the death of my dear brother the Mujahid.”121

             It should be noted that the Hamas website Alqassam.ps has also separately
     published several other documents detailing the involvement of Hamas operatives in the
     terrorist attack on Bus No. 189. It offers, among other things, the biography and photo of
     Asem’s brother Mohammed. The biography of Mohammed Rihan similarly notes, “the
     Zionist authorities arrested his father and all of his brothers except the martyr Asem,
     who—exactly one month later on December 12, 2001—carried out revenge in the name
     of Allah’s religion and the blood of his brother and the martyrs of Palestine when he
     carried out a courageous martyrdom operation that many books, articles, and various
     other analyses were written about in light of its complexity and impact known as
     ‘Operation Emmanuel.’ During [this operation], Asem and several members of his al-
     117
         “Terrorist attack on bus at Emmanuel: December 12, 2001.”
     http://www.mfa.gov.il/MFA/MFAArchive/2000_2009/2001/12/Terrorist%20attack%20on%20bus%20at%
     20Emmanuel%20-%2012-Dec-2001.
     118
         http://www.alqassam.ps/arabic/sohdaa5.php?id=1168.
     119
         http://www.alqassam.ps/arabic/sohdaa5.php?sub_action=sera&id=1168
     120
         http://www.alqassam.ps/arabic/sohdaa5.php?sub_action=sera&id=1168
     121
         http://www.alqassam.ps/arabic/sohdaa5.php?sub_action=sera&id=1168.


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     Qassam [Brigades] cell planted explosive devices in the path of a Zionist bus marked as
     line number 198[sic] destined for the Emmanuel settlement… When the bus stopped
     [after the impact of the IED] and the settlers rushed to get out, they were met by a volley
     of bullets showered upon them from an ambush laid by Asem, killing 11 Zionists and
     wounding about 40 others.”122 Months later, in June 2002, when Hamas issued a
     statement claiming responsibility for “planting several explosive devices at the gate” of
     the Emmanuel settlement targeting a bus full of settlers in a combined ambush, including
     “spraying the bus with bullets”, the communiqué signed by the Ezzadeen al-Qassam
     Brigades “confirmed that it was the same unit which carried out the attack in Emmanuel
     last December and in the same location where 11 Zionists were killed and dozens were
     wounded.”123

              March 7, 2002 – Atzmona Shooting attack

             On March 7, 2002, a heavily-armed
     Palestinian gunman infiltrated a religious high
     school in the Jewish settlement of Atmona in Gush
     Katif. In the bloody, commando-style assault that
     ensued, five teenaged students were killed and
     twenty three others were wounded.124 According to
     one survivor, “He got in one of the buildings and
     started shooting and throwing grenades, and carried
     on to the study hall where there were a lot of
     pupils.”125 On the same day, the Ezzedeen Al-
     Qassam Brigades released an official communiqué
     claiming responsibility for the rampage in Atzmona,
     a copy of which was later posted on the Alqassam.ps website operated by Hamas.126
     According to that statement, “the Brigades of the Martyr Ezzedeen al-Qassam declare
     their responsibility for the heroic operation which was carried out by one of the members
     of its youth movements… the courageous martyr Mohammed Fathi Farhat.”127 A copy of
     the Ezzedeen al-Qassam communiqué regarding the Atzmona massacre was likewise
     posted on the Hamas website Palestine-info.net.128

             An accompanying biography posted on the Hamas website Alqassam.ps described
     how 19-year old Mohammed Farhat “was the talk of people here in Gaza, and it seems
     that his action excited its people, the ordinary people, who came out not in the thousands,
     but in the tens of thousands, for the funeral of the young hero who… infiltrated the Gush
     Katif settlement… killing five of the Zionists and wounding dozens.”129 According to the

     122
         http://www.alqassam.ps/arabic/sohdaa5.php?id=1581.
     123
         http://www.alqassam.ps/arabic/statments.php?id=118.
     124
         http://www.mfa.gov.il/MFA/MFAArchive/2000_2009/2002/3/Palestinian%20Terrorism-
     %20Photos%20-%20March%202-21-%202002.
     125
         http://www.guardian.co.uk/world/2002/mar/09/israel3.
     126
         http://www.alqassam.ps/arabic/sohdaa5.php?sub_action=byan&id=205.
     127
         http://www.alqassam.ps/arabic/sohdaa5.php?sub_action=byan&id=205.
     128
         http://www.palestine-info.com/arabic/hamas/statements/2002/8_3_02.htm. October 2002.
     129
         http://www.alqassam.ps/arabic/sohdaa5.php?sub_action=sera&id=205.


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     biography, Farhat’s corpse was publicly paraded during his funeral by a Hamas honor
     guard: “the body of the martyr was wrapped in a green banner emblazoned with the word
     ‘Tawhid’ as dozens of armed members from the military wing of Hamas unleashed a hail
     of bullets… Dozens of green flags were held aloft during the funeral and the sound of
     bullets did not stop until the body of the martyr was surrounded by masked al-Qassam
     gunmen firing enthusiastically in the air in his honor.”130 Reportedly, Farhat’s funeral
     was attended by a group of senior Hamas leaders, including the late Hamas founder
     Shaykh Ahmed Yassin, Dr. Abdelaziz al-Rantisi, and Ismail Haniyeh. According to the
     website Alqassam.ps, attendees at Farhat’s funeral were addressed by a Hamas
     spokesman through a loudspeaker: “This young lion from Hamas stormed this heavily-
     armed and defended settlement, breaking the myth regarding the invincible [Israeli]
     army… Yesterday, we vowed that a response to the crimes of the occupation was
     inevitable. Today, Hamas has fulfilled that promise.”131

             The official biography published on Alqassam.ps also included a written “martyr”
     will allegedly written by Farhat, in which he appealed directly “to my father and mother,
     [I hope] that you are full of patience and persistence, and I can only congratulate you on
     my expected martyrdom, God willing.”132 A second matching copy of Farhat’s “martyr”
     will was published on the Hamas website Palestine-info.net.133 Both the websites
     Alqassam.ps and Palestine-info.net offer visitors a litany of multimedia relating to
     Mohammed Farhat, including various high-resolution still images and even a final three
     and a half minute video-recorded version of his will (inked with the watermark of the
     Ezzedeen al-Qassam Brigades).134 In the recorded video, Farhat testifies:

             “I am the martyr—Allah-willing—Mohammed Fathi Farhat; son of the Martyr Ezzedeen
             al-Qassam Brigades, and I ask Allah, raised and glorified, to accept my deed, to unite me
             with my martyred brothers, and to reward me with the companionship of the
             messenger—prayer and peace upon him—in the high heavens. O’ Muslims, I will carry
             out my deed only to satisfy my Lord and for vengeance against the enemies of humanity,
             the Jews, the blood-suckers who continue to murder my people each morning and
             evening. And I will carry out my modest operation in order to avenge my brothers and
             sisters in Balata and Jenin and Farah and Gaza, and in vengeance against the Sharon-
             inspired massacres against our people.”135

             March 9, 2002 – Café Moment Suicide Bombing

             On March 9, 2002, a suicide bomber detonated an explosive just before midnight
     at a restaurant, “Café Moment”, packed with customers in the Rehavia neighborhood of



     130
         http://www.alqassam.ps/arabic/sohdaa5.php?sub_action=sera&id=205.
     131
         http://www.alqassam.ps/arabic/sohdaa5.php?sub_action=sera&id=205.
     132
         http://www.alqassam.ps/arabic/sohdaa5.php?sub_action=sera&id=205.
     133
         http://www.palestine-info.com/arabic/hamas/shuhda/2002/mohamadfarhat/waseyh.htm.
     134
         http://www.alqassam.ps/arabic/sohdaa5.php?sub_action=video&id=205. See also:
     http://www.alqassam.ps/arabic/sohdaa5.php?sub_action=picture&id=205. See also: http://www.palestine-
     info.info/arabic/palestoday/intifada_photos/photo184/photo184.htm.
     135
         http://www.alqassam.ps/arabic/sohdaa5.php?sub_action=video&id=205.


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     Jerusalem. The deadly explosion killed eleven people
     and wounded at least 54 others.136 On the same day,
     the Ezzedeen Al-Qassam Brigades released an official
     communiqué claiming responsibility for the bombing at
     Café Moment, a copy of which was later posted on the
     Alqassam.ps website operated by Hamas.137 The
     statement identified “the brother mujahid martyr Ismail
     Fouad al-Horani from the al-Arroub camp” as the
     culprit responsible for the “heroic operation in the heart
     of occupied Jerusalem, after passing through all
     checkpoints. [This was] the first response in the al-
     Qassam’s series of revenge [attacks] for the slaughter
     and massacres that have been committed in the past few
     days, and our mujahid hero has helped to soothe the pain and distress of our people and
     our nation, and healing their hearts and bringing the smile back to their lips.”138
     Matching copies of the Ezzedeen al-Qassam communiqué regarding the Café Moment
     suicide attack were posted elsewhere on the Alqassam.ps website139, and likewise on the
     Hamas website Palestine-info.net.140

             Under its exclusive profile of al-Horani and his operation, the website
     Alqassam.ps offers an official “martyr” biography, including further details on the attack
     on the Jerusalem café:

            “Despite the presence of Zionist security guards at the entrance to Café Moment… the
            martyr hero Fouad al-Horani managed to enter the cafe and blew himself up amongst a
            crowd of Zionists inside a cafe known to be frequented by the elite of the Zionist
            community. [The attack] killed eleven settlers and wounded more than 90 others,
            including seven in critical condition. It is clear that all the dead were soldiers of the
            Zionist occupation.”141

     During a rally of hard-line Islamic students celebrating the “martyrdom” of al-Horani, an
     organizer told the crowd that the Café Moment bomber “was not only a credit to the al-
     Qassam Brigades and Hamas, but furthermore, is the pride of all the forces of national
     and Islamic liberation movements in light of the silence from other Arab nations and the
     international community, and their perceived favoritism towards the Zionists in their war
     against the Palestinians.”142 Excerpts from the same biography of Ismail Fouad al-Horani
     were also published separately on the Hamas website Palestine-info.net.143 Photographs

     136

     http://www.mfa.gov.il/MFA/MFAArchive/2000_2009/2002/3/Suicide%20bombing%20at%20Cafe%20Mo
     ment%20in%20Jerusalem%20-%209-Ma.
     137
         http://www.alqassam.ps/arabic/sohdaa5.php?sub_action=byan&id=169.
     138
         http://www.alqassam.ps/arabic/sohdaa5.php?sub_action=byan&id=169.
     139
         http://www.alqassam.ps/arabic/statments.php?id=84.
     140
         http://www.palestine-info.com/arabic/hamas/statements/2002/9_3_02.htm. December 2002.
     141
         http://www.alqassam.ps/arabic/sohdaa5.php?sub_action=sera&id=169.
     142
         http://www.alqassam.ps/arabic/sohdaa5.php?sub_action=sera&id=169.
     143
         http://www.palestine-info.info/arabic/hamas/shuhda/2002/alhorane/life.htm. See also:
     http://www.palestine-info.info/arabic/hamas/shuhda/2002/alhorane/alhorane.htm.


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     of al-Horani were subsequently posted on the website Alqassam.ps, including an image
     of him brandishing an automatic weapon under the label, “The Al-Qassam Martyr Fouad
     Ismail al-Horani.”144

              March 27, 2002 – Park Hotel Bombing, Netanya

             On March 27, 2002, a suicide bombing at the Park Hotel in the city of Netanya
     killed thirty and wounded at least 140 others in the midst of celebrations for the Passover
     holiday. On April 14, 2003, an Israeli court sentenced four alleged Hamas members to
     29 life terms and an additional 20 years in prison for helping to plan the attack.145 On
     several occasions in the wake of the bombing, the Ezzadeen al-Qassam Brigades have
     claimed responsibility for it and have provided personal details about the bomber and his
     mission. On the same day as the bombing, the website Palestine-info.net published an
     official English-language communiqué signed by Hamas and watermarked with its logo
     describing the Park Hotel bombing as a “modest gift” to Ariel Sharon, timed to occur in
     the midst of a regional summit of Arab leaders in Beirut, Lebanon. Furthermore,
     according to that document:

               “…What the Zionist entity and its ally America call ‘innocent civilians’ are called in our
               Brigades and our Palestinian people’s lexicon settlers and usurpers of our lands. They
               will only receive death and displacement and if they wish to save their lives they have to
               pack up and leave before they regret it. Our operation… is a clear message to our Arab
               rulers that our Mujahid people have chosen their road and known how to regain lands and
               rights in full depending on Allah only. Our people do not accept other than Jihad and
               resistance as the main path to regain usurped rights… occupation crimes against our
               people that are struggling for regaining usurped rights will not pass unpunished and we
               will spread death in lines of the Zionists everywhere in the streets, buses, hotels,
               restaurants and discos. They will not find a safe place until they leave our lands, cities
               and villages.”146

             The statement posted on the Palestine-info.net website was confirmed by a second
     Arabic-language communiqué—titled “The Zionists Will Not Enjoy Security Until Our
     People Enjoy it in Practice”—posted separately on the Ezzadeen al-Qassam Brigades’
     website (which can still be found on the present iteration of the al-Qassam website).147
     That website identified the bomber as 25-year old Tulkarem resident Abdel Baset
     Mohammed Qassem Odeh, and offered an in-depth biography of Odeh and exclusive
     photos of him holding an automatic weapon while standing in front of Hamas propaganda
     posters and wearing a Hamas headband.148 A copy of the Arabic-language communiqué
     is presented in the appendix to this report, along with a selection of photos of Odeh
     released on the Ezzadeen al-Qassam website. In the midst of Odeh’s printed biography,
     Hamas took pains to threaten that “the occupation crimes being committed against our

     144
         http://www.alqassam.ps/arabic/sohdaa5.php?sub_action=picture&id=169.
     145
         http://www.mfa.gov.il/MFA/MFAArchive/2000_2009/2002/3/
     Passover%20suicide%20bombing%20at%20Park%20Hotel%20in%20Netanya.
     146
         http://www.palestine-info.co.uk/hamas/communiques/comm_text/2002/27mar02.htm. December 2002.
     147
         http://www.alqassam.ps/arabic/sohdaa5.php?sub_action=byan&id=99. June 2009.
     148
         http://www.alqassam.ps/arabic/sohdaa5.php?id=99. June 2009.


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     mujahid people… will not pass without punishment, and we will have the Zionists taste
     death in every street, bus, hotel, restaurant, and dance [club], and they won’t find for
     themselves a secure place away from us.”149




                            Images of Abdel Baset Odeh, the Hamas suicide bomber responsible for the Park Hotel bombing in Netanya, March 2002




            In February 2008, the Media Office of the Ezzadeen al-Qassam Brigades
     published a special issue of their Arabic-language online magazine to mark the 20th
     anniversary of the military wing of Hamas. It summarizes the twenty-year history of the
     al-Qassam Brigades, and offers data and many statistics regarding Hamas military
     operations.150 One of the operations covered in the magazine issue was the bombing of
     the Park Hotel. According to that document:

                “The Martyr Abdel Baset Odeh was able to break through all the Zionist security cordons
                and reached the Park Hotel in the city of Netanya, exploding his pure body amongst a
                crowd of settlers, and his operation resulted in the deaths of 25 Zionists and wounding
                more than 190 others. Of them, forty are in critical condition and ten of them are
                comatosed. Zionist sources have reported that, at the time of the explosion, there were
                more than 300 settlers in the hall, that the intensity of the explosion caused the ceiling to
                collapse, and that there were injuries to those outside the hall. This operation is


     149
           http://www.alqassam.ps/arabic/sohdaa5.php?sub_action=byan&id=99
     150
           http://www.alqassam.ps/arabic/upload/qassamion_5.pdf. June 2009. Page 20.


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               considered one of the most devastating martyrdom operations that has tormented the
               enemy and [they] still talk about it and its aftermath.”151

              May 7, 2002 – Sheffield Club Bombing, Rishon Letzion

              Late in the evening of May 7, 2002, a suicide bomber
     entered an unlicensed casino in Rishon Letzion known as the
     “Sheffield Club” and detonated “a suitcase of explosives,
     spiked with shrapnel and nails to cause maximum injury”—
     killing 15 and wounding 55 others.152 More than six years
     later, the Ezzedeen al-Qassam Brigades issued a communiqué
     (dated June 7, 2008) claiming credit for a series of past
     operations, including the attack on the Sheffield Club.153 The
     statement identified the bomber as Nablus-native, Jordanian-
     resident Mohammed Jameel Nabil Muammar and added, “in
     claiming responsibility for these heroic operations years after
     their execution, the al-Qassam Brigades has demonstrated that—despite purported claims
     for the operations by others—we chose to remain silent until the appropriate time in order
     to preserve the integrity of the mujahideen, and this is only the tip of the iceberg of our
     undeclared operations.”154

            An accompanying biography posted on the Hamas website Alqassam.ps explained
     how the operation had been carried out: “Our martyr, Mohammed Muammar, set off on
     Tuesday, May 7, 2002 and infiltrated all the Zionist borders and security checkpoints and
     entered a gambling club carrying an explosives case, and he detonated it inside the place.
     The operation resulted in 20 dead Zionists and 60 other Zionists were wounded. The al-
     Qassam Brigades were secretive in regards to claiming responsibility for the operation
     when it occurred in May 2002… for special security reasons.”155

              June 18, 2002 – Jerusalem Bus #32 Bombing

             On June 18, 2002, during morning rush hour, a suicide bomber boarded Egged
     Bus No. 32A in the Beit Safafa neighborhood of Jerusalem and detonated a powerful
     explosive hidden inside a bag packed with metal ball bearings. The ensuing blast ripped
     apart the bus, killing 19 people and wounding at least 74 others.156 In fact, the bombing
     of Bus No. 32A was the deadliest terror attack in Jerusalem since February 25, 1996. A
     fifteen year-old survivor recalled the horrific immediate aftermath: “I saw a lot of bodies
     and body parts lying around. There was a lot of mess. For the first few minutes, there was



     151
          http://www.alqassam.ps/arabic/upload/qassamion_5.pdf. June 2009. Page 20.
     152
          http://www.mfa.gov.il/MFA/Terrorism-+Obstacle+to+Peace/Memorial/2002/2/Rahamim+Kimhi.htm.
     153
          http://www.alqassam.ps/arabic/statments.php?id=3921. June 2009.
     154
          http://www.alqassam.ps/arabic/statments.php?id=3921. June 2009.
     155
          http://www.alqassam.ps/arabic/sohdaa5.php?id=1085
     156
         http://www.mfa.gov.il/MFA/MFAArchive/2000_2009/2002/6/Suicide%20bombing%20at%20Patt%20ju
     nction%20in%20Jerusalem%20-%2018.


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     a lot of shouting, then silence.”157 The bomber, 22-year old Mohammed Haza al-Ghoul,
     a graduate student at An-Najah University in the West Bank town of Nablus, was
     mourned at his family’s home in the Al-Faraa refugee camp. His father, Haza, told
     journalists, “He’s a martyr. We have only to ask our God to be merciful with him.”158

            On the same day, the Ezzedeen Al-Qassam Brigades released an official
     communiqué claiming responsibility for the bombing of Bus No. 32A, a copy of which
     was later posted on the Alqassam.ps website operated by Hamas.159 According to the
     statement:

             “Despite their defensive shield and protecting
             wall, the Ezzadeen al-Qassam Brigades hero
             Mohammed Haza al-Ghoul… was able to explode
             his pure body amongst the malevolent Zionists,
             killing and wounding dozens of them, reassuring
             the hearts of the believers and avenging our
             martyrs in Nablus, Jenin, Tulkarem, Qalqilya,
             Ramallah, and all our beloved refugee camps and
             villages. On the morning of Tuesday, June 18,
             2002, the blessed martyr prayed his morning
             prayer and, while fasting, headed toward the heart
             of the Zionists in beloved Jerusalem… It was a
             date with martyrdom, sending a Zionist bus (Bus
             Number 32) to hell. We, the Ezzedeen al-Qassam,
             declare a holy war against the malevolent Zionists
             as part of a plan devised by the leadership of the
             al-Qassam Brigades under the slogan, ‘the martyrs
             are coming from everywhere.’ There are dozens of suicide bombers in waiting, one after
             the other. We say to the Zionists to start digging your graves, because the number of
             your victims will be in the hundreds… Jihad and martyrdom operations will continue so
             long as the occupation lingers over our holy land.”160

     A copy of the Ezzedeen al-Qassam communiqué regarding the Bus No. 32A bombing
     was likewise posted on the Hamas website Palestine-info.net.161

            The Alqassam.ps website also offered Mohammed al-Ghoul’s biography, in
     which Hamas representatives explained that al-Ghoul had intended on carrying out a
     “martyrdom attack” twice before—and he had even prepared two prior “martyrdom
     wills”—“but conditions did not allow him to complete this task.” In his biography on
     Alqassam.ps, the bomber praised Allah “who made me among the sons of the benevolent
     Hamas movement, and especially for making me among the sons of the Martyr Ezzedeen

     157
         Weizman, Steve. “Suicide bomber attacks crowded bus in Jerusalem, at least 20 killed.” Associated
     Press. June 18, 2002.
     158
         Weizman, Steve. “Suicide bomber attacks crowded bus in Jerusalem, at least 20 killed.” Associated
     Press. June 18, 2002.
     159
         http://alqassam.ps/arabic/sohdaa5.php?sub_action=byan&id=201.
     160
         http://alqassam.ps/arabic/sohdaa5.php?sub_action=byan&id=201.
     161
         http://www.palestine-info.com/arabic/hamas/statements/2002/18_6_02.htm. October 2002.


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     al-Qassam Brigades. How beautiful is it that I should be the retaliation and that my
     bones shall be fragments who blow up the enemy.”162 A matching copy of al-Ghoul’s
     final “martyr” will was likewise posted on the Hamas website Palestine-info.net.163

             The website Alqassam.ps offers numerous other evidentiary materials and
     references to the complicity of Hamas and its Ezzedeen al-Qassam Brigades in the
     bombing of Bus No. 32A. One Arabic-language document titled “The Qassam Brigades
     By the Numbers” explains, “[this is] a quick overview of the highlights from the jihadi
     operations by Hamas… We apologize for not being able to cite all of the many operations
     and assassinations by the movement.” Under an entry labeled “18/6/2002”, the document
     notes, “the al-Qassam martyr Mohammed Haza al-Ghoul from the al-Faraa refugee camp
     blew himself up inside a Zionist bus in the Pat junction in Jerusalem near the Gilo
     settlement, which caused the deaths of 19 Zionists and wounded a hundred others.”164 In
     another digest posted on the Alqassam.ps website under the sub-section “Private Files”,
     Hamas boasts of how the “Al-Ghoul family planted terror in the hearts of Zionists.”165
     According to the document, “Mohammed [al-Ghoul] was a man of scholarly pursuits, of
     faith, a man of arms and on the battlefield, and a son of the al-Qassam Brigades.”166
     Numerous original photographs of al-Ghoul have been posted on various Hamas
     websites, including Palestine-info.net and Alqassam.ps.167

              July 31, 2002 – Hebrew University Cafeteria Bombing, Jerusalem

             On July 31, 2002, a bomb exploded without warning in the Frank Sinatra cafeteria
     at the Mt. Scopus campus of Hebrew University in the middle of a crowded lunch, killing
     nine people and wounding 85 others, fourteen of them seriously.168 Shortly thereafter,
     the Palestine-info.net website published an official English-language communiqué signed
     by Hamas and watermarked with its logo claiming responsibility for the attack: “Here we
     surface again from the ruins and debris to plant terror in hearts of the Zionists… [and]
     teach Sharon and Ben Eliezer the only lesson that they understand. The Qassam Brigades
     declare with the grace and strength of Allah full responsibility for the blast in the
     cafeteria of the Hebrew University’s Law Faculty.”169 The statement further described
     the bombing as one of:

               “…a series of Qassam destructive retaliatory strikes to the Gaza massacre and liquidation
               of general commander Sheikh Salah Shehada… The Qassam Brigades have decided that
               avenging the assassination of any leader of our Jihad Movement the Islamic Resistance
               Movement, Hamas, or any commander of our Brigades the Qassam Brigades would be:


     162
         http://www.alqassam.ps/arabic/sohdaa5.php?sub_action=sera&id=201.
     163
         http://www.palestine-info.info/arabic/hamas/shuhda/2002/mohmad_algol/waseyah.htm. See also:
     http://www.palestine-info.info/arabic/hamas/shuhda/2002/mohmad_algol/algol.htm.
     164
         http://www.alqassam.ps/arabic/special_files/entelaqa/05/main.htm.
     165
         http://ns2.alqassam.ps/arabic/special_internal.php?id=78.
     166
         http://ns2.alqassam.ps/arabic/special_internal.php?id=78.
     167
         http://www.alqassam.ps/arabic/sohdaa5.php?sub_action=picture&id=201.
     168
         http://www.mfa.gov.il/MFA/MFAArchive/2000_2009/2002/7/
     Terrorist%20bombing%20at%20Hebrew%20University%20cafeteria.htm.
     169
         http://www.palestine-info.co.uk/hamas/communiques/comm_text/2002/31jul02.htm. December 2002.


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               killing 100 Zionist usurpers at least… Terrorist statements by the American
               administration, topped by criminal Bush, that backed the Zionist enemy would not
               terrorize people loving and yearning for martyrdom and not caring less about those who
               describe our legitimate resistance as terrorism.”170

             The English statement posted on the Palestine-info.net website was confirmed by
     a second Arabic-language communiqué—titled “The Zionists Will Not Enjoy Security
     Until Our People Enjoy it in Practice”—posted separately on the Ezzadeen al-Qassam
     Brigades’ website (which can still be found on the present iteration of the al-Qassam
     website).171 The latter document identified the bomber as Mohammed Odeh, a former
     painter at the university, who placed the bomb with the assistance of accomplice Wael
     Qassim, and who later detonated the bomb remotely with a cell phone-activated
     detonator.172 According to the communiqué, “It is not a coincidence that this device was
     used in this particular cafeteria. This was a device built with careful forethought,
     gathered intelligence, and precise preparation.”173

              September 19, 2002 – Tel Aviv Bus #4 Bombing

             On September 19, 2002, a suicide bomber boarded Dan Bus No. 4 in Tel Aviv
     and detonated an explosive device on Allenby Street. The ensuing blast killed six people
     and wounded approximately 70 others.174 On the same day, the Ezzedeen Al-Qassam
     Brigades released an official communiqué claiming responsibility for the bombing of Bus
     No. 4, a copy of which was later posted on the Hamas website Ezzedeen.net. According
     to the initial statement published on Ezzedeen.net: “The Brigades of the Martyr Ezzedeen
     al-Qassam announce the martyrdom, at 12:55pm sharp this afternoon, Thursday 12 Rajab
     1423 AH (corresponding to 9/19/2002) of one of the martyrs from the Brigades of the
     Martyr Ezzedeen al-Qassam—who we will refrain from identifying by name at this
     time—in the bombing of Bus No. 4 carrying Zionist occupiers… This operation is the
     third in number of our long series of retaliation which the al-Qassam Brigades promised
     to undertake after the assassination last year of its leader Shaykh Saleh Shehadeh.”175

            Nearly six years later, Hamas issued a second, follow-up communiqué regarding
     the September 2002 bombing of Bus No. 4 in Tel Aviv, which was ultimately posted on
     the website Alqassam.ps. The statement, dated June 7, 2008, explained:

                “We in the al-Qassam Brigades reveal for the first time after more than five years on the
               identity of two of our courageous fighters, and they [include]… the al-Qassam Martyr
               Hero Iyad Naim Subhi Radad, executor of the martyrdom operation on Allenby Street in
               the city of Tel Aviv on September 19, 2002. The martyr boarded the Zionist bus and then

     170
         http://www.palestine-info.co.uk/hamas/communiques/comm_text/2002/31jul02.htm. December 2002.
     171
         http://www.alqassam.ps/arabic/operations2.php?id=23. June 2009.
     172
         http://www.alqassam.ps/arabic/operations2.php?id=23. June 2009.
     173
         http://www.alqassam.ps/arabic/operations2.php?id=23. June 2009.
     174
         http://www.mfa.gov.il/MFA/Terrorism-
     %20Obstacle%20to%20Peace/Palestinian%20terror%20since%202000/Suicide%20and%20Other%20Bom
     bing%20Attacks%20in%20Israel%20Since.
     175
         http://web.archive.org/web/20040226160257/http://ezzedeen.net/Byanat/2002/09-
     2002/19_09_2002.htm. April 2003.


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               blew himself up, leaving 6 Zionists dead and more than 60 others wounded. The
               operation was executed in response to the assassination of the commander Shaykh Saleh
               Shehadeh… The al-Qassam Brigades have claimed responsibility for [this] heroic
               operation years after it was carried out to confirm our involvement in it. Despite the fact
               that we have claimed credit for other operations, we opted for silence [in this case] at the
               time in order to preserve the safety of our mujahideen—and this is only the tip of the
               iceberg of the operations we have carried out that we have not claimed credit for. We
               assure everyone that our cells in the West Bank are still active and ready to hit the
               occupiers at the time and place deemed most appropriate as a retaliation for his crimes
               against our people. This is a jihad, victory or martyrdom.”176

     The justification for the long delay in announcing Radad’s name is repeated in the
     bomber’s official biography published on the Hamas website Alqassam.ps. According to
     the document, “the Qassam Brigades have refrained from offering details on the
     operation… this is because of special security concerns… The al-Qassam Brigades have
     held back from claiming credit for many operations for security reasons. As for the
     operations that have not yet been claimed by the Brigades at the moment, they will be
     announced in due course.”177

             The website Alqassam.ps offers numerous other evidentiary materials and
     references to the complicity of Hamas and its Ezzedeen al-Qassam Brigades in the
     bombing of Bus No. 4. One Arabic-language document titled “The Qassam Brigades By
     the Numbers” explains, “[this is] a quick overview of the highlights from the jihadi
     operations by Hamas… We apologize for not being able to cite all of the many operations
     and assassinations by the movement.” Under an entry labeled “19/9/2002”, the document
     notes, “five Zionists and 63 others were wounded in an al-Qassam martyrdom operation
     on a bus in Tel Aviv as part of a series of retaliations to avenge the assassination of the
     Commander-General of the al-Qassam Brigades, Saleh Shehadeh.”178 A poster of Iyad
     Radad alongside Muhammad Jamil Nabil Mu’ammar (the Sheffield Club suicide
     bomber), has also been posted on the website Alqassam.ps.179

              January 29, 2003 – Shooting Attack on Route 60

             On January 29, 2003, unknown assailants fired automatic weapons at an Israeli
     vehicle traveling on Route 60 near the town of Ofra and the Palestinian city of Jenin,
     wounding two Israeli civilians.180 Approximately 10 months later, in December 2003,
     the Hamas website Palestine-info.net published a new document titled, “The Zionists
     admit: The arrested Hamas cells in Ramallah stand out in terms of their great expertise,
     superior planning, conduct, and complete secrecy.”181 The report released on Palestine-
     info.net detailed the activities of several Hamas terror cells in the area of Ramallah,
     176
         http://www.alqassam.ps/arabic/sohdaa5.php?sub_action=byan&id=1086. See also:
     http://www.alqassam.ps/arabic/statments.php?id=3921.
     177
         http://www.alqassam.ps/arabic/sohdaa5.php?id=1086. See also:
     http://www.alqassam.ps/arabic/sohdaa5.php?sub_action=sera&id=1086.
     178
         http://www.alqassam.ps/arabic/special_files/entelaqa/05/main.htm.
     179
         http://www.alqassam.ps/arabic/sohdaa5.php?sub_action=picture&id=1086.
     180
         http://www.israelemb.org/articles/2003/December/2003122400.htm
     181
         http://www.palestine-info.info/arabic/hamas/glory/ramalah.htm. July 2009.


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     including one cell in particular based in the town of Silwad comprised of approximately
     five local Palestinian youths all between the ages of 27-28—most of whom were already
     known as Hamas operatives. Among the various attacks attributed to the Silwad terror
     cell by Palestine-info.net was the January 29, 2003, Route 60 attack near Ofra.182

             Further specifics about the incident near Ofra were revealed in another separate
     document later posted on the official Ezzedeen al-Qassam Brigades website Alqassam.ps,
     titled “Special Reports: The Most Complex Cell in the History of the [Zionist] Entity in
     Ramallah.”183 The document labeled the January 2003 Route 60 attack as “the Sinjal
     Junction Operation” and narrated the events that took place in remarkable detail:

               “The mujahideen Muayad Hamad, Yaser Hamad, Farah Hamad, and Khaled al-Najjar -
               after observing the Sinjal Junction on Route 60, where settlers used to pass by - went to
               action and waited for the target, a car carrying four settlers. When the proper target
               emerged on the horizon, the cell leader gave instructions to the other Mujahidin to get
               ready to begin their mission. When the car reached the appropriate landmark, the
               Mujahidin began firing their weapons relentlessly on the vehicle at a very close range
               from a distance of no more than a few meters. This operation resulted in the injury of
               one settler, shot in the spine and permanently paralyzed, called Dvir Kinarti, and serious
               injuries to another settler when his arm was shattered from the elbow down and another
               was injured and he is Jacob Steinmetz.”184

              March 5, 2003 – Haifa Bus #37 Bombing

             On March 5, 2003, a suicide bomber detonated an explosive
     vest aboard Egged Bus #37 in the Carmel neighborhood of Haifa,
     en route to Haifa University—killing seven passengers and
     wounding 53 others.185 The Ezzedeen al-Qassam Brigades have
     issued at least two communiqués (both dated March 7, 2003)
     claiming responsibility for the bombing, which are still available on
     the Alqassam.ps website. While the first statement merely
     references the Haifa bombing amid a series of other Hamas military
     operations, the second communiqué offers specific details of the
     attack and the bomber, identified as 20-year old Mahmoud Imran Salim al-Qawasmi
     (pictured at right), a resident of the Hebron suburbs.186 The latter document threatens
     follow-up terrorist attacks in “Haifa, Jaffa, Jerusalem”: “We emphasize that this response
     is only the first in a series of strikes by the Al-Qassam [Brigades] which will teach the
     Jews a lesson they won’t forget for their crimes against our defenseless people.”187 The
     Ezzedeen al-Qassam Brigades have also published a lengthy biography of “the Martyr”
     al-Qawasmi, which notes, “After the bombing, occupation authorities found parts of
     182
         http://www.palestine-info.info/arabic/hamas/glory/ramalah.htm. July 2009.
     183
         http://www.alqassam.ps/arabic/special.php?id=2102. July 2009.
     184
         http://www.alqassam.ps/arabic/special.php?id=2102. July 2009.
     185
         http://www.mfa.gov.il/MFA/MFAArchive/2000_2009/2004/1/
     Suicide%20bombing%20of%20Egged%20b us%20No%2037%20in%20Haifa%20-%205-Ma.
     186
         http://www.alqassam.ps/arabic/sohdaa5.php?sub_action=bayan&id=274. July 2009. See also:
     http://www.alqassam.ps/arabic/statments.php?id=245. July 2009.
     187
         http://www.alqassam.ps/arabic/statments.php?id=245. July 2009.


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     Martyr Mahmoud’s ID card and a piece of paper with his handwriting stating that the al-
     Qassam Brigades, to which he belongs, was responsible for the attack.”188

              March 7, 2003 – Shooting in Kiryat Arba

            On March 7, 2003, two assailants disguised as Jewish Yeshiva students infiltrated
     Kiryat Arba through an electronic checkpoint and broke into an Israeli household during
     Shabbat dinner, firing their weapons on the family they found inside. The attack killed
     two and wounded five others.189 On the same day, March 7, 2003, the Ezzedeen al-
     Qassam Brigades claimed responsibility for “successfully infiltrating the… Kiryat Arba
     settlement occupying the former territory of Hebron in retaliation for the spilling of the
     blood of innocents and the defenseless, safe in their homes in Gaza and the West Bank—
     and in response to the policies of home demolition and arrests carried out by this
     cowardly and arrogant enemy.”190 A copy of the Hamas communiqué was later posted,
     among other places, on the Alqassam.ps website.191

              April 30, 2003 – Mike’s Place Bombing, Tel Aviv

             On April 30, 2003, a suicide bomber
     blew himself up at the entrance to Mike's
     Place, a British-themed bar near the waterfront
     in Tel Aviv, killing three civilians and
     wounding over 50 others.192 In an Arabic-
     language statement released through the
     Palestine-info.net website, the Ezzedeen al-
     Qassam Brigades claimed joint responsibility
     for the attack in cooperation with the Al-Aqsa
     Martyrs Brigades.193 While the communiqué
     did not name the bomber himself, Hamas
     reassured its supporters that “this martyr” was
     indeed part of the al-Qassam Brigades and
     further details would be provided in the
     future.194      The same Arabic-language
     statement claiming credit for the “Mike’s
     Place” bombing—titled, “Our Weapons Will Not Go Down Until the Occupation Goes
     Down”—was also released directly through the website of the al-Qassam Brigades, and
     can still be found on the present iteration of the official al-Qassam website.195 The

     188
         http://www.alqassam.ps/arabic/sohdaa5.php?sub_action=sera&id=274. July 2009.
     189
         http://www.mfa.gov.il/MFA/Government/Communiques/2003/
     Senior+Hamas+terrorists+killed+in+Hebron+-+9-Sep-2.htm.
     190
         http://www.alqassam.ps/arabic/statments.php?id=246. July 2009.
     191
         http://www.alqassam.ps/arabic/statments.php?id=246. July 2009.
     192
         http://www.mfa.gov.il/MFA/Government/Communiques/2003/Details+of+April+30-
     +2003+Tel+Aviv+suicide+bombing.htm.
     193
         http://www.palestine-info.net/arabic/hamas/statements/2003/30_4_03.htm. September 2003.
     194
         http://www.palestine-info.net/arabic/hamas/statements/2003/30_4_03.htm. September 2003.
     195
         http://www.alqassam.ps/arabic/statments.php?id=266. June 2009.


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     communiqué threatened, “our resistance will continue and escalate, and our weapons will
     continue to target those who have usurped our lands and stolen our wealth… The popular
     masses today are ready to respond with full force against anyone who tries to stand in the
     way of the resistance in order to appease their Zionist and American masters.”196

            Almost a year later, on March 8, 2004, the online video library hosted on the
     Qassam Brigades website Ezzedeen.net was modified to include a new addition:
     “martyrdom” wills read in English by two British nationals who had executed the suicide
     April 2003 bomb attack at “Mike’s Place.”197 According to 22-year old Asif Mohamed
     Hanif, “It’s a great honor to kill one of these people… We have problems and we ask
     Tony Blair and George Bush to help us. Who is Tony Blair and George Bush? I wish
     God either to guide them or for his wrath to come upon these people.” A second failed
     bomber, 27-year old Omar Khan Sharif, laughs at the comments of his British companion
     and then proceeds to threaten, “We will take revenge and we will get the Jews and the
     Crusaders out of the land of Islam. Fellow Muslims, we left Britain to look for
     martyrdom.”198 This video is, at least in part, an effort to convince other Muslims from
     Europe—and particularly the United Kingdom—to travel to conflict zones in the Islamic
     world and join extremist organizations, with the intention of becoming unlawful
     combatants and suicide bombers. At the end of the video of the two British suicide
     bombers, the official logo of the Ezzadeen al-Qassam Brigades is shown, alongside the
     URL: “www.ezzedeen.net.”199

              May 18, 2003 – Jerusalem Bus #6 Bombing

             On May 18, 2003, a suicide bomber boarded
     Egged Bus No. 6 and detonated an explosive device near
     French Hill in Jerusalem, killing seven and wounding 20
     others.200 On the same day, the Ezzedeen Al-Qassam
     Brigades released an official communiqué claiming
     responsibility for a series of attacks in Jerusalem on May
     18 including the bombing of Bus No. 6, copies of which
     were later posted on the Hamas websites Ezzedeen.net,
     Palestine-info.net, and Alqassam.ps.201 The statement
     named three Ezzedeen al-Qassam Brigades “martyrs”
     from the operations of May 18, including 19-year old

     196
         http://www.alqassam.ps/arabic/statments.php?id=266. June 2009.
     197
         “Bomb Britons appear on Hamas tape.” BBC News. March 8, 2004.
     http://news.bbc.co.uk/2/hi/uk_news/3543269.stm.
     198
         http://www.ezzedeen.net/movies/mpg/part2.wmv. March 2004.
     199
         http://www.ezzedeen.net/movies/mpg/part2.wmv. March 2004.
     200
         http://www.mfa.gov.il/MFA/Terrorism-
     +Obstacle+to+Peace/Palestinian+terror+since+2000/Suicide+and+Other+Bombing+Attacks+in+Israel+Sin
     ce.htm.
     201
         http://www.ezzedeen.net/Byanat/2003/05_2003/18_05_2003_1.htm. August 2003. See also:
     http://www.palestine-info.info/arabic/hamas/statements/2003/18_5_03.htm. July 2003. See also:
     http://www.alqassam.ps/arabic/statments.php?id=284. See also:
     http://www.alqassam.ps/arabic/sohdaa5.php?sub_action=byan&id=308.


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     Jamal Takruri.

             Takruri’s precise role in the bombing of Bus No. 6 was further expounded on in
     his official biography posted on the Hamas website Alqassam.ps.202 According to the
     document, Takruri “waited at a bus stop in the city until the preferred minibus arrived
     that the martyr had selected. It was comprised of two floors, and he sat on the first floor
     in the front of the bus. According to various accounts of the operation, he blew himself
     up only a short distance away from where he had boarded the bus… killing seven
     Zionists and wounding more than twenty others, including four of them seriously. The
     Zionist reports on the operation noted that the bus was completely in flames ‘and was
     blown to pieces.’”203 The website Alqassam.ps also offers a slideshow of original
     photographs of Jamal Takruri, including an image of the 19-year old holding an
     automatic weapon and standing in front of a banner emblazoned with the official logo of
     Hamas (see above).204

              June 11, 2003 - Jaffa Road Bus 14A Bombing, Jerusalem.

             On June 11, 2003, a suicide bomber detonated himself aboard Egged Bus #14A
     on Jaffa Road in central Jerusalem, killing seventeen and wounding over 100 others.205
     Days later, on June 13, the Ezzedeen al-Qassam Brigades published a statement claiming
     responsibility for the suicide bombing in Jerusalem, which it labeled a revenge mission
     for the failed assassination of senior Hamas leader Dr. Abdelaziz al-Rantisi.206
     According to the communiqué, the bomber responsible for “the Jerusalem operation” was
     18-year old Abdel Muti Mohammed Saleh Shabaneh, of Hebron.207 It also threatened
     that “the Jerusalem operation is only the beginning of a new series of attacks which will
     avenge the Zionist effort to grab all of our country.”208 On the Hamas website
     Alqassam.ps, the statement claiming credit for the Jaffa Road bombing is accompanied
     by several high-resolution images of Abdel Muti Shabaneh (as seen below)209 and a
     lengthy personal biography.210

             Though the website did not offer a copy for download, the biography posted on
     Alqassam.ps described a “recorded video of the martyr reading his will to his people and
     to the military leaders and politicians.” It further boasted of “claims by enemy
     intelligence of prior planning for the operation by the Al-Qassam Brigades, especially
     since the response came so quickly to the attempted assassination of [Abdelaziz] Rantisi.
     This was merely to justify the failure of military intelligence… Abdel Muti, a simple

     202
         http://www.alqassam.ps/arabic/sohdaa5.php?sub_action=sera&id=308.
     203
         http://www.alqassam.ps/arabic/sohdaa5.php?sub_action=sera&id=308.
     204
         http://www.alqassam.ps/arabic/sohdaa5.php?sub_action=picture&id=308.
     205
         http://www.mfa.gov.il/MFA/Terrorism-
     %20Obstacle%20to%20Peace/Palestinian%20terror%20since%202000/Suicide%20and%20Other%20Bom
     bing%20Attacks%20in%20Israel%20Since
     206
         http://www.alqassam.ps/arabic/statments.php?id=295. June 2009.
     207
         http://www.alqassam.ps/arabic/statments.php?id=295. June 2009.
     208
         http://www.alqassam.ps/arabic/sohdaa5.php?sub_action=byan&id=315. . June 2009.
     209
         http://www.alqassam.ps/arabic/sohdaa5.php?sub_action=picture&id=315. June 2009.
     210
         http://www.alqassam.ps/arabic/sohdaa5.php?sub_action=sera&id=315. June 2009.


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     student who knew little of the streets in the city of Jerusalem successfully infiltrated
     through all the military cordons, despite the high state of alert.”211




                     Images of Abdel Muti Mohammed Saleh Shabaneh, the Hamas suicide bomber responsible for the June 2003 Jaffa Road bus bombing




              June 20, 2003 – Shooting Attack on Route 60

              On June 20, 2003, another Israeli vehicle was fired upon by unknown assailants
     while it was traveling on Route 60 near Ofra. According to the Israeli government, the
     same Silwad-based Hamas cell involved in the January 29, 2003 “Sinjal Junction
     Operation” was also implicated in this remarkably similar follow-up attack.212 Though
     Hamas does not appear to have released a separate and distinct communiqué regarding
     this attack, it has nonetheless expressed a claim of responsibility. In the “Glory Record”
     of the Ezzedeen al-Qassam Brigades—a yearbook recording the group’s military
     achievements—Hamas reported carrying out an attack on June 20, 2003 “targeting a car
     with settlers, resulting in the death of one settler and wounding others.”213 The Hamas
     “Glory Record” also appeared to confirm that the Route 60 attack had indeed been


     211
         http://www.alqassam.ps/arabic/sohdaa5.php?sub_action=sera&id=315. June 2009.
     212
         http://www.israelemb.org/articles/2003/December/2003122400.htm.
     213
         http://www.palestine-info.info/arabic/Hamas/glory/ramalah.htm. July 2009.


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     carried out by a Silwad-based cell from the Ezzedeen al-Qassam Brigades, corroborating
     the account of the Israeli government.214

              August 19, 2003 – Bombing of Bus #2, Jerusalem

             On August 19, 2003, a suicide bomber aboard Egged Bus #2 detonated a 5kg
     explosive device packed with ball bearings in the Shmuel Hanavi neighborhood of
     Jerusalem, killing 23 and wounding more than 130 others.215 The Ezzedeen al-Qassam
     Brigades website Alqassam.ps later published a copy of a communiqué from the group
     claiming responsibility for the bombing, and explaining that the attack had been carried
     out as revenge for the killing of Hamas leaders by the Israeli military despite calls for a
     cease-fire:

               “In memory of the burning of the blessed
               al-Aqsa Mosque; in response to the
               Jewish desecration of the Masra of the
               beloved [Prophet]; to avenge the soul of
               the courageous martyr Abdullah Abdul-
               Qader Qawasmeh (Abu Ayman), and the
               al-Qassam martyrs in Nablus, for the
               assassination of the Saraya al-Quds
               commander martyr Mohammed Ayyub
               Sadr; and, in light of the continuous
               Sharon-Israeli violations of the announced
               truce by the Palestinian resistance
               factions, with the help and grace of Allah,
               the martyr-cell of Abdullah al-Qawasmeh
               carried out this modest reaction in the
               Islamic city of Jerusalem… With divine
               power, Quranic determination, and
               Qassami-steadfastness,       the     Martyr
               Ezzedeen al-Qassam Brigades present to
               the paradise virgins of eternity the Martyr and the one who memorized the book of Allah,
               the mujahid teacher Raed Abdulhamid Mesk (Abu al-Mumin).”216

     The statement concluded, “we assure everyone that we are still abiding by the announced
     truce, and every crime committed by the enemy will result in a painful response, so
     expect nothing from us other than the language of blood and bullets.”217 The websites
     Ezzedeen.net and Alqassam.ps both also published a biography and final will of the
     bomber, identified as 29-year old schoolteacher Raed Mesk (pictured above and below), a
     series of intimate photos of Mesk, and a propaganda poster for the Ezzedeen al-Qassam



     214
         http://www.palestine-info.info/arabic/Hamas/glory/ramalah.htm. July 2009.
     215
         http://www.mfa.gov.il/MFA/MFAArchive/2000_2009/2003/8/
     Suicide%20bombing%20of%20No%202%20Egged%20bus%20in%20Jerusalem%20-%201.
     216
         http://www.alqassam.ps/arabic/sohdaa5.php?sub_action=byan&id=750. June 2009.
     217
         http://www.alqassam.ps/arabic/sohdaa5.php?sub_action=byan&id=750. June 2009.


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     Brigades featuring Mesk.218 In a video recording posted online on Alqassam.ps, Mesk
     addressed the camera and defiantly declared:

               “Allah has graced us to belong to this faith [sic] and to belong to this faithful group of
               Ezzedeen al-Qassam. We announce it, in the face of the grudging Zionist enemy, that we
               are coming—we are coming to get you in the heart of your home, in your bed, amongst
               your children, and we will make the soldiers of the [al-Qassam] Brigades reach you
               wherever you may be… This is what we promise and will forever dream about. It is the
               wish of our lives; it is our pleasure…with the grace of Allah, we will make the ground
               burn underneath their feet; we will make their lives a fearsome time bomb, just like that
               cowardly soldier who was mentioned in global media as having boarded a bus, and
               worried that there was a terrorist, so he disembarked. Then he boarded another bus, and
               once again convinced himself that a terrorist had boarded, so again he got off… We will
               reach you, enemies. We will get you, Sharon, wherever you may be.”219

             In February 2008, the Media Office of the Ezzadeen al-Qassam Brigades
     published a special issue of their Arabic-language online magazine to mark the 20th
     anniversary of the military wing of Hamas. It summarizes the twenty-year history of the
     al-Qassam Brigades, and offers data and many statistics regarding Hamas military
     operations.220 One of the operations covered in the magazine issue was the August 2003
     bombing of Bus #2 in Jerusalem. According to the magazine, “Hafiz Quran Raed Mesk
     carried out this martyrdom operation in occupied Jerusalem inside of a double-decker
     bus, killing 23 and wounding 125 others.”221




              September 9, 2003 – Bombing at Café Hillel in Jerusalem




     218
         http://www.ezzedeen.net/shohada/2003/raed_mesk/raed_mesk.htm. December 2003. See also:
     http://www.alqassam.ps/arabic/sohdaa5.php?sub_action=sera&id=750. June 2009.
     219
         http://www.alqassam.ps/images/userfiles/image/vedio/wsaya/raed_misk.rmvb. February 2010.
     220
         http://www.alqassam.ps/arabic/upload/qassamion_5.pdf. June 2009. Page 20.
     221
         http://www.alqassam.ps/arabic/upload/qassamion_5.pdf. June 2009. Page 20.


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             On September 9, 2003, a suicide bomber detonated an explosive just before
     midnight in a restaurant, the Café Hillel, in the German Colony neighborhood in
     Jerusalem, killing seven bystanders and wounding over 50 others.222 The Ezzedeen al-
     Qassam Brigades have issued at least two communiqués (dated
     respectively September 9 and September 10, 2003) claiming
     responsibility for the bombing, which are still available on the
     Alqassam.ps website. While the first statement merely references
     the bombing in brief along with an accompanying attack in Tel
     Aviv, the second communiqué offers specific details of the attack
     and the bomber, identified as 22-year old Ramez Fihmi Ezzedeen
     Abu Sleem.223 According to the latter document, the Café Hillel
     bombing was only “the beginning of our response to the crimes
     committed by the enemy on our people, especially the
     assassination of Engineer Commander Ismail Abu Shanab, and the attempted
     assassinations on… Shaykh Ahmed Yassin, Mr. Ismail Haniyeh, and dozens of other
     leaders and field commanders from the Martyr Ezzedeen al-Qassam Brigades.” It
     continued, “We affirm to all our resistance cells that, from now on, it is permissible to
     target Israeli homes and residential buildings… in response to the enemy policy of
     targeting the homes of our people in Khan Younis, Hebron, and Nablus—which have
     escalated until the latest incident that occurred today, when they targeted the house of Dr.
     Mahmud al-Zahar.”224 The Alqassam.ps website also features a detailed biography of
     Ramez Abu Sleem, which notes, “Hamas succeeded in carrying out twin simultaneous
     operations (one at five in the afternoon, and the other at half past eleven in the evening),
     confirming that all of the Zionist procedures and policies designed to prevent martyrdom
     operations—a weapon of the Intifada and the primary method of greatest impact—have
     failed to achieve their objectives.”225

              October 22, 2003 - Tel Romeida Shooting Attack

             On October 22, 2003, a single assailant launched a
     shooting attack on two Israeli nationals at the entrance to the
     Tel Romeida neighborhood of Hebron, moderately wounding
     both.     Though Hamas has never released an explicit
     communiqué or statement claiming responsibility for the Tel
     Romeida attack, it has nonetheless posted the “martyr”
     biography of the assailant—23-year old Rafiq Mohammed
     Ziyad Qanibi—multiple times on multiple iterations of the
     official Hamas website.226 The biography includes an original
     photograph of Qanibi (shown at right) and describes him as

     222
         http://www.mfa.gov.il/MFA/MFAArchive/2000_2009/2003/9/Suicide%20Bombings-
     %20Tzrifin%20and%20Jerusalem%20-%20Septembe.
     223
         http://www.alqassam.ps/arabic/statments.php?id=340. July 2009. See also:
     http://www.alqassam.ps/arabic/statments.php?id=336. July 2009.
     224
         http://www.alqassam.ps/arabic/statments.php?id=340. July 2009.
     225
         http://www.alqassam.ps/arabic/sohdaa5.php?sub_action=sera&id=477. July 2009.
     226
         http://www.palestine-info.info/arabic/Hamas/shuhda/2003/rafeeq/syrah.htm. July 2009. See also:
     http://www.alqassam.ps/arabic/sohdaa5.php?sub_action=sera&id=362. July 2009.


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     both an “al-Qassam mujahid” and “an al-Qassam martyr.”227 According to the biography
     posted online by Hamas, Qanibi was carrying a rifle hidden under his jacket while
     walking near Tel Romeida. When he reached “Jewish soil,” he began firing on a group
     of soldiers gathered in the settlement until he was cut down in the cross-fire.228 The
     document also noted that Qanibi’s bedroom was decorated with images of other
     “martyrs” from Hamas’ Ezzedeen al-Qassam Brigades and he would often “close the
     door on himself and spend long hours meditating there.”229

              January 29, 2004 – Jerusalem Bus # 19 Bombing

             In the morning hours of
     January 29, 2004, a suicide
     bomber wearing an explosive
     vest detonated himself on Egged
     Bus #19 at the corner of Gaza
     and Arlozorov streets in
     Jerusalem, killing 11 and
     wounding over 50 others.230 The
     Hamas       website    Palestine-
     info.net later published an
     Arabic-language communiqué
     claiming credit for the Bus #19
     bombing titled “He Who Fails to Protect Himself, Fails to Protect Others” and identifying
     the bomber as 25-year old Bethlehem resident and former Palestinian policeman Ali
     Muneer Yusif Jaarah (shown above).231 The statement posted on Palestine-info.net
     repeatedly boasted of the “advanced planning and preparation” carried out by “the martyr
     Jaarah and his al-Qassam Brigades.”232

            A second Arabic-language communiqué published on the Alqassam.ps website
     likewise claimed credit for the bombing and indicated that the attack was targeted near
     the personal residence of Israeli Prime Minister Ariel Sharon in order to avenge a
     massacre of Palestinians at Hayy al-Zaytun.233 The statement took pains to address an
     apparently conflicting claim of responsibility for the same bombing issued by the al-Aqsa
     Martyrs Brigades, a military wing of the Palestinian Fatah movement: “We condemn the
     hasty way in which our brothers from the al-Aqsa Martyrs Brigades claimed credit [for
     this operation], which is why we have delayed our own declaration until the correct
     brothers responsible could be identified. Images of the Martyr and his connection to the



     227
         http://www.alqassam.ps/arabic/sohdaa5.php?sub_action=sera&id=362. July 2009.
     228
         http://www.alqassam.ps/arabic/sohdaa5.php?sub_action=sera&id=362. July 2009.
     229
         http://www.alqassam.ps/arabic/sohdaa5.php?sub_action=sera&id=362. July 2009.
     230
         http://www.mfa.gov.il/MFA/MFAArchive/2000_2009/2004/1/
     Suicide%20bombing%20of%20Egged%20bus%20no%2019%20in%20Jerusalem%20-.
     231
         http:// www.palestine-info.info/arabic/hamas/shuhda/2004/ali/syrah.htm. August 2004.
     232
         http:// www.palestine-info.info/arabic/hamas/shuhda/2004/ali/syrah.htm. August 2004.
     233
         http://www.alqassam.ps/arabic/sohdaa5.php?sub_action=byan&id=378. June 2009.


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     al-Qassam Brigades were provided to the media and were… displayed on the website of
     the al-Qassam Brigades.”234

             The Hamas website Alqassam.ps also features a wealth of material relating to Bus
     #19 bomber Ali Jaarah, including a special report on the attack, Jaarah’s last will and
     testament, and an in-depth biography.235 In that biography published online, Hamas once
     again addressed the issue of the conflicting claims for the attack from the Al-Aqsa
     Martyrs Brigades: “On Friday, the spokesman for the Fatah movement appeared on Al-
     Manar television and apologized for his group claiming credit for the operation and
     apologized to the al-Qassam Brigades, rejecting any links to the Fatah movement. This
     has also been confirmed by a Fatah spokesman in the Gaza Strip.”236

            Aside from content on websites exclusively run by the Hamas Movement and its
     Ezzedeen al-Qassam Brigades, I am also aware of the existence of a separate Arabic-
     language communiqué posted on the website KATAEBAQSA.ORG which appears to
     claim responsibility for the January 29, 2004 bombing of Bus #19 on behalf of the Al-
     Aqsa Martyrs Brigades (AAMB). However, even if facts were established confirming
     the involvement of AAMB resources or operatives in the January 28 Bus #19 bombing,
     this would not, in and of itself, make Hamas’s claim of responsibility inauthentic or
     lacking in credibility.

              September 24, 2004 – Mortar Strike in Neve Dekalim

              On September 24, 2004, a surprise mortar bombardment from assailants in Khan
     Younis targeted the Gush Katif settlement of Neve Dekalim, killing a 24-year old Israeli
     woman.237 The Ezzedeen al-Qassam Brigades have issued at least two communiqués
     (both dated September 24, 2004) claiming responsibility for the mortar attack, which are
     still available on the Alqassam.ps website.238 The first document simply claims credit for
     “launching three 100mm mortar shells towards the Neve Dekalim settlement at exactly
     10:30 in the morning.”239 The second document repeats this information and adds that
     the attack “had the impact of killing an enemy soldier and moderately wounding two
     others.”240




     234
         http://www.alqassam.ps/arabic/sohdaa5.php?sub_action=byan&id=378. June 2009.
     235
         http://www.alqassam.ps/arabic/sohdaa5.php?sub_action=sera&id=378. June 2009.
     236
         http://www.alqassam.ps/arabic/sohdaa5.php?sub_action=sera&id=378. June 2009.
     237
         http://www.mfa.gov.il/MFA/Terrorism-+Obstacle+to+Peace/Memorial/2004/Tiferet+Tratner.htm.
     238
         http://www.alqassam.ps/arabic/statments.php?id=755. July 2009. See also:
     http://www.alqassam.ps/arabic/statments.php?id=754. June 2009.
     239
         http://www.alqassam.ps/arabic/statments.php?id=754. June 2009.
     240
         http://www.alqassam.ps/arabic/statments.php?id=755. July 2009.


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        VIII.) Conclusions
             Based upon the information, research, and analysis presented heretofore in this
     report, I have reached several key conclusions:

           Since at least 2001, the Palestinian Hamas organization—a designated Foreign
            Terrorist Organization (FTO) otherwise known as the “Islamic Resistance
            Movement” and “the Martyr Ezzedeen al-Qassam Brigades”—has maintained a
            regular presence on the Internet through the use of fixed websites, online
            newsletters, and virtual discussion forums. The most notable of these entities are
            the Palestine-info.net website, the Alqassam.ps website (also formerly known as
            Qassamiyoon.com, Kataeb-ezzeldeen.net, Ezzedeen.net, etc.), and the
            Almoltaqa.ps social networking forum. Hamas has employed these venues to
            disseminate its propaganda, to conduct public interviews with senior Hamas
            officials, to facilitate communication and coordination among Hamas supporters,
            and to assist in illicit terrorist financing schemes. Hamas’ web presence is one of
            its most critical material resources, serving as a massive “force multiplier” for its
            membership.

           Since 2001, the Hamas movement—together with persons or entities controlled
            by, or related to Hamas—has utilized certain texts, websites and other media
            (many of which have been discussed and analyzed herein) for the purpose of
            advertising its involvement and responsibility in various violent “operations,”
            including attacks that are alleged to have injured the Plaintiffs in these actions. In
            my expert opinion, these texts, websites, and media can be attributed to Hamas
            and have particular significance to Hamas on both a symbolic and operational
            level, including their use in connection with acknowledging Hamas’s involvement
            and/or contribution to particular acts.

           Using the above-mentioned means (namely websites, newsletters, and forums),
            Hamas has distributed authentic claims of responsibility—accompanied by other
            evidence in the form of high-resolution photographs, original video recordings,
            and the personal accounts of eyewitnesses—which represent compelling
            indicators of culpability in the execution of particular terrorist attacks identified
            by Plaintiffs that have occurred between 2001 and 2004. Those attacks include
            (but are not limited to):

               o   March 28, 2001 – Gas Station Bombing near Kfar Saba
               o   June 1, 2001 – Dophinarium Suicide Bombing in Tel Aviv
               o   August 9, 2001 – Sbarro Pizzeria Bombing, Jerusalem
               o   December 1, 2001 – Ben Yehuda Bombings in Jerusalem
               o   December 12, 2001 – Shooting attack on Bus in Emmanuel
               o   March 7, 2002 – Atzmona Shooting attack
               o   March 9, 2002 – Café Moment Suicide Bombing
               o   March 27, 2002 – Park Hotel Bombing, Netanya.
               o   May 7, 2002 – Sheffield Club Bombing, Rishon Letzion.


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               o   June 18, 2002 – Jerusalem Bus #32 Bombing
               o   July 31, 2002 – Hebrew University Cafeteria Bombing, Jerusalem.
               o   September 19, 2002 – Tel Aviv Bus #4 Bombing
               o   January 29, 2003 – Shooting Attack on Route 60
               o   March 5, 2003 – Haifa Bus #37 Bombing
               o   March 7, 2003 – Shooting in Kiryat Arba
               o   April 30, 2003 – Mike’s Place Bombing, Tel Aviv
               o   May 18, 2003 – Jerusalem Bus #6 Bombing
               o   June 11, 2003 – Jaffa Road Bus 14A Bombing, Jerusalem.
               o   June 20, 2003 – Shooting Attack on Route 60.
               o   August 19, 2003 – Jerusalem Bus #2 Bombing.
               o   September 9, 2003 – Bombing at Café Hillel in Jerusalem
               o   October 22, 2003 – Tel Romeida Shooting Attack
               o   January 29, 2004 – Jerusalem Bus # 19 Bombing
               o   September 24, 2004 – Mortar Strike in Neve Dekalim.

           With regard to the above-mentioned means (namely websites, newsletters, and
            forums), neither Hamas nor any of its sub-branches (such as the Ezzedeen al-
            Qassam Brigades) has ever issued any rejection or credible denial of its
            culpability in executing the aforementioned series of twenty-four terrorist attacks
            that occurred between 2001 and 2004.



     /s/Evan F. Kohlmann                                        February 18, 2011
     Evan F. Kohlmann                                           Date




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                                  Exhibit 12
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   1                     UNITED STATES DISTRICT COURT
   2                     EASTERN DISTRICT OF NEW YORK
   3
   4    MOSES STRAUSS, et al.,           )
                                         )
   5                   Plaintiffs,       )
        vs.                              )       Case No.
   6                                     )       CV 06-702 (DLI)(MDG)
        CREDIT LYONNAIS, S.A.,           )
   7                                     )
                       Defendant.        )
   8    _________________________________)
                                         )
   9    BERNICE WOLF, et al.,            )
                                         )
  10                   Plaintiffs,       )
        vs.                              )       Case No.
  11                                     )       CV 07-914 (DLI)(MDG)
        CREDIT LYONNAIS, S.A.,           )
  12                                     )
                       Defendant.        )
  13    _________________________________)
  14
  15
  16                       VIDEOTAPED DEPOSITION OF
  17                              SHALOM SABAG
  18                            TEL AVIV, ISRAEL
  19                            FEBRUARY 4, 2014
  20
  21
  22
  23
  24
  25    REPORTED BY: BRENDA MATZOV, CA CSR NO. 9243

                       FEBRUARY 4, 2014 - SHALOM SABAG
                                                                                     20#:
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13:30:11   1   there are 24 stores in Jerusalem, and we do the
13:30:14   2   maintenance work. They also have stores in Tel Aviv
13:30:16   3   and Haifa. But every person works in his area. So
13:30:21   4   I work in Jerusalem.
13:30:24   5          Q.   Now, is that what you were doing at the
13:30:25   6   time of the attack at Patt Junction on June 18, 2002?
13:30:38   7          A.   Yes. That's exactly it. I just left the
13:30:41   8   supermarket in Gilo.
13:30:44   9          Q.   Okay. Now, Mr. Sabag, I'm sorry to have
13:30:47 10    to take you through these events. But my opponents
13:30:52 11    have told us that they want you to testify about this
13:30:55 12    subject. So I need to ask you some questions about
13:30:58 13    your experiences on that terrible day. So if you will,
13:31:19 14    please tell me everything that you recall about that
13:31:24 15    day.
13:31:24 16                (Narrative in Hebrew by the witness.)
13:31:25 17                MR. FRIEDMAN: Let's just -- I'm sorry.
13:31:25 18    But let me interrupt you so that the interpreter
13:32:22 19    can interpret what you said thus far. And we'll
13:32:26 20    break it into segments.
13:32:32 21                So, Madam Interpreter, if you will please
13:32:38 22    interpret what the witness said thus far.
13:32:39 23                THE INTERPRETER: Yes.
13:32:40 24                THE WITNESS: The truth is that it's like
13:32:42 25    as if it was now. I remember that I was working in

                              FEBRUARY 4, 2014 - SHALOM SABAG
                                                                                     21#:
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13:32:45   1   Gilo and I was coming down the slope, going down
13:32:50   2   towards the station. And there was the bus in the
13:32:53   3   station. I arrived. It -- there was a red light.
13:32:55   4   The light was red in the junction. And I was a little
13:33:02   5   bit after the -- after the stop. And there was a long
13:33:08   6   line of cars waiting. And after a few minutes, I heard
13:33:13   7   a very strong blast. My car trembled. And then I could
13:33:19   8   see in my mirror that the bus was -- had exploded.
13:33:25   9               When I saw the blast and I knew that at the
13:33:57 10    time there were terroristic attacks occurring to buses
13:34:01 11    and I saw in my rear mirror that everything was flying
13:34:06 12    about, I didn't think twice. I ran to the bus, and
13:34:09 13    I wanted to save as many lives as possible.
13:34:13 14          Q.    BY MR. FRIEDMAN: Please describe what
13:34:15 15    happened next.
13:35:17 16          A.    The truth, I was looking for people who
13:35:20 17    were wounded, not those who were very seriously wounded
13:35:25 18    because those you are not supposed to move. This can
13:35:27 19    be done only by paramedics and the like. So I was
13:35:30 20    looking for people who were more slightly wounded
13:35:33 21    that could stand on their own feet and that I could
13:35:36 22    help them out. And I did help to bring a few people
13:35:41 23    down off the bus. More people came in the meantime
13:35:43 24    and paramedics arrived.
13:35:46 25                And there was this one girl who was lying

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13:47:26   1   from Al-Jazeera. They admitted on their own news.
13:47:30   2   And they had called, and they admitted themselves.
13:47:32   3   It couldn't be anyone else.
13:47:35   4         Q.    So what you know on this subject is what
13:47:37   5   you learned from the news; correct?
13:47:43   6         A.    Yes, certainly.
13:47:44   7         Q.    And -- and as you sit here today, you don't
13:47:49   8   know whether the group that was responsible was Hamas
13:47:53   9   or some other group; is that right?
13:48:29 10          A.    The truth is that I -- I don't know exactly.
13:48:34 11    But they were all partners to this. In the past,
13:48:38 12    there was also the Fatah, and the Fatah was together
13:48:42 13    with the Hamas. They were together. Maybe now they've
13:48:45 14    separated. But then they were all together. They were
13:48:48 15    all acting together as one.
13:48:51 16          Q.    And this is based on what you've learned
13:48:53 17    from the news?
13:49:18 18          A.    You also see. You don't only hear, if it
13:49:21 19    was only radio, but you also see. You can see, for
13:49:24 20    instance, in Gaza how the Hamas ousted Fatah from Gaza.
13:49:39 21    I do -- I do understand -- I do have an understanding
13:49:42 22    and I do read. It's not as if they tell me and I just
13:49:47 23    buy it like that. I'm no -- I'm not a fool.
13:49:50 24          Q.    Now, Mr. Sabag, if you were to come to the
13:49:52 25    trial in this case and the judge were to say to you,

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                                  Exhibit 13
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                                     15147
                                CONFIDENTIAL                               1


   1   UNITED STATES DISTRICT COURT
   2   EASTERN DISTRICT OF NEW YORK
       ---------------------------------------------x
   3   MOSES STRAUSS, et al.,

   4                                    Plaintiffs,
              -against-
   5
       CREDIT LYONNAIS, S.A.,
   6                                    Defendant.

   7   Case No. 06-702 (DGT)(MGD)
       ---------------------------------------------x
   8   BERNICE WOLF, et al.,

   9                                    Plaintiffs,
              -against-
 10
       CREDIT LYONNAIS, S.A.,
 11                                     Defendant.

 12    Case No. 07-914 (DGT)(MGD)
       ---------------------------------------------x
 13
 14       *   *   *   C O N F I D E N T I A L          *   *   *

 15
                                        One Liberty Plaza
 16                                     New York, New York
 17                                     November 7, 2013
                                        2:05 p.m.
 18

 19              Videotaped Deposition of the Plaintiff,
       TEMIMA SPETNER, pursuant to Notice, before
 20    Jennifer Fuchs, a Notary Public of the State of
       New York.
 21

 22

 23            ELLEN GRAUER COURT REPORTING CO. LLC
                 126 East 56th Street, Fifth Floor
 24                  New York, New York 10022
                           212-750-6434
 25                        Ref: 105442B
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                                CONFIDENTIAL                               7


   1                    SPETNER - CONFIDENTIAL
   2   as clear and understandable as I can.               If at any

   3   time you wish for me to repeat, rephrase or

   4   restate a question, especially if you don't
   5   understand any aspect of my question, please tell

   6   me, and I will do my best to make my question

   7   clearer.
   8           A.       Okay.

   9           Q.       If you don't do that, the record

 10    will reflect that you understood the question and
 11    are answering it accordingly.

 12            A.       Okay.

 13            Q.       And if at any time you want to take
 14    a break, please let us know, and we'll take a

 15    break, so long as a question is not pending.

 16                     I think we should be done within two
 17    hours, so it won't go that long, okay?

 18            A.       Okay.

 19            Q.       Is there anything about your

 20    physical, mental or emotional condition that

 21    won't allow you to answer my questions completely

 22    and truthfully today?

 23            A.       No.

 24                     MR. FRIEDMAN:       Let me ask the

 25            reporter to mark as Spetner Exhibit 1 the
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                                CONFIDENTIAL                               8


   1                    SPETNER - CONFIDENTIAL
   2           plaintiff profile form that your lawyers

   3           have given to us.

   4                    (Spetner Exhibit 1, Plaintiff
   5           profile form, marked for identification.)

   6           Q.       Is that your signature on page 25?

   7           A.       Yes, yes.
   8           Q.       And do you recognize this to be the

   9   plaintiff profile form that you completed for

 10    this case?
 11            A.       Yes.

 12            Q.       Did you personally complete this?

 13            A.       Yes.
 14            Q.       Is it accurate in all respects?

 15            A.       The only thing that is not accurate

 16    is I marked down that I didn't receive any
 17    compensation, and I did receive from the Israeli

 18    government.

 19            Q.       What did you receive?

 20            A.       I don't remember how much it was.

 21            Q.       It was monetary compensation?

 22            A.       Monetary compensation.

 23                     MR. UNGAR:      We just have the

 24            standard objection to collateral source, we

 25            think it's irrelevant, but you can answer
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                                CONFIDENTIAL                              59


   1                    SPETNER - CONFIDENTIAL
   2           because they were just running around

   3           trying to help as many people as possible,

   4           and he called to them to come help and they
   5           didn't have enough people, so they just

   6           threw him bandages to try to stop the

   7           bleeding himself.        So I was laying there
   8           about a half an hour is what I was told."

   9                    And that ends at page 29, line 5.

 10            Q.       So my first question to you on that
 11    subject is whether there is anything else, as you

 12    sit here today, that you recall about that

 13    incident?
 14            A.       No.

 15            Q.       That's a complete rendition of what

 16    you remember about the attack by which you were
 17    injured?

 18            A.       Yes.

 19            Q.       I take it you did not see the

 20    bomber?

 21            A.       No.

 22            Q.       Do you have any information about

 23    his or her identity?         Do you know who it was, who

 24    was the bomber?

 25            A.       I don't know.       I might have seen a
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                                CONFIDENTIAL                              60


   1                    SPETNER - CONFIDENTIAL
   2   news article.

   3           Q.       Other than what you've seen in news

   4   articles, do you have any information as to who
   5   the bomber was?

   6           A.       No.

   7           Q.       In fact, you don't know how many
   8   bombers there were, correct?

   9           A.       I believe I do.

 10            Q.       How do you know that?
 11            A.       From what I was told after, I was

 12    told or read or -- I mean, it was common

 13    knowledge at the time that there were two.
 14            Q.       Two bombers?

 15            A.       Two suicide bombers.

 16            Q.       But that's what you heard after the
 17    attack.

 18            A.       Right.

 19            Q.       Who did you hear that from?

 20            A.       I don't remember.

 21            Q.       Do you have any knowledge as to the

 22    identity of any group with which they were

 23    affiliated or on behalf of which they were

 24    acting?

 25            A.       Repeat the question.
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                                CONFIDENTIAL                              61


   1                    SPETNER - CONFIDENTIAL
   2           Q.       Do you have any personal

   3   knowledge --

   4           A.       I don't.
   5           Q.       -- as to the identity of any group

   6   with which they were affiliated or on behalf of

   7   which they were acting?
   8           A.       I don't have any personal knowledge.

   9           Q.       Everything you know on that subject

 10    is what you read or what someone told you after
 11    the attack, correct?

 12            A.       Correct.

 13            Q.       And you were told after the attack
 14    that Hamas had claimed responsibility for the

 15    attack, correct?

 16            A.       Correct.
 17            Q.       You did not do anything to determine

 18    whether that was true or false, correct?

 19            A.       Correct.

 20            Q.       Just to be clear, all that you know

 21    or all that you have heard about who is

 22    responsible for the attack is what you've heard

 23    from other people, correct?

 24            A.       Correct.

 25            Q.       And who are those people?           You don't
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   1                    SPETNER - CONFIDENTIAL
   2   have to give me names, if you don't remember but.

   3           A.       I don't know.       I would have heard,

   4   family members, friends, news articles.
   5           Q.       Okay.     Did you ever speak with any

   6   law enforcement authorities or any military

   7   authorities concerning the attack?
   8           A.       No.

   9           Q.       Were you ever interviewed by any

 10    investigators concerning the attack?
 11            A.       No.

 12            Q.       Did you ever provide any written

 13    statements to any investigators concerning the
 14    attack?

 15            A.       No.

 16            Q.       Who were you with -- you testified
 17    that you were with some other people.

 18            A.       I was with a friend.

 19            Q.       What is your friend's name?

 20            A.       Ariella Feinstein.

 21            Q.       Is she suing anyone based on the

 22    attack?

 23            A.       Not to my knowledge.

 24            Q.       Was she injured?

 25            A.       Yes.
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                                CONFIDENTIAL                              63


   1                    SPETNER - CONFIDENTIAL
   2           Q.       How was she injured?

   3           A.       She -- she -- if I remember

   4   correctly, she had shrapnel that hit her jaw and
   5   that hit her leg.        She had superficial injuries.

   6           Q.       Is she Israeli or American?

   7           A.       American.      Well, I take that back.
   8   She lives in Israel now.          I don't know if she is

   9   an Israeli citizen.

 10            Q.       Do you know if she's a U.S. citizen?
 11            A.       Yes, she is a U.S. citizen.

 12            Q.       And how do you know that?

 13            A.       I was in school with her.           I was
 14    friends with her.        She was American.

 15            Q.       At Yeshiva?

 16            A.       No.    This was in Israel.
 17            Q.       In Jerusalem?

 18            A.       Yes.

 19            Q.       Where is she from in the States?

 20            A.       California.

 21            Q.       Have you ever spoken to her about

 22    your involvement in these lawsuits?

 23            A.       No.

 24            Q.       Do you know whether she was

 25    interviewed or gave any statements to any law
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                                CONFIDENTIAL                              64


   1                    SPETNER - CONFIDENTIAL
   2   enforcement authorities?

   3           A.       I don't know.       I don't know.

   4           Q.       Did you maintain a friendship with
   5   her after the attack?

   6           A.       No.

   7           Q.       Combining your testimony in the Arab
   8   Bank cases and the additional information you've

   9   given me this afternoon, have you described to me

 10    everything you remember about the attack?
 11            A.       Yes.

 12            Q.       Have you described to me everything

 13    you know about the attack?
 14            A.       Yes.

 15            Q.       Have you described to me everything

 16    you know about responsibility for the attack?
 17                     MR. UNGAR:      Objection to form.

 18            A.       Yes.

 19                     MR. UNGAR:      Calls for a legal

 20            conclusion.

 21            A.       Can I say one thing?

 22                     MR. FRIEDMAN:       Yes.

 23            A.       I don't think I mentioned that I

 24    know there was a car bomb that was after the two

 25    suicide bombers.
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   1                    SPETNER - CONFIDENTIAL
   2           Q.       Also in Jerusalem?

   3           A.       Yes.

   4           Q.       And how do you know about that?
   5           A.       I heard afterwards from family

   6   members, friends.

   7           Q.       Did you attend any legal proceedings
   8   relating to the attack in Israel?

   9           A.       No.

 10            Q.       Do you know anything about -- did
 11    you participate in any of these legal proceedings

 12    other than by attendance; did you make any

 13    statements, did you make any submissions,
 14    anything like that?

 15            A.       No.

 16            Q.       Have you ever spoken with anyone who
 17    you understood was investigating the attack?

 18            A.       No.

 19            Q.       Do you know anything at all about

 20    funding for the attack?

 21                     MR. UNGAR:      Objection to form,

 22            vague.

 23            A.       Other than -- other than what we've

 24    discussed and what's being discussed --

 25            Q.       In the lawsuit.
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   1                    SPETNER - CONFIDENTIAL
   2           A.       -- in the lawsuits?

   3           Q.       Other than what you've heard from

   4   your lawyers in connection with these lawsuits,
   5   do you have any information about any funding for

   6   the attack?

   7           A.       No.
   8           Q.       Do you know anything about the role

   9   of any charitable organization in funding the

 10    attack?
 11            A.       No.

 12            Q.       Do you know anything about the role

 13    of any bank in funding the attack?
 14            A.       No.

 15            Q.       Had you ever heard of Credit

 16    Lyonnais before you sued that bank?
 17            A.       No.

 18            Q.       Do you know anything about Credit

 19    Lyonnais at all other than what your lawyers have

 20    told you?

 21            A.       No.

 22            Q.       Had you ever heard of National

 23    Westminster Bank?

 24            A.       No.

 25            Q.       Do you have any information about
